Case 5:18-cr-00258-EJD   Document 1645   Filed 11/12/22   Page 1 of 156




EXHIBIT A to 11/11/2022 Declaration of AUSA
 Robert S. Leach in Support of United States’
  Sentencing Memorandum (ECF No. 1644)
Case 5:18-cr-00258-EJD   Document 1645      Filed 11/12/22   Page 2 of 156




                    United States v. Holmes, et al.

                         Case # 18-CR-00258




         Expert Report of Carl S. Saba, MBA, CVA, ASA, ABV

                             Confidential
     Case 5:18-cr-00258-EJD                         Document 1645                    Filed 11/12/22                Page 3 of 156




                                                         Table of Contents




I.    Qualifications ...........................................................................................................................1
II. Assignment ..............................................................................................................................2
III. Evidence Relied Upon ...............................................................................................................5
IV. Summary of Opinions ...............................................................................................................5
V. Introduction .............................................................................................................................8
     A.   Standard and Premise of Value..................................................................................................... 8
     B.   Statement of Scope and Limitations ........................................................................................... 10
     C.   Statement of Disinterest ............................................................................................................. 11
VI. Theranos Background .............................................................................................................11
VII. Industry Analysis ....................................................................................................................14
VIII. Economic Conditions .............................................................................................................15
IX. Financial Review ....................................................................................................................16
     A.   Adjustments to Reported Financial Statements ......................................................................... 17
     B.   Balance Sheet Review ................................................................................................................. 18
     C.   Income Statement Review .......................................................................................................... 19
     D.   Financial Ratios Review ............................................................................................................... 19
X. Estimate of Value ...................................................................................................................20
XI. Value of Theranos at February 7, 2014 ....................................................................................29
     A.   Income Approach – Discounted Cash Flow Method................................................................... 29
     B.   Asset Approach – Adjusted Net Asset Value .............................................................................. 39
     C.   Conclusion of 100% Equity Value................................................................................................ 42
     D.   Equity Allocation Models ........................................................................................................... 42
XII. Value of Theranos at December 31, 2014 ................................................................................44
XIII.Value of Theranos at October 15, 2015 ...................................................................................45
XIV. Conclusion of Values .............................................................................................................46
XV. Appendix ...............................................................................................................................47
     A.   Investor Financings – Back-solve Methods ................................................................................. 47
    Case 5:18-cr-00258-EJD                         Document 1645                   Filed 11/12/22               Page 4 of 156



   B.     Investor Forecasts – DCF Models ................................................................................................ 48
   C.     Assumptions and Limiting Conditions......................................................................................... 51
   D.     Certifications and Representation .............................................................................................. 53
XVI. Exhibits.................................................................................................................................55
     Case 5:18-cr-00258-EJD       Document 1645         Filed 11/12/22      Page 5 of 156




     I.   Qualifications

1.    I am a Partner in the Financial and Forensic Consulting Group at Hemming Morse, LLP. I

received a Bachelor of Science degree in Business Administration and Finance from The Haas

School of Business at the University of California (Berkeley) in 1995. I received an M.B.A.

with an emphasis in Finance from the Marshall School of Business at the University of

Southern California, where I graduated with honors in 2003. I have been designated as a

Certified Valuation Analyst (CVA) by the National Association of Certified Valuators and

Analysts (NACVA). I am an Accredited Senior Appraiser (“ASA”) by the American Society of

Appraisers and Accredited in Business Valuation (“ABV”) by the American Institute of

Certified Public Accountants. Prior to Hemming Morse, I was the Partner in Charge of the

valuation and financial Consulting Practice at Burr Pilger Mayer, Inc., a regional certified

public accounting firm with approximately 400 employees.

2.    I have twenty-six years of experience in the valuation of businesses, analyzing the

financial condition of businesses, and consulting to businesses and business owners. The last

eighteen years of my experience have focused on business valuation, economic damages

analyses, transaction due diligence support, and fraud and forensic investigations. In that

period, I have been retained to prepare over eight hundred valuations of businesses,

intellectual property, debt instruments, and complex derivatives. These valuations have

been prepared for litigation, tax reporting, financial reporting, and transaction support

purposes, including bankruptcy. The majority of my valuations have focused on my expertise


                                            Page 1
     Case 5:18-cr-00258-EJD       Document 1645        Filed 11/12/22      Page 6 of 156




with technology, life sciences, and medical device companies, from very early stages of

development through late stage publicly traded companies.

3.     I am the Co-Founder and Chair of the Fair Value Forum, a San Francisco Bay Area based

business valuation expert group that meets periodically to discuss technical issues and best

practices in the profession. I was formerly on the Board of the Valuation Roundtable of San

Francisco for several years and served a term as President of that organization. I have

presented in a number of national conferences on the topic of business valuation and have

authored articles and publications on the same. Many of my presentations and publications

are focused on the valuation issues specific to technology, life sciences, and medical device

companies. As an example, in 2013 I co-authored the valuation section of The 409A

Administration Handbook, Compliance and Company Valuation, published by Thomson

Reuters. My current curriculum vitae is attached to this report as Appendix Exhibit H and

provides additional details.

4.     My employer Hemming Morse, LLP is being compensated at an hourly rate of $560 for

my time, and at hourly rates ranging from $280 to $400 for employees who assisted me on

this assignment.

     II.   Assignment

5.     I have been retained through my employer, Hemming Morse, LLP, Certified Public

Accountants and Financial and Forensic Consultants by the U.S. Attorney’s Office, Northern

District of California (“USAO” or “Counsel”) in the matter of United States v. Holmes, et al.,




                                           Page 2
     Case 5:18-cr-00258-EJD       Document 1645        Filed 11/12/22      Page 7 of 156




to estimate the fair market values of 100% of the equity in Theranos, Inc. (referred to as

“Theranos” or “Company”), on a controlling, marketable basis as of the following dates:


              •   February 7, 2014 (the “2/7/2014 Valuation Date”);


              •   December 31, 2014 (the “12/31/2014 Valuation Date”); and

              •   October 15, 2015 (the “10/15/2015 Valuation Date”); (collectively, the

                  “Valuation Dates”).

6.    My assignment included allocating the above equity values of Theranos to all of the

securities in the Company’s capital structure. I have also been asked to calculate the loss to

Theranos Series C-1 and Series C-2 Preferred Stock investors resulting from the difference

between my concluded values for their shares and their initial investment purchase price of

$15.00 and $17.00 per share, respectively.

7.    In carrying out my assignment, my objective was to define a minimum range of loss to

investors, and I have applied several assumptions that provide a favorable interpretation of

the equity value of Theranos on the Valuation Dates. These assumptions include adopting

optimistic management forecasts that assume Theranos’ significant technology challenges

will be successfully resolved, that the Company will realize high revenue growth in the near

term, and that it will earn significantly above industry margins. I have further applied target

investor rates of return that are on the low end of the applicable range for these forecasts.

8.    Another favorable set of assumptions I have made is that Theranos’ historical

expenditures were primarily directed towards research and development efforts, that such

expenditures were productively spent and created value, and the large majority of such

                                           Page 3
     Case 5:18-cr-00258-EJD        Document 1645         Filed 11/12/22       Page 8 of 156




expenditures do not relate to technology that is obsolete on the Valuation Dates. Wherever I

have faced limitations in information available to conduct this assignment, I have applied an

interpretation that is most favorable to the value of Theranos, and that leads to a minimum

range of investor loss. My significant valuation assumptions are more fully explained

throughout this report.

9.    This report summarizes my current opinions given the information available to me to

date; I may consider any additional materials that become available and amend or

supplement my opinions and this report, if appropriate.

10. In connection with my anticipated testimony, I may be asked to create, from various

documents produced in this litigation and obtained through independent research,

demonstrative schedules which refer or relate to the matters discussed in this report. I have

not yet created such demonstrative schedules.

11. In my work I have been assisted by others in my firm who have acted under my direction

and control. However, the opinions in this report are my own.

12. I understand that this report may be made available to other parties in this litigation, to

their counsel and experts, as well as to the Court in connection with sentencing. It has been

prepared for use in this action. In all other respects, this report is confidential. It should not

be used, reproduced or circulated for any other purpose, in whole or in part, without my

prior written consent. No other party is entitled to rely on this report for any purpose

whatsoever.




                                             Page 4
        Case 5:18-cr-00258-EJD               Document 1645           Filed 11/12/22         Page 9 of 156




        III.   Evidence Relied Upon

      13. My understanding of the relevant facts comes from the documents provided by

      Counsel, transcripts of interviews and trial testimony, and materials I gathered through my

      research 1. I have been provided internal Company and investor communications, transcripts

      of trial testimony by employees, investors, prospective and actual business partners to

      Theranos, and significant documents with regards to the Company’s assets and liabilities,

      historical and future performance, and business operations. I was not able to interview

      Theranos’ management or employees directly. The documents I considered or relied upon

      are identified in Appendix Exhibit I.

        IV.    Summary of Opinions

      14. My opinions of value are based on consideration and application of the three categories

      of widely accepted valuation methods; the income, market, and asset / cost approaches. I

      applied the discounted cash flow method (income approach) in combination with the

      guideline public company method (market approach) to define the upper bound of

      Theranos’ value on the three Valuation Dates. I also applied the adjusted net asset value

      method and the cost to recreate method 2 to define the lower bound of Theranos’ value on

      the Valuation Dates, resulting in a range of value. Finally, I applied the back-solve method

      (market approach) to infer the value of Theranos based on the price paid by investors for

      their Series C-2 Preferred Stock. This back-solve method value is not my opinion of Theranos’

      fair market value, it was prepared to demonstrate the implied value placed on the Company


1
    My research includes information available through a subscription to the S&P Capital IQ database.
2
    Also referred to as “reproduction cost new” in business valuation guidance.

                                                        Page 5
         Case 5:18-cr-00258-EJD           Document 1645           Filed 11/12/22         Page 10 of 156




        by investors. A summary of my estimated fair market values is outlined below, and these

        include the Company’s substantial cash balances:

                                  Cash
                                 Balance
    100% Company Equity Value              Series C-1 Per Share Series C-2 Per Share            Valuation    Report
                               Included in
       Range (In Thousands)                    Value Range          Value Range                   Date       Exhibit
                              Equity Value
                              (Thousands)

    $    378,000   -   $   431,000 $   151,912 $ 8.77     -   $ 9.39 $ 9.90       -   $ 10.59    02-07-14   Exhibit A.3
    $    827,000   -   $   951,000 $   465,933 $ 9.61     -   $ 10.36 $ 10.80     -   $ 11.63    12-31-14   Exhibit A.4
    $ 1,051,000    -   $ 1,184,000 $   496,919 $ 10.14    -   $ 10.81 $ 11.37     -   $ 12.11    10-15-15   Exhibit A.5




        15. One method to calculate the loss to Theranos investors is to determine the difference

        between their initial investment price and their ultimate recovery in the dissolution of the

        Company3. The method I applied is based on my estimates of the above fair market values

        for Theranos’ equity, which leads to a smaller loss figure. I have calculated the aggregate

        Series C-1 and C-2 investor losses to range between $277.965 million and $315.884 million

        per Exhibit A.1 to this report. This loss is measured as the difference between the price paid

        by investors and my estimated value above on the date closest to when the investment was

        made. I have been asked to prepare an alternate calculation of investor loss based on my

        estimated values as of only the 10/15/2015 Valuation Date, which results in a range of

        aggregate loss between $237.323 million and $273.646 million.

        16. The above equity values and investor loss calculation are based on the favorable

        premise that Theranos will continue to operate as a going concern, as explained in the next

        section of this report. If the Company were facing near term dissolution on the Valuation



3
 I understand that many investors did not recover any portion of their initial purchase price. The method
discussed here is not meant to reflect any specific legal guidance on loss calculations.

                                                     Page 6
     Case 5:18-cr-00258-EJD               Document 1645            Filed 11/12/22         Page 11 of 156




    Dates, its recoverable equity value would be substantially lower. In such a scenario, the

    Company would be forced to sell its technology assets under distressed sale conditions. In

    addition, the Company’s Edison device capabilities were still far behind that of conventional

    laboratory equipment 4.

    17. One data point that is informative as to the value of Theranos’ technology under such a

    scenario is a loan extended to the Company by Fortress Credit Corporation in December

    2017. The loan totaled $65 million in initial funds disbursed, with the remaining $35 million

    contingent on the Company achieving development milestones. The loan was secured with

    all assets of the Company including its patents and patent applications 5. Fortress made this

    loan based on their consideration of the value of Theranos’ intellectual property collateral in

    a potential default scenario. 6

    18. Under a liquidation premise and if the maximum loan amount of $100 million were

    assumed to be the recoverable value of Theranos’ technology in a dissolution, the

    Company’s resulting equity values would be approximately $138 million, $416 million, and

    $448 million respectively on 2/7/14, 12/31/14, and 10/15/15 7. This would result in larger

    investor losses than my calculations above.

    19. Because I am using a going-concern premise, it is important to note that even if the

    value of the Company exceeds the liquidation preference of the Series C-1 and C-2 shares,




4
  Refer to Theranos Background section of this report for discussion on state of the Company’s technology.
5
  Exhibit 191 to Deposition of Erez Levy, Fortress Credit Corp Investment Memorandum, December 2, 2017.
6
  Deposition of Erez Levy, Managing Director at Fortress, September 24, 2019, p.31:7-14, p. 68:16-25.
7
  These values are based on my adjusted net asset value methods on Exhibits E.1, H.1, and K.1, with a substitution
of intangible asset value in those methods with $100 million.

                                                      Page 7
     Case 5:18-cr-00258-EJD              Document 1645            Filed 11/12/22         Page 12 of 156




    that does not mean the Series C-1 and C-2 investors have not incurred losses as of the

    Valuation Dates. This is because, as a going concern, there are a wide range of possible

    future outcomes for the Company. Some outcomes may be extremely favorable and some

    may result in no return for any of the investors. The standard way of valuing specific classes

    of stock is to use option pricing theory which is what I have done. This makes it is possible to

    consider the range of outcomes and derive a value for each class of stock. This is more fully

    described in the “Equity Allocation Models” section of this report.

      V.     Introduction

           A. Standard and Premise of Value

    20. As the standard of value for this report, I have employed a definition of fair market

    value used in appraisal practice, 8 originally found in Section 20.2031-1(b) of the Estate Tax

    Regulations and Section 25.2512-1 of the Gift Tax Regulations and incorporated into Section

    2.02 of Revenue Ruling 59-60. That definition is:


           “The price at which the property would change hands between a willing buyer

           and a willing seller when the former is not under any compulsion to buy and

           the latter is not under any compulsion to sell, both parties having reasonable

           knowledge of relevant facts.”




8
 This definition, or one very similar, has been adopted by The Institute of Business Appraisers, The National
Association of Certified Valuation Analysts, The American Society of Appraisers, and The Appraisal Foundation.

                                                     Page 8
     Case 5:18-cr-00258-EJD               Document 1645             Filed 11/12/22         Page 13 of 156




    21. Court decisions frequently state 9 in addition that the hypothetical buyer and seller are

    assumed to be able, as well as willing, to trade and to be well informed about the property

    and concerning the market for such property. Fair market value is defined in the U.S. tax

    regulations, and it is a widely used standard of value for non-tax related matters. Although I

    assume a buyer of Theranos was accurately informed as to its financial condition, its state of

    development, and the capabilities of its technology, I ignore for purposes of my valuation

    the occurrence of misrepresentations made by Company management to investors and

    other third parties. Such misrepresentations can damage a company’s brand image, its

    ability to raise capital and continue operating as a going concern, and may result in

    significant litigation related liabilities. These negative factors are excluded from my

    estimates of value 10.

    22. I have appraised Theranos’s stock under a going concern premise. This premise assumes

    that the Company is an ongoing business enterprise with management operating in a

    rational way with a goal of maximizing owner value 11. This will be discussed more fully in the

    valuation section of this report. And, as mentioned above, using a liquidation premise as of

    the Valuation Dates would result in a substantially lower values for Theranos’ equity and the

    Series C-1 and C-2 shares.




9In the Estate of Kaufman, TCM 1999-119, the court noted that "[t]he hypothetical willing buyer and the
hypothetical willing seller both aim to maximize their profit from the hypothetical sale of the property."
10
   Excluding these factors results in a higher estimated value, and a lower investor loss calculation.
11
   A going concern premise assumes the business is not about to be dissolved or liquidated.

                                                      Page 9
      Case 5:18-cr-00258-EJD              Document 1645            Filed 11/12/22        Page 14 of 156




          B. Statement of Scope and Limitations

     23. This Summary Report was prepared, and my analyses, opinion and conclusions were

     developed, in conformity with the American Institute of Certified Public Accountants’

     Statement on Standards for Valuation Services No. 1 (“SSVS”) and USPAP of the Appraisal

     Foundation.

     24. This report was prepared subject to certain Assumptions and Limiting Conditions

     included in the appendix to this report. My Certifications and Representations are also

     included in the appendix to this report.

     25. I obtained a variety of financial, operational, economic, and industry documents and

     information from Counsel as well as from outside sources. I have assumed all information is

     accurate and complete. I was unable to have direct communication with management and

     employees of Theranos in this assignment.

     26. This report reflects my understanding of facts and conditions existing at the Valuation

     Dates. Subsequent events have not been considered unless they were known or knowable

     on the Valuation Dates 12, and I have no obligation to update my report for such events and

     conditions. However, I reserve the right to update my report for new information that is

     provided to me.




12
  I have also considered subsequent events that provide evidence of facts and conditions existing as of the
valuation date.

                                                     Page 10
        Case 5:18-cr-00258-EJD             Document 1645           Filed 11/12/22       Page 15 of 156




              C. Statement of Disinterest

      27. I have no present or contemplated future interest in the subject property of this

      Appraisal Report. I have no interest in or bias with respect to the subject property or the

      owners thereof.

        VI.       Theranos Background

      28. On the Valuation Dates, Theranos operated clinical laboratories in Newark, California,

      and Scottsdale, Arizona. In addition, Theranos was in continued development of its

      immunoassay blood testing device (the Edison), with the objective of providing faster, more

      accurate results at a lower price point to patients than traditional laboratories, while

      requiring patient samples with only a few drops of blood. Historically, Theranos had entered

      into contracts with pharmaceutical companies to provide testing services in support of

      clinical trials. On the Valuation Dates, these agreements and related revenues had

      terminated.

      29. Theranos’ business model on the Valuation dates encompassed a vision for its Edison

      device to provide a wide variety of tests to patients in the retail market with the following

      advantages over reference labs such as Labcorp and Quest Diagnostics13:


              •   Faster Results – four hours for test results in a retail setting and one hour in a

                  hospital setting




13
     Trial testimony of Brian Grossman, November 16, 2021, 6379:8 – 6382:1, 6392:16 – 6395:10, 6404:19 -6406:24

                                                     Page 11
      Case 5:18-cr-00258-EJD             Document 1645           Filed 11/12/22        Page 16 of 156




          •   Higher Accuracy – less variability in test results than conventional lab, due to higher

              automation of processes within the device and less exposure to human error.


          •   Lower Pricing – at 50% of Medicare reimbursement rates.

          •   Ability to run a large array of tests, and to match the broad menu of tests offered by

              Labcorp and Quest Diagnostics.


          •   Use of few drops of blood obtained through a finger prick rather than a traditional

              venipuncture procedure requiring larger blood draw from patients.

          •   A processing device that was much smaller than traditional lab equipment and that

              could eventually be placed in locations outside a laboratory 14 such as retail

              pharmacies.

     30. As of the Valuation Dates, Theranos had not achieved the above capabilities for its

     technology, and significant development and operational risks faced the company. Ms.

     Holmes testified that only 12 assays were offered when the analysis was performed on the

     miniaturized Theranos device, in the CLIA laboratory, 15 and that this was one of the central

     issues raised by the Wall Street Journal regarding the state of development of Theranos’

     technology. 16 Ms. Holmes also testified that its newest device the Minilab, which was part of

     the 4 series, was never used for patient testing, was never put in use in the CLIA laboratory

     in California, and as of October 15, 2015, had been approved by the FDA in use for a single




14
   Placing the Company’s device outside of its laboratory would have required FDA approval, which Theranos had
not obtained on the Valuation Dates.
15
   Trial Cross-examination of Elizabeth Holmes, November 30, 2021, 8003:7-15.
16
   Cross-examination of Elizabeth Holmes, 8003:16-8004:21.

                                                   Page 12
      Case 5:18-cr-00258-EJD            Document 1645           Filed 11/12/22        Page 17 of 156




     assay, the Herpes test assay. 17 Ms. Holmes also testified that the only Theranos

     manufactured analyzer that was ever used in the CLIA laboratory in California was the Edison

     3.5, which was used for immunoassays only, rather than for general chemistry, cytometry or

     nucleic acid amplification. 18

     31. Ms. Holmes further testified that it was the Edison 3.5, one of Theranos’ earlier models,

     rather than the Minilab, that was used to perform 12 assays in the CLIA laboratory in

     California between September 2013 and June 2015, and that by the time of the CMS

     inspection in September 2015, Theranos was not using any of its manufactured analyzers in

     the CLIA laboratory. 19 Similarly, Ms. Holmes testified that Theranos did not use its own

     technology, including the Minilab, to run tests at its Arizona Moderate Complexity

     Laboratory, but rather used commercially available equipment. 20 Mrs. Holmes further

     explained that in order to perform the majority of the 200-some tests on its menu (beyond

     the 12 tests discussed above), Theranos was dependent on machines from third parties such

     as Siemens, Beckman Coulter or Becton Dickinson. 21

     32. Testimony from Surekha Gangakhedkar and Erika Cheung was similar regarding the

     state of the Company’s technology. Ms. Gangakhedkar testified that the Edison 3.0 and the

     Minilab 4.0 was not ready due to reliability issues that were unresolved 22. Ms. Cheung

     testified that the Edison could only run one type of assay on one patient at a time while third



17
  Trial cross-examination of Elizabeth Holmes, November 30, 2021, 8014:24-8015:20 and 8018:6-8.
18
   Cross-examination of Elizabeth Holmes, 8015:21-8016:11.
19
   Cross-examination of Elizabeth Holmes, 8016:12-8017:25.
20
   Cross-examination of Elizabeth Holmes, 8019:4-8020:13.
21
   Cross-examination of Elizabeth Holmes, 8018:9-8019:3
22
   Trial testimony of Surekha Gangakhedkar, September 17, 2021, 1185:5-1188:12.

                                                   Page 13
      Case 5:18-cr-00258-EJD              Document 1645            Filed 11/12/22         Page 18 of 156




     party machines could process 30-40 patients at one time while conducting several different

     tests for each patient 23. In addition, the Edison could run “between 4 and max 12” 24

     immunoassay tests, not the hundreds management had envisioned.

     33. Starting in February 2014, and ending in April 2015, Theranos raised $734 million in

     capital from various investors through the sale of Series C-2 Preferred stock. In addition, the

     Company raised $112.5 million in Series C-1 Preferred stock capital between August 2011

     and January 2014 25. Because it is my understanding that these capital raises were based on

     misrepresentations to investors regarding the capabilities of the Company’s technology and

     progress with the Company’s business model, I did not rely on these transactions to estimate

     the fair market value of Theranos on the Valuation Dates.

      VII.   Industry Analysis 26

     34. Theranos operates in the Scientific Research and Development industry in the US which

     includes companies and organizations that are involved in physical, engineering or life

     sciences research and development (R&D).

     35. Over the past five years, the industry has performed well despite challenging conditions

     presented by the recession, which have caused many industries to decline. Indeed, industry

     growth is expected to be limited in the next two years, before strengthening in the second

     half of the next five-year period as falling federal funding for defense and weak government



23
   Trial testimony of Erika Cheung, September 14, 2021, 807:19-809:9
24
   Trial testimony of Erika Cheung, September 14, 2021, 805:21-24, 812:10-11
25
   This figure includes promissory notes convertible to Series C-1 Preferred Stock. The majority of C-1 sales
occurred in calendar year 2013.
26
   IBISWorld, IBISWorld Industry Report 54171, Scientific Research & Development in the US, December 2014.

                                                     Page 14
      Case 5:18-cr-00258-EJD             Document 1645            Filed 11/12/22         Page 19 of 156




     investment will mitigate industry growth. That said, improving private investment from

     major industries, such as oil and health, will help long-term growth. The industry is projected

     to continue to grow at an average annual rate of 2.4% 27 to $147.3 billion over the five years

     to 2019.

     VIII.   Economic Conditions 28

     36. The relevant time periods for a review of the state of the U.S. economy are the

     Valuation Dates. Throughout 2014, the majority of U.S. economic indicators continued to

     improve.

     37. Although growth in gross domestic product (“GDP”) declined slightly in the first quarter

     of 2014, by year end GDP growth had rebounded to 2.6% following two quarters of rapid

     growth (4.6% and 5.0%, respectively). Health care spending as a share of GDP remained

     stable for the past two years. Unemployment which wavered around 6.7% in February

     continued to decline through December to 5.6%. Construction starts, manufacturing activity

     and productivity were improved in both periods and throughout 2014. Personal income and

     consumer spending improved in February which continued through December. Despite

     some intra-year fluctuation, all major stock market indices ended 2014 higher than at the

     end of 2013. Inflation remained subdued and these trends were expected to remain steady

     through 2015.




27
   This represents an inflation adjusted real growth figure. Forecasts in an income approach to valuation make use
of nominal figures that include inflation.
28
   KeyValueData, “National Economic Report”, February 2014 and December 2014; JT Research LLC, “Overview of
the U.S. Economy”, Fourth Quarter 2014; and Federal Reserve Bank of Philadelphia Research Department, “Survey
of Professional Forecasters”, Fourth Quarter 2014.

                                                     Page 15
      Case 5:18-cr-00258-EJD             Document 1645           Filed 11/12/22         Page 20 of 156




      IX.    Financial Review

     38. In valuing Theranos, it is useful to examine the financial position of the company. This

     allows the appraiser to review the history of Theranos, compare it to its industry, and use

     the analysis to assist in assessing the future prospects of the company.

     39. I have analyzed Theranos’s financial statements for the years ended December 31, 2007,

     to December 31, 2015, the period closest to the last of my three Valuation Dates.29 Interim

     financial statements between calendar year ends 2013 and 2015 were not available.

     40. Theranos’s historical financial statements are presented in Exhibits B.1 through B.6

     which include common size presentations and comparative industry metrics. My analysis

     includes a comparison of Theranos to industry averages of a guideline public company peer

     group, and industry data published by RMA and Bizminer as shown in Exhibits B.4 – B.6.30 I

     have used data for companies defined in Exhibit D.3 as a peer group to Theranos.

     41. I note that because Theranos was not a mature company and had not reached

     profitability or meaningful revenues from core services on the Valuation Dates, future results

     were expected to deviate from past results. In the valuation section of this report, I discuss

     in greater detail the financial projections used for valuing Theranos.




29
   The 2007 – 2008 financial statements were audited, the remainder are internally prepared
[KPMG_Theranos_000164-000188].
30
   The guideline public company data was obtained from S&P Capital IQ, and the selection of these companies is
discussed in the estimate of value section of this report.
https://www.spglobal.com/marketintelligence/en/solutions/sp-capital-iq-platform

                                                    Page 16
 Case 5:18-cr-00258-EJD         Document 1645         Filed 11/12/22     Page 21 of 156




     A. Adjustments to Reported Financial Statements

42. In analyzing a company's historical earnings as a guide to estimating the company's

earnings base, it is important to make the distinction between past earnings that represent

ongoing earning power and those that do not. Financial statements should be adjusted to

eliminate the effect of past items that would tend to distort the company's current and

future earning power, such as items that are unusual or non-recurring in nature, occur

infrequently, are discretionary, or are derived from non-operating sources, such as interest

income.

43. Based on my review, I identified items that require adjustments in Theranos’s financial

statements. These adjustments to the income statement were related to removing non-

recurring or non-operating expenses, and included interest and other income. These

adjustments provide a consistent basis (by only considering operating income) by which to

compare Theranos to other publicly traded companies whose financials were reported by

Capital IQ using the same method. It is noted that these adjustments to the financial

statements were very small in relation to the total revenues and expenses for each period,

and are shown in Exhibit B.3.

44. In addition to the above adjustments, I also adjusted out a “miscellaneous receipts

liability”, that equals a portion of proceeds from the 2013 and 2014 capital raises, and

compensation of service providers with preferred stock, for which I understand the stock

was not yet issued. Since Theranos would satisfy the miscellaneous receipts liability by

issuing the corresponding stock, and such stock was included the capitalization tables as of



                                          Page 17
      Case 5:18-cr-00258-EJD              Document 1645            Filed 11/12/22         Page 22 of 156




     my Valuation Dates, I removed these liabilities. The amount of these liabilities totaled

     $45.187 million as of 12/31/13 and $390.375 million as of 12/31/14.31

          B. Balance Sheet Review

     45. Theranos’s adjusted historical balance sheet is shown in Exhibit B.4.

     46. Assets. Theranos’s assets were primarily comprised of cash generated by proceeds from

     the sale of preferred and common shares. Compared to its peer group, Theranos was far

     heavier in its cash holdings, at $424 million at 12/31/15. Theranos also carried low levels of

     inventory on its balance sheet, similar to its peer group. Adding non-current receivables of

     $27 million, Theranos’ assets summed to $535 million at 12/31/15.

     47. Liabilities and Equity. Theranos had little current liabilities in relation to its cash

     holdings. Theranos did carry significant amounts of long term liabilities in the form of

     customer deposits / deferred revenue of $136 million, notes payable in the amount $41

     million and other non-current liabilities of $35 million at 12/31/15, for total liabilities of $250

     million. As a result, Theranos’ equity was significantly positive at 12/31/14 and 12/31/15.

     For a company that was not mature and still investing in growth, this conservatively levered

     balance sheet appears appropriate. Compared to its peer group, Theranos was similarly

     heavy on equity versus both current liabilities and debt.




31
  The $45.187 liability as of 12/31/13 reconciles closely to the proceeds of 2.683 million Series C-1 shares issued
between 8/1/13 and 12/31/13 at $15 per share, plus additional shares issued to directors and legal service
providers [THPFM0004648099, lines 82-88 of Excel KPMG auditor workpaper]. The $390.375 million liability as of
12/31/14 reconciles closely to the proceeds of 22.838 million Series C-2 shares issued 10/31/14 through 12/31/14
at $17 per share and marked as “subscribed” in Theranos capitalization tables.

                                                     Page 18
      Case 5:18-cr-00258-EJD              Document 1645            Filed 11/12/22         Page 23 of 156




            C. Income Statement Review

     48. Theranos’s historical income statement, adjusted as described above, is shown in Exhibit

     B.5.

     49. Sales and Cost of Goods Sold. Theranos’ revenue was minimal in the years leading to

     12/31/14 and 12/31/14, in keeping with the fact that Theranos was a near pre-revenue and

     pre-profit company. Revenues in the period 2009-2011, at under $3 million per annum,

     resulted from contracts with pharmaceutical companies such as Celgene to provide testing

     services that would support clinical trials. These revenues terminated in 2011 and did not

     recur thereafter.

     50. Operating Expenses. Operating expenses were significant and increasing in the years

     leading up to 12/31/14 and 12/31/15, with research & development, and general and

     administrative costs of $97 million and $76 million in 2015, respectively.

     51. Net Income. Like many growing and young companies, Theranos had incurred

     significant losses through 2015, with losses of $184 million in 2015.

            D. Financial Ratios Review

     52. I have reviewed Theranos’s financial ratios shown in Exhibit B.6 and compared them to a

     peer group. 32 The purpose of financial ratios review is to compare Theranos’ historic

     financial performance with benchmark data available in the marketplace, i.e., the peer group

     I have selected. The financial ratios reflect the fact that Theranos was a near pre-revenue



32
  The peer group is comprised of public companies identified as having similar characteristics to Theranos, as
shown in Exhibit D.3.

                                                     Page 19
 Case 5:18-cr-00258-EJD             Document 1645      Filed 11/12/22      Page 24 of 156




and pre-profit company as of 12/31/14 and 12/31/15 and that it retained large amounts of

cash proceeds from investor financings. Its current ratio was well above that of its peers.

Certain other metrics were not meaningful, as Theranos had negative earnings and

operational metrics, and low levels of fixed assets.

53. Summary: In conclusion, Theranos’s financial metrics and financial condition at the

Valuation Dates are in keeping with the fact that it was an early stage near pre-revenue and

pre-profit company.

  X.      Estimate of Value

54. The value of a closely held business is derived not from a formula, but from the relevant

facts and circumstances of a company and is based on informed judgment with regard to

those facts. In determining fair market value, I considered available financial data, as well as

all relevant factors affecting the fair market value. One of the first issues to address in

valuing an interest is whether that interest has control and is marketable. As discussed

directly below, the 100% equity interests I valued in Theranos were considered both

controlling and marketable at the Valuation Dates.

       Controlling Interest Consideration

55. The 100% interests being valued in Theranos on the Valuation Dates represented

majority ownership interests in the entire company, and therefore possessed the ability to

control management and financial decisions impacting the entire company or the business

segment. These decisions included the ability to elect directors and appoint management,

determine management compensation and perquisites, set policy, acquire and liquidate



                                            Page 20
      Case 5:18-cr-00258-EJD             Document 1645            Filed 11/12/22         Page 25 of 156




     assets, determine dividend distribution policy, and other significant policies. Accordingly, I

     have considered valuation methods which yield an estimate of value on a controlling basis.

     56. It is noted that when I allocated Theranos’ value to different share classes, the investors

     in these shares did not hold controlling interests in the Company33. I did not discount the

     preferred shares held by investors for lack of control, which results in a higher fair market

     value for their shares, and lower calculated investor loss than had I applied such a discount.

     Preferred stock investors in early-stage companies often collectively exert elements of

     influence or control over the companies they invest in 34.

         Marketability Consideration

     57. A major component of a security being valued is its marketability. All other things being

     equal, an investment is worth more if it is marketable than if it is not, since investors prefer

     liquidity over lack of liquidity. Investments that lack the inherent liquidity of publicly traded

     securities are, all else being equal, less attractive investments. Given that the 100% equity

     interests that I valued in Theranos are controlling interests in the entire company, the owner

     of such interests would have had control over the decision to sell the entire company to

     achieve liquidity. As such, I applied valuation methods that yielded an estimate of value on a

     marketable basis, and no lack of marketability discount was applied.




33
  Mrs. Holmes testified that she was the founder of Theranos, the only CEO Theranos had ever had, and that at
various points in time before 2016 she owned a majority of the voting shares in Theranos. At the end of 2016, Mrs.
Holmes owned more than 51% of the Class B common stock in Theranos [Cross-examination of Elizabeth Holmes,
8004:22-8005:6, 8013:18-8014:15].
34
  AICPA Practice Aid: Valuation of Privately-Held-Company Equity Securities Issued as Compensation, 2013,
Sections 7.08, 7.11 [accessed via Commerce Clearing House Accounting Research Manager Subscription]

                                                    Page 21
      Case 5:18-cr-00258-EJD            Document 1645            Filed 11/12/22        Page 26 of 156




     58. The investors in Series C-1 and C-2 shares did not hold controlling interests in the

     Company as noted above, and could not make a decision to sell the entire company to

     achieve liquidity. Under valuation theory, it is generally accepted that the level of

     marketability of senior preferred securities and the entire early-stage enterprise (such as

     Theranos) are comparable 35. The entire early-stage enterprise is less liquid than an

     established, profitable company due to negative cash flows and a more limited pool of

     prospective buyers. The senior preferred securities such Series C-1 and C-2 shares in

     Theranos have significant liquidation preferences in first order of priority ahead of all of

     other securities, which render them more marketable. In addition, preferred investors

     typically have access to information that would make it easier to access an exit market for

     their securities. As such, I have not applied a lack of marketability discount to Series C-1 and

     C-2 preferred shares as compared to entire value of Theranos’ equity.

         Valuation Methodologies

     59. The appraisal profession generally recognizes three primary approaches to determine

     value: the income approach, the market approach, and the asset approach. Each approach

     is distinctive and contains many variations. While all valuation approaches are generally

     considered, not all may be used; which approach or approaches are used depends upon the

     specific facts of that engagement.

     60. In valuing the Interest in Theranos, I considered several valuation methods:




35
  AICPA Practice Aid: Valuation of Privately-Held-Company Equity Securities Issued as Compensation, 2013,
Sections 7.18 – 7.19 [accessed via Commerce Clearing House Accounting Research Manager Subscription]

                                                   Page 22
 Case 5:18-cr-00258-EJD          Document 1645        Filed 11/12/22     Page 27 of 156



    Income Approaches:

    Capitalization of Earnings Method

    Discounted Cash Flow Method

    Market Approaches:

    Guideline Public Company Method

    Merger and Acquisition Method

    Back-Solve Method (Investor Financing)

    Asset and Cost Approaches:

    Net Asset Value Method

    Adjusted Net Asset Value Method

    Cost To Recreate Method (Technology and Branding Assets)

61. Income approaches value a company with reference to various measures of the earnings

or cash flows generated by that company, with the assumption that such earnings or cash

flows sooner or later will be paid out to shareholders in the form of dividends.

62. Market approaches value a company by comparison with transactions in similar

businesses, business interests, or securities.

63. Asset approaches value a company, often one that is capital-intensive, with reference to

the stated or calculated net worth of that company, with the assumption that such net

worth sooner or later will be paid out to shareholders in liquidation.




                                           Page 23
 Case 5:18-cr-00258-EJD           Document 1645         Filed 11/12/22       Page 28 of 156




64. The focus on liquidation value utilized by asset-based approaches tends to limit their

applicability to the value of a non-operating business such as a holding company, early stage

enterprises with an unproven product or service, or one that will be liquidated. In the

alternative, income and market approaches are most appropriate when valuing ongoing

businesses.

    Selection of Valuation Methods

65. In valuing Theranos, I considered the methods listed above. I chose the discounted flow

method combined with the guideline public company method (to support the Company’s

exit value), and the adjusted net asset value method combined with the cost to recreate

method (for the Company’s technology and branding assets) as suitable methods for valuing

the Company’s equity.

66. As discussed in the appendix to this report, I explain my use of the back-solve method to

infer the value Theranos based on certain Series C-2 financing rounds. Because it is my

understanding that investors were provided inaccurate information regarding Theranos’

business operations and capabilities of its technology, I did not rely on this method to define

the value of the Company. The following summarizes the methods considered and my

reasoning for my selection.

    Capitalization of Earnings Method

67. The capitalization of earnings method is an abridged version of the discounted cash flow

method. This method seeks to determine an estimate of value by projecting a single

period’s expected economic amount and converting that amount to a value by dividing it by

a “capitalization rate.” The capitalization rate is a derivative of the discount rate, i.e., the

                                            Page 24
      Case 5:18-cr-00258-EJD             Document 1645            Filed 11/12/22        Page 29 of 156




     discount rate minus the annually compounded expected growth rate, in perpetuity, of the

     variable being capitalized.

     68. This method is appropriate when the projected single period expected economic

     amount is indicative of future operations, assuming a normal and constant growth rate. On

     the Valuation Dates, Theranos was a young pre-profit development stage company that had

     a small revenue base, and that had not reached long term mature growth levels or margins.

     The capitalization of earnings method cannot accommodate changing growth rates or

     margin assumptions in future periods. Accordingly, I did not consider the capitalization of

     earnings method an appropriate valuation method for Theranos.

         Discounted Cash Flow Method

     69. The discounted cash flow method is based on the theory that the total value of a

     business is the present value of the projected future earnings plus the present value of the

     terminal value. This method requires that a terminal value assumption be made. The

     amounts of projected earnings and the terminal value are discounted to the present using an

     appropriate discount rate. The discounted cash flow method relies on the ability of the

     appraiser and management to reasonably forecast cash flows and assess the risks associated

     with those cash flows.

     70. I was provided with detailed forecasts that reflected management’s contemporaneous

     expectations at the Valuation Dates36. It is my opinion that at the Valuation Dates the


36
  The forecasts spanned the 2014 – 2018 calendar years, and were contained in IRC 409A valuation prepared for
Theranos by Aranca. The 409A valuation dates were 9/30/13, 12/15/14, and 3/25/15. Email correspondence
between the Theranos management team and Aranca indicated that management provided input regarding
forecast expectations that were integrated into the valuation approaches [examples include Trial Exhibits 5206,
5085, 3527]

                                                    Page 25
      Case 5:18-cr-00258-EJD              Document 1645            Filed 11/12/22         Page 30 of 156




     projections in the Aranca 409(a) Reports provided the best estimate of future anticipated

     operating results that were available on the Valuation dates, and that the discounted cash

     flow method is an appropriate method for valuing Theranos. I note that I do not consider the

     Aranca forecasts to represent a realistic estimate of future results for reasons discussed later

     in this report, they represented the best choice available of management prepared

     forecasts.

         Guideline Public Company Method

     71. The guideline public company method develops an estimate of value based on prices at

     which stocks of similar companies are trading in a public market. The estimate of value is

     derived by value multipliers such as price to earnings and price to cash flow. These value

     multipliers are then adjusted and applied to the subject company’s fundamental data to

     reach an estimate of value for the subject company.

     72. Application of the guideline public company method requires the selection of sufficient

     “comparable companies” to facilitate the determination of a value conclusion for the subject

     company. In selecting comparable guideline companies, “the standard sought is usually one

     of reasonable and justifiable similarity.” 37

     73. I have not used the guideline public company method to value Theranos as of any of the

     valuation dates. I did however use this method to estimate the terminal value of Theranos

     at the end of the projection period in 2018, under the discounted cash flow method. The

     2014-2018 forecasts provided to me assume that Theranos will continue to experience high


37
  Frank M. Burke Jr., Valuation and Valuation Planning for Closely Held Businesses (Englewood Cliffs, NJ: Prentice-
Hall, 1981), p. 49.

                                                     Page 26
 Case 5:18-cr-00258-EJD         Document 1645        Filed 11/12/22      Page 31 of 156




revenue growth in 2018, and a standard perpetuity formula for the terminal value cannot

accommodate varying future growth rates. In addition, if Theranos were to achieve its

forecasts, it would be significantly more comparable at the end of 2018 to the guideline

public companies I selected than it is on the Valuation Dates. Accordingly, the guideline

public company method is an appropriate method for valuing Theranos as of 12/31/2018, at

the end of management and Aranca’s forecast horizon.

    Merger and Acquisition Method

74. The merger and acquisition method derives an estimate of value of the subject company

based on merger and acquisition transactions involving companies or operating units of

companies in similar industries to the subject company. I did not apply this method because

Theranos did not have meaningful revenues or positive earnings to which valuation multiples

could be applied on the Valuation Dates.

    The Back-Solve (Investor Transactions) Method

75. I applied the back-solve method to infer the value of Theranos’ equity based on

purchases by investors of Series C-2 Preferred Stock at $17 per share. Because it is my

understanding that these capital raises were based on misrepresentations to investors

regarding the capabilities of the Company’s technology and progress with the Company’s

business model, I did not consider the back-solve method to provide a reliable indication of

the Company’s fair market value. The implementation of this method is discussed in the

appendix to this report.




                                           Page 27
      Case 5:18-cr-00258-EJD            Document 1645            Filed 11/12/22        Page 32 of 156



         Net Asset Value Method

     76. The net asset value method values a company at the book value of its stockholders’

     equity. The historical cost bases of assets, however, usually bear very little relationship to

     true market values. The method only reflects accounting history expressed in nominal

     dollars and not the potential of a going concern. Because of this limitation inherent in the

     net asset value method and because I was able to apply more appropriate methods, I did not

     use the net asset value method to value Theranos.

         Adjusted Net Asset Method

     77. Under the adjusted net asset method, the assets and liabilities of Theranos are

     expressed at their current market values with an offsetting adjustment to equity. The

     adjusted net asset method is generally appropriate for businesses that are early stages of

     development with unproven products or services (such as Theranos), about to be liquidated,

     or that have substantial capital investments in tangible assets such as real property. I have

     used the net asset value method to value Theranos. In applying this method, Theranos’

     underlying technology and brand intangible assets were adjusted to estimated fair market

     values by applying the cost to recreate method. This method considers that a buyer of the

     assets would contemplate the cost of developing such assets as an alternative to purchasing

     them.38




38
  AICPA Practice Aid: Valuation of Privately-Held-Company Equity Securities Issued as Compensation, 2013,
Sections 4.42 – 4.44 [accessed via Commerce Clearing House Accounting Research Manager Subscription]

                                                   Page 28
      Case 5:18-cr-00258-EJD               Document 1645            Filed 11/12/22          Page 33 of 156




      XI.        Value of Theranos at February 7, 2014

     78. The following discussion describes my process in estimating the fair market value of a

     100% equity interest in Theranos as of February 7, 2014.

            A.      Income Approach – Discounted Cash Flow Method

     79. As discussed previously, the discounted cash flow method is based upon the theory that

     the total value of a business is equal to the present value of the forecast future cash flows

     plus the present value of the terminal value. The present value determination is based on

     using a discount rate that reflects the expected rate of return that the market requires in

     order to attract funds to the particular investment. This rate is often referred to as a

     company’s “cost of capital.”

            Earnings Base
     80. My determination of value was calculated using a free cash flow to invested capital 39

     earnings base. An invested capital earnings base considers the cash flows of the subject

     company available to both debt and equity holders, which permits comparability of firms

     with differing capital structures. For my calculations, I defined debt as all interest-bearing

     debt, which includes capital leases. These invested capital earnings-based cash flows are

     calculated for a period through 2018 as shown in Exhibit C.6.




39
   Invested Capital is defined as “…the sum of equity and debt in a business enterprise. Debt is typically either (a)
all interest-bearing debt or (b) long-term Interest-bearing debt. When the term is used, it should be supplemented
by a specific definition in the given valuation context.” In the International Glossary of Business Valuation Terms as
published in Valuing a Business: The Analysis and Appraisal of Closely Held Companies by Shannon P. Pratt and
Alina V. Niculita, 5th Edition, Appendix A, p. 1072.

                                                      Page 29
      Case 5:18-cr-00258-EJD          Document 1645          Filed 11/12/22       Page 34 of 156




     81. The fair market value of Theranos’s invested capital was equal to the present value of

     Theranos’s free cash flow to invested capital. Theranos’s free cash flow to invested capital

     was determined as follows for a five-year period (as shown in Exhibit C.5):

                        Net Income (after tax, excluding interest expense)

                        +       Depreciation and Amortization

                        +/–     Increases or Decreases in Working Capital

                        –       Capital Expenditures

                        =       Free Cash Flow to Invested Capital



     82. For the free cash flow to invested calculation, I established a Weighted Average Cost of

     Capital (“WACC”) using the Modified Capital Asset Pricing Model (“CAPM”) for the cost of

     equity component of the WACC. The terminal value was determined by applying a market

     derived exit multiple to Theranos’ projected revenue and earnings before interest, taxes,

     depreciation, and amortization (“EBITDA”). The guideline public company peer group

     selection and analysis to support the terminal value is discussed in the next section of this

     report.

           Selection of Forecasts
     83. For purposes of my analysis, I requested from Counsel any available forecasts that the

     Company prepared in close proximity to the Valuation Dates. The available documents

     contained forecasts that were provided to investors 40, forecasts that appeared to be




 Mosley Materials, pp. 370-372, Summary Cap and Projected Income -KRM, pp. 3-5, Theranos Revenue
40

Model_PFM, Trial Exhibit 4859 Projected Statement of Income, 2_SEC-USAO-EPROD-001215410_native

                                                 Page 30
      Case 5:18-cr-00258-EJD          Document 1645          Filed 11/12/22      Page 35 of 156




     internally prepared for which I did not have record that they were provided to investors41,

     and the forecasts contained within the Aranca IRC 409A valuations as of 9/30/13, 12/15/14,

     and 3/25/15 42.

     84. The forecasts provided to investors who participated in the 2014 and early 2015

     financings were much more aggressive in terms of revenue growth than the forecasts

     applied by Aranca in the same time periods. Because these forecasts are associated with

     misrepresentations made to investors, and reflect extremely optimistic assumptions

     regarding near term revenue growth and profitability, I did not consider them reliable for

     implementing an income approach to the valuation of Theranos.

     85. The internally prepared forecasts that I reviewed and did not have evidence as to

     whether they were provided to investors, contained revenue growth and operating margin

     assumptions that were very similar to the investor forecasts. I did not consider these

     forecasts to be reliable for the same reason as that cited above for investor forecasts.

     86. The Aranca forecasts contained optimistic assumptions of high revenue growth and

     above industry operating margins, however their growth assumptions were orders of

     magnitude lower than those in the investor forecasts. A comparison is contained in Appendix

     Exhibits B.1 through B.3. Management prepared and accepted these forecasts for purposes

     of determining the fair market value of Theranos stock, and as a basis for Federal tax

     reporting for compensatory grants made to employees. In addition, I noted that Theranos’



41
   Projected Statement on Income_Jan 2015, Projected Statement on Income_Jan 2015-1, SEC-USAO-EPROD-
000808915, SEC-USAO-EPROD-000809708, SEC-USAO-EPROD-000875621, SEC-USAO-EPROD-001247904, SEC-
USAO-EPROD-001519025, 10.08.13 board docs.
42
   Trial Exhibits 5141, 5190, 5206 Attachment, 5209.

                                                Page 31
      Case 5:18-cr-00258-EJD             Document 1645            Filed 11/12/22        Page 36 of 156




     Board of Directors was presented forecasts in October 2013 43 that were very similar to those

     adopted by Aranca in their 9/30/13 409A 44, and that these forecasts were much lower than

     those presented to investors in January 2014 45. Finally, I observed that the Aranca forecasts

     were relatively consistent across the three IRC 409A reports that I reviewed with valuation

     dates between September 2013 and March 2015. For all of these reasons, I determined that

     the Aranca forecasts most closely aligned with management’s expectations on the Valuation

     Dates46. I relied on these forecasts as a starting point for applying my discounted cash flow

     method.

           Key Assumptions
     87. The key assumptions incorporated in the cash flow forecasts are set forth in Exhibit C.1

     to C.3. My assumptions are based balance sheet, income, expense, and capital expenditure

     forecasts that were developed in communications between Theranos management and

     Aranca 47. In vetting these forecasts, I considered the historical operations of Theranos, the

     Company’s stage of development, historical and forecast industry growth information, and

     economic conditions.

     88. My key assumptions as shown in Exhibits C.1 through C.3 and in D.1 are explained as

     follows:




43
   10.08.13 Board Docs, pp. 15-16, NUNN_THERANOS_0000665 - 0000666
44
   Trial Exhibit 5141, p. 59.
45
   Theranos Revenue Model_PFM (this document contains worksheet tabs that represent the two year forecast
provided by Theranos management to PFM in January 2014).
46
   Despite the Aranca forecasts being the best choice available among management prepared projections, I still
considered them overly optimistic for reasons explained in the discount rate selection section of this report.
47
   Trial Exhibits 3527, 5190.

                                                    Page 32
        Case 5:18-cr-00258-EJD            Document 1645           Filed 11/12/22   Page 37 of 156




      89. Revenue: Revenue was forecast to grow significantly through 2018, at which point it

      would still be higher than a long-term sustainable level, at 55.6% annual growth. Revenues

      are based on laboratory test services provided through retail pharmacies, physician’s offices,

      and hospitals. Because Theranos’ Edison device was not FDA approved, and could not

      perform many of the tests offered, the ability to generate these revenues in the near term

      were dependent on operation of Theranos’ laboratories in CA and AZ, with significant use of

      third party purchased equipment 48. In the long term, Theranos’ ability to successfully

      capture market share from companies such as Quest Diagnostics was highly dependent on

      successful development of its device, FDA approval, and ability to deliver a superior

      alternative to conventional laboratory tests.

      90. Cost of Revenues: Cost of revenues was forecast to be equal to 35.3% in of revenue in

      2014, decreasing to 30% in 2018.

      91. Operating Expenses: Operating expense levels were forecast to decrease from being

      significantly greater than revenue in 2014 to 24.7% of revenue in 2018. The forecasted

      operated expenses and cost of revenues result in an EBITDA margin of 45.3% in 2018 which

      is significantly above BizMiner and RMA industry medians of 11.2% and 8.8% respectively

      (Exhibit B.5). In addition, Theranos’ forecasted EBITDA margin is more than twice the upper

      quartile range of the guideline public companies of 20.7% (Exhibit D.2). I did not alter these

      very optimistic margin assumptions applied by Aranca and Theranos management, however




48
     Cross-examination of Elizabeth Holmes, 8016:12-8017:25, 8019:4-8020:13.

                                                     Page 33
 Case 5:18-cr-00258-EJD          Document 1645        Filed 11/12/22      Page 38 of 156




I did consider this variable in determining the appropriate WACC discount rate to apply to

the forecasts.

92. Capital Expenditures: Capital expenditures (“Capex”) were forecast to decrease from

being significantly greater than revenue in 2014 to 11.8% of revenue in 2018. Over the

forecast period, the projected capital expenditures significantly exceed industry metrics as a

percentage of revenue. The upper quartile of the public company peer group is 6.5% of

revenue (Exhibit D.2). I noted that Theranos appeared to classify its Edison “manufactured

device” as a fixed asset rather than as consumable inventory. This along with its large

investment in manufacturing equipment for the device may explain why the Company

required significantly higher capital expenditures than its peer group. This factor also

mitigates to a limited extent the Company’s very optimistic EBITDA margins as discussed

above.

93. Depreciation and Amortization: As shown in Exhibit C.3, depreciation was forecast to

decrease from significantly greater than revenue to 5.7% in 2018. Projected depreciation is

based on an estimated economic life of 7.5 years for new purchases, and 5 years of existing

fixed assets. These lives were inferred based on an analysis of historical depreciation and

accumulated depreciation relative to cost basis for the Company’s fixed assets.

94. Income Tax Rate: I applied a 40% income tax rate which approximates combined CA

State and Federal statutory corporate tax rates on the Valuation Dates.

95. Working Capital: Theranos’ forecasted working capital was based on the projected

difference between current operating assets and operating liabilities adopted by Aranca.



                                          Page 34
        Case 5:18-cr-00258-EJD             Document 1645           Filed 11/12/22   Page 39 of 156




      Aranca’s analysis did not include required operating cash which I added to the forecasts

      based on 180 days of operating expenses. This results in working capital stabilizing at 18.6%

      or revenue in 2018, as shown in Exhibit C.3. This is at the lower bound of the 22.8% to 48.7%

      range based on industry comparable data.

      96. Exit Multiple - Guideline Public Companies: The Company’s projected high revenue

      growth rate in 2018 is the reason why I estimated Theranos’ terminal value at 12/31/2018

      using an exit multiple under the guideline public company method, as shown in Exhibit D.1.

      Exhibit D.3 outlines the guideline public companies that I deem comparable to Theranos. I

      selected publicly traded companies that offer medical diagnostic tests in a laboratory

      setting, or rapid point of care tests outside of laboratory. These selected companies included

      Quest Diagnostics and Labcorp Diagnostics, which were discussed as comparators in

      Company management discussions with Mr. Grossman during Partner Fund Management’s

      (“PFM”) due diligence for its February 2014 investment in Theranos49. I also selected

      companies that developed diagnostic equipment for medical testing, such as Cepheid or

      Illumina, which were also discussed as comparators between Mr. Grossman and Theranos

      management. My selected peer group has a large degree of overlap with the guideline public

      companies selected by Aranca and Company management for IRC 409A purposes.

      97. Exit Multiple Selection: In Exhibit D.4, I compare Theranos at the end of the forecast

      period in 12/31/18 to the guideline public companies for a series of financial metrics, as of

      the 2/7/2014 Valuation Date. In Exhibit D.2, I have listed financial metrics of the guideline




49
     Trial testimony of Brian Grossman, November 16, 2021, 6381:5-11.

                                                     Page 35
 Case 5:18-cr-00258-EJD         Document 1645         Filed 11/12/22     Page 40 of 156




public companies as of 2/7/2014 and indicated with bordering those combinations of public

guideline company and metrics that I consider most comparable to Theranos.

98. If Theranos were to meet its forecasts through 2018, it would be of similar revenue size

to the guideline public companies, it would have experienced higher growth in the historical

period, it would be expected to realize modestly higher growth in the near future, it would

generate higher profit margins than the peer group, and it would require significantly larger

capital expenditures to sustain the Company compared to the peer group. I selected a MVIC

(market value of invested capital)/Revenue multiple of 6.10x, which is near the mean of the

peer group, and significantly above the median and upper quartile. This recognizes the

higher assumed profitability and growth of Theranos in 2018 compared to the peer group,

while accounting for the higher required capital expenditures of the Company. I selected

12.60x MVIC/EBITDA multiple that is between the median and lower quartile of the peer

group. Theranos’ higher profitability is inherent in the EBITDA figure, and should not be

reflected in the multiple. In addition, the higher capital expenditure requirements for

Theranos have a negative impact on the applicable multiple.

      Discount Rate
99. When considering any investment, an investor is exposed to various risks. These include

company, industry, economic, market, interest rate, and credit risks. The riskier the

investment, the higher the return expected. Discount and capitalization rates, as used in an

Income Approach to value a business, represent the return an investor would require in

order to choose a particular investment. It represents anticipated future return; past

returns, however, are often used to help determine a reasonable future rate.


                                          Page 36
        Case 5:18-cr-00258-EJD               Document 1645   Filed 11/12/22      Page 41 of 156




      100.In order to determine the appropriate discount rate that equity investors in Theranos

      required - the cost of equity of Theranos – I considered several commonly accepted

      approaches. Two widely used approaches for privately held companies are the Modified

      Capital Asset Pricing Model (“Modified CAPM”), and the Ibbotson’s Build-Up Model. Given

      the level of risk, and the resulting required rate of return of investor for an early-stage

      investment such as Theranos, I did not use either of the above methods, and instead

      estimated Theranos’ WACC using venture capital rates of return from several studies that

      are widely cited.50

      101.As shown in Exhibit C.4, I selected a venture capital cost of equity of 45%. The next step

      was to develop a WACC. This was derived by weighting the cost of equity and the after-tax

      cost of debt by their respective amounts in Theranos’s invested capital (based on industry

      capital structure). Because the industry use of debt was so low (only 3.0% of invested

      capital), the WACC ended up being 44% (rounded).

      102.Table 1 of Exhibit C.4 presents actual rates of return achieved on venture backed

      portfolio companies at different stages of development, and over different time horizons.

      The annual rates of return for a Seed/Early-Stage company such as Theranos are 25.5% to

      34.9% over a 10-year period. Such returns are appropriate if a forecast reflects expected

      value, which is a weighted average of possible future results. The Aranca forecasts I adopted

      are the most realistic version that was available in the documents that I reviewed, but they

      do not represent expected value.




50
     See footnotes 1 through 7 of Exhibit C.7.

                                                   Page 37
      Case 5:18-cr-00258-EJD             Document 1645            Filed 11/12/22        Page 42 of 156




     103.The Aranca forecasts do not consider downside risk, and early-stage companies face

     significant statistical risk of failure or under-performance 51. In addition, the forecasted

     revenues are predicated on Theranos’ ability to implement on its vision to offer very broad

     array of faster, lower cost, more accurate tests in a miniaturized device that would displace

     traditional labs such as Quest Diagnostics. As discussed in the background section to this

     report, this vision was unrealized on the Valuation Dates and the Company faced significant

     remaining development risk. I further note that the Edison was not FDA approved, and

     Theranos lab operations were likely not in compliance with CLIA quality standards on all of

     the Valuation Dates 52, and the forecasts assumed that Theranos would realize outsized 45%

     EBITDA margins that were far above industry norms. For all of these reasons, the Aranca

     forecasts did not reflect expected value, and therefore the applicable rate of return required

     an upwards adjustment to those demonstrated in Table 1 of Exhibit C.4.

     104.Tables 2 and 3 of Exhibit C.4 demonstrate target rates of return; the returns expected by

     Venture Capital investors if the investment is successful. These higher target rates of return

     (compared to actual returns) compensate for downside risk that is not included in a “success

     scenario” forecast such as the one applied by Aranca that I relied upon. The range of most

     target annual rates of return for Seed, Start-up and “early development” companies such as

     Theranos on the Valuation Dates is between 28% and 75%. When I derived the implied




51
   AICPA Accounting and Valuation Guide, Valuation of Portfolio Company Investments of Venture Capital and
Private Equity Funds and Other Investment Companies, May 1, 2019, Part II- Appendixes A-C, B.04.04. Also refer to
graphic entitled “Venture Capital is an Unusual Creature” directly following this section.
52
   Therano-no: Key CLIA Compliance Issues, Loyola University Chicago School of Law, May 5, 2022.
http://blogs.luc.edu/compliance/?p=4681


                                                    Page 38
      Case 5:18-cr-00258-EJD              Document 1645            Filed 11/12/22         Page 43 of 156




     annual rates of return that would reconcile forecasts provided by Theranos to investors to

     prices paid by those same investors in 2014 and 2015 53, the resulting range was similar at

     36% to 82% (Exhibit C.4). Based on this data for target rates of return applicable to Theranos

     on the Valuation Dates, I selected a cost of equity of 45% with a resulting WACC of 44%. My

     cost of equity selection is in the low end of the applicable target rates of return, as well as

     those inferred from investor forecasts. This favorable assumption results in a higher value

     for a Theranos, and a lower calculated investor loss.

     105.Utilizing a discounted cash flow to invested capital method with a WACC of 44.0%, I

     derived an estimate of value for Theranos of $431 million (rounded), on a 100% -controlling,

     marketable interest basis, as shown in Exhibit C.6. This is inclusive of Series C-1 and C-2

     financing proceeds through 2/7/2014 not included on the 12/31/2013 balance sheet. This is

     also net of interest-bearing debt.

          B. Asset Approach – Adjusted Net Asset Value

     106.In Exhibit E.1, I have estimated the value of Theranos using the adjusted net asset value

     method combined with a cost to recreate approach for Theranos’ technology and branding

     assets. The basis for application of this method is that Theranos was a near pre-revenue 54,

     pre-profit early-stage company with largely unproven technology on the Valuation Dates.

     The Company’s stage of development renders going concern income and market approaches




53
   Please refer to Appendix for an explanation of reconciliation of discounted cash flow approaches based on
forecasts provided to investors, to the $17 per share they agreed to invest at for Theranos Series C-2 Preferred
Stock.
54
   Theranos had revenues of $116,000 and $391,000 in calendar years 2014 and 2015, which were far below its
near-term management forecast expectations.

                                                     Page 39
      Case 5:18-cr-00258-EJD             Document 1645            Filed 11/12/22         Page 44 of 156




     to valuation less reliable, as future results may deviate significantly from forecasted

     expectations, due to development delays, technical failures, inability to obtain regulatory

     approvals, low market adoption and other factors. For such early-stage companies, adjusted

     net asset approaches are often applied, which reflect the fair market value of the company’s

     assets less its liabilities. In addition, intangible assets of such early-stage companies are often

     measured through cost approaches 55, which measure the cost to obtain or reproduce

     functionally similar or identical assets.

     107.I started with Theranos’ 12/1/2013 balance sheet and made three adjustments. I have

     added to cash those Series C-1 and C-2 financing proceeds through 2/7/2014 not included on

     the 12/31/2013 balance sheet. I have removed from other current liabilities the

     “miscellaneous receipts” liability that represents proceeds from the 2013 capital raises for

     which stock was not yet issued (for the reasons explained earlier in this report). Finally, I

     added the value of Theranos’ technology and branding assets, which I have estimated using

     the cost to recreate method, as shown in Exhibit E.2.

     108.In Exhibit E.2, I have categorized Theranos’ historical operating expenses based on trial

     balances prepared by the Company. My objective was to include any historical expenses that

     related to development of Theranos’ technology, and to developing recognition of the

     Theranos brand 56. I excluded any expenses that related to capital raising for Theranos, as



55
   AICPA Intangible Asset Valuation Cost Approach Methods and Procedures, p.25. Reasons to use the cost
approach include “if the subject intangible asset is not the type of asset that generates a measurable amount of
income”.
56
   Inclusion of expenditures related to developing Theranos brand recognition is favorable to the Company’s value
as it ignores the impact of management misrepresentations made to investors and business partners that would
damage the brand and potentially render it worthless.

                                                    Page 40
      Case 5:18-cr-00258-EJD             Document 1645           Filed 11/12/22        Page 45 of 156




     this would not create an intangible asset, and the cash proceeds of capital raises are

     included in my adjusted net asset method. Theranos’ largest categories of operating

     expenses such as salaries and wages did not include functional allocations to categories

     research and development, capital raising and investor relations, and general and

     administrative support. In such instances, I made a favorable assumption by including all

     expenses in my cost approach. This results in a higher valuation for Theranos and a lower

     calculated investor loss.

     109.Exhibit E.2 details my allocations of historical costs incurred by Theranos to the value of

     its technology and brand, and they result in capture of over 95% of Theranos operating

     expenses between 2004 and the Valuation Dates. I have then grown the allocated expenses

     at historical inflation rates to the Valuation Dates, deducted a 4% functional obsolescence

     adjustment which represents 50% of 2004-2006 expenses57, and added a 14% developer

     profit margin 58 to result in a cost to recreate value for Theranos’ technology and brand of

     $340.370 million. My valuation of Theranos’ technology and brand through a cost approach

     makes a favorable assumption that the Company’s significant historical expenditures into

     these assets have been productively spent, and that less than 5% of these expenditures are

     obsolete on the valuation date. The final step was to integrate this value into the adjusted

     net asset approach in Exhibit E.1 to result in a value of Theranos’ equity of $378 million

     (rounded) as of the 2/7/2014 Valuation Date.




57
   It is my understanding that Theranos began development of the Edison in 2007, and carried forward some of the
technology from the prior version of its device.
58
   This is based on the upper quartile of the guideline public company peer group EBIT margins in Exhibit D.2.

                                                   Page 41
      Case 5:18-cr-00258-EJD               Document 1645            Filed 11/12/22          Page 46 of 156




          C. Conclusion of 100% Equity Value

     110.My analysis results in a fair market value of Theranos on the 2/7/2014 Valuation Date in

     the range of $378 million to $431 million per Exhibit A.3. Allocation of these values to the

     different share classes (including Series C-2 Preferred Stock), warrants and options is also

     shown in Exhibit A.3, based on the equity allocation models developed in Exhibits L.1 and

     L.2, and Exhibits M.1 and M.2 which explained in the following section.

          D. Equity Allocation Models

     111.After I concluded my estimate of Theranos’ entire equity value, I allocated the

     Company’s value to its capital structure. The methodology that is commonly applied to

     allocate value to a complex capital structure for a going concern business is the option

     pricing equity allocation model (“OPM”), where common stock and each security in a

     company are treated as a call option on total company value. 59 The OPM will model future

     possible exit values for the company on a lognormal (bell shaped) distribution curve, 60 based

     on an estimated current equity value for the company, and an estimated volatility of the

     company’s equity in the future. The key inputs that the OPM requires to estimate a

     distribution of future possible exit values from a liquidity event include equity value on the

     valuation date, a risk-free rate of return, an estimated term to a future liquidity event, and

     an estimated volatility of the underlying equity value of the company. The higher the



59
   AICPA Practice Aid: Valuation of Privately-Held-Company Equity Securities Issued as Compensation, 2013,
Sections 6.30 – 6.41. [accessed via Commerce Clearing House Accounting Research Manager Subscription]
60
   The distribution of percentage returns on the stock are normally distributed in the option pricing model, creating
a symmetrical bell shaped curve. The distribution of stock prices (or company exit values) are lognormally
distributed creating a bell shaped curve that is asymmetrical, with a longer tail on the right side of the curve. This
occurs because as stock prices are constrained at zero on the left side of the curve, they cannot become negative.

                                                      Page 42
      Case 5:18-cr-00258-EJD               Document 1645             Filed 11/12/22         Page 47 of 156




     volatility input and the longer the term to liquidity, the more widely dispersed will be the

     resulting possible exit values on the bell-shaped distribution curve.

     112.The OPM considers the rights and preferences of each security, and at each possible

     future total exit value (typically from an IPO or sale of the company) it will allocate proceeds

     from that exit value to each class of securities. At high exit values, preferred stock will

     convert to common 61. At low exit values preferred stock will not convert to retain their

     liquidation preferences that exceed the value of common stock. At very low exit values,

     there may be zero payout to common stock and the preferred securities may not recover

     their full liquidation preferences. As a final step, the OPM will aggregate all the payouts to

     each security under future possible exits to determine the probability weighted present

     value of each class of securities. All the securities will sum to the total value of the company

     on the valuation date.

     113.I applied the OPM to allocate Theranos’ equity value to its securities, taking into account

     the first priority liquidation preferences of Series C, C-1 and C-2 62, the second priority

     liquidation preferences of Series A and B 63, and the fact that all preferred stock had

     participation rights with common stock in a liquidity event 64. I estimated an approximate 4

     year term to a liquidity event from the 2/7/2014 Valuation Date based on observation that


61
   In the case of Theranos, preferred stock retains participation rights with common stock. Preferred stock holders
receive their liquidation preferences + equal sharing with common stock in any residual exit value that exceeds
these preferences.
62
   Series C, C-1, C-2 preferred stock are repaid first in a liquidation or sale of the company, for an amount equal to
their initial investment prices of $0.564, $3.00 & $15.00, and $17.00 respectively. [Articles_Jan 2014, pp. 5-6,
Liquidation Rights. Certificate of Designation of Series C-2 Preferred Stock_2014.02.07, pp. 1-2, Liquidation Rights]
63
   Series A, B preferred stock are repaid second in a liquidation or sale of the company, for an amount equal to
their initial investment prices of $$0.15 and $0.1846 respectively. [Articles_Jan 2014, pp. 5-6, Liquidation Rights]
64
   All preferred stock share in any remaining residual liquidation or sale value equally with common stock without
having to convert to common stock. [Articles_Jan 2014, pp. 5-6, Liquidation Rights]

                                                       Page 43
 Case 5:18-cr-00258-EJD          Document 1645           Filed 11/12/22   Page 48 of 156




the Company’s forecasts estimated mature operating profit margins between 2017 and

2018, that the Company would become more attractive and saleable to an industry buyer

within that timeframe, that Aranca in their discussions with management had assumed a

company exit in 2018, and a 4 year term to liquidity in their 12/15/14 IRC 409A valuation.

114.Another significant input into the OPM is an estimate of Theranos’ future equity

volatility between the Valuation Dates and the date of the estimated liquidity event. I

analyzed the asset and equity volatilities of the same 22 guideline public company peer

group discussed earlier in this report. The median and average asset volatility of the peer

group was between 39% and 40%, and the upper quartile was 47% per Exhibit R.1. I selected

an asset volatility of 50% for Theranos, taking into account that it was earlier stage and

significantly smaller than the peer group companies as measured by revenues and market

value. Earlier stage companies are generally more volatile due to higher remaining

development and implementation risks. This is confirmed by the smallest companies in the

public peer group having asset volatilities that range between 47% and 101%. My final step

was to calculate the corresponding equity volatility of 55% for Theranos given the proportion

of financing debt and equity in its capital structure.

115.My analysis results in a range of per share values on a controlling marketable basis for

Theranos securities on the 2/7/14 Valuation Date shown in the lower section of Exhibit A.3.

 XII.   Value of Theranos at December 31, 2014

116.Using the same adjusted net asset value and discounted cash flow methods as those

used to value Theranos at the 2/7/2014 Valuation Date, including identical Aranca IRC 409A



                                           Page 44
      Case 5:18-cr-00258-EJD              Document 1645             Filed 11/12/22         Page 49 of 156




     forecasts, the resulting fair market value of Theranos’s equity on the 12/31/2014 Valuation

     Date was in the range $827 million to $951 million as shown in Exhibit A.4. Allocation of

     these values to the different share classes, warrants and options is also shown in Exhibit A.4,

     based on the equity allocation models developed in Exhibits N.1 and N.2, and Exhibits O.1

     and O.2. The volatility used in the equity allocations was developed in Exhibit R.2.

     117.The discounted cash flow and guideline public company methods are outlined in

     Exhibits F and G respectively. The adjusted net asset method combined with the cost to

     recreate method are outlined in Exhibits H.1 and H.2.

     XIII.   Value of Theranos at October 15, 2015

     118.Using the same adjusted net asset value and the discounted cash flow methods as those

     used to value Theranos at the 2/7/2014 Valuation Date, which included nearly identical

     Aranca IRC 409A forecasts 65, the resulting fair market value of Theranos on the 10/15/2015

     Valuation Date was in the range of $1,051 million to $1,184 million as shown in Exhibit A.5.

     Allocation of these values to the different share classes, warrants and options is also shown

     in Exhibit A.5, based on the equity allocation models developed in Exhibits P.1 and P.2, and

     Exhibits Q.1 and Q.2. The volatility used in the equity allocations was developed in Exhibit

     R.3.




65
  I applied the Aranca 3/25/15 IRC 409A forecasts to this valuation date, which are nearly identical to the
12/15/14 IRC 409A forecasts.

                                                      Page 45
     Case 5:18-cr-00258-EJD             Document 1645         Filed 11/12/22       Page 50 of 156




    119.The discounted cash flow and guideline public company methods are outlined in

    Exhibits I and J respectively. The adjusted net asset method combined with the cost to

    recreate method are outlined in Exhibits K.1 and K.2.

    XIV.       Conclusion of Values

    120.. A summary of my estimated fair market values is outlined below, and these include

    the Company’s substantial cash balances:

                              Cash
                             Balance
100% Company Equity Value              Series C-1 Per Share Series C-2 Per Share           Valuation    Report
                           Included in
   Range (In Thousands)                    Value Range          Value Range                  Date       Exhibit
                          Equity Value
                          (Thousands)

$    378,000     -   $   431,000 $   151,912 $ 8.77    -   $ 9.39 $ 9.90     -   $ 10.59   02-07-14    Exhibit A.3
$    827,000     -   $   951,000 $   465,933 $ 9.61    -   $ 10.36 $ 10.80   -   $ 11.63   12-31-14    Exhibit A.4
$ 1,051,000      -   $ 1,184,000 $   496,919 $ 10.14   -   $ 10.81 $ 11.37   -   $ 12.11   10-15-15    Exhibit A.5




    121. The aggregate Series C-1 and C-2 investor losses based on the Company values in the

    tables above range between $277.964 million and $315.884 million per Exhibit A.1 to this

    report. I have been asked to prepare an alternate calculation of investor loss based on my

    estimated values as of only the 10/15/2015 Valuation Date, which results in a range of

    aggregate loss between $237.323 million and $273.646 million.




Dated: September 8, 2022
                                         Carl S. Saba, MBA, CVA, ASA, ABV




                                                 Page 46
 Case 5:18-cr-00258-EJD           Document 1645         Filed 11/12/22      Page 51 of 156




 XV.     Appendix

       A. Investor Financings – Back-solve Methods

122.There are two general processes for establishing the value of an enterprise and its

associated classes of stock. The first is a top-down process that establishes the fair market

value of the enterprise and then allocates this value among the various classes of equity.

The second, and the way that I used under the back-solve method, is a bottom-up process

that uses the pricing of a recent stock transaction to infer the value of the other classes of

equity. This in turn establishes an implied total equity value for the subject company.

Inferring value from investments in a company is a form of the market approach referred to

as the back-solve method. This approach is frequently applied to early stage companies and

is discussed in the AICPA Practice Aid on Valuation of Privately-Held-Company Equity

Securities Issued as Compensation. The back-solve method utilizes the same OPM

framework discussed earlier in this report that I used to allocate my estimated values for

Theranos to its securities.

123.I applied the back-solve method with the same OPM assumptions used for the equity

allocation models previously described on the three Valuation Dates. The primary difference

in this analysis is that I did not have an established value for Theranos’ equity. I instead

solved for the implied value of Theranos’ equity based on the $17.00 per share paid by

Series C-2 investors throughout 2014. I performed this analysis as of the 2/7/14 Valuation

Date, and 12/31/14 Valuation Date. In addition, I approximated the implied equity value of

Theranos as of 2/13/15, the investment date for Mr. Murdoch, by adding his $125 million

investment amount to the 12/31/14 back-solve value. The resulting implied equity values for

                                           Page 47
      Case 5:18-cr-00258-EJD              Document 1645           Filed 11/12/22         Page 52 of 156




     Theranos based on investor pricing of Series C-2 preferred stock is $1,510 million, $2,250

     million and $2,375 million 66 as of 2/7/14, 12/31/14, and 2/13/15 respectively (Appendix

     Exhibit A). The supporting back-solve models are contained in the Appendix Exhibits C.1 –

     C.3, and D.1 – D.3 respectively for the first two valuation dates.

          B. Investor Forecasts – DCF Models

     124.As part of my analysis, I have also reviewed the forecasts provided to investors as part

     of their due diligence process at various points in time in the period from February 2014 to

     April 2015. As discussed earlier in this report, the forecasts provided to investors presented

     revenue growth rates and thresholds that were orders of magnitude higher than those

     provided to Aranca for IRC 409A purposes (and also shared with the Theranos Board in

     October 2013) in the same approximate time frame. The comparison of revenues, gross

     margin, and EBITDA margin between forecasts provided to investors vs. Aranca is contained

     in Appendix Exhibits B.1 – B.3. An example of the significant discrepancies is a comparison of

     projected revenues in Exhibit B.1 for calendar year 2015. Forecasts provided to investors

     assumed Theranos’ revenue would range between $990 million and $1,677 million, which is

     approximately 9 to 15 times higher than the forecasts provided to Aranca with revenues of

     $112 to $113 million.




66
  These are not my opinions of the equity value of Theranos, they represent the values assigned to the Company
based on investors’ willingness to pay the $17 per share for Series C-2 preferred offered by Theranos management.
There are a number of references in press articles to a valuation for Theranos of approximately $9 billion in this
timeframe. My inferred values are substantially lower due to the back-solve model’s recognition of superior
economic rights (such as liquidation preferences) to Series C-2 preferred stock as compared to all other inferior
securities. The approximate $9 billion figure can be achieved by multiplying all shares outstanding for Theranos on
these dates by the $17 per share paid for Series C-2. This simplified post-money approach would incorrectly
assume that all securities have equal value to the most senior Series C-2 preferred stock.

                                                     Page 48
 Case 5:18-cr-00258-EJD          Document 1645         Filed 11/12/22      Page 53 of 156




125.Given that investors reviewed the forecasts provided to them as one of the factors that

they considered in their decision to invest in Series C-2 at $17 per share, I considered that it

would be informative to estimate the implied annual rates of return that investors placed on

those forecasts, and to compare those rates of return to the target VC rates of return study

data. This would provide additional information to consider in selecting my discount rate for

the income approach described in the main section of this report.

126.I applied income approaches with a market derived exit multiple (similar to that

discussed in the main section of this report) using the following investor forecasts:


•   Management prepared two-year forecasts provided to PFM in January 2014 for their

    2/7/14 investment (Appendix Exhibit E.1 – E.3).


•   Financial model developed by PFM based on the management forecasts above, which

    extend the two-year forecast horizon to a ten year period. I relied on PFM’s “base case”

    version of the model (Appendix Exhibit E.4 – E.5).


•   Management prepared two-year forecasts provided to Daniel Mosley and RDV

    Corporation for their October 2014 investment (Appendix Exhibit F.1 -F.3).


•   Management prepared two-year forecasts provided to Rupert Murdoch for his February

    2015 investment (Appendix Exhibit G.1 – G.3).

127.In each instance, I translated the investor two-year forecasts into a discounted cash flow

method, and estimated a market exit multiple of revenue or EBITDA applicable to Theranos

at the end each forecast period (similar to that described in the main section of this report).

For the PFM financial model, I did not apply a market exit multiple as the forecast horizon

                                           Page 49
 Case 5:18-cr-00258-EJD          Document 1645        Filed 11/12/22     Page 54 of 156




was extended far enough to allow for Theranos to reach steady state growth rates and

margins. This allowed me to apply a standard perpetuity formula to capture all cash flows

that would follow the discrete forecast period.

128.My final step was to solve for the rate of return that would be required to reconcile the

Theranos equity value resulting from investor forecast discounted cash flow methods to the

back-solve values of Theranos from investor pricing discussed earlier. That reconciliation is

shown on Exhibit A, and results in annual rates of return on investor proceeds ranging from

36% to 82%. As discussed in the section of this report where I explained my selection of the

discount rate under the income approach, these rates of return are generally consistent with

target VC rates of return study data for companies at early stages of development (refer to

Exhibit C.4 for comparison).




                                          Page 50
    Case 5:18-cr-00258-EJD         Document 1645         Filed 11/12/22     Page 55 of 156




        C. Assumptions and Limiting Conditions

In addition to those cited elsewhere in this report, other assumptions and limiting conditions

pertaining to the estimate of value stated in this report are summarized below.


1. The estimates of value arrived at herein are valid only for the stated purpose as of the dates

   of the valuations.

2. Public information and industry and statistical information have been obtained from

   sources I believe to be reliable. However, I make no representation as to the accuracy or

   completeness of such information and have performed no procedures to corroborate the

   information.

3. No change of any item in this report shall be made by anyone other than Hemming Morse,

   LLP, and I shall have no responsibility for any unauthorized change.

4. I have not conducted interviews with the management of Theranos concerning the past,

   present, and prospective operating results of the Company. I have instead relied upon

   materials itemized in Appendix Exhibit I, Evidence Relied Upon in the determination of my

   opinions of value.

5. This report reflects facts and conditions existing at the Valuation Dates. Subsequent events

   have not been considered unless they evidence facts and circumstances that were known or

   knowable on the Valuation Dates, and I have no obligation to update my report for such

   events.

6. This report is designed to give estimates of value. It does not purport to be a

   comprehensive list of all of the considerations undertaken in order to arrive at my estimates

                                             Page 51
    Case 5:18-cr-00258-EJD            Document 1645           Filed 11/12/22   Page 56 of 156




   of value. It is not an accounting report, and it should not be relied on to disclose unreported

   assets or liabilities, or to verify financial reporting.

7. This report contains a review and discussion of information contained in trial balances,

   financial statements, and tax returns prepared by Theranos. The majority of this financial

   data is not CPA Audited, Reviewed, or Compiled. I have applied some procedures to

   corroborate financial information on the Company between different sources, and have

   generally assumed this information to be a reliable representation of Theranos’ books and

   records.




                                                Page 52
    Case 5:18-cr-00258-EJD         Document 1645         Filed 11/12/22     Page 57 of 156




        D. Certifications and Representation

I certify and represent that, to the best of my knowledge and belief:
1. the statements of fact in this report are true and correct;

2. the reported analyses, opinions, and conclusions are limited only by the reported

   assumptions and limiting conditions, and are my personal, unbiased professional analyses,

   opinions, and conclusions;

3. Hemming Morse, LLP and its employees have no present or prospective interest in or bias

   with respect to the property that is the subject of this report, and the employees of

   Hemming Morse, LLP and I have no personal interest or bias with respect to the parties

   involved;

4. I have performed no services, as an appraiser or in any other capacity, regarding the

   property that is the subject of this report within the three-year period immediately

   preceding acceptance of this assignment;

5. my engagement in this assignment was not contingent upon developing or reporting

   predetermined results;

6. my fee for completing this assignment is not contingent upon the development or reporting

   of a predetermined values or direction in values that favor the cause of the client, the

   amount of the value opinions, the attainment of stipulated results, or the occurrence of any

   subsequent events directly related to the intended use of this appraisal;




                                             Page 53
    Case 5:18-cr-00258-EJD         Document 1645         Filed 11/12/22     Page 58 of 156




7. my analyses, opinions, and conclusions were developed, and this report has been prepared

   in conformity with Uniform Standards of Professional Appraisal Practice and with the

   American Institute of Certified Public Accountants’ Statement on Standards for Valuation

   Services No. 1 (“SSVS”);

8. Brian Zacharias, Claudia Stern, and Sacha Zadmehran provided significant business and/or

   intangible asset appraisal assistance to the person signing this certification/representation;

9. the analyses, opinions, and conclusions of value included in the valuation report are subject

   to the specified assumptions and limiting conditions, and they are the personal analyses,

   opinions, and conclusions of value of the valuation analyst;

10. the economic and industry data included in the valuation report have been obtained from

   various printed or electronic reference sources that the valuation analyst believes to be

   reliable. The valuation analyst has not performed any corroborating procedures to

   substantiate that data;

11. the parties, for whom the information and use of the valuation report is restricted, are

   identified; the valuation report is not intended to be and should not be used by anyone

   other than such parties;

12. I have no obligation to update the report or the opinions of value for information that

   comes to my attention after the date of the report;

Dated: September 8, 2022




Carl S. Saba, MBA, CVA, ASA, ABV

                                             Page 54
     Case 5:18-cr-00258-EJD               Document 1645    Filed 11/12/22   Page 59 of 156


XVI. Exhibit List
Investor Loss Calculation                                                   Exhibit A.1
Series C-1 & C-2 Investor Details List                                      Exhibit A.2
Value Summary 2/7/14                                                        Exhibit A.3
Value Summary 12/31/14                                                      Exhibit A.4
Value Summary 10/15/15                                                      Exhibit A.5


2/7/2014 Valuation Date
Historical Balance Sheets                                                   Exhibit B.1
Historical Income Statements                                                Exhibit B.2
Adjustments to Financial Statements                                         Exhibit B.3
Adjusted Balance Sheets                                                     Exhibit B.4
Adjusted Income Statements                                                  Exhibit B.5
Comparative Financial Ratios                                                Exhibit B.6

Discounted Cash Flow Key Assumptions                                        Exhibit C.1
Adjusted Working Capital Analysis                                           Exhibit C.2
Depreciation & Capital Expenditure Analysis                                 Exhibit C.3
Discount Rate - Venture Capital Rates of Return                             Exhibit C.4
Forecast Free Cash Flow to Invested Capital                                 Exhibit C.5
Discounted Cash Flow Method Value Summary                                   Exhibit C.6

Guideline Public Company Method                                             Exhibit D.1
Guideline Public Company Key Financial Ratios                               Exhibit D.2
Guideline Public Company Descriptions                                       Exhibit D.3
Guideline Public Company Ranking                                            Exhibit D.4

Adjusted Net Asset Value                                                    Exhibit E.1
Cost to Recreate Method - Technology and Branding Assets                    Exhibit E.2

12/31/2014 Valuation Date
Discounted Cash Flow Key Assumptions                                        Exhibit F.1
Adjusted Working Capital Analysis                                           Exhibit F.2
Depreciation & Capital Expenditure Analysis                                 Exhibit F.3
Discount Rate - Venture Capital Rates of Return                             Exhibit F.4
Forecast Free Cash Flow to Invested Capital                                 Exhibit F.5
Discounted Cash Flow Method Value Summary                                   Exhibit F.6

Guideline Public Company Method                                             Exhibit G.1
Guideline Public Company Key Financial Ratios                               Exhibit G.2
Guideline Public Company Descriptions                                       Exhibit G.3
Guideline Public Company Ranking                                            Exhibit G.4

Adjusted Net Asset Value                                                    Exhibit H.1
Cost to Recreate Method - Technology and Branding Assets                    Exhibit H.2


10/15/2015 Valuation Date
Discounted Cash Flow Key Assumptions                                        Exhibit I.1
Adjusted Working Capital Analysis                                           Exhibit I.2
Depreciation & Capital Expenditure Analysis                                 Exhibit I.3
Discount Rate - Venture Capital Rates of Return                             Exhibit I.4
Forecast Free Cash Flow to Invested Capital                                 Exhibit I.5
Discounted Cash Flow Method Value Summary                                   Exhibit I.6

Guideline Public Company Method                                             Exhibit J.1
Guideline Public Company Key Financial Ratios                               Exhibit J.2
Guideline Public Company Descriptions                                       Exhibit J.3
Guideline Public Company Ranking                                            Exhibit J.4
     Case 5:18-cr-00258-EJD               Document 1645             Filed 11/12/22      Page 60 of 156

Adjusted Net Asset Value                                                                Exhibit K.1
Cost to Recreate Method - Technology and Branding Assets                                Exhibit K.2


Equity Allocation Models
NAV Equity Allocation 2/7/14 - Step 1                                                   Exhibit L.1
NAV Equity Allocation 2/7/14 - Step 2                                                   Exhibit L.2

DCF Equity Allocation 2/7/14 - Step 1                                                   Exhibit M.1
DCF Equity Allocation 2/7/14 - Step 2                                                   Exhibit M.2

NAV Equity Allocation 12/31/14 - Step 1                                                 Exhibit N.1
NAV Equity Allocation 12/31/14 - Step 2                                                 Exhibit N.2

DCF Equity Allocation 2/7/14 - Step 1                                                   Exhibit O.1
DCF Equity Allocation 2/7/14 - Step 2                                                   Exhibit O.2

NAV Equity Allocation 10/15/15 - Step 1                                                 Exhibit P.1
NAV Equity Allocation 10/15/15 - Step 2                                                 Exhibit P.2

DCF Equity Allocation 10/15/15 - Step 1                                                 Exhibit Q.1
DCF Equity Allocation 10/15/15 - Step 2                                                 Exhibit Q.2


Volatility Models
Volatility Analysis 2/7/14                                                              Exhibit R.1
Volatility Analysis 12/31/14                                                            Exhibit R.2
Volatility Analysis 10/15/15                                                            Exhibit R.3


Appendix
Summary of Investor Values                                                           Appendix Exhibit A

Summary of Revenue Forecasts                                                     Appendix Exhibit B.1
Summary of Gross Profit Forecasts                                                Appendix Exhibit B.2
Summary of EBITDA Forecasts                                                      Appendix Exhibit B.3

Backsolve Method Value Summary 2/7/14                                            Appendix Exhibit C.1
Backsolve Method 2/7/14 - Step 1                                                 Appendix Exhibit C.2
Backsolve Method 2/7/14 - Step 2                                                 Appendix Exhibit C.3

Backsolve Method Value Summary 12/31/14                                          Appendix Exhibit D.1
Backsolve Method 12/31/14 - Step 1                                               Appendix Exhibit D.2
Backsolve Method 12/31/14 - Step 2                                               Appendix Exhibit D.3

PFM Forecast - Depreciation & Capital Expenditure Analysis                       Appendix Exhibit E.1
PFM Forecast Free Cash Flow to Invested Capital                                  Appendix Exhibit E.2
PFM Forecast - Discounted Cash Flow Method                                       Appendix Exhibit E.3

PFM (Base Model) Forecast Free Cash Flow to Invested Capital                     Appendix Exhibit E.4
PFM (Base Model) Forecast - Discounted Cash Flow Method                          Appendix Exhibit E.5

Mosley-RDV Forecast - Depreciation & Capital Expenditure Analysis                Appendix Exhibit F.1
Mosley-RDV Forecast Free Cash Flow to Invested Capital                           Appendix Exhibit F.2
Mosley-RDV Forecast - Discounted Cash Flow Method                                Appendix Exhibit F.3

Murdoch Forecast - Depreciation & Capital Expenditure Analysis                   Appendix Exhibit G.1
Murdoch Forecast Free Cash Flow to Invested Capital                              Appendix Exhibit G.2
Murdoch Forecast - Discounted Cash Flow Method                                   Appendix Exhibit G.3

Carl Saba Curriculum Vitae                                                           Appendix Exhibit H

Documents Considered or Relied Upon                                                  Appendix Exhibit I
                                    Case 5:18-cr-00258-EJD                Document 1645               Filed 11/12/22          Page 61 of 156


US v. Elizabeth Holmes                                                                                                                                               Exhibit A.1
Valuation of Theranos, Inc.                                                                                                                             Investor Loss Calculation
                                                                                                                                                                          (USD)


                                                                                                      Series C-1        Series C-2        Investor Loss Value Range [3]
         Incremental          Series C-1      Series C-2                                              Purchase          Purchase
          Loss Date           Shares [1]      Shares [2]          Low Value         High Value          Price             Price             Low          -        High

           2/7/2014                              9,669,998    $         9.90    $         10.59                     $         17.00   $    62,004,902    - $      68,689,534

           2/7/2014             7,500,032                               8.77               9.39             15.00                          42,100,107             46,740,488

          12/31/2014                   N/A      32,808,227             10.80              11.63               N/A             17.00       124,318,072    -       143,386,658

          10/15/2015                   N/A      42,947,639             11.37              12.11               N/A             17.00        49,541,379    -        57,067,784


                                                                                                                        Total Loss    $   277,964,460    - $     315,884,464




          10/15/2015            6,563,232                              10.14              10.81   $         15.00                     $    27,479,453        $    31,923,063

          10/15/2015                            42,947,639             11.37              12.11                               17.00       209,843,062    -       241,722,753

                                                                                           Total Loss, Alternate Calculation [4]      $   237,322,514    - $     273,645,817




Notes:
[1] Preferred Series C-1 shares with an issue price and liquidation preference of $15.0 per share.
[2] Preferred Series C-2 shares with an issue price and liquidation preference of $17.0 per share.
[3] Losses calculated at each date based on incremental increase in share count relative to prior date.
[4] The alternate calculation measures loss based on the value of all Series C-1 and C-2 shares as of 10/15/15, rather than the valuation date closest to when the investment
    was made.
[5] Share counts presented above do not include shares held by Defendant.
                                              Case 5:18-cr-00258-EJD                                     Document 1645                          Filed 11/12/22                     Page 62 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                          Exhibit A.2
Valuation of Theranos, Inc.                                                                                                                                                                                            Series C-1 & C-2 Investor Details List
                                                                                                                                                                                                                                                     (USD)




                                                             Class of                                               Investment      Price Paid Per
                         Investor Name                        Stock        Certificate Date        Shares             Amount            Share        Fair Market Value Per Share             Investor Loss                           Notes

      Walgreen                                             Series C-2          01/07/14             2,941,176   $      49,999,992   $        17.00   $    9.90    -   $   10.59    $ 18,859,086 -     $   20,892,249            Convertible Note
      CENTRAL VALLEY ADMINISTRATORS INC.                   Series C-2          02/07/14               294,117           4,999,989            17.00        9.90    -       10.59       1,885,905 -          2,089,221
      PARTNER INVESTMENTS, LP                              Series C-2          02/07/14             3,263,529          55,479,993            17.00        9.90    -       10.59      20,926,043 -         23,182,041
      PEER VENTURES GROUP IV L.P.                          Series C-2          02/07/14               779,411          13,249,987            17.00        9.90    -       10.59       4,997,654 -          5,536,442
      PFM HEALTHCARE MASTER FUND, LP                       Series C-2          02/07/14             2,255,096          38,336,632            17.00        9.90    -       10.59      14,459,879 -         16,018,772
      PFM HEALTHCARE PRINCIPALS FUND, LP                   Series C-2          02/07/14               136,669           2,323,373            17.00        9.90    -       10.59         876,334 -            970,810
      RILEY P. BECHTEL & SUSAN P. BECHTEL                  Series C-2          03/18/14                 8,823            149,991             17.00       10.80    -       11.63          47,405 -             54,676
      RILEY P. BECHTEL & SUSAN P. BECHTEL                  Series C-2          03/18/14               291,177           4,950,009            17.00       10.80    -       11.63       1,564,448 -          1,804,412
      ANDREAS C. DRACOPOULOS                               Series C-2          10/31/14             1,470,588          24,999,996            17.00       10.80    -       11.63       7,901,238 -          9,113,174
      LAKESHORE CAPTL MGMT                                 Series C-2          10/31/14             5,882,352          99,999,984            17.00       10.80    -       11.63      31,604,954 -         36,452,695
      MOSLEY FAMILY HOLDINGS LLC                           Series C-2          10/31/14               352,941           5,999,997            17.00       10.80    -       11.63       1,896,297 -          2,187,161
      Cox Investment Holdings, Inc.                        Series C-2          11/03/14             5,882,352          99,999,984            17.00       10.80    -       11.63      31,604,954 -         36,452,695
      MADRONE PARTNERS, LP                                 Series C-2          12/15/14             5,882,352          99,999,984            17.00       10.80    -       11.63      31,604,954 -         36,452,695
      SODA SPRING PARTNERS, LP                             Series C-2          12/15/14             2,941,176          49,999,992            17.00       10.80    -       11.63      15,802,477 -         18,226,347
      THE HENRY A. KISSINGER 2014                          Series C-2          12/15/14               176,470           2,999,990            17.00       10.80    -       11.63         948,146 -          1,093,577
      BENDEL FUND                                          Series C-2          12/31/14               249,998           4,249,966            17.00       10.80    -       11.63       1,343,200 -          1,549,227
      K.R. Murdoch                                         Series C-2          02/13/15             7,352,941         124,999,997            17.00       11.37    -       12.11      35,926,623 -         41,384,653
      David Boies                                          Series C-2          03/06/15                17,647            299,999             17.00       11.37    -       12.11          86,224 -             99,323
      EOSon Investments M Ltd.                             Series C-2          03/30/15             1,058,823          17,999,991            17.00       11.37    -       12.11       5,173,431 -          5,959,387
      EOSon Investments N Ltd.                             Series C-2          03/30/15               117,647           1,999,999            17.00       11.37    -       12.11         574,826 -            662,154
      Robert Kraft Attn: Michael Joyce                     Series C-2          03/31/15                58,823            999,991             17.00       11.37    -       12.11         287,410 -            331,074
      INMOBILIARIA CARSO, SA de CV                         Series C-2          04/16/15             1,764,705          29,999,985            17.00       11.37    -       12.11       8,622,386 -          9,932,312
                                                                               TOTAL               43,178,813   $     734,039,821                                                  $ 236,993,874      $ 270,445,096                    [1]


      Safeway                                              Series C-1          08/19/11             1,000,000   $      15,000,000   $        15.00   $     8.77   -   $    9.39    $    5,613,324 -   $    6,232,038            Convertible Note
      Walgreen                                             Series C-1          06/14/12             2,000,000          30,000,000            15.00         8.77   -        9.39        11,226,647 -       12,464,077            Convertible Note
      George Shultz                                        Series C-1          02/19/13               200,000           3,000,000            15.00         8.77   -        9.39         1,122,665 -        1,246,408
      PEER VENTURES GROUP IV, L.P.                         Series C-1          06/10/13             1,180,000          17,700,000            15.00         8.77   -        9.39         6,623,722 -        7,353,805
      Richard Kovacevich                                   Series C-1          08/01/13                10,000            150,000             15.00         8.77   -        9.39            56,133 -           62,320
      Richard Kovacevich                                   Series C-1          08/02/13               133,333           1,999,995            15.00         8.77   -        9.39           748,441 -          830,936
      Lucas Venture Group XI                               Series C-1          09/30/13               261,334           3,920,010            15.00         8.77   -        9.39         1,466,952 -        1,628,644
      Lucas Venture Group IV LP                            Series C-1          09/30/13                33,334            500,010             15.00         8.77   -        9.39           187,115 -          207,739
      PEER VENTURES GROUP IV, L.P.                         Series C-1          09/30/13             1,000,000          15,000,000            15.00         8.77   -        9.39         5,613,324 -        6,232,038
      Lucas Venture Group XI                               Series C-1          10/01/13               126,666           1,899,990            15.00         8.77   -        9.39           711,017 -          789,387
      Lucas Venture Group XI                               Series C-1          10/02/13                45,000            675,000             15.00         8.77   -        9.39           252,600 -          280,442
      Lucas Venture Group XI                               Series C-1          10/07/13                15,000            225,000             15.00         8.77   -        9.39            84,200 -           93,481
      Lucas Venture Group XI                               Series C-1          10/09/13                11,667            175,005             15.00         8.77   -        9.39            65,491 -           72,709
      Lucas Venture Group XI                               Series C-1          10/15/13                10,000            150,000             15.00         8.77   -        9.39            56,133 -           62,320
      Lucas Venture Group XI                               Series C-1          10/30/13                 1,666              24,990            15.00         8.77   -        9.39             9,352 -           10,383
      Alan Eisenman                                        Series C-1          12/30/13                 6,666              99,990            15.00         8.77   -        9.39            37,418 -           41,543
      Gordon Family Trust                                  Series C-1          12/30/13                20,000            300,000             15.00         8.77   -        9.39           112,266 -          124,641
      Crofton Capital GP                                   Series C-1          12/30/13                20,000            300,000             15.00         8.77   -        9.39           112,266 -          124,641
      Sherrie Eisenman                                     Series C-1          12/30/13                 3,333              49,995            15.00         8.77   -        9.39            18,709 -           20,771
      PEER VENTURES GROUP IV, L.P.                         Series C-1          12/31/13               169,995           2,549,925            15.00         8.77   -        9.39           954,237 -        1,059,415
      Hall Black Diamond II, LLC                           Series C-1          12/31/13               325,000           4,875,000            15.00         8.77   -        9.39         1,824,330 -        2,025,413
      Black Diamond Ventures XII-B, LLC                    Series C-1          12/31/13               356,660           5,349,900            15.00         8.77   -        9.39         2,002,048 -        2,222,719
      Richard Kovacevich                                   Series C-1          12/18/13               133,333           1,999,995            15.00         8.77   -        9.39           748,441 -          830,936
      Colin Carter                                         Series C-1          01/06/14                16,666            249,990             15.00         8.77   -        9.39            93,552 -          103,863
      Daniel C. Carter                                     Series C-1          01/07/14                 5,000              75,000            15.00         8.77   -        9.39            28,067 -           31,160
      Mendenhall TF Partners                               Series C-1          01/14/14                87,500           1,312,500            15.00         8.77   -        9.39           491,166 -          545,303
      Kendra Fadil                                         Series C-1          01/14/14                 5,000              75,000            15.00         8.77   -        9.39            28,067 -           31,160
      Boies, Schiller & Flexner LLP                        Series C-1          01/14/14               322,879           4,843,185            15.00         8.77   -        9.39         1,812,424 -        2,012,194
                                                                               TOTAL                7,500,032   $     112,500,480                                                  $ 42,100,107       $      46,740,488




Notes:
[1] Series C-2 shares per investor detail above exceed share count in Aranca 3/25/15 409A by 231,174 shares.
                                     Case 5:18-cr-00258-EJD           Document 1645             Filed 11/12/22         Page 63 of 156


US v. Elizabeth Holmes                                                                                                                                          Exhibit A.3
Valuation of Theranos, Inc.                                                                                                                           Value Summary 2/7/14
As of February 7, 2014                                                                                                           (thousands of USD, except Per Share Value)


     Equity Value
                                                                                            Indicated Value Range
     Valuation Methods                              Ref.                    Low                       --                       High

       Adjusted Net Asset Value Method           Exhibit E.1     $                378,000
       Discounted Cash Flow Method               Exhibit C.6                                                           $              431,000



     Per Share Value


                                                                     Adj. Net Asset Value Method Value Allocation      Discounted Cash Flow Method Value Allocation
                                                                                                Present Value                                       Present Value
                                                  Shares               Present Value              Per Share                Present Value              Per Share
                    Share Classes               Outstanding             Marketable               Marketable                 Marketable               Marketable
       Preferred Shares
         Series A @ $0.150                         46,320,045    $            15,971,798    $                   0.34   $         19,704,031     $                0.43
         Series B @ $0.1846                        54,162,965                 19,200,011                        0.35             23,640,024                      0.44
         Series C @ $0.564                         58,896,105                 36,586,427                        0.62             42,179,901                      0.72
         Series C-1 @ $3.00                        25,175,001                 50,247,440                        2.00             54,863,296                      2.18
         Series C-1 @ $15.00                        7,500,032                 65,759,992                        8.77             70,400,373                      9.39
         Series C-2 @ $17.00                        9,669,998                 95,700,432                        9.90            102,385,064                     10.59
       Total Preferred Shares                     201,724,146                283,466,099                                        313,172,690
       Warrants on Common
        Exercise Price @ $0.072                        741,665                    202,862                       0.27                  254,789                       0.34
       Common - Outstanding                       302,640,465                  91,674,991                       0.30            114,224,663                         0.38
       Options on Common
         Exercise Price @ $0.015                       350,000                    104,602                       0.30                 130,472                        0.37
         Exercise Price @ $0.030                     1,227,125                    359,949                       0.29                 449,631                        0.37
         Exercise Price @ $0.066                       552,500                    155,386                       0.28                 194,741                        0.35
         Exercise Price @ $0.072                     3,092,715                    845,929                       0.27               1,062,459                        0.34
         Exercise Price @ $0.094                       312,500                     81,901                       0.26                 103,201                        0.33
         Exercise Price @ $0.170                     3,990,167                    953,270                       0.24               1,209,524                        0.30
         Exercise Price @ $0.206                       703,195                    155,010                       0.22                 197,832                        0.28
       Total Options Outstanding                    10,228,202                  2,656,047                                          3,347,859
     Total Outstanding                            515,334,478    $            378,000,000                              $        431,000,000
                                     Case 5:18-cr-00258-EJD           Document 1645             Filed 11/12/22         Page 64 of 156


US v. Elizabeth Holmes                                                                                                                                          Exhibit A.4
Valuation of Theranos, Inc.                                                                                                                        Value Summary 12/31/14
As of December 31, 2014                                                                                                          (thousands of USD, except Per Share Value)


     Equity Value
                                                                                            Indicated Value Range
     Valuation Methods                              Ref.                    Low                       --                       High

       Adjusted Net Asset Value Method           Exhibit H.1     $                827,000
       Discounted Cash Flow Method               Exhibit F.6                                                           $              951,000



     Per Share Value


                                                                     Adj. Net Asset Value Method Value Allocation      Discounted Cash Flow Method Value Allocation
                                                                                                Present Value                                       Present Value
                                                  Shares               Present Value              Per Share                Present Value              Per Share
                    Share Classes               Outstanding             Marketable               Marketable                 Marketable               Marketable
       Preferred Shares
         Series A @ $0.150                         46,320,045    $            32,977,000    $                 0.71     $         41,348,789     $                0.89
         Series B @ $0.1846                        54,134,965                 39,131,429                      0.72               49,002,864                      0.91
         Series C @ $0.564                         58,896,105                 58,956,625                      1.00               70,461,233                      1.20
         Series C-1 @ $3.00                        25,175,001                 61,774,321                      2.45               69,038,049                      2.74
         Series C-1 @ $15.00                        7,500,032                 72,077,495                      9.61               77,684,547                     10.36
         Series C-2 @ $17.00                       32,808,227                354,428,619                     10.80              381,466,406                     11.63
       Total Preferred Shares                     224,834,375                619,345,489                                        689,001,888
       Warrants on Common
        Exercise Price @ $0.072                        741,665                    466,518                       0.63                  591,355                       0.80
       Common - Outstanding                       302,965,725                 201,372,919                       0.66            254,016,501                         0.84
       Options on Common
         Exercise Price @ $0.015                       350,000                    231,008                       0.66                 291,581                        0.83
         Exercise Price @ $0.030                     1,170,875                    765,136                       0.65                 966,622                        0.83
         Exercise Price @ $0.066                       547,500                    349,798                       0.64                 442,794                        0.81
         Exercise Price @ $0.072                     2,579,175                  1,622,338                       0.63               2,056,464                        0.80
         Exercise Price @ $0.094                       312,500                    191,946                       0.61                 243,815                        0.78
         Exercise Price @ $0.170                     3,972,457                  2,317,274                       0.58               2,956,570                        0.74
         Exercise Price @ $0.206                       606,365                    337,573                       0.56                 432,410                        0.71
       Total Options Outstanding                     9,538,872                  5,815,073                                          7,390,256
     Total Outstanding                            538,080,637    $            827,000,000                              $        951,000,000
                                     Case 5:18-cr-00258-EJD           Document 1645             Filed 11/12/22       Page 65 of 156


US v. Elizabeth Holmes                                                                                                                                        Exhibit A.5
Valuation of Theranos, Inc.                                                                                                                      Value Summary 10/15/15
As of October 15, 2015                                                                                                         (thousands of USD, except Per Share Value)


     Equity Value
                                                                                            Indicated Value Range
     Valuation Methods                              Ref.                    Low                       --                     High

       Adjusted Net Asset Value Method           Exhibit K.1     $              1,051,000

       Discounted Cash Flow Method               Exhibit I.6                                                         $          1,184,000



     Per Share Value


                                                                     Adj. Net Asset Value Method Value Allocation    Discounted Cash Flow Method Value Allocation
                                                                                                Present Value                                  Present Value
                                                  Shares               Present Value              Per Share              Present Value           Per Share
                     Share Classes              Outstanding               Marketable              Marketable              Marketable             Marketable
       Preferred Shares
         Series A @ $0.150                         46,320,045    $            42,593,795    $                 0.92   $         51,570,875     $                1.11
         Series B @ $0.1846                        54,162,965                 50,438,016                      0.93             61,011,415                      1.13
         Series C @ $0.564                         58,896,105                 71,702,077                      1.22             83,840,633                      1.42
         Series C-1 @ $3.00                        21,947,001                 59,748,688                      2.72             66,016,108                      3.01
         Series C-1 @ $15.00                        6,563,232                 66,525,417                     10.14             70,969,027                     10.81
         Series C-2 @ $17.00                       42,947,639                488,387,110                     11.37            520,266,801                     12.11
       Total Preferred Shares                     230,836,987                779,395,102                                      853,674,858

       Warrants on Common
        Exercise Price @ $0.072                        741,665                    615,782                     0.83                  751,426                    1.01

       Common - Outstanding                       302,965,725                 263,274,450                     0.87            320,141,665                      1.06

       Options on Common
         Exercise Price @ $0.015                       350,000                    302,400                     0.86                367,883                      1.05
         Exercise Price @ $0.030                     1,170,875                  1,003,355                     0.86              1,221,403                      1.04
         Exercise Price @ $0.066                       547,500                    460,518                     0.84                561,402                      1.03
         Exercise Price @ $0.072                     2,579,175                  2,141,411                     0.83              2,613,120                      1.01
         Exercise Price @ $0.094                       312,500                    254,377                     0.81                310,879                      0.99
         Exercise Price @ $0.170                     3,972,457                  3,097,888                     0.78              3,798,228                      0.96
         Exercise Price @ $0.206                       606,365                    454,717                     0.75                559,136                      0.92
       Total Options Outstanding                     9,538,872                  7,714,666                                       9,432,051

     Total Outstanding                            544,083,249    $          1,051,000,000                            $       1,184,000,000
                                        Case 5:18-cr-00258-EJD                    Document 1645                      Filed 11/12/22             Page 66 of 156

US v. Elizabeth Holmes                                                                                                                                                                          Exhibit B.1
Valuation of Theranos, Inc.                                                                                                                                                      Historical Balance Sheets
As of February 7, 2014                                                                                                                                                                 (thousands of USD)

                                                     As of              As of           As of             As of              As of           As of             As of             As of             As of
                                                   12-31-07           12-31-08        12-31-09          12-31-10           12-31-11        12-31-12          12-31-13          12-31-14          12-31-15
Assets
  Current Assets
      Current Operating Assets
         Cash & Equivalents                    $      14,509      $       1,884   $       3,690     $      36,718      $      88,056   $      51,785     $      30,966     $     465,933     $     424,278
         Accounts Receivable                             -                  215              29                55                -               -                 -                 -                 -
         Inventory                                       -                  -               581               -                  -             1,733             3,777             2,383            13,331
         Other Current Assets                            412                250             195               827                665           1,882             1,780            12,788             5,114
      Total Current Operating Assets                  14,921              2,349           4,495            37,600             88,721          55,401            36,523           481,104           442,723
      Total Current Non-Operating Assets                 -                  -               -                 -                  -               -                 -                 -                 -
  Total Current Assets                                14,921              2,349           4,495            37,600             88,721          55,401            36,523           481,104           442,723

   Total Fixed Assets - Net                            1,795              2,211           1,766             2,630              4,648          19,557            22,021            53,366            64,803

   Non Current Assets
      Total Intangible Assets - Net                       -                  -               -                 -                  -               -                 -                -                 -
      Total Long Term Receivables                         -                  -               -                 -                  -               -                 -             27,045            27,513
      Total Other Non-Current Assets                      -                  -               -                 -                  -               -                 -                -                 -
   Total Non Current Assets                               -                  -               -                 -                  -               -                 -             27,045            27,513

Total Assets                                   $      16,716      $       4,560   $       6,260     $      40,230      $      93,369   $      74,958     $      58,543     $     561,515     $     535,039

Liabilities and Equity:
Liabilities
   Current Liabilities
         Current Operating Liabilities
            Accounts Payable                   $       1,683      $         549   $         560     $         440      $       1,238   $       7,669     $       7,430     $      16,633     $      18,692
            Deferred Revenue                             500                244           1,663               257                  7               7                 7               -                 -
            Other Current Liabilities                  1,821              1,306             950             1,298              2,845           7,714            50,017           400,359            19,175
         Total Current Operating Liabilities           4,004              2,099           3,173             1,995              4,090          15,390            57,454           416,992            37,867
         Total Current Debt Obligations                  -                  -             8,061               -                  -               -                 -                 -                 -
   Total Current Liabilities                           4,004              2,099          11,234             1,995              4,090          15,390            57,454           416,992            37,867

   Non Current Liabilities
      Long Term Debt
          Note Payable 1                                  -                  -               -                 -                 -               -                 -                 -                 -
          Note Payable 2                                  -                  -               -                 -                 -            40,173            40,489            40,805            41,121
          Noncurrent capital lease                            3              -               -                  42               101             231             1,897               -                 -
      Total Long Term Debt                                    3              -               -                  42               101          40,404            42,386            40,805            41,121
      Other Non Current Liabilities
          Deferred Rent                                   -                 643             723               759                767           1,572             1,857               -                 -
          Deferred Revenue, LT                            -                 -             2,146             3,808              3,801           3,801             3,801               -                 -
          Customer Deposits                               -                 -               -                 -               73,500          69,500            80,000           143,846           136,346
          Other Non-current liabilities                    29                73             807             1,847              5,959           3,425             1,866            33,750            34,508
      Total Other Non Current Liabilities                  29               716           3,676             6,414             84,027          78,297            87,525           177,596           170,854
   Total Non Current Liabilities                           32               716           3,676             6,456             84,128         118,702           129,911           218,401           211,975

Total Liabilities                                      4,036              2,815          14,910             8,451             88,218         134,092           187,365           635,393           249,842

Total Equity                                          12,680              1,745           (8,649)          31,779              5,151          (59,134)         (128,821)          (73,878)         285,197

Total Liabilities and Equity                   $      16,716      $       4,560   $       6,260     $      40,230      $      93,369   $      74,958     $      58,543     $     561,515     $     535,039
                                       Case 5:18-cr-00258-EJD                        Document 1645                   Filed 11/12/22              Page 67 of 156

US v. Elizabeth Holmes                                                                                                                                                                               Exhibit B.2
Valuation of Theranos, Inc.                                                                                                                                                        Historical Income Statements
As of February 7, 2014                                                                                                                                                                       (thousands of USD)


                                             FYE                FYE                FYE                 FYE                 FYE                FYE                  FYE               FYE                FYE
                                           12-31-07           12-31-08           12-31-09            12-31-10            12-31-11           12-31-12             12-31-13          12-31-14           12-31-15

Total Revenue                          $          -       $       1,799      $       2,794       $       1,401       $         518      $          -         $          -      $           116    $         391

Total Cost of Sales                               -                  -                  -                   -                   -                  -                    -                  -                 -

Gross Profit                                      -               1,799              2,794               1,401                 518                 -                    -                  116              391

Total Operating Expenses                      16,728             12,615             13,597              16,801              27,173             64,015               85,605            122,756           173,246

EBITDA                                        (16,728)           (10,816)           (10,804)            (15,399)            (26,655)           (64,015)             (85,605)          (122,640)        (172,855)

Depreciation & Amortization
   Depreciation                                  672                740                626                 771               1,025              2,654                5,573               7,247           10,162
   Amortization                                  -                  -                  -                   -                   -                  -                    -                   -                -
Total Depreciation & Amortization                672                740                626                 771               1,025              2,654                5,573               7,247           10,162

EBIT                                          (17,400)           (11,556)           (11,430)            (16,170)            (27,680)           (66,670)             (91,178)          (129,888)        (183,017)

   Gain/(Loss) on Sale of Fixed Asse             -                  -                   -                   -                  -                       (9)            (849)                 (1)              -
Total Misc Inc/(Exp)                           1,132                264                     8                   42             146                     27             (807)                528             1,984

Interest Expense                                      3                  1                  46                  88                  3             196                  383                 474              537

Pre-Tax Income                                (16,271)           (11,294)           (11,467)            (16,216)            (27,536)           (66,838)             (92,368)          (129,834)         (181,570)
   Less: Income Taxes/(Benefit)                   -                  -                  -                   -                   -                  -                    -                  -                 -

Net Income/(Loss)                      $      (16,271)    $      (11,294)    $      (11,467)     $      (16,216)     $      (27,536)    $      (66,838)      $      (92,368)   $      (129,834)   $    (181,570)
                                         Case 5:18-cr-00258-EJD                  Document 1645               Filed 11/12/22                 Page 68 of 156

US v. Elizabeth Holmes                                                                                                                                                                   Exhibit B.3
Valuation of Theranos, Inc.                                                                                                                                     Adjustments to Financial Statements
As of February 7, 2014                                                                                                                                                          (thousands of USD)


                                                          FYE                      FYE                   FYE                FYE                    FYE                FYE                FYE
                                                        12-31-09                 12-31-10              12-31-11           12-31-12               12-31-13           12-31-14           12-31-15
Balance Sheet Adjustments:
   Cash & Equivalents                               $              -         $              -      $              -   $              -       $          -       $           -      $              -
   Miscellaneous Receipts Liability                                -                        -                     -                  -               45,187             390,375                   -
   Other                                                           -                        -                     -                  -                  -                   -                     -
Total Balance Sheet Adjustments                     $              -         $              -      $              -   $              -       $       45,187     $       390,375    $              -

Income Statement Adjustments:

Revenue
   Revenue 1                                        $              -         $              -      $              -   $              -       $              -   $              -   $              -
   Revenue 2                                                       -                        -                     -                  -                      -                  -                  -
   Revenue 3                                                       -                        -                     -                  -                      -                  -                  -
Total Revenue                                       $              -         $              -      $              -   $              -       $              -   $              -   $              -

Total Cost of Sales                                                -                        -                     -                  -                      -                  -                  -

Gross Profit                                                       -                        -                     -                  -                      -                  -                  -

Total Operating Expenses                                           -                        -                     -                  -                      -                  -                  -

Total Officers' Compensation                                       -                        -                     -                  -                      -                  -                  -

EBITDA                                                             -                        -                     -                  -                      -                  -                  -

Total Depreciation & Amortization                                  -                        -                     -                  -                      -                  -                  -


EBIT                                                               -                        -                     -                  -                      -                  -                  -


Miscellaneous Income/(Expense)
   Interest Income                                                     (8)                  (42)             (146)                   (37)               (42)               (529)            (1,984)
   Gain/(Loss) on Sale of Fixed Assets                             -                        -                 -                        9                849                   1                -
   Other Income/(Expense)                                          -                        -                 -                      -                  -                   -                  -
Total Misc Inc/(Exp)                                                   (8)                  (42)             (146)                   (27)               807                (528)            (1,984)

Interest Expense                                                   -                        -                     -                  -                      -                  -                  -


Pre-Tax Income                                                         (8)                  (42)             (146)                   (27)               807                (528)            (1,984)
   Less: Income Taxes/(Benefit)                                    -                        -                 -                      -                  -                   -                  -

Total Income Statement Adjustments                  $                  (8)   $              (42)   $         (146)    $              (27)    $          807     $          (528)   $        (1,984)
                                                   Case 5:18-cr-00258-EJD                                    Document 1645                         Filed 11/12/22            Page 69 of 156

US v. Elizabeth Holmes                                                                                                                                                                                                                      Exhibit B.4
Valuation of Theranos, Inc.                                                                                                                                                                                                    Adjusted Balance Sheets
As of February 7, 2014                                                                                                                                                                                                             (thousands of USD)


                                                                                    Subject Company - Adjusted                                                   Subject Company Common Size                            Benchmark Common Size
                                                    As of         As of           As of       As of        As of             As of       As of        As of      As of      As of     As of            As of        Comp. [1]  RMA [2] BizMiner [3]
                                                   12-31-09      12-31-10        12-31-11    12-31-12    12-31-13           12-31-14    12-31-15     12-31-11   12-31-12   12-31-13  12-31-14         12-31-15        LTM      2015-16     2017
Assets
  Current Assets
           Current Operating Assets
              Cash & Equivalents                   $    3,690    $ 36,718        $ 88,056     $ 51,785       $ 30,966       $ 465,933   $ 424,278       94.3%      69.1%       52.9%        83.0%        79.3%         16.3%       24.7%        15.9%
              Accounts Receivable                           29          55            -            -              -               -           -          0.0%       0.0%        0.0%         0.0%         0.0%         10.1%       12.2%        12.0%
              Inventory                                   581         -               -          1,733          3,777           2,383      13,331        0.0%       2.3%        6.5%         0.4%         2.5%          5.1%        1.1%         3.0%
              Other Current Assets                        195         827             665        1,882          1,780          12,788       5,114        0.7%       2.5%        3.0%         2.3%         1.0%          2.1%        7.5%        12.4%
           Total Current Operating Assets               4,495      37,600          88,721       55,401         36,523         481,104     442,723       95.0%      73.9%       62.4%        85.7%        82.7%         33.6%       45.5%        43.2%
           Total Current Non-Operating Assets             -           -               -            -              -               -           -          0.0%       0.0%        0.0%         0.0%         0.0%            NA          NA           NA
  Total Current Assets                                  4,495      37,600          88,721       55,401         36,523         481,104     442,723       95.0%      73.9%       62.4%        85.7%        82.7%         33.6%       45.5%        43.2%

   Total Fixed Assets - Net                             1,766         2,630           4,648        19,557         22,021      53,366      64,803         5.0%      26.1%       37.6%         9.5%        12.1%          8.3%       25.0%        21.9%

   Non Current Assets
      Total Intangible Assets - Net                       -             -               -             -              -           -           -           0.0%       0.0%        0.0%         0.0%            0.0%      31.8%        9.9%           NA
      Total Long Term Receivables                         -             -               -             -              -        27,045      27,513         0.0%       0.0%        0.0%         4.8%            5.1%         NA          NA           NA
      Total Other Non-Current Assets                      -             -               -             -              -           -           -           0.0%       0.0%        0.0%         0.0%            0.0%      26.2%       19.6%        34.9%
   Total Non Current Assets                               -             -               -             -              -        27,045      27,513         0.0%       0.0%        0.0%         4.8%            5.1%      58.1%       29.5%        34.9%

Total Assets                                       $    6,260    $ 40,230        $ 93,369     $ 74,958       $ 58,543       $ 561,515   $ 535,039      100.0%     100.0%      100.0%       100.0%       100.0%        100.0%      100.0%       100.0%

Liabilities and Equity:

Liabilities
   Current Liabilities
        Current Operating Liabilities
            Accounts Payable                       $      560    $      440      $    1,238   $     7,669    $     7,430    $ 16,633    $ 18,692         1.3%      10.2%       12.7%         3.0%            3.5%       3.0%       10.2%         5.4%
            Deferred Revenue                            1,663           257               7             7              7         -           -           0.0%       0.0%        0.0%         0.0%            0.0%       0.4%          NA           NA
            Other Current Liabilities                     950         1,298           2,845         7,714          4,830       9,984      19,175         3.0%      10.3%        8.3%         1.8%            3.6%       5.8%       10.5%        18.0%
        Total Current Operating Liabilities             3,173         1,995           4,090        15,390         12,267      26,617      37,867         4.4%      20.5%       21.0%         4.7%            7.1%       9.3%       20.7%        23.4%
        Total Current Debt Obligations                  8,061           -               -             -              -           -           -           0.0%       0.0%        0.0%         0.0%            0.0%       0.1%        2.0%         4.2%
   Total Current Liabilities                           11,234         1,995           4,090        15,390         12,267      26,617      37,867         4.4%      20.5%       21.0%         4.7%            7.1%       9.4%       22.7%        27.6%

   Non Current Liabilities
      Total Long Term Debt                                -                 42         101         40,404         42,386      40,805      41,121         0.1%      53.9%       72.4%         7.3%            7.7%       0.6%       11.3%        26.2%
      Other Non Current Liabilities
         Deferred Rent                                    723           759             767         1,572          1,857         -           -           0.8%       2.1%        3.2%         0.0%         0.0%            NA          NA           NA
         Deferred Revenue, LT                           2,146         3,808           3,801         3,801          3,801         -           -           4.1%       5.1%        6.5%         0.0%         0.0%            NA          NA           NA
         Customer Deposits                                -             -            73,500        69,500         80,000     143,846     136,346        78.7%      92.7%      136.7%        25.6%        25.5%            NA          NA           NA
         Other Non-current liabilities                    807         1,847           5,959         3,425          1,866      33,750      34,508         6.4%       4.6%        3.2%         6.0%         6.4%         17.5%        3.4%           NA
      Total Other Non Current Liabilities               3,676         6,414          84,027        78,297         87,525     177,596     170,854        90.0%     104.5%      149.5%        31.6%        31.9%         17.5%        3.4%           NA
   Total Non Current Liabilities                        3,676         6,456          84,128       118,702        129,911     218,401     211,975        90.1%     158.4%      221.9%        38.9%        39.6%         18.1%       14.7%        26.2%

Total Liabilities                                      14,910         8,451          88,218       134,092        142,178     245,018     249,842        94.5%     178.9%      242.9%        43.6%        46.7%         27.5%       37.4%        53.8%

Total Equity                                           (8,649)       31,779           5,151       (59,134)       (83,634)    316,497     285,197         5.5%     -78.9%     -142.9%        56.4%        53.3%         72.5%       62.7%        46.2%

Total Liabilities and Equity                       $    6,260    $ 40,230        $ 93,369     $ 74,958       $ 58,543       $ 561,515   $ 535,039      100.0%     100.0%      100.0%       100.0%       100.0%        100.0%      100.2%       100.0%


Notes:
[1] Source: Refer to report for selection of public comparables group. Figures represent median of dataset as reported by S&P CapitalIQ.
[2] Source: The Risk Management Association; NAICS 54171N: Research and Development in the Physical, Engineering, and Life Sciences (non-Cost of Sales) for firms with annual revenues greater than $25MM.
[3] Source: BizMiner Industry Financial Analysis Profile; NAICS 5417: Scientific Research & Development Services for firms with annual revenues between $100MM - $250MM.
                                                              Case 5:18-cr-00258-EJD                                             Document 1645                             Filed 11/12/22                Page 70 of 156

US v. Elizabeth Holmes                                                                                                                                                                                                                                                   Exhibit B.5
Valuation of Theranos, Inc.                                                                                                                                                                                                                              Adjusted Income Statements
As of February 7, 2014                                                                                                                                                                                                                                           (thousands of USD)


                                                                                               Subject Company - Adjusted                                                                 Subject Company Common Size                              Benchmark Common Size
                                                    FYE                 FYE                  FYE           FYE           FYE                   FYE              FYE          FYE         FYE          FYE         FYE             FYE        Comp. [1]    RMA [2]   BizMiner [3]
                                                  12-31-09            12-31-10             12-31-11      12-31-12      12-31-13              12-31-14         12-31-15     12-31-11    12-31-12     12-31-13    12-31-14        12-31-15       LTM        2015-16       2017
Total Revenue                                         2,794               1,401                  518             -                -                116              391       100.0%        0.0%          0.0%        100.0%       100.0%       100.0%       100.0%         100.0%

Total Cost of Sales                                      -                    -                  -               -                -                -                -           0.0%        0.0%          0.0%          0.0%         0.0%        50.7%          0.0%          28.6%

Gross Profit                                          2,794               1,401                  518             -                -                116              391       100.0%        0.0%          0.0%        100.0%       100.0%        49.3%       100.0%           71.4%

Operating Expenses
   Research & Development                            10,257              13,594               22,018         52,890           66,757            73,459           97,159      4248.5%        0.0%          0.0%     63326.4%      24848.9%           NA           NA              NA
   General and Administrative                         3,341               3,206                5,155         11,125           18,848            49,298           76,087       994.8%        0.0%          0.0%     42498.1%      19459.6%           NA           NA              NA
Total Operating Expenses                             13,597              16,801               27,173         64,015           85,605           122,756          173,246      5243.3%        0.0%          0.0%    105824.5%      44308.5%        33.7%        84.4%           57.8%

Total Officers' Compensation                             -                    -                  -               -                -                -                -           0.0%        0.0%          0.0%          0.0%         0.0%           NA          6.8%           2.4%

EBITDA                                               (10,804)            (15,399)            (26,655)        (64,015)         (85,605)        (122,640)        (172,855)    -5143.3%        0.0%          0.0%    -105724.5%    -44208.5%        15.6%          8.8%          11.2%

Depreciation & Amortization
   Depreciation                                         626                   771              1,025          2,654            5,573             7,247           10,162       197.7%        0.0%          0.0%       6247.6%      2598.9%           NA            NA             NA
   Amortization                                         -                     -                  -              -                -                 -                -           0.0%        0.0%          0.0%          0.0%         0.0%           NA            NA             NA
Total Depreciation & Amortization                       626                   771              1,025          2,654            5,573             7,247           10,162       197.7%        0.0%          0.0%       6247.6%      2598.9%        11.5%          2.4%           4.2%

EBIT                                                 (11,430)            (16,170)            (27,680)        (66,670)         (91,178)        (129,888)        (183,017)    -5341.0%        0.0%          0.0%    -111972.1%    -46807.4%         4.2%          8.8%           7.1%

   Gain/(Loss) on Sale of Fixed Assets                   -                    -                  -               -                -                -                -           0.0%        0.0%          0.0%          0.0%         0.0%           NA            NA             NA
Total Miscellaneous Income/(Expense)                     -                    -                  -               -                -                -                -           0.0%        0.0%          0.0%          0.0%         0.0%        -2.1%          0.8%           0.0%

Interest Expense                                             46                   88                 3          196              383               474              537         0.5%        0.0%          0.0%        408.6%       137.3%         1.2%           NA            2.9%

Pre-Tax Income                                       (11,476)            (16,258)            (27,682)        (66,865)         (91,561)        (130,362)        (183,554)    -5341.5%        0.0%          0.0%    -112380.7%    -46944.8%         0.8%          9.6%           4.2%
   Less: Income Taxes/(Benefit)                          -                   -                   -               -                -                -                -           0.0%        0.0%          0.0%          0.0%         0.0%        -4.4%            NA           2.6%

Net Income/(Loss)                             $      (11,476)     $      (16,258)      $     (27,682)    $   (66,865)     $   (91,561)   $    (130,362)   $    (183,554)    -5341.5%        0.0%          0.0%    -112380.7%    -46944.8%         5.2%          9.6%           1.6%


Growth Analysis:                                                                                                        Revenue Growth                                                        EBITDA Margin Growth
Subject - 1 year                                                        n/a                   -63.0%         -100.0%               NA               NA           237.1%       362.9%     -100.0%    #DIV/0!        #DIV/0!         -58.2%
Guidline Public Company Group [4] - 1 year                                                      8.4%            6.5%           10.6%              3.7%             4.2%        11.3%        5.6%        -3.5%          -2.3%         5.5%
Industry [5] - 1 year [Nominal Growth Rate]                             n/a                     9.7%            3.2%            -1.6%             0.0%             1.1%           NA          NA            NA             NA          NA

Subject - 3 year                                                                                             -100.0%          -100.0%           -39.3%                NA                 -100.0%       -100.0%        173.9%            NA
Guideline Public Company Group - 3 year                                                                         5.5%             7.2%             4.9%              9.2%                    4.7%          8.7%          2.6%         -0.9%
Industry [5] - 3 year [Nominal Growth Rate]                                                                       NA             3.7%             0.5%             -0.2%                      NA            NA            NA            NA



Notes:
[1] Source: Refer to report for selection of public comparables group. Figures represent median of dataset as reported by S&P CapitalIQ.
[2] Source: The Risk Management Association; NAICS 54171N: Research and Development in the Physical, Engineering, and Life Sciences (non-Cost of Sales) for firms with annual revenues greater than $25MM.
[3] Source: BizMiner Industry Financial Analysis Profile; NAICS 5417: Scientific Research & Development Services for firms with annual revenues between $100MM - $250MM.
[4] Figures represent median of dataset as reported by S&P CapitalIQ.
[5] Source: IBISWorld. NAICS 54171 (real growth) plus inflation from https://www.usinflationcalculator.com/inflation/current-inflation-rates/.
                                         Case 5:18-cr-00258-EJD                  Document 1645                Filed 11/12/22          Page 71 of 156

US v. Elizabeth Holmes                                                                                                                                                              Exhibit B.6
Valuation of Theranos, Inc.                                                                                                                                         Comparative Financial Ratios
As of February 7, 2014


                                                                                  Subject Company                                                              Benchmark
                                                FYE             FYE              FYE           FYE               FYE              FYE          Comp. [1]        RMA [2]        BizMiner [3]
                                              12-31-10        12-31-11         12-31-12      12-31-13          12-31-14         12-31-15         LTM            2015-16           2017
   Liquidity Ratios
     Current Ratio                                  18.8             21.7             3.6              3.0           18.1            11.7              3.5              2.2                1.6
     Quick (Acid-Test) Ratio                        18.4             21.5             3.4              2.5           17.5            11.2              2.2              1.5                1.0
     Working Capital as a % of Revenue           2083.1%           116.6%             N/A              N/A      262013.8%        66883.6%            48.7%            36.1%              22.8%
     Days' Receivables                              10.8             19.3              NA               NA             NA              NA             57.8             37.2               63.3
     Days' Inventory                                  NA               NA              NA               NA             NA              NA            103.6              N/A               55.7
     Days' Payables                                   NA               NA              NA               NA             NA              NA             42.3              N/A              100.3

   Coverage Ratios
     Times Interest Earned                         (183.9)      (10,229.0)         (340.4)          (238.4)         (274.0)         (340.8)             5.3            20.4               3.9
     NI+Non-Cash Expenditures
     / Current L.T. Debt                               NA              NA              NA              NA               NA              NA               NA                              1.51

   Leverage Ratios
     Fixed Assets/Tangible Worth                       0.1             0.9            -0.3             -0.3             0.2             0.2              0.2             0.3               0.5
     Debt-to-Equity                                    0.0             0.0            -0.7             -0.5             0.1             0.1              0.1             0.2               0.7

   Operating Ratios
    EBT/Tangible Worth                             -51.2%         -537.4%          113.1%          109.5%           -41.2%          -64.4%               NA            7.7%              11.4%
    EBT/Total Assets                               -40.4%          -29.6%          -89.2%         -156.4%           -23.2%          -34.3%               NA            4.9%               5.3%
    Fixed Asset Turnover                              0.5             0.1             0.0             0.0              0.0             0.0              7.5            10.3                3.1
    Total Asset Turnover                              0.0             0.0             0.0             0.0              0.0             0.0              0.6             0.7                0.7

   Total Officers' Compensation                                      0.0%            0.0%             0.0%            0.0%            0.0%               NA            6.8%              2.4%




Notes:
[1] Source: Refer to report for selection of public comparables group. Figures represent median of dataset as reported by S&P CapitalIQ.
[2] Source: The Risk Management Association; NAICS 54171N: Research and Development in the Physical, Engineering, and Life Sciences (non-Cost of Sales) for firms with annual revenues
    greater than $25MM.
[3] Source: BizMiner Industry Financial Analysis Profile; NAICS 5417: Scientific Research & Development Services for firms with annual revenues between $100MM - $250MM.
                                      Case 5:18-cr-00258-EJD                   Document 1645        Filed 11/12/22        Page 72 of 156

US v. Elizabeth Holmes                                                                                                                                             Exhibit C.1
Valuation of Theranos, Inc.                                                                                                              Discounted Cash Flow Key Assumptions
As of February 7, 2014                                                                                                                                     (thousands of USD)


                                                                                                    For the Twelve Month Period Ending December 31,
                                                          Basis                      2014            2015                 2016              2017                  2018

Total Revenue                                      Annual Growth Rate                         N/A      75534.7%                97.0%               44.8%                 55.6%

Terminal Value                                     Exit Multiple, Ex. D.1                                                                                                4.0%

Total Cost of Revenue                                 % of Revenue                          35.3%          35.0%               32.0%               32.0%                 30.0%

Total Operating Expenses                              % of Revenue                     66687.3%            85.5%               44.7%               33.7%                 24.7%

Depreciation & Amortization                             Exhibit C.3                     3041.6%             6.8%                5.8%                  6.3%               5.7%

Interest Expense                                            N/A                               N/A            N/A                 N/A                   N/A                 N/A

Income Taxes                                     % of Pre-Tax Net Income                    40.0%          40.0%               40.0%               40.0%                 40.0%

Adjusted Operating Working Capital                      Exhibit C.2                   -19704.4%             4.0%               10.5%               14.8%                18.6%
Adjusted Operating Working Capital                                                      (29,557)           4,593              23,523              47,806               93,778
Yr/yr Working Capital (Increase)/Reduction                                              (33,712)         (34,150)            (18,930)            (24,283)             (45,972)

Capital Expenditures                                  % of Revenue                      5502.0%            29.2%               20.6%               20.3%                 11.8%

Interest-Bearing Debt                        down Sch, If Used Enter # on Ex. List
                                                Case 5:18-cr-00258-EJD                             Document 1645                     Filed 11/12/22                 Page 73 of 156

US v. Elizabeth Holmes                                                                                                                                                                                                      Exhibit C.2
Valuation of Theranos, Inc.                                                                                                                                                                            Adjusted Working Capital Analysis
As of February 7, 2014                                                                                                                                                                                              (thousands of USD)


                                                                     FYE               FYE               FYE             FYE               FYE                         For the Twelve Month Period Ending December 31,
                                                                   12-31-09          12-31-10          12-31-11        12-31-12          12-31-13           2014              2015           2016          2017               2018
Working Capital
Total Revenue                                              [1] $       2,794     $       1,401     $         518   $           -     $           -     $         150     $    113,452    $   223,452      $    323,452    $    503,452
Total COS                                                                  -                 -                 -               -                 -                53           39,708         71,505           103,505         151,036
Total Operating Expenses                                              13,597            16,801            27,173          64,015            85,605           100,031           97,025         99,961           108,977         124,401

Operating Assets
   Cash & Equivalents                                      [2] $       3,690     $      36,718     $      88,056   $      51,785     $      30,966     $      49,330     $     47,848    $    49,296      $     53,742    $     61,348
   Accounts Receivable                                                    29                55                 -               -                 -                 -                -              -                 -               -
   Inventory                                                             581                 -                 -           1,733             3,777             8,874            3,404          6,704             9,704          15,104
   Other Current Assets                                                  195               827               665           1,882             1,780            18,362            4,838          5,080             5,334           5,601
   Note Receivable                                                         -                 -                 -               -                 -            27,236           57,539         50,055            42,303          58,453
Total Operating Assets                                                 4,495            37,600            88,721          55,401            36,523           103,802          113,629        111,135           111,083         140,506

Operating Liabilities
   Accounts Payable                                                      560               440             1,238           7,669             7,430             8,340           13,879         16,480            16,174          22,774
   Deferred Revenue                                                    1,663               257                 7               7                 7               -                -              -                 -               -
   Other Current Liabilities                                             950             1,298             2,845           7,714             4,830            12,239            7,073          8,265             9,453          11,521
   Deferred Rent                                                         723               759               767           1,572             1,857               -                -              -                 -               -
   Deferred Revenue, LT                                                2,146             3,808             3,801           3,801             3,801               -                -              -                 -               -
   Customer Deposits                                                     -                 -              73,500          69,500            80,000            93,808           70,356         46,904            23,452             -
   Other Non-current liabilities                                         807             1,847             5,959           3,425             1,866            18,972           17,728         15,963            14,198          12,433
Total Operating Liabilities                                            6,849             8,409            88,117          93,687            99,791           133,359          109,036         87,612            63,277          46,728

Net Operating Working Capital                                  $       (2,354)   $       29,191    $         604   $      (38,287)   $      (63,268)   $      (29,557)   $      4,593    $    23,523      $     47,806    $      93,778
Net Operating Working Capital as % of Revenue                         -84.3%           2083.1%            116.6%             0.0%              0.0%        -19704.4%             4.0%          10.5%             14.8%            18.6%
Yr/yr Working Capital (Increase)/Reduction                                  -           (31,545)          28,587           38,891            24,981           (33,712)        (34,150)       (18,930)          (24,283)         (45,972)

BizMiner Working Capital as a % of Revenue                                                                                                                     22.8%
RMA Working Capital as a % of Revenue                                                                                                                          36.1%
Comparable Group Working Capital as a % of Revenue                                                                                                             48.7%

Days' Operating Expenses in Cash                                          99               798             1,183             295                132              180              180            180               180             180
Days' Sales Outstanding                                                    4                 14              -               -                  -                -                -              -                 -               -
Days' Inventory                                                          -                 -                 -               -                  -             61,113                31             34                34              37
Other Current Assets as a % of Revenue                                  7.0%             59.0%            128.4%            0.0%               0.0%         12241.3%             4.3%           2.3%              1.6%            1.1%
Note Receivable as a % of Revenue                                       0.0%              0.0%              0.0%            0.0%               0.0%         18157.3%            50.7%          22.4%             13.1%           11.6%
Days' Payables                                                           -                 -                 -               -                  -             57,436              128              84                57              55
Deposits & Deferred Revenue as a % of Revenue                         136.3%            290.1%          14917.2%            0.0%               0.0%         62538.7%            62.0%          21.0%              7.3%            0.0%
Other Current Liabilites as a % of Opex                                 7.0%              7.7%             10.5%           12.1%               5.6%            12.2%             7.3%           8.3%              8.7%            9.3%
Deferred Rent as a % of Opex                                            5.3%              4.5%              2.8%            2.5%               2.2%             0.0%             0.0%           0.0%              0.0%            0.0%
Other Non-current liabilities as a % of Opex                            5.9%             11.0%             21.9%            5.4%               2.2%            19.0%            18.3%          16.0%             13.0%           10.0%

Notes:
[1] Historical balances are per Adjusted Income Statement. Refer to Exhibit B.5. Operating Expenses exclude Depreciation & Amortization.
[2] Estimated operating cash levels equal to 6 months of operating expenses
                              Case 5:18-cr-00258-EJD            Document 1645               Filed 11/12/22       Page 74 of 156

US v. Elizabeth Holmes                                                                                                                            Exhibit C.3
Valuation of Theranos, Inc.                                                                                       Depreciation & Capital Expenditure Analysis
As of February 7, 2014                                                                                                                    (thousands of USD)


                                                                                        For the Twelve Month Period Ending December 31,
Forecast Depreciation                                                      2014              2015             2016            2017                2018

Total Revenue                                                         $           150   $      113,452   $      223,452   $       323,452    $      503,452

Beginning Balance - Total Fixed Assets                                        22,021            25,711           51,123            84,125           129,327
Capital Expenditures                                                           8,253            33,134           45,970            65,569            59,240
     Fixed Assets                                                             30,274            58,845           97,093           149,694           188,567
Capital Expenditures as a % of Revenue                                      5502.04%            29.21%           20.57%            20.27%            11.77%

Depreciation
    Assumptions as to Depreciable Lives:
    Beg. Dep. Existing Fixed Assets - avg life   5.0
    Capital Additions - avg life                 7.5

     Beginning Balance                                                $        4,061    $        4,430   $        4,430   $         4,430    $        4,430
     2014 Additions                                                              502             1,095            1,095             1,095             1,095
     2015 Additions                                                                              2,198            4,395             4,395             4,395
     2016 Additions                                                                                               3,049             6,098             6,098
     2017 Additions                                                                                                                 4,349             8,698
     2018 Additions                                                                                                                                   3,929

Total Depreciation                                                    $        4,562    $        7,722   $       12,969   $        20,366    $       28,644
As a % of Revenue                                                            3041.6%              6.8%             5.8%              6.3%              5.7%

Net Fixed Assets                                                      $       25,711    $       51,123   $       84,125   $       129,327    $      159,923
As a % of Revenue                                                           17140.8%             45.1%            37.6%             40.0%             31.8%

Historical Capital Expenditure Analysis                                     FYE               FYE              FYE               FYE               FYE
                                                                          12-31-09          12-31-10         12-31-11          12-31-12          12-31-13

Net FA                                                                $        1,766    $        2,630   $        4,648   $        19,557    $       22,021
Chg from PY                                                                      N/A               864            2,018            14,909             2,463
Depreciation                                                                     626               771            1,025             2,654             5,573
(Gain)/Loss                                                                      -                 -                -                   9               849
Capital Expenditures                                                             N/A             1,635            3,043            17,572             8,885

                                                           Average
Fixed Assets                                           $     10,124   $        1,766    $        2,630   $        4,648    $       19,557    $       22,021
Fixed Assets as a % of Revenue                              1074.0%            63.2%            187.7%           896.9%               N/A               N/A

Capital Expenditures                                          7,784               N/A            1,635            3,043            17,572             8,885
Capital Expenditures as a % of Revenue                       825.7%               N/A           116.7%           587.1%               N/A               N/A
      Case 5:18-cr-00258-EJD                                              Document 1645                                 Filed 11/12/22                                Page 75 of 156

US v. Elizabeth Holmes                                                                                                                                                                        Exhibit C.4
Valuation of Theranos, Inc.                                                                                                                               Discount Rate - Venture Capital Rates of Return
As of February 7, 2014




                                                                             Market          Interest Bearing    Trading Volume                                 1-Year Growth    Equity as a %
    Company Name                                     Ticker Symbol        Capitalization           Debt                [7]               LTM Revenue                Rate        of Total Capital
    OraSure Technologies, Inc.                            OSUR           $       337,504     $            -                  713     $           98,940                   12.7%          100.0%
    Trinity Biotech plc                                   TRIB                   545,805                  -                   69                 91,216                   10.6%          100.0%
    Enzo Biochem, Inc.                                     ENZ                   138,102                3,992                209                 92,929                   -7.3%           97.2%
    QuidelOrtho Corporation                               QDEL                   964,525                5,567                193                177,325                   13.9%           99.4%
    Exact Sciences Corporation                            EXAS                   865,903                1,711                739                  4,144                    0.0%           99.8%
    OPKO Health, Inc.                                      OPK                 3,106,222              227,744              4,324                 96,530                  105.2%           93.2%
    PerkinElmer, Inc.                                      PKI                 4,920,548              934,728                829              2,157,586                    2.5%           84.0%
    Quest Diagnostics Incorporated                        DGX                  7,315,200           3,366,000               2,520              7,146,000                   -3.2%           68.5%
    Laboratory Corporation of America Holdings              LH                 7,791,710           3,000,400               1,101              5,808,300                    2.4%           72.2%
    Myriad Genetics, Inc.                                MYGN                  2,351,966                  -                2,462                737,115                   35.2%          100.0%
    Illumina, Inc.                                        ILMN               19,831,532               868,593              1,595              1,421,178                   23.7%           95.8%
    Qiagen N.V.                                          QGEN                  5,280,047              850,202                892              1,301,984                    3.8%           86.1%
    Alere Inc.                                         IQT2622336              2,819,163           3,841,104                 654              2,608,636                    8.9%           42.3%
    Luminex Corporation                                IQT2627430                734,789                1,657                170                213,423                    5.4%           99.8%
    Abaxis, Inc.                                       IQT2586525                824,250                  706                187                179,781                    0.6%           99.9%
    CombiMatrix Corporation                           IQT36309071                 25,342                  233                 75                  6,367                   19.0%           99.1%
    Affymetrix Inc.                                    IQT2587418                518,522              144,461              1,231                330,399                   11.8%           78.2%
    Genomic Health, Inc.                              IQT24111615                815,172                  -                  218                261,595                   11.2%          100.0%
    Cepheid                                            IQT2599314              3,328,663                  -                  609                401,292                   21.2%          100.0%
    Nanosphere, Inc.                                  IQT38720096                169,146               11,815                 33                 10,002                   97.0%           93.5%
    GenMark Diagnostics, Inc.                        IQT106626443                513,559                    37               240                 27,404                   33.9%          100.0%
    Bio-Reference Laboratories, Inc.                   IQT2594421                723,947               52,630                424                735,368                   15.5%           93.2%
    Average                                                                    2,905,528             605,072                  886              1,086,705                      19.3%              91.0%
    Median                                                                       845,076               4,780                  632                237,509                      11.5%              98.1%
    Selected                                                                                                                                                                                     97.0%

Industry Capital Structure
    Equity                                                     97.0%
    Interest Bearing Debt                                       3.0%
    Tax Rate                                                   40.0%

Cost of Equity
                                                                                                                                                                                          Ref.
Table 1: Venture Capital Average Actual Rates of Return for the Period ended September 30, 2008                                                                                            [1]
Stage of Development                                         5-year Return                      10-year Return                                       20-year Return
                                                       2002                2008             2002              2008                            2002                     2008
Seed/Early Stage                                      51.4%                3.0%            34.9%             25.5%                           20.4%                    22.1%
Balanced                                              20.9%                7.5%            20.9%             12.0%                           14.3%                    14.6%
Later Stage                                           10.6%                8.1%            21.6%              7.3%                           15.3%                    14.7%
All Ventures                                          28.3%                5.7%            26.3%             13.4%                           16.6%                    17.2%


Table 2: Target Rates of Return                                                                                                                                                           [2-5]
                                                                                                Sahlman,
                                                                          Scherlis and       Stevenson, and                              Everett Median
Stage of Development                                   Plummer              Sahlman               Bhide              Everett                Returns
Start-up                                               50% - 70%           50% - 70%           50% - 100%           30% - 40%                33.0%
First stage or “early development”                     40% - 60%           40% - 60%            40% - 60%           23% - 38%                28.0%
Second stage or “expansion”                            35% - 50%           30% - 50%            30% - 40%           19% - 32%                25.0%
Bridge/IPO                                             25% - 35%           20% - 35%            20% - 30%           18% - 38%                25.0%


Table 3: Target Rates of Return                                                                                                                                                            [6]
                                                                                                      Plummer / Qed
                                                        Ruhnka /                               Range of Discount Rates Used
Stage of Development                                     Young               Wetzel               High              Low
Seed                                                     73.0%               50.0%               75.4%             49.2%
Start-up                                                 54.8%               50.0%               59.6%             40.6%
3rd Stage                                                42.2%               37.5%               49.3%             34.7%
Fourth Stage                                             35.0%               30.0%               45.7%             31.2%
Exit Stage                                               35.0%               22.5%               40.8%             28.1%


Table 4: Theranos Investor Forecasts Implied Internal Rates of Return (Feb 2014 - Feb 2015)                                                                                                [6]


Investor Group                                             IRR
PFM Forecast                                              75.5%
PFM Model                                                 35.5%
Mosley and RDV Forecast                                   54.0%
Murdoch Forecast                                          82.0%


                                                    Selected Venture Capital Cost of Equity                                 45.0%                                                          [7]


Weighted Average Cost of Capital
    Equity as a % of total capital                                                                      97.0%
    Cost of Equity (above)                                                                              45.0%
    Weighted Cost of Equity                                                                                                 43.7%

    Debt as a % of total capital                                                                         3.0%
    Cost of Debt [4]                                                              25.00%
    After Tax Cost of Debt (tax rate above)                                                             15.0%
    Weighted After Tax Cost of Debt                                                                                          0.5%
                                                    Weighted Average Cost of Capital                                        44.1%

                                                    Weighted Average Cost of Capital (rounded)                              44.0%

Notes:
 [1] Source: Thomson Financial. The average annual return is based upon Thomson Financials’ Private Equity Performance Index (PEPI).
     The PEPI is based on the latest quarterly statistics from Thomson Financials' Private Equity Performance Database analyzing the cashflows and
     returns for over 1400 US venture capital and private equity partnerships.
 [2] Plummer, James L., QED Report on Venture Capital Financial Analysis.
 [3] Scherlis, Daniel R. and William A. Sahlman, “A Method for Valuing High-Risk, Long Term, Investments: The Venture Capital Method,”
     Harvard Business School Teaching Note 9-288-006, Boston: Harvard Business School Publishing, 1989.
 [4] William A. Sahlman, Howard H. Stevenson, Amar V. Bhide, et al., "Financing Entrepreneurial Ventures,"
     Business Fundamental Series (Boston: Harvard Business School Publishing, 1998).
    Craig R. Everett, “2021 Private Capital Markets Report” (Malibu: Pepperdine University Graziadio School of Business and Management, 2021), Table
[5] 1, p. 5. Note that this publication also includes rates of return for many other types of private capital investments, as well as summaries of other
    information captured in Pepperdine’s annual industry survey.
[6] Dorsey, Terry, “A Portfolio Model for Venture Capital Performance Measurement and Investment Selection,” Polaris Group, Inc. January 2000.
[7] Refer to the report for discussion of the selected Venture Capital Rate of Return.
                              Case 5:18-cr-00258-EJD       Document 1645        Filed 11/12/22    Page 76 of 156

US v. Elizabeth Holmes                                                                                                            Exhibit C.5
Valuation of Theranos, Inc.                                                                        Forecast Free Cash Flow to Invested Capital
As of February 7, 2014                                                                                                   (thousands of USD)


                                                                          For the Twelve Month Period Ending December 31,
                                                            2014               2015             2016            2017               2018

Total Revenue                                          $          150     $     113,452     $    223,452    $     323,452     $      503,452
Total Cost of Revenue                                              53            39,708           71,505          103,505            151,036
Gross Margin                                                       97            73,744          151,947          219,947            352,416
GM %                                                            64.7%             65.0%            68.0%            68.0%              70.0%

Total Operating Expenses                                     100,031             97,025           99,961          108,977            124,401
Operating Expense %                                         66687.3%              85.5%            44.7%            33.7%              24.7%
EBITDA                                                         (99,934)          (23,281)         51,986          110,970            228,015
EBITDA %                                                    -66622.7%             -20.5%           23.3%            34.3%              45.3%
Less: Partial Period Adjustment                                 8,328                -               -                -                  -
Adjusted EBITDA                                               (91,606)           (23,281)         51,986          110,970            228,015
Depreciation & Amortization                                     4,562             7,722           12,969            20,366            28,644
EBIT                                                           (96,169)          (31,003)         39,017            90,604           199,371
EBIT %                                                      -64112.3%             -27.3%           17.5%             28.0%             39.6%
Interest Expense                                                   -                 -               -                 -                  -

Earnings Before Taxes                                         (96,169)           (31,003)         39,017            90,604           199,371
       Income Taxes                                               -                  -               -                 -              42,265

Forecast After-Tax Income                              $       (96,169)   $      (31,003)   $     39,017    $       90,604    $      157,106
NPAT %                                                      -64112.3%             -27.3%           17.5%             28.0%             31.2%

Cash Flow
Add: Depreciation & Amortization                                4,562              7,722          12,969           20,366             28,644
      After-Tax Gross Cash Flow                               (91,606)           (23,281)         51,986          110,970            185,750

      Decrease / (Increase) in Working Capital                (33,712)           (34,150)        (18,930)          (24,283)          (45,972)
Less: Capital Expenditures                                     (8,253)           (33,134)        (45,970)          (65,569)          (59,240)

Free Cash Flow                                         $     (133,571)    $      (90,565)   $    (12,914)   $       21,118    $       80,538
                      Case 5:18-cr-00258-EJD      Document 1645     Filed 11/12/22    Page 77 of 156

US v. Elizabeth Holmes                                                                                     Exhibit C.6
Valuation of Theranos, Inc.                                               Discounted Cash Flow Method Value Summary
As of February 7, 2014                                                                             (thousands of USD)


     Forecast                 Base                             Discount                                  Discounted
      Period                Cash Flow           Period           Rate             PV Factor [2]         Cash Flow [3]

       2014             $         (133,571)      0.45             44.0%              0.8494         $         (113,454)
       2015                        (90,565)      1.40             44.0%              0.6012                    (54,450)
       2016                        (12,914)      2.40             44.0%              0.4175                     (5,392)
       2017                         21,118       3.40             44.0%              0.2899                      6,123
       2018                         80,538       4.40             44.0%              0.2013                     16,216
 Terminal Value [1]              3,000,000       4.90             44.0%              0.1678                    503,372

Indicated Value                                                                                     $          352,416
Add: C-2 Financing Proceeds not on 12/31/13 balance sheet                                                      114,390
Add: C-1 Financing Proceeds not on 12/31/13 balance sheet                                                        6,556
Deduct: Interest Bearing Debt                                                                                  (42,386)

Total Equity Value - Controlling, Marketable Basis                                                  $          430,975

Total Equity Value - Controlling, Marketable Basis (rounded)                                        $          431,000


Notes:
[1] Refer to Exhibit D.1
[2] 1 / (1 + Discount Rate) ^ Period.
[3] Base Cash Flow x PV Factor.
                                                               Case 5:18-cr-00258-EJD                                           Document 1645                               Filed 11/12/22                        Page 78 of 156

US v. Elizabeth Holmes                                                                                                                                                                                                                                                                        Exhibit D.1
Valuation of Theranos, Inc.                                                                                                                                                                                                                                             Guideline Public Company Method
As of February 7, 2014                                                                                                                                                                                                                                                                (thousands of USD)


                                                                                        Debt,                                                                                                                                                Market Value of Invested Capital /
                                                                          Market      Pref Shr &                                                   Revenue                         EBITDA                     EBIT                   Revenue                     EBITDA                      EBIT
  Name                                                Ticker               Cap         Min Int.            Cash            MVIC [1]          LTM          2014E              LTM             2014E            LTM              LTM          2014E          LTM           2014E               LTM

  OraSure Technologies, Inc.                          OSUR           $      337,504   $         -      $      93,191   $      244,313   $      98,940   $     104,732   $     (13,910)   $     (11,967)   $     (20,462)         2.47x           2.33x           NA                NA              NA
  Trinity Biotech plc                                  TRIB                 545,805             -             22,317          523,488          91,216         110,443          19,006              NA            15,416          5.74x           4.74x        27.54x               NA           33.96x
  Enzo Biochem, Inc.                                    ENZ                 138,102           3,992            7,621          134,473          92,929          97,348         (11,277)          (9,200)         (15,573)         1.45x           1.38x           NA                NA              NA
  QuidelOrtho Corporation                              QDEL                 964,525           5,567            8,388          961,704         177,325         199,864          30,867           53,570            6,667          5.42x           4.81x        31.16x            17.95x         144.25x
  Exact Sciences Corporation                           EXAS                 865,903           1,711          133,259          734,355           4,144          28,311         (45,343)         (49,052)         (46,761)           NA           25.94x           NA                NA              NA
  OPKO Health, Inc.                                     OPK               3,106,222         224,313          185,798        3,144,737          96,530         102,743         (57,469)             NA           (72,685)        32.58x          30.61x           NA                NA              NA
  PerkinElmer, Inc.                                     PKI               4,920,548         934,728          173,242        5,682,034       2,157,586       2,283,690         389,970          444,503          263,091          2.63x           2.49x        14.57x            12.78x          21.60x
  Quest Diagnostics Incorporated                       DGX                7,315,200       3,391,000          187,000       10,519,200       7,146,000       7,204,659       1,439,000        1,425,874        1,156,000          1.47x           1.46x         7.31x             7.38x           9.10x
  Laboratory Corporation of America Holdings             LH               7,791,710       3,019,800          404,000       10,407,510       5,808,300       5,920,847       1,203,500        1,176,931        1,012,700          1.79x           1.76x         8.65x             8.84x          10.28x
  Myriad Genetics, Inc.                               MYGN                2,351,966             -            353,595        1,998,371         737,115         712,147         300,472          239,889          291,227          2.71x           2.81x         6.65x             8.33x           6.86x
  Illumina, Inc.                                       ILMN              19,831,532         868,593        1,165,603       19,534,522       1,421,178       1,671,408         363,622          493,335          265,697         13.75x          11.69x        53.72x            39.60x          73.52x
  Qiagen N.V.                                         QGEN                5,280,047         859,741          380,226        5,759,562       1,301,984       1,371,150         382,685          457,917          188,130          4.42x           4.20x        15.05x            12.58x          30.61x
  Alere Inc.                                        IQT2622336            2,819,163       4,452,454          356,289        6,915,328       2,608,636       3,085,506         546,428          673,094          171,771          2.65x           2.24x        12.66x            10.27x          40.26x
  Luminex Corporation                               IQT2627430              734,789           1,657           72,441          664,005         213,423         230,083          25,707           50,037            9,785          3.11x           2.89x        25.83x            13.27x          67.86x
  Abaxis, Inc.                                      IQT2586525              824,250             706          101,830          723,126         179,781         191,556          31,289           33,025           23,944          4.02x           3.78x        23.11x            21.90x          30.20x
  CombiMatrix Corporation                          IQT36309071               25,342             233           14,036           11,539           6,367           6,959          (5,353)             NA            (6,051)         1.81x           1.66x           NA                NA              NA
  Affymetrix Inc.                                   IQT2587418              518,522         144,461           57,128          605,855         330,399         335,643          45,802           43,787            6,814          1.83x           1.81x        13.23x            13.84x          88.91x
  Genomic Health, Inc.                             IQT24111615              815,172             -            105,350          709,822         261,595         286,115          (5,508)         (18,086)         (11,832)         2.71x           2.48x           NA                NA              NA
  Cepheid                                           IQT2599314            3,328,663             -             74,909        3,253,754         401,292         456,698           8,477           16,305          (14,710)         8.11x           7.12x           NA                NA              NA
  Nanosphere, Inc.                                 IQT38720096              169,146          11,815           41,467          139,494          10,002          19,719         (31,689)         (29,322)         (33,721)        13.95x           7.07x           NA                NA              NA
  GenMark Diagnostics, Inc.                       IQT106626443              513,559               37         105,589          408,007          27,404          26,812         (27,134)         (33,133)         (29,362)        14.89x          15.22x           NA                NA              NA
  Bio-Reference Laboratories, Inc.                  IQT2594421              723,947          52,630           14,533          762,044         735,368         801,467          93,075          115,197           72,094          1.04x           0.95x         8.19x             6.62x          10.57x

  Correlation to MVIC                                                                                                                            0.65            0.67            0.61             0.66             0.57
  Correlation to Price                                                                                                                           0.49            0.51            0.44             0.48             0.44


                                                                                                                                                                        Upper Quartile                                            5.74x          6.51x        25.83x            14.87x          67.86x
                                                                                                                                                                        Mean                                                      6.12x          6.34x        19.05x            14.45x          43.69x
                                                                                                                                                                        Median                                                    2.71x          2.85x        14.57x            12.68x          30.61x
                                                                                                                                                                        Lower Quartile                                            1.83x          1.91x         8.65x             8.71x          10.57x

                                                                                                                                                                        Selected Multiple                                         6.10x                        12.60x                             -
                                                                                                                                                                           Subject Company Base Value                      $   503,452    $       -      $   228,015      $        -     $    199,371

                                                                                                                                                                        Indicated Equity Value                             $ 3,071,057    $       -      $ 2,872,989      $        -     $         -
                                                                                                                                                                           Weighting                                             33.3%           0.0%          66.7%              0.0%            0.0%

                                                                                                                                                                        Indicated Value                                                                                                  $ 2,939,012
                                                                                                                                                                           Add: Subject Company Cash                                                                                          61,348

                                                                                                                                                                        Total Invested Capital Value at 12/31/18 Exit - Controlling, Marketable Basis                                    $ 3,000,360

                                                                                                                                                                        Total Invested Capital Value at 12/31/18 Exit - Controlling, Marketable Basis (rounded)                          $ 3,000,000
Notes:
Source: S&P Capital IQ.
[1] MVIC = Market Value of Invested Capital. Presented as net of cash.
                                                   Case 5:18-cr-00258-EJD                                    Document 1645                   Filed 11/12/22                   Page 79 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                  Exhibit D.2
Valuation of Theranos, Inc.                                                                                                                                                                            Guideline Public Company Key Financial Ratios
As of February 7, 2014                                                                                                                                                                                                          (thousands of USD)


                                                              Market       Trading           LTM       CAGR Revenue [2]        Forward Growth                             As a % of Revenue                        Current     Debt to     Debt to
Name                                      Ticker               Cap        Volume [1]       Revenue     1 Year   3 Year     2014E    2015E   2016E      GM       EBITDA     D&A        EBIT    Capex     WC [3]      Ratio      Equity       TNW

OraSure Technologies, Inc.                OSUR           $     337,504          713    $     98,940     12.7%      9.7%      5.9%   14.5%    10.9%     59.2%     -14.1%     0.0%     -20.7%     2.5%     195.9%        6.30        0.0%        0.0%

Trinity Biotech plc                       TRIB                 545,805           69          91,216      10.6%     0.6%     21.1%   14.5%       NA     49.6%      20.8%     0.0%      16.9%     4.9%      61.1%        3.66        0.0%        0.0%

Enzo Biochem, Inc.                         ENZ                 138,102          209          92,929      -7.3%     -1.8%     4.8%   12.4%    15.2%     41.8%     -12.1%     0.0%     -16.8%     0.9%       8.6%        1.35       12.4%      25.5%

QuidelOrtho Corporation                   QDEL                 964,525          193         177,325      13.9%    16.1%     12.7%   18.0%    13.2%     62.2%      17.4%     4.6%       3.8%    11.7%      30.8%        3.27        2.5%        6.9%

Exact Sciences Corporation                EXAS                 865,903          739           4,144        NA      -8.1%      N/A   212.6%   90.4%    100.0%        N/A     0.0%   -1128.4%      N/A 3081.7%          17.47        1.3%        1.3%

OPKO Health, Inc.                          OPK                3,106,222        4,324         96,530     105.2%    50.2%      6.4%   41.0%    62.2%     31.1%     -59.5%    11.5%     -75.3%     4.1%     156.3%        2.64       26.1%     -102.9%

PerkinElmer, Inc.                          PKI                4,920,548         829        2,157,586     2.5%      8.2%      5.8%    5.3%     5.1%     45.3%      18.1%     0.0%      12.2%     1.8%      20.5%        1.73       46.9%     -153.5%

Quest Diagnostics Incorporated             DGX                7,315,200        2,520       7,146,000     -3.2%     -0.5%     0.8%    1.1%     0.5%     40.1%      20.1%     1.1%      16.2%     3.2%       3.5%        1.22       84.7%     -130.9%

Laboratory Corporation of America H         LH                7,791,710        1,101       5,808,300     2.4%      5.1%      1.9%    2.1%     2.6%     38.3%      20.7%     1.4%      17.4%     3.5%      12.0%        1.95     119.5%      -144.0%

Myriad Genetics, Inc.                     MYGN                2,351,966        2,462        737,115     35.2%     25.0%     -3.4%    9.7%    -18.1%    87.2%      40.8%     0.0%      39.5%     1.7%      52.5%        6.74        0.0%        0.0%

Illumina, Inc.                            ILMN               19,831,532        1,595       1,421,178    23.7%     16.3%     17.6%   18.3%    19.0%     68.3%      25.6%     2.4%      18.7%     5.6%      91.2%        5.02       56.7%     181.3%

Qiagen N.V.                               QGEN                5,280,047         892        1,301,984     3.8%      6.2%      5.3%    6.2%     6.1%     65.7%      29.4%     2.7%      14.4%     6.5%      44.8%        2.73       31.2%    1093.2%

Alere Inc.                             IQT2622336             2,819,163         654        2,608,636     8.9%      6.6%     18.3%    5.4%     4.1%     50.6%      20.9%     0.0%       6.6%     3.8%      38.4%        2.30     184.8%      -151.0%

Luminex Corporation                    IQT2627430              734,789          170         213,423      5.4%     14.7%      7.8%    8.8%     8.7%     68.5%      12.0%     1.9%       4.6%     8.5%      55.2%        5.14        0.6%        1.0%

Abaxis, Inc.                           IQT2586525              824,250          187         179,781      0.6%      8.7%      6.5%   12.3%       NA     49.1%      17.4%     0.0%      13.3%     3.1%      84.0%        9.42        0.4%        0.4%

CombiMatrix Corporation                IQT36309071              25,342           75           6,367     19.0%     21.5%      9.3%   16.2%    16.3%     44.6%     -84.1%     2.4%     -95.0%     4.8%     218.7%        7.62        1.6%        1.6%

Affymetrix Inc.                        IQT2587418              518,522         1,231        330,399     11.8%      2.1%      1.6%    2.7%     2.5%     59.3%      13.9%     0.0%       2.1%     1.5%      29.9%        2.28       53.2%     -682.8%

Genomic Health, Inc.                   IQT24111615             815,172          218         261,595      11.2%    13.7%      9.4%   12.8%    30.6%     79.6%      -2.1%     0.0%      -4.5%     4.2%      44.0%        4.86        0.0%        0.0%

Cepheid                                 IQT2599314            3,328,663         609         401,292      21.2%    23.6%     13.8%   15.5%    15.5%     48.5%       2.1%     0.0%      -3.7%    11.8%      37.0%        2.56        0.0%        0.0%

Nanosphere, Inc.                       IQT38720096             169,146           33          10,002      97.0%    70.3%     97.1%   70.7%    64.2%    -149.9%       N/A     0.0%    -337.1%    14.0%     465.0%        8.17       27.4%      29.0%

GenMark Diagnostics, Inc.              IQT106626443            513,559          240          27,404      33.9%   120.3%     -2.2%   57.7%    78.2%     47.5%     -99.0%     0.0%    -107.1%    15.6%     368.1%       10.85        0.0%        0.0%

Bio-Reference Laboratories, Inc.       IQT2594421              723,947          424         735,368      15.5%    15.2%      9.0%      NA       NA     46.3%      12.7%     2.9%       9.8%     3.1%      22.2%        2.20       19.1%      23.5%



                      Upper Quartile                     $ 3,273,053           1,049   $ 1,160,767      21.2%     20.2%     12.7%   18.0%    24.8%     64.9%      20.7%     2.3%      14.2%     6.5%     140.0%        6.63       43.0%        5.6%
                              Mean                            2,905,528         886        1,086,705     20.2%    19.3%     11.9%   26.6%    22.5%     47.0%       0.1%     1.4%     -73.3%     5.6%     232.8%        4.98       30.4%       -0.1%
                             Median                            845,076          632         237,509      11.8%    11.7%      6.5%   12.8%    13.2%     49.3%      15.6%     0.0%       4.2%     4.1%      48.7%        3.47        7.4%        0.0%
                      Lower Quartile                           525,342          197          93,829       3.8%     5.4%      4.8%    6.2%     4.6%     44.8%      -4.6%     0.0%     -19.7%     3.1%      30.1%        2.29        0.1%      -77.2%



      Theranos, Inc. (at 12/31/18)                                  NA           NA    $    503,452     55.6%     64.3%     28.0%      NA       NA     70.0%      45.3%     5.7%      39.6%    11.8%      18.6%        2.39         N/A         N/A




Notes:
Source: S&P Capital IQ.
[1] Represents trailing 3-month average daily trading volume (in thousands).
[2] CAGR = Compound Annual Growth Rate
[3] Working capital excludes cash
                  Case 5:18-cr-00258-EJD                          Document 1645                              Filed 11/12/22                         Page 80 of 156

US v. Elizabeth Holmes                                                                                                                                                           Exhibit D.3
Valuation of Theranos, Inc.                                                                                                                            Guideline Public Company Descriptions
As of February 7, 2014


Name                                            Ticker      Description


                                                            OraSure Technologies, Inc., together with its subsidiaries, develops, manufactures, markets, and sells oral fluid diagnostic
OraSure Technologies, Inc.                      OSUR
                                                            products and specimen collection devices in the United States, Europe, and internationally.

                                                            Trinity Biotech plc acquires, develops, manufactures, and markets medical diagnostic products for the clinical laboratory and point-
Trinity Biotech plc                             TRIB
                                                            of-care (POC) segments of the diagnostic market in the Americas, Africa, Asia, and Europe.

                                                            Enzo Biochem, Inc., an integrated diagnostics, clinical lab, and life sciences company, researches, develops, manufactures, and
Enzo Biochem, Inc.                               ENZ
                                                            markets diagnostic and research products based on genetic engineering, biotechnology, and molecular biology.

                                                            QuidelOrtho Corporation focuses on the development and manufacture of diagnostic testing technologies across the continuum
QuidelOrtho Corporation                         QDEL
                                                            of healthcare testing needs.


Exact Sciences Corporation                      EXAS        Exact Sciences Corporation provides cancer screening and diagnostic test products in the United States and internationally.


                                                            OPKO Health, Inc., a healthcare company, engages in the diagnostics and pharmaceuticals businesses in the United States,
OPKO Health, Inc.                                OPK
                                                            Ireland, Chile, Spain, Israel, Mexico, and internationally.

                                                            PerkinElmer, Inc. provides products, services, and solutions to the diagnostics, life sciences, and applied services markets
PerkinElmer, Inc.                                PKI
                                                            worldwide.


Quest Diagnostics Incorporated                   DGX        Quest Diagnostics Incorporated provides diagnostic testing, information, and services in the United States and internationally.


                                                            Laboratory Corporation of America Holdings operates as a global life sciences company that provides vital information to help
Laboratory Corporation of America Holdings       LH
                                                            doctors, hospitals, pharmaceutical companies, researchers, and patients make clear and confident decisions.

                                                            Myriad Genetics, Inc., a genetic testing and precision medicine company, develops and commercializes genetic tests in the
Myriad Genetics, Inc.                           MYGN
                                                            United States and internationally.


Illumina, Inc.                                  ILMN        Illumina, Inc. provides sequencing and array-based solutions for genetic and genomic analysis.


Qiagen N.V.                                     QGEN        QIAGEN N.V. offers sample to insight solutions that transform biological materials into molecular insights worldwide.


                                                            Alere Inc. provides diagnostic tests for infectious disease, cardiometabolic disease, and toxicology in the United States and
Alere Inc.                                    IQT2622336
                                                            internationally.

                                                            Luminex Corporation develops, manufactures, and sells proprietary biological testing technologies and products for the
Luminex Corporation                           IQT2627430
                                                            diagnostics, pharmaceutical, and research industries worldwide.

                                                            Abaxis, Inc. develops, manufactures, markets, and sells portable blood analysis systems for use in human or veterinary patient
Abaxis, Inc.                                  IQT2586525
                                                            care to provide rapid blood constituent measurements for clinicians worldwide.


CombiMatrix Corporation                      IQT36309071    CombiMatrix Corporation provides clinical molecular diagnostic laboratory services in the United States.


                                                            Affymetrix, Inc. provides life science products and molecular diagnostic products that enable parallel analysis of biological
Affymetrix Inc.                               IQT2587418
                                                            systems at the gene, protein, and cell level.

                                                            Genomic Health, Inc., a healthcare company, provides clinically actionable genomic information to personalize cancer treatment
Genomic Health, Inc.                         IQT24111615
                                                            decisions in the United States and internationally.

                                                            Cepheid, a molecular diagnostics company, develops, manufactures, and markets integrated systems for testing in the clinical
Cepheid                                       IQT2599314
                                                            and non-clinical markets.

                                                            Nanosphere, Inc. develops, manufactures, and markets molecular diagnostic tests for infectious diseases and associated drug
Nanosphere, Inc.                             IQT38720096
                                                            resistance markers for earlier disease detection, optimal patient treatment, and improved healthcare economics.
                                                            GenMark Diagnostics, Inc. designs and manufactures multiplex molecular diagnostic solutions to enhance patient care, improve
GenMark Diagnostics, Inc.                    IQT106626443   quality metrics, and reduce the total cost-of-care for laboratory professionals, healthcare providers, and customers in the United
                                                            States and internationally.
                                                            Bio-Reference Laboratories, Inc. provides clinical laboratory testing services for the detection, diagnosis, evaluation, monitoring,
Bio-Reference Laboratories, Inc.              IQT2594421
                                                            and treatment of diseases in the United States.


Notes:
Source: S&P Capital IQ.
       Case 5:18-cr-00258-EJD                                       Document 1645                                Filed 11/12/22                         Page 81 of 156

US v. Elizabeth Holmes                                                                                                                                                          Exhibit D.4
Valuation of Theranos, Inc.                                                                                                                              Guideline Public Company Ranking
As of February 7, 2014                                                                                                                                                  (thousands of USD)


                             Size                                                       Liquidity                                                       Liquidity
                      (Revenue, millions)                               (Operating Net Working Capital-to-Revenue)                                   (Current Ratio)
Quest Diagnostics Incorporated            $      7,146,000   Quest Diagnostics Incorporated                           3.5%   Exact Sciences Corporation                             17.47
Laboratory Corporation of America Holdin         5,808,300   Enzo Biochem, Inc.                                       8.6%   GenMark Diagnostics, Inc.                              10.85
Alere Inc.                                       2,608,636   Laboratory Corporation of America Holdin                12.0%   Abaxis, Inc.                                            9.42
PerkinElmer, Inc.                                2,157,586   Theranos, Inc. (at 12/31/18)                            18.6%   Nanosphere, Inc.                                        8.17
Illumina, Inc.                                   1,421,178   PerkinElmer, Inc.                                       20.5%   CombiMatrix Corporation                                 7.62
Qiagen N.V.                                      1,301,984   Bio-Reference Laboratories, Inc.                        22.2%   Myriad Genetics, Inc.                                   6.74
Myriad Genetics, Inc.                              737,115   Affymetrix Inc.                                         29.9%   OraSure Technologies, Inc.                              6.30
Bio-Reference Laboratories, Inc.                   735,368   QuidelOrtho Corporation                                 30.8%   Luminex Corporation                                     5.14
Theranos, Inc. (at 12/31/18)                       503,452   Cepheid                                                 37.0%   Illumina, Inc.                                          5.02
Cepheid                                            401,292   Alere Inc.                                              38.4%   Genomic Health, Inc.                                    4.86
Affymetrix Inc.                                    330,399   Genomic Health, Inc.                                    44.0%   Trinity Biotech plc                                     3.66
Genomic Health, Inc.                               261,595   Qiagen N.V.                                             44.8%   QuidelOrtho Corporation                                 3.27
Luminex Corporation                                213,423   Myriad Genetics, Inc.                                   52.5%   Qiagen N.V.                                             2.73
Abaxis, Inc.                                       179,781   Luminex Corporation                                     55.2%   OPKO Health, Inc.                                       2.64
QuidelOrtho Corporation                            177,325   Trinity Biotech plc                                     61.1%   Cepheid                                                 2.56
OraSure Technologies, Inc.                          98,940   Abaxis, Inc.                                            84.0%   Theranos, Inc. (at 12/31/18)                            2.39
OPKO Health, Inc.                                   96,530   Illumina, Inc.                                          91.2%   Alere Inc.                                              2.30
Enzo Biochem, Inc.                                  92,929   OPKO Health, Inc.                                      156.3%   Affymetrix Inc.                                         2.28
Trinity Biotech plc                                 91,216   OraSure Technologies, Inc.                             195.9%   Bio-Reference Laboratories, Inc.                        2.20
GenMark Diagnostics, Inc.                           27,404   CombiMatrix Corporation                                218.7%   Laboratory Corporation of America Holdin                1.95
Nanosphere, Inc.                                    10,002   GenMark Diagnostics, Inc.                              368.1%   PerkinElmer, Inc.                                       1.73
CombiMatrix Corporation                              6,367   Nanosphere, Inc.                                       465.0%   Enzo Biochem, Inc.                                      1.35
Exact Sciences Corporation                           4,144   Exact Sciences Corporation                            3081.7%   Quest Diagnostics Incorporated                          1.22

                    Operational Efficiency                                                 Growth                                                         Growth
                    (Capital Expenditures)                                    (Historical 1-year Growth Rate)                                    (Historical 3-year CAGR)
Enzo Biochem, Inc.                                   0.9%    OPKO Health, Inc.                                    105.2%     GenMark Diagnostics, Inc.                             120.3%
Affymetrix Inc.                                      1.5%    Nanosphere, Inc.                                      97.0%     Nanosphere, Inc.                                       70.3%
Myriad Genetics, Inc.                                1.7%    Theranos, Inc. (at 12/31/18)                          55.6%     Theranos, Inc. (at 12/31/18)                           64.3%
PerkinElmer, Inc.                                    1.8%    Myriad Genetics, Inc.                                 35.2%     OPKO Health, Inc.                                      50.2%
OraSure Technologies, Inc.                           2.5%    GenMark Diagnostics, Inc.                             33.9%     Myriad Genetics, Inc.                                  25.0%
Abaxis, Inc.                                         3.1%    Illumina, Inc.                                        23.7%     Cepheid                                                23.6%
Bio-Reference Laboratories, Inc.                     3.1%    Cepheid                                               21.2%     CombiMatrix Corporation                                21.5%
Quest Diagnostics Incorporated                       3.2%    CombiMatrix Corporation                               19.0%     Illumina, Inc.                                         16.3%
Laboratory Corporation of America Holdin             3.5%    Bio-Reference Laboratories, Inc.                      15.5%     QuidelOrtho Corporation                                16.1%
Alere Inc.                                           3.8%    QuidelOrtho Corporation                               13.9%     Bio-Reference Laboratories, Inc.                       15.2%
OPKO Health, Inc.                                    4.1%    OraSure Technologies, Inc.                            12.7%     Luminex Corporation                                    14.7%
Genomic Health, Inc.                                 4.2%    Affymetrix Inc.                                       11.8%     Genomic Health, Inc.                                   13.7%
CombiMatrix Corporation                              4.8%    Genomic Health, Inc.                                  11.2%     OraSure Technologies, Inc.                              9.7%
Trinity Biotech plc                                  4.9%    Trinity Biotech plc                                   10.6%     Abaxis, Inc.                                            8.7%
Illumina, Inc.                                       5.6%    Alere Inc.                                             8.9%     PerkinElmer, Inc.                                       8.2%
Qiagen N.V.                                          6.5%    Luminex Corporation                                    5.4%     Alere Inc.                                              6.6%
Luminex Corporation                                  8.5%    Qiagen N.V.                                            3.8%     Qiagen N.V.                                             6.2%
QuidelOrtho Corporation                             11.7%    PerkinElmer, Inc.                                      2.5%     Laboratory Corporation of America Holdin                5.1%
Theranos, Inc. (at 12/31/18)                        11.8%    Laboratory Corporation of America Holdin               2.4%     Affymetrix Inc.                                         2.1%
Cepheid                                             11.8%    Abaxis, Inc.                                           0.6%     Trinity Biotech plc                                     0.6%
Nanosphere, Inc.                                    14.0%    Quest Diagnostics Incorporated                        -3.2%     Quest Diagnostics Incorporated                         -0.5%
GenMark Diagnostics, Inc.                           15.6%    Enzo Biochem, Inc.                                    -7.3%     Enzo Biochem, Inc.                                     -1.8%
                                                                                                                             Exact Sciences Corporation                             -8.1%

                            Growth                                                       Profitability                                           Operational Efficiency
                  (Forward 1-year Growth Rate)                               (Historical EBITDA Margin 1-year)                                     (Return on Equity)
Nanosphere, Inc.                                    97.1%    Theranos, Inc. (at 12/31/18)                           45.3%    Myriad Genetics, Inc.                                   27.2%
Theranos, Inc. (at 12/31/18)                        28.0%    Myriad Genetics, Inc.                                  40.8%    Bio-Reference Laboratories, Inc.                        15.3%
Trinity Biotech plc                                 21.1%    Qiagen N.V.                                            29.4%    Laboratory Corporation of America Holdin                11.6%
Alere Inc.                                          18.3%    Illumina, Inc.                                         25.6%    Quest Diagnostics Incorporated                           9.7%
Illumina, Inc.                                      17.6%    Alere Inc.                                             20.9%    Abaxis, Inc.                                             8.5%
Cepheid                                             13.8%    Trinity Biotech plc                                    20.8%    Illumina, Inc.                                           7.3%
QuidelOrtho Corporation                             12.7%    Laboratory Corporation of America Holdin               20.7%    PerkinElmer, Inc.                                        5.7%
Genomic Health, Inc.                                 9.4%    Quest Diagnostics Incorporated                         20.1%    Trinity Biotech plc                                      5.5%
CombiMatrix Corporation                              9.3%    PerkinElmer, Inc.                                      18.1%    Qiagen N.V.                                              3.3%
Bio-Reference Laboratories, Inc.                     9.0%    QuidelOrtho Corporation                                17.4%    Luminex Corporation                                      2.3%
Luminex Corporation                                  7.8%    Abaxis, Inc.                                           17.4%    QuidelOrtho Corporation                                  1.9%
Abaxis, Inc.                                         6.5%    Affymetrix Inc.                                        13.9%    Alere Inc.                                               1.8%
OPKO Health, Inc.                                    6.4%    Bio-Reference Laboratories, Inc.                       12.7%    Affymetrix Inc.                                          1.0%
OraSure Technologies, Inc.                           5.9%    Luminex Corporation                                    12.0%    Theranos, Inc. (at 12/31/18)                             0.0%
PerkinElmer, Inc.                                    5.8%    Cepheid                                                 2.1%    Cepheid                                                 -3.4%
Qiagen N.V.                                          5.3%    Genomic Health, Inc.                                   -2.1%    Genomic Health, Inc.                                    -5.5%
Enzo Biochem, Inc.                                   4.8%    Enzo Biochem, Inc.                                    -12.1%    OPKO Health, Inc.                                       -6.8%
Laboratory Corporation of America Holdin             1.9%    OraSure Technologies, Inc.                            -14.1%    OraSure Technologies, Inc.                              -7.7%
Affymetrix Inc.                                      1.6%    OPKO Health, Inc.                                     -59.5%    GenMark Diagnostics, Inc.                              -22.1%
Quest Diagnostics Incorporated                       0.8%    CombiMatrix Corporation                               -84.1%    Exact Sciences Corporation                             -24.6%
GenMark Diagnostics, Inc.                           -2.2%    GenMark Diagnostics, Inc.                             -99.0%    Enzo Biochem, Inc.                                     -25.1%
Myriad Genetics, Inc.                               -3.4%                                                                    Nanosphere, Inc.                                       -43.4%
                                                                                                                             CombiMatrix Corporation                                -51.6%
               Case 5:18-cr-00258-EJD                Document 1645               Filed 11/12/22            Page 82 of 156

US v. Elizabeth Holmes                                                                                                     Exhibit E.1
Valuation of Theranos, Inc.                                                                                   Adjusted Net Asset Value
As of February 7, 2014                                                                                             (thousands of USD)

                                                             12/31/2013
                                                             Unadjusted                 Adjustments                   Adjusted
Assets:
  Current Assets
      Current Operating Assets
         Cash & Equivalents                        [1]   $              30,966      $             120,946       $             151,912
         Accounts Receivable                                               -                          -                           -
         Inventory                                                       3,777                        -                         3,777
         Other Current Assets                                            1,780                        -                         1,780
      Total Current Operating Assets                                    36,523                    120,946                     157,469
      Total Current Non-Operating Assets                                   -                          -                           -
  Total Current Assets                                                  36,523                    120,946                     157,469

   Total Fixed Assets - Net                                             22,021                         -                       22,021

   Other Assets
      Intangible Assets
          Goodwill                                                         -                          -                           -
          Other Intangible Assets                  [2]                     -                      340,370                     340,370
      Total Intangible Assets - Net                                        -                      340,370                     340,370
      Total Long Term Receivables                                          -                          -                           -
      Total Other Non-Current Assets                                       -                          -                           -
   Total Non Current Assets                                                -                      340,370                     340,370

Total Assets                                             $              58,543      $             461,316       $             519,859

Liabilities and Equity:

Liabilities
   Current Liabilities
         Current Operating Liabilities
            Accounts Payable                             $               7,430                                  $               7,430
            Deferred Revenue                                                 7                                                      7
            Other Current Liabilities              [3]                  50,017                     (45,187)                     4,830
         Total Current Operating Liabilities                            57,454                     (45,187)                    12,267
         Total Current Debt Obligations                                    -                           -                          -
   Total Current Liabilities                                            57,454                     (45,187)                    12,267

   Non Current Liabilities
      Total Long Term Debt                                              42,386                         -                       42,386
      Other Non Current Liabilities
          Deferred Rent                                                 1,857                          -                        1,857
          Deferred Revenue, LT                                          3,801                          -                        3,801
          Customer Deposits                                            80,000                          -                       80,000
          Other Non-current liabilities                                 1,866                          -                        1,866
      Total Other Non Current Liabilities                              87,525                          -                       87,525
   Total Non Current Liabilities                                      129,911                          -                      129,911

Total Liabilities                                        $            187,365       $              (45,187)     $             142,178


Total Equity Value - Controlling, Marketable Basis                                                              $             377,682

Total Equity Value - Controlling, Marketable Basis (rounded)                                                    $             378,000

Notes:
[1] Add Series C-1 and C-2 Preferred Stock proceeds through 2/7/14 that are not on 12/31/13 balance sheet.
[2] Add value of technology and branding assets under cost to recreate method (Exhibit E.2)
[3] Adjust out "miscellaneous receipts" liability that represents proceeds received from 2013 capital raises, for which stock had not
    been issued yet.
                        Case 5:18-cr-00258-EJD                                                         Document 1645                                     Filed 11/12/22                                    Page 83 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                             Exhibit E.2
Valuation of Theranos, Inc.                                                                                                                                                                           Cost to Recreate Method - Technology and Branding Assets
As of February 7, 2014                                                                                                                                                                                                                                  (USD)



                                                                                  Calendar Year 2009                                            Calendar Year 2010                                                Calendar Year 2011
                                                                                     Allocation to                                                 Allocation to                                                  Allocation to
                                                                                   Technology and                                                Technology and                                                  Technology and
                                                               Total Cost [1]         Brand [2]        Allocated Cost        Total Cost [1]         Brand [2]        Allocated Cost           Total Cost [1]        Brand [2]               Allocated Cost
                    Functional Category
                   Salaries, Wages & SBC                   $        6,717,962           100%           $    6,717,962    $        7,485,029           100%           $    7,485,029       $       10,069,033          100%                  $    10,069,033
                 Payroll Taxes & Processing                           483,606           100%                  483,606               568,593           100%                  568,593                  784,642          100%                         784,642
                      Health Insurance                                417,083           100%                  417,083               493,526           100%                  493,526                  767,508          100%                         767,508
                        Other benefits                                114,239           100%                  114,239               180,253           100%                  180,253                  773,318          100%                         773,318
                     Sales Commissions                                    5,000          0%                       -                       -            0%                        -                         -            0%                              -
                                 Subtotal Employees        $        7,737,890                          $    7,732,890    $        8,727,402                          $    8,727,402       $       12,394,501                                $    12,394,501

                     Contractor Services                              488,192           100%                  488,192               518,786           100%                  518,786                1,637,549          100%                        1,637,549


                      Subtotal for All Labor Costs         $        8,226,082                          $    8,221,082    $        9,246,188                          $    9,246,188       $       14,032,050                                $    14,032,050

                                          Facility Costs   $        2,145,779           99.9%          $    2,144,392    $        2,064,230          100.0%          $    2,064,230       $        2,724,300          100.0%                $     2,724,300
        R&D Materials, Parts, Biological Compounds                    935,138           100%                  935,138             3,786,184           100%                3,786,184                5,955,745          100%                        5,955,745
   Conf., Website, Market Studies, Trademark Costs                     58,925           100%                   58,925                75,422           100%                    75,422                  13,452          100%                          13,452
           Legal, Tax, Accounting Services - General                  120,697            50%                   60,349               284,605            50%                  142,303                  339,165            50%                        169,583
                 Legal Regulatory and Patents Costs                   313,058           100%                  313,058               492,136           100%                  492,136                1,307,265          100%                        1,307,265
                              Legal Costs for Litigation                    -            0%                       -                       -            0%                        -                   665,695            0%                              -
       Expensed Equip., Software, and Maintenance                     148,010           100%                  148,010               226,101           100%                  226,101                  620,302          100%                         620,302
         Dues, Subscriptions, Licenses and Supplies                    85,853           100%                   85,853               233,858           100%                  233,858                  447,386          100%                         447,386
                                       Recruiting Costs               192,343           99.9%                 192,219               212,706          100.0%                 212,706                  300,466          100.0%                       300,466
                                       Travel Expenses                226,711            50%                  113,355               154,949            50%                    77,474                 396,822            50%                        198,411
         Interest (Income), Expense & Bank Charges                    109,143            0%                       -                  70,077            0%                        -                  (132,632)           0%                              -
                          Supporting G&A Expenses                     274,158           99.9%                 273,981               361,955          100.0%                 361,955                  455,201          100.0%                       455,201
                                  Relocation Expenses                  27,220            0%                       -                     6,272          0%                        -                    66,194            0%                              -
             Supplies for Manufacturing / Operations                  754,146           100%                  754,146               432,293           100%                  432,293                   77,829          100%                          77,829
                                               Inventory                    -           100%                                        (13,583)          100%                                             (5,337)        100%                           (5,337)
                                  Capital Expenditures                180,627           100%                  180,627             1,635,110           100%                1,635,110                3,042,848          100%                        3,042,848
                                           Other Costs                 17,441            0%                       -                  17,845            0%                        -                    15,927            0%                              -
                        Subtotal for Indirect Costs        $        5,589,248                          $    5,260,052    $       10,040,161                          $    9,739,772       $       16,290,629                                $    15,307,450


                                                                                         Yrs                                                           Yrs                                                              Yrs
             Inflation Adjusted Total Expenses [4]                 2.3%                  4.61          $   14,983,679            2.3%                  3.61          $   20,623,946               2.3%                  2.61                $    31,148,641



                                                                                  Calendar Year 2012                                            Calendar Year 2013                                                Calendar Year 2014
                                                                                     Allocation to                                                 Allocation to                                                  Allocation to
                                                                                   Technology and                                                Technology and                                                  Technology and
                                                               Total Cost [1]         Brand [2]        Allocated Cost        Total Cost [1]         Brand [2]        Allocated Cost           Total Cost [1]        Brand [2]               Allocated Cost
                    Functional Category
                   Salaries, Wages & SBC                   $       20,238,277           100%           $   20,238,277    $       29,829,686           100%           $   29,829,686       $       46,369,000            8%                  $     3,864,083
                 Payroll Taxes & Processing                         1,561,634           100%                1,561,634             2,246,298           100%                2,246,298                3,450,000            8%                         287,500
                      Health Insurance                              1,429,986           100%                1,429,986             2,161,519           100%                2,161,519                      3,325          8%                             277
                        Other benefits                              2,374,572           100%                2,374,572             3,255,991           100%                3,255,991                8,112,675            8%                         676,056
                     Sales Commissions                                    -              0%                       -                      78            0%                       -                    312,000            0%                              -
                             Subtotal Employees            $       25,604,469                          $   25,604,469    $       37,493,572                          $   37,493,494       $       58,247,000                                $     4,827,917

                     Contractor Services                            3,073,543           100%                3,073,543             5,372,096           100%                5,372,096                7,885,000            8%                         657,083


                      Subtotal for All Labor Costs         $       28,678,011                          $   28,678,011    $       42,865,668                          $   42,865,590       $       66,132,000                                $     5,485,000

                                          Facility Costs   $        7,375,665          100.0%          $    7,375,665    $        7,140,632          100.0%          $    7,140,617       $       16,776,000            8%                  $     1,390,512
        R&D Materials, Parts, Biological Compounds                 11,136,524           100%               11,136,524            10,069,736           100%               10,069,736               10,638,000            8%                         886,500
   Conf., Website, Market Studies, Trademark Costs                  1,274,910           100%                1,274,910             7,684,778           100%                7,684,778                3,087,000            8%                         257,250
           Legal, Tax, Accounting Services - General                1,400,908            50%                  700,454               709,756            50%                  354,878                1,051,000            4%                          43,792
                 Legal Regulatory and Patents Costs                 1,750,963           100%                1,750,963             1,913,373           100%                1,913,373                2,199,000            8%                         183,250
                              Legal Costs for Litigation            1,829,174            0%                       -               6,197,019            0%                        -                 3,899,000            0%                              -
       Expensed Equip., Software, and Maintenance                   1,084,748           100%                1,084,748             1,657,745           100%                1,657,745                1,792,000            8%                         149,333
         Dues, Subscriptions, Licenses and Supplies                 1,211,873           100%                1,211,873             1,522,924           100%                1,522,924                3,583,000            8%                         298,583
                                       Recruiting Costs               796,875          100.0%                 796,875               552,947          100.0%                 552,946                1,147,000            8%                          95,071
                                       Travel Expenses                267,524            50%                  133,762               787,042            50%                  393,521                1,170,000            4%                          48,750
         Interest (Income), Expense & Bank Charges                    143,830            0%                       -                 382,053            0%                        -                   (27,000)           0%                              -
                          Supporting G&A Expenses                     934,674          100.0%                 934,674             1,185,138          100.0%               1,185,135                2,335,000            8%                         193,541
                                  Relocation Expenses                  65,756            0%                       -                  24,763            0%                        -                    43,000            0%                              -
             Supplies for Manufacturing / Operations                  855,721           100%                  855,721             1,574,094           100%                1,574,094                1,952,000            0%                              -
                                               Inventory            6,865,924           100%                6,865,924             1,742,894           100%                1,742,894                1,145,000            8%                          95,417
                                  Capital Expenditures             17,572,491           100%               17,572,491             8,884,769           100%                8,884,769               38,594,066            8%                        3,216,172
                                           Other Costs                 90,432            0%                       -                 (44,941)           0%                        -                    30,000            0%                              -
                        Subtotal for Indirect Costs        $       54,657,993                          $   51,694,585    $       51,984,722                          $   44,677,410       $       89,414,066                                $     6,858,171


                                                                                         Yrs                                                           Yrs                                                              Yrs
             Inflation Adjusted Total Expenses [3]                 2.3%                  1.61          $   83,390,064            2.3%                  0.61          $   88,771,777               2.3%                   0                  $    12,343,171


                                                                                                                                                                                       2004-2006 Expenses, Inflation Adjusted [4]           $    23,743,086
                                                                                                                                                                                            2007 Expenses, Inflation Adjusted [5]                20,247,539
                                                                                                                                                                                            2008 Expenses, Inflation Adjusted [5]                15,187,171
                                                                                                                                                                                         2009-2014 Expenses, Inflation Adjusted                 251,261,278

                                                                                                                                                                                Total Direct and Indirect Development Costs                 $   310,439,074

                                                                                                                                                                                                      Obsolescence Adjustment [6]     4%        (11,871,543)

                                                                                                                                                                                                                    Subtotal Cost           $   298,567,531

                                                                                                                                                                                                    Add Developer Profit Margin [7]   14%        41,799,454


                                                                                                                                                                                                 Total Pretax Development Cost              $   340,366,985

                                                                                                                                                                                     Total Pretax Development Cost (Rounded)                $   340,370,000


Notes
 [1]  Per company prepared trial balances.
 [2]  Allocations based on relevance of costs to developing Theranos technology and branding assets. 2014 is adjusted for partial period to valuation date.
 [3]  Adjust allocated expenses for average annual inflation of 2.3% over historical period.
 [4]  2004 - 2006 expenses based on retained earnings deficit at 12/31/07 less operating loss reported for calendar year 2007. Expenses are adjusted for inflation of 2.3% from midpoint of period to valuation date.
 [5]  2007 - 2008 expenses based on audited financial statements. Excludes financing costs and interest income. Expenses are adjusted for inflation of 2.3% from midpoint of each period to valuation date.
 [6]  Adjusted for estimated 50% of historical development efforts between 2004-2006 that represent obsolete technology on valuation date.
 [7]  Developer margin based on median EBIT margin of peer group of firms in Exhibit D.2.
                                    Case 5:18-cr-00258-EJD              Document 1645     Filed 11/12/22      Page 84 of 156

US v. Elizabeth Holmes                                                                                                                              Exhibit F.1
Valuation of Theranos, Inc.                                                                                              Discounted Cash Flow Key Assumptions
As of December 31, 2014                                                                                                                     (thousands of USD)


                                                                                            For the Twelve Month Period Ending December 31,
                                                      Basis                      2015                 2016                2017                2018

Total Revenue                                  Annual Growth Rate                  97703.4%                97.0%              44.8%                  55.6%

Terminal Value                                 Exit Multiple, Ex. G.1                                                                                4.0%

Total Cost of Revenue                             % of Revenue                          35.0%              32.0%              32.0%                  30.0%

Total Operating Expenses                          % of Revenue                          85.5%              44.7%              33.7%                  24.7%

Depreciation & Amortization                         Exhibit F.3                         9.3%                6.9%                7.0%                 6.0%

Interest Expense                                        N/A                               N/A                N/A                 N/A                   N/A

Income Taxes                                 % of Pre-Tax Net Income                    40.0%              40.0%              40.0%                  40.0%

Adjusted Operating Working Capital                  Exhibit F.2                        4.0%                10.5%               14.8%                18.6%
Adjusted Operating Working Capital                                                    4,593               23,523              47,806               93,778
Yr/yr Working Capital (Increase)/Reduction                                          299,343              (18,930)            (24,283)             (45,972)

Capital Expenditures                              % of Revenue                          29.2%              20.6%              20.3%                  11.8%
                                                Case 5:18-cr-00258-EJD                             Document 1645                         Filed 11/12/22                  Page 85 of 156

US v. Elizabeth Holmes                                                                                                                                                                                                       Exhibit F.2
Valuation of Theranos, Inc.                                                                                                                                                                            Adjusted Working Capital Analysis
As of December 31, 2014                                                                                                                                                                                             (thousands of USD)


                                                                     FYE               FYE               FYE             FYE               FYE               FYE               For the Twelve Month Period Ending December 31,
Working Capital                                                    12-31-09          12-31-10          12-31-11        12-31-12          12-31-13          12-31-14          2015          2016           2017          2018

Total Revenue                                              [1] $       2,794     $       1,401     $         518   $           -     $           -     $         116     $   113,452   $    223,452    $   323,452    $    503,452
Total COS                                                                  -                 -                 -               -                 -                 -          39,708         71,505        103,505         151,036
Total Operating Expenses                                              13,597            16,801            27,173          64,015            85,605           122,756          97,025         99,961        108,977         124,401

Operating Assets
    Cash & Equivalents                                     [2] $       3,690     $      36,718     $      88,056   $      51,785     $      30,966     $     465,933     $    47,848   $     49,296    $    53,742    $     61,348
    Accounts Receivable                                                   29                55                 -               -                 -                 -               -              -              -               -
    Inventory                                                            581                 -                 -           1,733             3,777             2,383           3,404          6,704          9,704          15,104
    Other Current Assets                                                 195               827               665           1,882             1,780            12,788           4,838          5,080          5,334           5,601
    Note Receivable                                                        -                 -                 -               -                 -            27,045          57,539         50,055         42,303          58,453
Total Operating Assets                                                 4,495            37,600            88,721          55,401            36,523           508,149         113,629        111,135        111,083         140,506

Operating Liabilities
    Accounts Payable                                                     560               440             1,238           7,669             7,430            16,633          13,879         16,480         16,174          22,774
    Deferred Revenue                                                   1,663               257                 7               7                 7               -               -              -              -               -
    Other Current Liabilities                                            950             1,298             2,845           7,714             4,830             9,984           7,073          8,265          9,453          11,521
    Deferred Rent                                                        723               759               767           1,572             1,857               -               -              -              -               -
    Deferred Revenue, LT                                               2,146             3,808             3,801           3,801             3,801               -               -              -              -               -
    Customer Deposits                                                    -                 -              73,500          69,500            80,000           143,846          70,356         46,904         23,452             -
    Other Non-current liabilities                                        807             1,847             5,959           3,425             1,866            33,750          17,728         15,963         14,198          12,433
Total Operating Liabilities                                            6,849             8,409            88,117          93,687            99,791           204,213         109,036         87,612         63,277          46,728

Net Operating Working Capital                                  $       (2,354)   $       29,191    $         604   $      (38,287)   $      (63,268)   $      303,936    $     4,593   $     23,523    $    47,806    $     93,778
Net Operating Working Capital as % of Revenue                         -84.3%           2083.1%            116.6%             0.0%              0.0%        262013.8%            4.0%          10.5%          14.8%           18.6%
Yr/yr Working Capital (Increase)/Reduction                                  -           (31,545)          28,587           38,891            24,981          (367,204)       299,343        (18,930)       (24,283)        (45,972)

BizMiner Working Capital as a % of Revenue                                                                                                                                     22.8%
RMA Working Capital as a % of Revenue                                                                                                                                          36.1%
Comparable Group Working Capital as a % of Revenue                                                                                                                             58.0%

Days' Operating Expenses in Cash                                          99              798              1,183            295                132             1,385            180            180            180             180
Days' Sales Outstanding                                                    4                14               -               -                  -                -               -              -              -               -
Days' Inventory                                                          -                 -                 -               -                  -                -                31             34             34              37
Other Current Assets as a % of Revenue                                  7.0%             59.0%            128.4%            0.0%               0.0%         11024.1%            4.3%           2.3%           1.6%            1.1%
Note Receivable as a % of Revenue                                       0.0%              0.0%              0.0%            0.0%               0.0%         23314.7%           50.7%          22.4%          13.1%           11.6%
Days' Payables                                                           -                 -                 -               -                  -                -              128              84             57              55
Deposits & Deferred Revenue as a % of Revenue                         136.3%            290.1%          14917.2%            0.0%               0.0%        124005.2%           62.0%          21.0%           7.3%            0.0%
Other Current Liabilites as a % of Opex                                 7.0%              7.7%             10.5%           12.1%               5.6%             8.1%            7.3%           8.3%           8.7%            9.3%
Deferred Rent as a % of Opex                                            5.3%              4.5%              2.8%            2.5%               2.2%             0.0%            0.0%           0.0%           0.0%            0.0%
Other Non-current liabilities as a % of Opex                            5.9%             11.0%             21.9%            5.4%               2.2%            27.5%           18.3%          16.0%          13.0%           10.0%

Notes:
[1] Historical balances are per Adjusted Income Statement. Refer to Exhibit B.5. Operating Expenses exclude Depreciation & Amortization.
[2] Estimated operating cash levels equal to 6 months of operating expenses
                              Case 5:18-cr-00258-EJD       Document 1645           Filed 11/12/22          Page 86 of 156

US v. Elizabeth Holmes                                                                                                                       Exhibit F.3
Valuation of Theranos, Inc.                                                                                  Depreciation & Capital Expenditure Analysis
As of December 31, 2014                                                                                                              (thousands of USD)


                                                                          For the Twelve Month Period Ending December 31,
Forecast Depreciation                                                  2015             2016            2017            2018

Total Revenue                                                     $      113,452   $      223,452   $      323,452   $       503,452

Beginning Balance - Total Fixed Assets                                    53,366           75,963          106,437           149,519
Capital Expenditures                                                      33,134           45,970           65,569            59,240
     Fixed Assets                                                         86,500          121,933          172,006           208,759
Capital Expenditures as a % of Revenue                                    29.21%           20.57%           20.27%            11.77%

Depreciation
    Assumptions as to Depreciable Lives:
    Beg. Dep. Existing Fixed Assets - avg life   6.3
    Capital Additions - avg life                 8.0

     Beginning Balance                                            $        8,460   $        8,460   $        8,460   $         8,460
     2015 Additions                                                        2,077            4,154            4,154             4,154
     2016 Additions                                                                         2,881            5,763             5,763
     2017 Additions                                                                                          4,110             8,220
     2018 Additions                                                                                                            3,713


Total Depreciation                                                $       10,537   $       15,496   $       22,487   $        30,310
As a % of Revenue                                                           9.3%             6.9%             7.0%              6.0%

Net Fixed Assets                                                  $       75,963   $      106,437   $      149,519   $       178,448
As a % of Revenue                                                          67.0%            47.6%            46.2%             35.4%

Historical Capital Expenditure Analysis                                 FYE              FYE              FYE              FYE               FYE
                                                                      12-31-10         12-31-11         12-31-12         12-31-13          12-31-14

Net FA                                                                     2,630            4,648           19,557            22,021            53,366
Chg from PY                                                                  N/A            2,018           14,909             2,463            31,345
Depreciation                                                                 771            1,025            2,654             5,573             7,247
(Gain)/Loss                                                                  -                -                  9               849                 1
Capital Expenditures                                                         N/A            3,043           17,572             8,885            38,594

                                                       Average
Fixed Assets                                             20,444            2,630            4,648           19,557            22,021           53,366
Fixed Assets as a % of Revenue                          5021.8%           187.7%           896.9%              N/A               N/A         46005.2%

Capital Expenditures                                     17,024              N/A            3,043           17,572             8,885           38,594
Capital Expenditures as a % of Revenue                  4181.6%              N/A           587.1%              N/A               N/A         33270.7%
      Case 5:18-cr-00258-EJD                                              Document 1645                                 Filed 11/12/22                                Page 87 of 156

US v. Elizabeth Holmes                                                                                                                                                                        Exhibit F.4
Valuation of Theranos, Inc.                                                                                                                               Discount Rate - Venture Capital Rates of Return
As of December 31, 2014




                                                                             Market          Interest Bearing    Trading Volume                                 1-Year Growth    Equity as a %
    Company Name                                     Ticker Symbol        Capitalization           Debt                [7]               LTM Revenue                Rate        of Total Capital
    OraSure Technologies, Inc.                            OSUR           $       568,416     $            -                  641     $          106,464                    7.6%          100.0%
    Trinity Biotech plc                                   TRIB                   392,493                  -                  135                104,872                   15.0%          100.0%
    Enzo Biochem, Inc.                                     ENZ                   218,928                4,038                188                 96,637                    4.8%           98.2%
    QuidelOrtho Corporation                               QDEL                   995,160              143,084                302                184,158                    3.9%           87.4%
    Exact Sciences Corporation                            EXAS                 2,430,718                3,760              1,974                  1,798                  -56.6%           99.8%
    OPKO Health, Inc.                                      OPK                 4,337,104              147,343              2,446                 91,125                   -5.6%           96.7%
    PerkinElmer, Inc.                                      PKI                 4,939,852           1,046,468               1,017              2,069,880                   -4.1%           82.5%
    Quest Diagnostics Incorporated                        DGX                  9,692,466           3,770,000               1,637              7,435,000                    4.0%           72.0%
    Laboratory Corporation of America Holdings              LH                 9,117,550           3,029,800               1,264              6,011,600                    3.5%           75.1%
    Myriad Genetics, Inc.                                MYGN                  2,485,880                  -                  749                724,873                   -1.7%          100.0%
    Illumina, Inc.                                        ILMN               26,210,360            1,291,036               1,158              1,861,358                   31.0%           95.3%
    Qiagen N.V.                                          QGEN                  5,425,828           1,173,204                 705              1,344,777                    3.3%           82.2%
    Alere Inc.                                         IQT2622336              3,175,128           3,726,094                 493              2,577,001                   -1.2%           46.0%
    Luminex Corporation                                IQT2627430                803,551                  -                  243                226,983                    6.4%          100.0%
    Abaxis, Inc.                                       IQT2586525              1,280,721                  605                202                182,777                    1.7%          100.0%
    CombiMatrix Corporation                           IQT36309071                 14,271                  405                  7                  8,042                   26.3%           97.2%
    Affymetrix Inc.                                    IQT2587418                726,274              127,950                703                349,019                    5.6%           85.0%
    Genomic Health, Inc.                              IQT24111615              1,014,152                  -                  151                275,706                    5.4%          100.0%
    Cepheid                                            IQT2599314              3,815,841              278,213                620                470,141                   17.2%           93.2%
    Nanosphere, Inc.                                  IQT38720096                 45,675                9,716                117                 14,290                   42.9%           82.5%
    GenMark Diagnostics, Inc.                        IQT106626443                568,004                  -                  185                 30,594                   11.6%          100.0%
    Bio-Reference Laboratories, Inc.                   IQT2594421                890,901               55,429                212                832,282                   16.3%           94.1%
    Average                                                                    3,597,694             673,052                  689              1,136,335                      6.2%               90.3%
    Median                                                                     1,147,437              32,573                  556                251,345                      5.1%               96.0%
    Selected                                                                                                                                                                                     97.0%

Industry Capital Structure
    Equity                                                     95.0%
    Interest Bearing Debt                                       5.0%
    Tax Rate                                                   40.0%

Cost of Equity
                                                                                                                                                                                          Ref.
Table 1: Venture Capital Average Actual Rates of Return for the Period ended September 30, 2008                                                                                            [1]
Stage of Development                                         5-year Return                      10-year Return                                       20-year Return
                                                       2002                2008             2002              2008                            2002                     2008
Seed/Early Stage                                      51.4%                3.0%            34.9%             25.5%                           20.4%                    22.1%
Balanced                                              20.9%                7.5%            20.9%             12.0%                           14.3%                    14.6%
Later Stage                                           10.6%                8.1%            21.6%              7.3%                           15.3%                    14.7%
All Ventures                                          28.3%                5.7%            26.3%             13.4%                           16.6%                    17.2%


Table 2: Target Rates of Return                                                                                                                                                           [2-5]
                                                                                                Sahlman,
                                                                          Scherlis and       Stevenson, and                              Everett Median
Stage of Development                                   Plummer              Sahlman               Bhide              Everett                Returns
Start-up                                               50% - 70%           50% - 70%           50% - 100%           30% - 40%                33.0%
First stage or “early development”                     40% - 60%           40% - 60%            40% - 60%           23% - 38%                28.0%
Second stage or “expansion”                            35% - 50%           30% - 50%            30% - 40%           19% - 32%                25.0%
Bridge/IPO                                             25% - 35%           20% - 35%            20% - 30%           18% - 38%                25.0%


Table 3: Target Rates of Return                                                                                                                                                            [6]
                                                                                                      Plummer / Qed
                                                        Ruhnka /                               Range of Discount Rates Used
Stage of Development                                     Young               Wetzel               High              Low
Seed                                                     73.0%               50.0%               75.4%             49.2%
Start-up                                                 54.8%               50.0%               59.6%             40.6%
3rd Stage                                                42.2%               37.5%               49.3%             34.7%
Fourth Stage                                             35.0%               30.0%               45.7%             31.2%
Exit Stage                                               35.0%               22.5%               40.8%             28.1%


Table 4: Theranos Investor Forecasts Implied Internal Rates of Return (Feb 2014 - Feb 2015)                                                                                                [6]


Investor Group                                             IRR
PFM Forecast                                              75.5%
PFM Model                                                 35.5%
Mosley and RDV Forecast                                   54.0%
Murdoch Forecast                                          82.0%


                                                    Selected Venture Capital Cost of Equity                                 45.0%                                                          [7]


Weighted Average Cost of Capital
    Equity as a % of total capital                                                                      95.0%
    Cost of Equity (above)                                                                              45.0%
    Weighted Cost of Equity                                                                                                 42.8%

    Debt as a % of total capital                                                                         5.0%
    Cost of Debt [4]                                                              25.00%
    After Tax Cost of Debt (tax rate above)                                                             15.0%
    Weighted After Tax Cost of Debt                                                                                          0.8%
                                                    Weighted Average Cost of Capital                                        43.5%

                                                    Weighted Average Cost of Capital (rounded)                              44.0%

Notes:
 [1] Source: Thomson Financial. The average annual return is based upon Thomson Financials’ Private Equity Performance Index (PEPI).
     The PEPI is based on the latest quarterly statistics from Thomson Financials' Private Equity Performance Database analyzing the cashflows and
     returns for over 1400 US venture capital and private equity partnerships.
 [2] Plummer, James L., QED Report on Venture Capital Financial Analysis.
 [3] Scherlis, Daniel R. and William A. Sahlman, “A Method for Valuing High-Risk, Long Term, Investments: The Venture Capital Method,”
     Harvard Business School Teaching Note 9-288-006, Boston: Harvard Business School Publishing, 1989.
 [4] William A. Sahlman, Howard H. Stevenson, Amar V. Bhide, et al., "Financing Entrepreneurial Ventures,"
     Business Fundamental Series (Boston: Harvard Business School Publishing, 1998).
    Craig R. Everett, “2021 Private Capital Markets Report” (Malibu: Pepperdine University Graziadio School of Business and Management, 2021), Table
[5] 1, p. 5. Note that this publication also includes rates of return for many other types of private capital investments, as well as summaries of other
    information captured in Pepperdine’s annual industry survey.
[6] Dorsey, Terry, “A Portfolio Model for Venture Capital Performance Measurement and Investment Selection,” Polaris Group, Inc. January 2000.
[7] Refer to the report for discussion of the selected Venture Capital Rate of Return.
                              Case 5:18-cr-00258-EJD   Document 1645       Filed 11/12/22     Page 88 of 156

US v. Elizabeth Holmes                                                                                                      Exhibit F.5
Valuation of Theranos, Inc.                                                                  Forecast Free Cash Flow to Invested Capital
As of December 31, 2014                                                                                            (thousands of USD)


                                                                       For the Twelve Month Period Ending December 31,
                                                                2015              2016             2017            2018

Total Revenue                                               $    113,452      $     223,452     $       323,452    $      503,452
Total Cost of Revenue                                             39,708             71,505             103,505           151,036
Gross Margin                                                      73,744            151,947             219,947           352,416
GM %                                                               65.0%              68.0%               68.0%             70.0%

Total Operating Expenses                                          97,025             99,961             108,977           124,401
Operating Expense %                                                85.5%              44.7%               33.7%             24.7%
EBITDA                                                            (23,281)           51,986             110,970           228,015
EBITDA %                                                           -20.5%             23.3%               34.3%             45.3%
Less: Partial Period Adjustment                                       -                  -                  -                  -
Adjusted EBITDA                                                   (23,281)
Depreciation & Amortization                                       10,537             15,496              22,487            30,310
EBIT                                                              (33,818)           36,490              88,483           197,705
EBIT %                                                             -29.8%             16.3%               27.4%             39.3%
Interest Expense                                                       -                 -                  -                  -

Earnings Before Taxes                                             (33,818)           36,490              88,483           197,705
       Income Taxes                                                   -                 -                   -              32,350

Forecast After-Tax Income                                   $     (33,818)    $      36,490     $        88,483    $      165,354
NPAT %                                                             -29.8%             16.3%               27.4%             32.8%

Cash Flow
Add: Depreciation & Amortization                                   10,537            15,496              22,487            30,310
      After-Tax Gross Cash Flow                                   (23,281)           51,986             110,970           195,665

      Decrease / (Increase) in Working Capital                   299,343             (18,930)           (24,283)           (45,972)
Less: Capital Expenditures                                       (33,134)            (45,970)           (65,569)           (59,240)

Free Cash Flow                                              $    242,928      $      (12,914)   $        21,118    $       90,453
                     Case 5:18-cr-00258-EJD      Document 1645     Filed 11/12/22     Page 89 of 156

US v. Elizabeth Holmes                                                                                     Exhibit F.6
Valuation of Theranos, Inc.                                               Discounted Cash Flow Method Value Summary
As of December 31, 2014                                                                            (thousands of USD)


     Forecast                 Base                             Discount                                  Discounted
      Period                Cash Flow          Period            Rate             PV Factor [2]         Cash Flow [3]

      2015              $          242,928       0.50            44.0%               0.8334         $          202,464
      2016                         (12,914)      1.50            44.0%               0.5788                     (7,475)
      2017                          21,118       2.50            44.0%               0.4020                      8,489
      2018                          90,453       3.50            44.0%               0.2791                     25,250
Terminal Value [1]               3,282,000       4.00            44.0%               0.2326                    763,471

Indicated Value                                                                                     $          992,199
Add: C-2 Financing Proceeds                                                                                        -
Deduct: Interest Bearing Debt                                                                                  (40,805)
Add: Other non-operating assets                                                                                    -

Total Equity Value - Controlling, Marketable Basis                                                  $          951,394

Total Equity Value - Controlling, Marketable Basis (rounded)                                        $          951,000


Notes:
[1] Refer to Exhibit G.1
[2] 1 / (1 + Discount Rate) ^ Period.
[3] Base Cash Flow x PV Factor.
                                                                     Case 5:18-cr-00258-EJD                                       Document 1645                             Filed 11/12/22                           Page 90 of 156

US v. Elizabeth Holmes                                                                                                                                                                                                                                                                                    Exhibit G.1
Valuation of Theranos, Inc.                                                                                                                                                                                                                                                         Guideline Public Company Method
As of December 31, 2014                                                                                                                                                                                                                                                                           (thousands of USD)


                                                                                                Debt,                                                                                                                                                         Market Value of Invested Capital /
                                                                             Market           Pref Shr &                                                  Revenue                              EBITDA                        EBIT                     Revenue                    EBITDA                   EBIT
  Name                                                  Ticker                Cap              Min Int.          Cash            MVIC [1]          LTM              2015E              LTM               2015E               LTM                LTM          2015E          LTM          2015E            LTM

  OraSure Technologies, Inc.                             OSUR            $      568,416   $            -     $      97,867   $       470,549   $     106,464    $      121,370     $      (3,995)    $        9,167     $      (10,302)            4.42x         3.88x             NA        51.33x            NA
  Trinity Biotech plc                                    TRIB                   392,493                -             9,102           383,391         104,872           113,729            19,933             28,853             15,438             3.66x         3.37x          19.23x       13.29x         24.83x
  Enzo Biochem, Inc.                                      ENZ                   218,928              4,038          16,591           206,375          96,637           104,929            (8,660)                NA            (12,544)            2.14x         1.97x             NA           NA             NA
  QuidelOrtho Corporation                                QDEL                   995,160            143,084         200,895           937,349         184,158           204,235            20,540             37,389             (6,560)            5.09x         4.59x          45.64x       25.07x            NA
  Exact Sciences Corporation                             EXAS                 2,430,718              3,760         282,756         2,151,722           1,798            78,142           (96,829)           (98,942)          (100,539)              NA         27.54x             NA           NA             NA
  OPKO Health, Inc.                                       OPK                 4,337,104            140,940          96,907         4,381,137          91,125           136,930           (94,387)          (102,500)          (109,314)           48.08x        32.00x             NA           NA             NA
  PerkinElmer, Inc.                                       PKI                 4,939,852          1,046,468         174,821         5,811,499       2,069,880         2,339,190           291,561            466,728            181,096             2.81x         2.48x          19.93x       12.45x         32.09x
  Quest Diagnostics Incorporated                         DGX                  9,692,466          3,799,000         192,000        13,299,466       7,435,000         7,571,861         1,433,000          1,507,392          1,119,000             1.79x         1.76x           9.28x        8.82x         11.89x
  Laboratory Corporation of America Holdings               LH                 9,117,550          3,047,500         580,000        11,585,050       6,011,600         6,532,839         1,152,500          1,282,404            945,500             1.93x         1.77x          10.05x        9.03x         12.25x
  Myriad Genetics, Inc.                                 MYGN                  2,485,880                -           165,115         2,320,765         724,873           879,890           191,786            258,525            170,797             3.20x         2.64x          12.10x        8.98x         13.59x
  Illumina, Inc.                                         ILMN                26,210,360          1,291,036       1,338,371        26,163,025       1,861,358         2,260,107           604,746            767,866            492,172            14.06x        11.58x          43.26x       34.07x         53.16x
  Qiagen N.V.                                           QGEN                  5,425,828          1,181,459         576,703         6,030,584       1,344,777         1,424,763           395,375            482,240            200,793             4.48x         4.23x          15.25x       12.51x         30.03x
  Alere Inc.                                          IQT2622336              3,175,128          4,336,708         378,720         7,133,116       2,577,001         2,773,166           505,722            569,942            169,693             2.77x         2.57x          14.10x       12.52x         42.04x
  Luminex Corporation                                 IQT2627430                803,551                -            91,694           711,857         226,983           243,469            45,424             52,461             31,219             3.14x         2.92x          15.67x       13.57x         22.80x
  Abaxis, Inc.                                        IQT2586525              1,280,721                605         109,278         1,172,048         182,777           229,201            43,819             45,639             36,400             6.41x         5.11x          26.75x       25.68x         32.20x
  CombiMatrix Corporation                            IQT36309071                 14,271                405           5,240             9,436           8,042            10,972            (6,137)                NA             (6,454)            1.17x         0.86x             NA           NA             NA
  Affymetrix Inc.                                     IQT2587418                726,274            127,950          79,923           774,301         349,019           357,448            42,566             50,812             11,889             2.22x         2.17x          18.19x       15.24x         65.13x
  Genomic Health, Inc.                               IQT24111615              1,014,152                -           103,660           910,492         275,706           311,059           (16,757)            (9,280)           (23,627)            3.30x         2.93x             NA           NA             NA
  Cepheid                                             IQT2599314              3,815,841            278,213         293,392         3,800,662         470,141           543,680            12,257             22,071            (14,086)            8.08x         6.99x             NA           NA             NA
  Nanosphere, Inc.                                   IQT38720096                 45,675              9,716          21,053            34,338          14,290            23,424           (35,822)           (31,355)           (37,690)            2.40x         1.47x             NA           NA             NA
  GenMark Diagnostics, Inc.                         IQT106626443                568,004                -            70,506           497,498          30,594            38,324           (36,398)           (46,700)           (39,054)           16.26x        12.98x             NA           NA             NA
  Bio-Reference Laboratories, Inc.                    IQT2594421                890,901             55,429          17,507           928,823         832,282           978,442           108,589                 NA             83,425             1.12x         0.95x           8.55x          NA          11.13x

  Correlation to MVIC                                                                                                                                    0.63               0.65             0.68                0.73               0.66
  Correlation to Price                                                                                                                                   0.50               0.53             0.56                0.61               0.57


                                                                                                                                                                                                    Upper Quartile                                 5.09x         4.98x          19.93x       25.07x         34.66x
                                                                                                                                                                                                    Mean                                           6.60x         6.22x          19.85x       18.66x         29.26x
                                                                                                                                                                                                    Median                                         3.20x         2.93x          15.67x       13.29x         27.43x
                                                                                                                                                                                                    Lower Quartile                                 2.22x         2.02x          12.10x       12.45x         13.25x

                                                                                                                                                                                                    Selected Multiple                              6.60x                        13.90x                           -
                                                                                                                                                                                                    Subject Company Base Value             $    503,452     $     -      $    228,015    $     -      $          -

                                                                                                                                                                                                    Indicated Value                            3,322,783          -          3,169,409        -                  -
                                                                                                                                                                                                    Interest Bearing Debt                            N/A          N/A              N/A        N/A                N/A

                                                                                                                                                                                                    Indicated Equity Value                 $ 3,322,783      $     -      $ 3,169,409     $     -      $        -
                                                                                                                                                                                                    Weighting                                    33.3%           0.0%          66.7%          0.0%            0.0%

                                                                                                                                                                                                    Indicated Value                                                                                   $ 3,220,533
                                                                                                                                                                                                        Add: Subject Company Cash                                                                          61,348

                                                                                                                                                                                                    Total Invested Capital Value at 12/31/18 Exit - Controlling, Marketable Basis                     $ 3,281,882

                                                                                                                                                                                                    Total Invested Capital Value at 12/31/18 Exit - Controlling, Marketable Basis (rounded)           $ 3,282,000
Notes:
Source: S&P Capital IQ.
[1] MVIC = Market Value of Invested Capital. Presented as net of cash.
                                                Case 5:18-cr-00258-EJD                                      Document 1645                  Filed 11/12/22                 Page 91 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                             Exhibit G.2
Valuation of Theranos, Inc.                                                                                                                                                                       Guideline Public Company Key Financial Ratios
As of December 31, 2014                                                                                                                                                                                                    (thousands of USD)


                                                                  Market        Trading           LTM       CAGR Revenue [2]        Forward Growth                       As a % of Revenue                    Current     Debt to     Debt to
Name                                           Ticker              Cap         Volume [1]       Revenue     1 Year    3 Year    2015E    2016E   2017E      GM       EBITDA     EBIT      Capex     WC [3]     Ratio      Equity       TNW

OraSure Technologies, Inc.                     OSUR          $     568,416          641     $    106,464       7.6%      9.1%    14.0%   13.4%    44.6%     62.6%      -3.8%      -9.7%     2.8%    190.3%        4.96        0.0%        0.0%

Trinity Biotech plc                            TRIB                392,493          135          104,872      15.0%     10.4%     8.4%    9.5%       NA     47.1%      19.0%     14.7%      7.9%     44.7%        3.13        0.0%        0.0%

Enzo Biochem, Inc.                              ENZ                218,928          188           96,637       4.8%     -1.8%     8.6%    7.4%     8.1%     43.6%      -9.0%     -13.0%     0.8%     15.8%        1.62       11.2%      19.1%

QuidelOrtho Corporation                        QDEL                995,160          302          184,158       3.9%      5.1%    10.9%    8.7%     6.3%     59.2%      11.2%      -3.6%     6.1%    129.3%        7.54       58.4%     116.9%

Exact Sciences Corporation                     EXAS               2,430,718        1,974           1,798     -56.6%    -24.4%      N/A   189.9%   68.1%    -140.5%       N/A   -5591.7%      N/A #######         16.65        1.3%        1.3%

OPKO Health, Inc.                               OPK               4,337,104        2,446          91,125      -5.6%     48.2%    50.3%   141.4%   178.9%     3.5%    -103.6%    -120.0%     5.2%     65.6%        1.72       17.6%      -60.3%

PerkinElmer, Inc.                               PKI               4,939,852        1,017        2,069,880     -4.1%      2.6%    13.0%    4.5%     4.2%     45.3%      14.1%      8.7%      1.3%     22.8%        1.79       51.2%     -142.9%

Quest Diagnostics Incorporated                  DGX               9,692,466        1,637        7,435,000      4.0%      0.2%     1.8%    2.3%     4.9%     38.3%      19.3%     15.1%      4.1%      -1.4%       0.94       87.1%     -136.0%

Laboratory Corporation of America Holdi         LH                9,117,550        1,264        6,011,600      3.5%      2.7%     8.7%    0.0%     0.8%     36.6%      19.2%     15.7%      3.4%     11.9%        1.73     106.8%      -174.4%

Myriad Genetics, Inc.                          MYGN               2,485,880         749          724,873      -1.7%     17.8%    21.4%    -3.7%    6.5%     82.0%      26.5%     23.6%      3.3%     35.9%        5.35        0.0%        0.0%

Illumina, Inc.                                 ILMN              26,210,360        1,158        1,861,358     31.0%     20.8%    21.4%   19.9%    14.9%     71.8%      32.5%     26.4%      5.7%     62.7%        2.62       88.3%     304.9%

Qiagen N.V.                                    QGEN               5,425,828         705         1,344,777      3.3%      4.8%     5.9%    7.2%     7.5%     66.3%      29.4%     14.9%      6.4%     53.3%        2.66       44.1%    2720.7%

Alere Inc.                                  IQT2622336            3,175,128         493         2,577,001     -1.2%      2.6%     7.6%    1.8%       NA     47.5%      19.6%      6.6%      3.9%     41.1%        2.37     194.4%      -159.9%

Luminex Corporation                         IQT2627430             803,551          243          226,983       6.4%      7.2%     7.3%   10.0%    10.9%     71.0%      20.0%     13.8%      7.5%     64.6%        5.83        0.0%        0.0%

Abaxis, Inc.                                IQT2586525            1,280,721         202          182,777       1.7%      6.5%    25.4%   13.0%       NA     56.0%      24.0%     19.9%      3.4%     85.5%        6.12        0.3%        0.3%

CombiMatrix Corporation                     IQT36309071             14,271             7           8,042      26.3%     20.0%    36.4%   39.6%    29.2%     44.9%     -76.3%     -80.3%     2.6%     82.6%        6.19        5.7%        5.7%

Affymetrix Inc.                              IQT2587418            726,274          703          349,019       5.6%      9.3%     2.4%    4.0%     2.6%     60.3%      12.2%      3.4%      2.3%     35.6%        2.87       47.0%    1283.9%

Genomic Health, Inc.                        IQT24111615           1,014,152         151          275,706       5.4%     10.2%    12.8%   13.7%    12.0%     81.1%      -6.1%      -8.6%     3.8%     40.0%        3.87        0.0%        0.0%

Cepheid                                      IQT2599314           3,815,841         620          470,141      17.2%     19.2%    15.6%   18.1%    16.3%     51.2%       2.6%      -3.0%    10.0%     81.1%        3.77       78.5%      98.3%

Nanosphere, Inc.                            IQT38720096             45,675          117           14,290      42.9%     78.0%    63.9%   27.1%    76.1%    -111.1%       N/A    -263.8%    17.7%    136.1%        2.24       36.4%      39.5%

GenMark Diagnostics, Inc.                   IQT106626443           568,004          185           30,594      11.6%     82.8%    25.3%   58.5%    61.6%     57.1%    -119.0%    -127.7%    18.7%    215.1%        6.35        0.0%        0.0%

Bio-Reference Laboratories, Inc.             IQT2594421            890,901          212          832,282      16.3%     16.8%    17.6%   10.1%       NA     46.8%      13.0%     10.0%      1.9%     24.9%        2.43       17.4%      20.6%



                         Upper Quartile                      $ 4,206,788            950     $ 1,216,653       14.1%     18.9%    21.4%   19.5%    40.7%     62.0%      19.7%     14.9%      6.4%     84.8%        5.71       56.6%      34.8%
                                   Mean                           3,597,694         689         1,136,335      6.2%     15.8%    18.0%   27.1%    30.8%     37.3%      -2.8%    -274.9%     5.7%    758.4%        4.22       38.4%     179.0%
                                 Median                           1,147,437         556          251,345       5.1%      9.2%    13.0%   10.0%    11.5%     49.4%      13.6%      5.0%      3.9%     58.0%        3.00       17.5%        0.1%
                         Lower Quartile                            607,881          192           98,696       2.1%      3.2%     8.4%    5.2%     6.3%     43.9%      -4.3%     -12.2%     2.8%     35.7%        2.27        0.1%        0.0%



             Theranos, Inc. (at 12/31/18)                               NA           NA     $    503,452      55.6%     64.3%    28.0%      NA       NA      0.0%      45.3%     39.3%     11.8%     18.6%        2.39         N/A         N/A




Notes:
Source: S&P Capital IQ.
[1] Represents trailing 3-month average daily trading volume (in thousands).
[2] CAGR = Compound Annual Growth Rate
[3] Working capital excludes cash
                        Case 5:18-cr-00258-EJD                      Document 1645                           Filed 11/12/22                      Page 92 of 156

US v. Elizabeth Holmes                                                                                                                                                            Exhibit G.3
Valuation of Theranos, Inc.                                                                                                                              Guideline Public Company Descriptions
As of December 31, 2014


Name                                            Ticker      Description

                                                            OraSure Technologies, Inc., together with its subsidiaries, develops, manufactures, markets, and sells oral fluid diagnostic products
OraSure Technologies, Inc.                      OSUR
                                                            and specimen collection devices in the United States, Europe, and internationally.

                                                            Trinity Biotech plc acquires, develops, manufactures, and markets medical diagnostic products for the clinical laboratory and point-
Trinity Biotech plc                             TRIB
                                                            of-care (POC) segments of the diagnostic market in the Americas, Africa, Asia, and Europe.

                                                            Enzo Biochem, Inc., an integrated diagnostics, clinical lab, and life sciences company, researches, develops, manufactures, and
Enzo Biochem, Inc.                               ENZ
                                                            markets diagnostic and research products based on genetic engineering, biotechnology, and molecular biology.

                                                            QuidelOrtho Corporation focuses on the development and manufacture of diagnostic testing technologies across the continuum of
QuidelOrtho Corporation                         QDEL
                                                            healthcare testing needs.

Exact Sciences Corporation                      EXAS        Exact Sciences Corporation provides cancer screening and diagnostic test products in the United States and internationally.

                                                            OPKO Health, Inc., a healthcare company, engages in the diagnostics and pharmaceuticals businesses in the United States,
OPKO Health, Inc.                                OPK
                                                            Ireland, Chile, Spain, Israel, Mexico, and internationally.

                                                            PerkinElmer, Inc. provides products, services, and solutions to the diagnostics, life sciences, and applied services markets
PerkinElmer, Inc.                                PKI
                                                            worldwide.

Quest Diagnostics Incorporated                   DGX        Quest Diagnostics Incorporated provides diagnostic testing, information, and services in the United States and internationally.

                                                            Laboratory Corporation of America Holdings operates as a global life sciences company that provides vital information to help
Laboratory Corporation of America Holdings       LH
                                                            doctors, hospitals, pharmaceutical companies, researchers, and patients make clear and confident decisions.

                                                            Myriad Genetics, Inc., a genetic testing and precision medicine company, develops and commercializes genetic tests in the United
Myriad Genetics, Inc.                           MYGN
                                                            States and internationally.

Illumina, Inc.                                  ILMN        Illumina, Inc. provides sequencing and array-based solutions for genetic and genomic analysis.


Qiagen N.V.                                     QGEN        QIAGEN N.V. offers sample to insight solutions that transform biological materials into molecular insights worldwide.

                                                            Alere Inc. provides diagnostic tests for infectious disease, cardiometabolic disease, and toxicology in the United States and
Alere Inc.                                   IQT2622336
                                                            internationally.

                                                            Luminex Corporation develops, manufactures, and sells proprietary biological testing technologies and products for the diagnostics,
Luminex Corporation                          IQT2627430
                                                            pharmaceutical, and research industries worldwide.

                                                            Abaxis, Inc. develops, manufactures, markets, and sells portable blood analysis systems for use in human or veterinary patient care
Abaxis, Inc.                                 IQT2586525
                                                            to provide rapid blood constituent measurements for clinicians worldwide.

CombiMatrix Corporation                      IQT36309071    CombiMatrix Corporation provides clinical molecular diagnostic laboratory services in the United States.

                                                            Affymetrix, Inc. provides life science products and molecular diagnostic products that enable parallel analysis of biological systems
Affymetrix Inc.                              IQT2587418
                                                            at the gene, protein, and cell level.

                                                            Genomic Health, Inc., a healthcare company, provides clinically actionable genomic information to personalize cancer treatment
Genomic Health, Inc.                         IQT24111615
                                                            decisions in the United States and internationally.

                                                            Cepheid, a molecular diagnostics company, develops, manufactures, and markets integrated systems for testing in the clinical and
Cepheid                                       IQT2599314
                                                            non-clinical markets.

                                                            Nanosphere, Inc. develops, manufactures, and markets molecular diagnostic tests for infectious diseases and associated drug
Nanosphere, Inc.                             IQT38720096
                                                            resistance markers for earlier disease detection, optimal patient treatment, and improved healthcare economics.
                                                            GenMark Diagnostics, Inc. designs and manufactures multiplex molecular diagnostic solutions to enhance patient care, improve
GenMark Diagnostics, Inc.                    IQT106626443   quality metrics, and reduce the total cost-of-care for laboratory professionals, healthcare providers, and customers in the United
                                                            States and internationally.
                                                            Bio-Reference Laboratories, Inc. provides clinical laboratory testing services for the detection, diagnosis, evaluation, monitoring,
Bio-Reference Laboratories, Inc.             IQT2594421
                                                            and treatment of diseases in the United States.


Notes:
Source: S&P Capital IQ.
       Case 5:18-cr-00258-EJD                                       Document 1645                                Filed 11/12/22                         Page 93 of 156

US v. Elizabeth Holmes                                                                                                                                                          Exhibit G.4
Valuation of Theranos, Inc.                                                                                                                              Guideline Public Company Ranking
As of December 31, 2014                                                                                                                                                 (thousands of USD)


                             Size                                                       Liquidity                                                       Liquidity
                      (Revenue, millions)                               (Operating Net Working Capital-to-Revenue)                                   (Current Ratio)
Quest Diagnostics Incorporated            $      7,435,000   Quest Diagnostics Incorporated                          -1.4%   Exact Sciences Corporation                             16.65
Laboratory Corporation of America Holdin         6,011,600   Laboratory Corporation of America Holdin                11.9%   QuidelOrtho Corporation                                 7.54
Alere Inc.                                       2,577,001   Enzo Biochem, Inc.                                      15.8%   GenMark Diagnostics, Inc.                               6.35
PerkinElmer, Inc.                                2,069,880   Theranos, Inc. (at 12/31/18)                            18.6%   CombiMatrix Corporation                                 6.19
Illumina, Inc.                                   1,861,358   PerkinElmer, Inc.                                       22.8%   Abaxis, Inc.                                            6.12
Qiagen N.V.                                      1,344,777   Bio-Reference Laboratories, Inc.                        24.9%   Luminex Corporation                                     5.83
Bio-Reference Laboratories, Inc.                   832,282   Affymetrix Inc.                                         35.6%   Myriad Genetics, Inc.                                   5.35
Myriad Genetics, Inc.                              724,873   Myriad Genetics, Inc.                                   35.9%   OraSure Technologies, Inc.                              4.96
Theranos, Inc. (at 12/31/18)                       503,452   Genomic Health, Inc.                                    40.0%   Genomic Health, Inc.                                    3.87
Cepheid                                            470,141   Alere Inc.                                              41.1%   Cepheid                                                 3.77
Affymetrix Inc.                                    349,019   Trinity Biotech plc                                     44.7%   Trinity Biotech plc                                     3.13
Genomic Health, Inc.                               275,706   Qiagen N.V.                                             53.3%   Affymetrix Inc.                                         2.87
Luminex Corporation                                226,983   Illumina, Inc.                                          62.7%   Qiagen N.V.                                             2.66
QuidelOrtho Corporation                            184,158   Luminex Corporation                                     64.6%   Illumina, Inc.                                          2.62
Abaxis, Inc.                                       182,777   OPKO Health, Inc.                                       65.6%   Bio-Reference Laboratories, Inc.                        2.43
OraSure Technologies, Inc.                         106,464   Cepheid                                                 81.1%   Theranos, Inc. (at 12/31/18)                            2.39
Trinity Biotech plc                                104,872   CombiMatrix Corporation                                 82.6%   Alere Inc.                                              2.37
Enzo Biochem, Inc.                                  96,637   Abaxis, Inc.                                            85.5%   Nanosphere, Inc.                                        2.24
OPKO Health, Inc.                                   91,125   QuidelOrtho Corporation                                129.3%   PerkinElmer, Inc.                                       1.79
GenMark Diagnostics, Inc.                           30,594   Nanosphere, Inc.                                       136.1%   Laboratory Corporation of America Holdin                1.73
Nanosphere, Inc.                                    14,290   OraSure Technologies, Inc.                             190.3%   OPKO Health, Inc.                                       1.72
CombiMatrix Corporation                              8,042   GenMark Diagnostics, Inc.                              215.1%   Enzo Biochem, Inc.                                      1.62
Exact Sciences Corporation                           1,798   Exact Sciences Corporation                           15247.8%   Quest Diagnostics Incorporated                          0.94

                    Operational Efficiency                                                 Growth                                                         Growth
                    (Capital Expenditures)                                    (Historical 1-year Growth Rate)                                    (Historical 3-year CAGR)
Enzo Biochem, Inc.                                   0.8%    Theranos, Inc. (at 12/31/18)                           55.6%    GenMark Diagnostics, Inc.                               82.8%
PerkinElmer, Inc.                                    1.3%    Nanosphere, Inc.                                       42.9%    Nanosphere, Inc.                                        78.0%
Bio-Reference Laboratories, Inc.                     1.9%    Illumina, Inc.                                         31.0%    Theranos, Inc. (at 12/31/18)                            64.3%
Affymetrix Inc.                                      2.3%    CombiMatrix Corporation                                26.3%    OPKO Health, Inc.                                       48.2%
CombiMatrix Corporation                              2.6%    Cepheid                                                17.2%    Illumina, Inc.                                          20.8%
OraSure Technologies, Inc.                           2.8%    Bio-Reference Laboratories, Inc.                       16.3%    CombiMatrix Corporation                                 20.0%
Myriad Genetics, Inc.                                3.3%    Trinity Biotech plc                                    15.0%    Cepheid                                                 19.2%
Laboratory Corporation of America Holdin             3.4%    GenMark Diagnostics, Inc.                              11.6%    Myriad Genetics, Inc.                                   17.8%
Abaxis, Inc.                                         3.4%    OraSure Technologies, Inc.                              7.6%    Bio-Reference Laboratories, Inc.                        16.8%
Genomic Health, Inc.                                 3.8%    Luminex Corporation                                     6.4%    Trinity Biotech plc                                     10.4%
Alere Inc.                                           3.9%    Affymetrix Inc.                                         5.6%    Genomic Health, Inc.                                    10.2%
Quest Diagnostics Incorporated                       4.1%    Genomic Health, Inc.                                    5.4%    Affymetrix Inc.                                          9.3%
OPKO Health, Inc.                                    5.2%    Enzo Biochem, Inc.                                      4.8%    OraSure Technologies, Inc.                               9.1%
Illumina, Inc.                                       5.7%    Quest Diagnostics Incorporated                          4.0%    Luminex Corporation                                      7.2%
QuidelOrtho Corporation                              6.1%    QuidelOrtho Corporation                                 3.9%    Abaxis, Inc.                                             6.5%
Qiagen N.V.                                          6.4%    Laboratory Corporation of America Holdin                3.5%    QuidelOrtho Corporation                                  5.1%
Luminex Corporation                                  7.5%    Qiagen N.V.                                             3.3%    Qiagen N.V.                                              4.8%
Trinity Biotech plc                                  7.9%    Abaxis, Inc.                                            1.7%    Laboratory Corporation of America Holdin                 2.7%
Cepheid                                             10.0%    Alere Inc.                                             -1.2%    Alere Inc.                                               2.6%
Theranos, Inc. (at 12/31/18)                        11.8%    Myriad Genetics, Inc.                                  -1.7%    PerkinElmer, Inc.                                        2.6%
Nanosphere, Inc.                                    17.7%    PerkinElmer, Inc.                                      -4.1%    Quest Diagnostics Incorporated                           0.2%
GenMark Diagnostics, Inc.                           18.7%    OPKO Health, Inc.                                      -5.6%    Enzo Biochem, Inc.                                      -1.8%
                                                             Exact Sciences Corporation                            -56.6%    Exact Sciences Corporation                             -24.4%

                            Growth                                                       Profitability                                           Operational Efficiency
                  (Forward 1-year Growth Rate)                               (Historical EBITDA Margin 1-year)                                     (Return on Equity)
Nanosphere, Inc.                                    63.9%    Theranos, Inc. (at 12/31/18)                          45.3%     Myriad Genetics, Inc.                                   15.6%
OPKO Health, Inc.                                   50.3%    Illumina, Inc.                                        32.5%     Bio-Reference Laboratories, Inc.                        15.1%
CombiMatrix Corporation                             36.4%    Qiagen N.V.                                           29.4%     Illumina, Inc.                                          11.9%
Theranos, Inc. (at 12/31/18)                        28.0%    Myriad Genetics, Inc.                                 26.5%     Abaxis, Inc.                                            11.5%
Abaxis, Inc.                                        25.4%    Abaxis, Inc.                                          24.0%     Laboratory Corporation of America Holdin                10.4%
GenMark Diagnostics, Inc.                           25.3%    Luminex Corporation                                   20.0%     Quest Diagnostics Incorporated                           9.1%
Illumina, Inc.                                      21.4%    Alere Inc.                                            19.6%     Luminex Corporation                                      6.6%
Myriad Genetics, Inc.                               21.4%    Quest Diagnostics Incorporated                        19.3%     Trinity Biotech plc                                      5.1%
Bio-Reference Laboratories, Inc.                    17.6%    Laboratory Corporation of America Holdin              19.2%     PerkinElmer, Inc.                                        3.8%
Cepheid                                             15.6%    Trinity Biotech plc                                   19.0%     Qiagen N.V.                                              3.4%
OraSure Technologies, Inc.                          14.0%    PerkinElmer, Inc.                                     14.1%     Alere Inc.                                               1.8%
PerkinElmer, Inc.                                   13.0%    Bio-Reference Laboratories, Inc.                      13.0%     Affymetrix Inc.                                          1.8%
Genomic Health, Inc.                                12.8%    Affymetrix Inc.                                       12.2%     Theranos, Inc. (at 12/31/18)                             0.0%
QuidelOrtho Corporation                             10.9%    QuidelOrtho Corporation                               11.2%     QuidelOrtho Corporation                                 -1.3%
Laboratory Corporation of America Holdin             8.7%    Cepheid                                                2.6%     Cepheid                                                 -1.9%
Enzo Biochem, Inc.                                   8.6%    OraSure Technologies, Inc.                            -3.8%     OraSure Technologies, Inc.                              -4.0%
Trinity Biotech plc                                  8.4%    Genomic Health, Inc.                                  -6.1%     OPKO Health, Inc.                                       -6.6%
Alere Inc.                                           7.6%    Enzo Biochem, Inc.                                    -9.0%     Genomic Health, Inc.                                   -10.2%
Luminex Corporation                                  7.3%    CombiMatrix Corporation                              -76.3%     Enzo Biochem, Inc.                                     -20.1%
Qiagen N.V.                                          5.9%    OPKO Health, Inc.                                   -103.6%     GenMark Diagnostics, Inc.                              -26.1%
Affymetrix Inc.                                      2.4%    GenMark Diagnostics, Inc.                           -119.0%     Exact Sciences Corporation                             -29.2%
Quest Diagnostics Incorporated                       1.8%                                                                    CombiMatrix Corporation                                -36.0%
                                                                                                                             Nanosphere, Inc.                                       -51.6%
               Case 5:18-cr-00258-EJD                Document 1645               Filed 11/12/22            Page 94 of 156

US v. Elizabeth Holmes                                                                                                       Exhibit H.1
Valuation of Theranos, Inc.                                                                                     Adjusted Net Asset Value
As of December 31, 2014                                                                                              (thousands of USD)

                                                             12/31/2014
                                                             Unadjusted                 Adjustments                     Adjusted
Assets:
  Current Assets
      Current Operating Assets
         Cash & Equivalents                              $            465,933       $                       -     $            465,933
         Accounts Receivable                                              -                            -                           -
         Inventory                                                      2,383                          -                         2,383
         Other Current Assets                                          12,788                          -                        12,788
      Total Current Operating Assets                                  481,104                          -                       481,104
      Total Current Non-Operating Assets                                  -                            -                           -
  Total Current Assets                                                481,104                          -                       481,104

   Total Fixed Assets - Net                                             53,366                         -                        53,366

   Other Assets
      Intangible Assets
          Goodwill                                                         -                          -                            -
          Other Intangible Assets                  [1]                     -                      510,570                      510,570
      Total Intangible Assets - Net                                        -                      510,570                      510,570
      Total Long Term Receivables                                       27,045                        -                         27,045
      Total Other Non-Current Assets                                       -                          -                            -
   Total Non Current Assets                                             27,045                    510,570                      537,615

Total Assets                                             $            561,515       $             510,570         $          1,072,085

Liabilities and Equity:

Liabilities
   Current Liabilities
         Current Operating Liabilities
            Accounts Payable                             $             16,633                                     $             16,633
            Deferred Revenue                                              -                                                        -
            Other Current Liabilities              [2]                400,359                    (390,375)                       9,984
         Total Current Operating Liabilities                          416,992                    (390,375)                      26,617
         Total Current Debt Obligations                                   -                           -                            -
   Total Current Liabilities                                          416,992                    (390,375)                      26,617

   Non Current Liabilities
      Total Long Term Debt                                              40,805                         -                        40,805
      Other Non Current Liabilities
          Deferred Rent                                                   -                                                        -
          Deferred Revenue, LT                                            -                                                        -
          Customer Deposits                                           143,846                                                  143,846
          Other Non-current liabilities                                33,750                                                   33,750
      Total Other Non Current Liabilities                             177,596                          -                       177,596
   Total Non Current Liabilities                                      218,401                          -                       218,401

Total Liabilities                                        $            635,393       $            (390,375)        $            245,018


Total Equity Value - Controlling, Marketable Basis                                                                $            827,067

Total Equity Value - Controlling, Marketable Basis (rounded)                                                      $            827,000

Notes:
[1] Add value of technology and branding assets under cost to recreate method (Exhibit H.2)
[2] Adjust out "miscellaneous receipts" liability that represents proceeds received from 2014 capital raises, for which stock had not
    been issued yet.
                 Case 5:18-cr-00258-EJD                                                     Document 1645                                       Filed 11/12/22                                    Page 95 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                             Exhibit H.2
Valuation of Theranos, Inc.                                                                                                                                                           Cost to Recreate Method - Technology and Branding Assets
As of December 31, 2014                                                                                                                                                                                                                 (USD)



                                                                          Calendar Year 2009                                       Calendar Year 2010                                                Calendar Year 2011
                                                                             Allocation to                                            Allocation to                                                  Allocation to
                                                                           Technology and                                           Technology and                                                  Technology and
                                                           Total Cost [1]     Brand [2]      Allocated Cost         Total Cost [1]     Brand [2]      Allocated Cost            Total Cost [1]         Brand [2]              Allocated Cost
                    Functional Category
                   Salaries, Wages & SBC                   $    6,717,962        100%           $    6,717,962      $    7,485,029           100%           $    7,485,029      $    10,069,033          100%                 $    10,069,033
                 Payroll Taxes & Processing                      483,606         100%                  483,606             568,593           100%                  568,593              784,642          100%                        784,642
                      Health Insurance                           417,083         100%                  417,083             493,526           100%                  493,526              767,508          100%                        767,508
                        Other benefits                           114,239         100%                  114,239             180,253           100%                  180,253              773,318          100%                        773,318
                     Sales Commissions                              5,000         0%                        -                   -             0%                        -                    -            0%                              -
                                 Subtotal Employees        $    7,737,890                       $     7,732,890     $    8,727,402                          $    8,727,402      $    12,394,501                               $    12,394,501

                     Contractor Services                         488,192         100%                  488,192             518,786           100%                  518,786            1,637,549          100%                       1,637,549


                      Subtotal for All Labor Costs         $    8,226,082                       $     8,221,082     $    9,246,188                         $     9,246,188     $     14,032,050                               $    14,032,050

                                          Facility Costs   $    2,145,779        99.9%          $     2,144,392     $    2,064,230          100.0%          $    2,064,230      $     2,724,300         100.0%                $     2,724,300
        R&D Materials, Parts, Biological Compounds               935,138         100%                  935,138           3,786,184           100%                3,786,184            5,955,745          100%                       5,955,745
   Conf., Website, Market Studies, Trademark Costs                58,925         100%                    58,925              75,422          100%                   75,422               13,452          100%                         13,452
           Legal, Tax, Accounting Services - General             120,697          50%                    60,349            284,605           50%                   142,303              339,165           50%                        169,583
                 Legal Regulatory and Patents Costs              313,058         100%                  313,058             492,136           100%                  492,136            1,307,265          100%                       1,307,265
                              Legal Costs for Litigation              -           0%                        -                   -             0%                        -               665,695           0%                              -
       Expensed Equip., Software, and Maintenance                148,010         100%                  148,010             226,101           100%                  226,101              620,302          100%                        620,302
         Dues, Subscriptions, Licenses and Supplies               85,853         100%                    85,853            233,858           100%                  233,858              447,386          100%                        447,386
                                       Recruiting Costs          192,343         99.9%                 192,219             212,706          100.0%                 212,706              300,466         100.0%                       300,466
                                       Travel Expenses           226,711          50%                  113,355             154,949           50%                    77,474              396,822           50%                        198,411
         Interest (Income), Expense & Bank Charges               109,143          0%                        -                70,077           0%                        -              (132,632)          0%                              -
                          Supporting G&A Expenses                274,158         99.9%                 273,981             361,955          100.0%                 361,955              455,201         100.0%                       455,201
                                  Relocation Expenses             27,220          0%                        -                 6,272           0%                        -                66,194           0%                              -
             Supplies for Manufacturing / Operations             754,146         100%                  754,146             432,293           100%                  432,293               77,829          100%                         77,829
                                               Inventory              -          100%                                       (13,583)         100%                                         (5,337)        100%                          (5,337)
                                  Capital Expenditures           180,627         100%                  180,627           1,635,110           100%                1,635,110            3,042,848          100%                       3,042,848
                                           Other Costs            17,441          0%                        -                17,845           0%                        -                15,927           0%                              -
                        Subtotal for Indirect Costs        $    5,589,248                       $     5,260,052     $   10,040,161                         $     9,739,772     $     16,290,629                               $    15,307,450


                                                                                  Yrs                                                        Yrs                                                          Yrs
             Inflation Adjusted Total Expenses [4]             2.3%               5.51          $   15,294,493           2.3%                4.51          $    21,051,759            2.3%                3.51                $    31,794,773



                                                                          Calendar Year 2012                                       Calendar Year 2013                                                Calendar Year 2014
                                                                             Allocation to                                            Allocation to                                                  Allocation to
                                                                           Technology and                                           Technology and                                                  Technology and
                                                           Total Cost [1]     Brand [2]      Allocated Cost         Total Cost [1]     Brand [2]      Allocated Cost            Total Cost [1]         Brand [2]              Allocated Cost
                    Functional Category
                   Salaries, Wages & SBC                   $   20,238,277        100%           $   20,238,277      $   29,829,686           100%           $   29,829,686      $    46,369,000          100%                 $    46,369,000
                 Payroll Taxes & Processing                     1,561,634        100%                1,561,634           2,246,298           100%                2,246,298            3,450,000          100%                       3,450,000
                      Health Insurance                          1,429,986        100%                 1,429,986          2,161,519           100%                2,161,519                3,325          100%                           3,325
                        Other benefits                          2,374,572        100%                 2,374,572          3,255,991           100%                3,255,991            8,112,675          100%                       8,112,675
                     Sales Commissions                                -           0%                        -                    78           0%                        -               312,000           0%                              -
                                 Subtotal Employees        $   25,604,469                       $   25,604,469      $   37,493,572                          $   37,493,494      $    58,247,000                               $    57,935,000

                     Contractor Services                        3,073,543        100%                 3,073,543          5,372,096           100%                5,372,096            7,885,000          100%                       7,885,000


                      Subtotal for All Labor Costs         $   28,678,011                       $   28,678,011      $   42,865,668                         $    42,865,590     $     66,132,000                               $    65,820,000

                                          Facility Costs   $    7,375,665       100.0%          $     7,375,665     $    7,140,632          100.0%          $    7,140,617      $    16,776,000          99.5%                $    16,686,139
        R&D Materials, Parts, Biological Compounds             11,136,524        100%               11,136,524          10,069,736           100%               10,069,736           10,638,000          100%                      10,638,000
   Conf., Website, Market Studies, Trademark Costs              1,274,910        100%                1,274,910           7,684,778           100%                7,684,778            3,087,000          100%                       3,087,000
           Legal, Tax, Accounting Services - General            1,400,908         50%                  700,454             709,756           50%                   354,878            1,051,000           50%                        525,500
                 Legal Regulatory and Patents Costs             1,750,963        100%                 1,750,963          1,913,373           100%                1,913,373            2,199,000          100%                       2,199,000
                              Legal Costs for Litigation        1,829,174         0%                        -            6,197,019            0%                        -             3,899,000           0%                              -
       Expensed Equip., Software, and Maintenance               1,084,748        100%                 1,084,748          1,657,745           100%                1,657,745            1,792,000          100%                       1,792,000
         Dues, Subscriptions, Licenses and Supplies             1,211,873        100%                 1,211,873          1,522,924           100%                1,522,924            3,583,000          100%                       3,583,000
                                       Recruiting Costs          796,875        100.0%                 796,875             552,947          100.0%                 552,946            1,147,000          99.5%                      1,140,856
                                       Travel Expenses           267,524          50%                  133,762             787,042           50%                   393,521            1,170,000           50%                        585,000
         Interest (Income), Expense & Bank Charges               143,830          0%                        -              382,053            0%                        -               (27,000)          0%                              -
                          Supporting G&A Expenses                934,674        100.0%                 934,674           1,185,138          100.0%               1,185,135            2,335,000          99.5%                      2,322,493
                                  Relocation Expenses             65,756          0%                        -                24,763           0%                        -                43,000           0%                              -
             Supplies for Manufacturing / Operations             855,721         100%                  855,721           1,574,094           100%                1,574,094            1,952,000          100%                       1,952,000
                                               Inventory        6,865,924        100%                 6,865,924          1,742,894           100%                1,742,894            1,145,000          100%                       1,145,000
                                  Capital Expenditures         17,572,491        100%               17,572,491           8,884,769           100%                8,884,769           38,594,066          100%                      38,594,066
                                           Other Costs            90,432          0%                        -               (44,941)          0%                        -                30,000           0%                              -
                        Subtotal for Indirect Costs        $   54,657,993                       $   51,694,585      $   51,984,722                         $    44,677,410     $     89,414,066                               $    84,250,054


                                                                                  Yrs                                                         Yrs                                                         Yrs
             Inflation Adjusted Total Expenses [3]             2.3%               2.50          $   85,119,867           2.3%                 1.50         $    90,613,216            2.3%                0.50                $ 151,813,833


                                                                                                                                                                         2004-2006 Expenses, Inflation Adjusted [4]           $    24,235,601
                                                                                                                                                                              2007 Expenses, Inflation Adjusted [5]                20,667,544
                                                                                                                                                                              2008 Expenses, Inflation Adjusted [5]                15,502,206
                                                                                                                                                                           2009-2014 Expenses, Inflation Adjusted                 395,687,942

                                                                                                                                                                    Total Direct and Indirect Development Costs               $ 456,093,294

                                                                                                                                                                                       Obsolescence Adjustment [6]      3%        (12,117,801)

                                                                                                                                                                                                      Subtotal Cost           $ 443,975,493

                                                                                                                                                                                      Add Developer Profit Margin [7]   15%        66,596,324


                                                                                                                                                                                    Total Pretax Development Cost             $ 510,571,817

                                                                                                                                                                      Total Pretax Development Cost (Rounded)                 $ 510,570,000


Notes
 [1]  Per company prepared trial balances
 [2]  Allocations based on relevance of costs to developing Theranos technology and branding assets.
 [3]  Adjust allocated expenses for average annual inflation of 2.3% over historical period
 [4]  2004 - 2006 expenses based on retained earnings deficit at 12/31/07 less operating loss reported for calendar year 2007. Expenses are adjusted for inflation of 2.3% from midpoint of period to valuation date.
 [5]  2007 - 2008 expenses based on audited financial statements. Excludes financing costs and interest income. Expenses are adjusted for inflation of 2.3% from midpoint of each period to valuation date.
 [6]  Adjusted for estimated 50% of historical development efforts between 2004-2006 that represent obsolete technology on valuation date.
 [7]  Developer margin based on median EBIT margin of peer group of firms in Exhibit G.2.
                                   Case 5:18-cr-00258-EJD               Document 1645      Filed 11/12/22     Page 96 of 156

US v. Elizabeth Holmes                                                                                                                             Exhibit I.1
Valuation of Theranos, Inc.                                                                                            Discounted Cash Flow Key Assumptions
As of October 15, 2015                                                                                                                    (thousands of USD)


                                                                                           For the Twelve Month Period Ending December 31,
                                                      Basis                     2015                2016                2017               2018

Total Revenue                                  Annual Growth Rate                 97703.4%               97.0%              44.8%                 55.6%

Terminal Value                                 Exit Multiple, Ex. J.1                                                                              4.0%

Total Cost of Revenue                             % of Revenue                         35.0%             32.0%              32.0%                 30.0%

Total Operating Expenses                          % of Revenue                         85.4%             44.6%              33.6%                 24.7%

Depreciation & Amortization                         Exhibit I.3                        1.7%               6.2%                6.6%                 6.0%

Interest Expense                                       N/A                               N/A                N/A                N/A                  N/A

Income Taxes                                 % of Pre-Tax Net Income                   40.0%             40.0%              40.0%                 40.0%

Adjusted Operating Working Capital                  Exhibit I.2                      19.6%               14.4%               21.3%                19.2%
Adjusted Operating Working Capital                                                  22,272              32,154              68,786               96,480
Yr/yr Working Capital (Increase)/Reduction                                         281,664              (9,883)            (36,631)             (27,694)

Capital Expenditures                              % of Revenue                         10.3%             27.8%              17.8%                 16.9%
                                                      Case 5:18-cr-00258-EJD                                       Document 1645                         Filed 11/12/22                Page 97 of 156

US v. Elizabeth Holmes                                                                                                                                                                                                                                Exhibit I.2
Valuation of Theranos, Inc.                                                                                                                                                                                                     Adjusted Working Capital Analysis
As of October 15, 2015                                                                                                                                                                                                                       (thousands of USD)


                                                                      FYE               FYE               FYE             FYE                FYE                   FYE                          For the Twelve Month Period Ending December 31,
Working Capital                                                     12-31-09          12-31-10          12-31-11        12-31-12           12-31-13              12-31-14            2015                 2016               2017               2018

Total Revenue                                               [1] $       2,794     $       1,401     $         518   $           -     $              -       $           116     $     113,452      $       223,452    $       323,452    $        503,452
Total COS                                                                   -                 -                 -               -                    -                     -            39,708               71,505            103,505             151,036
Total Operating Expenses                                               13,597            16,801            27,173          64,015               85,605               122,756            96,881               99,764            108,780             124,204

Operating Assets
    Cash & Equivalents                                      [2] $       3,690     $      36,718     $      88,056   $      51,785     $         30,966       $       465,933     $      95,554      $        98,397    $       107,290    $        122,503
    Accounts Receivable                                                    29                55                 -               -                    -                     -                 -                    -                  -                   -
    Inventory                                                             581                 -                 -           1,733                3,777                 2,383             3,404                6,704              9,704              15,104
    Other Current Assets                                                  195               827               665           1,882                1,780                12,788             4,838                5,080              5,334               5,601
    Note Receivable                                                         -                 -                 -               -                    -                27,045            27,512                9,585              9,735                   -
Total Operating Assets                                                  4,495            37,600            88,721          55,401               36,523               508,149           131,308              119,766            132,063             143,208

Operating Liabilities
    Accounts Payable                                                      560               440             1,238           7,669                7,430                16,633            13,879               16,480             16,174              22,774
    Deferred Revenue                                                    1,663               257                 7               7                    7                   -                 -                    -                  -                   -
    Other Current Liabilities                                             950             1,298             2,845           7,714                4,830                 9,984             7,073                8,265              9,453              11,521
    Deferred Rent                                                         723               759               767           1,572                1,857                   -                 -                    -                  -                   -
    Deferred Revenue, LT                                                2,146             3,808             3,801           3,801                3,801                   -                 -                    -                  -                   -
    Customer Deposits                                                     -                 -              73,500          69,500               80,000               143,846            70,356               46,904             23,452                 -
    Other Non-current liabilities                                         807             1,847             5,959           3,425                1,866                33,750            17,728               15,963             14,198              12,433
Total Operating Liabilities                                             6,849             8,409            88,117          93,687               99,791               204,213           109,036               87,612             63,277              46,728

Net Operating Working Capital                                   $       (2,354)   $       29,191    $         604   $      (38,287)   $         (63,268)     $        303,936    $      22,272      $        32,154    $        68,786    $         96,480
Net Operating Working Capital as % of Revenue                          -84.3%           2083.1%            116.6%             0.0%                 0.0%            262013.8%             19.6%                14.4%              21.3%               19.2%
Yr/yr Working Capital (Increase)/Reduction                                   -           (31,545)          28,587           38,891               24,981              (367,204)         281,664               (9,883)           (36,631)            (27,694)

BizMiner Working Capital as a % of Revenue                                                                                                                                                  22.8%
RMA Working Capital as a % of Revenue                                                                                                                                                       36.1%
Comparable Group Working Capital as a % of Revenue                                                                                                                                          60.2%

Days' Operating Expenses in Cash                                           99               798             1,183             295                      132             1,385                  360               360                360                   360
Days' Sales Outstanding                                                     4                14               -               -                        -                 -                    -                 -                  -                     -
Days' Inventory                                                           -                 -                 -               -                        -                 -                     31                34                 34                    37
Other Current Assets as a % of Revenue                                   7.0%             59.0%            128.4%            0.0%                     0.0%          11024.1%                 4.3%              2.3%               1.6%                  1.1%
Note Receivable as a % of Revenue                                        0.0%              0.0%              0.0%            0.0%                     0.0%          23314.7%                24.2%              4.3%               3.0%                  0.0%
Days' Payables                                                            -                 -                 -               -                        -                 -                    128                84                 57                    55
Deposits & Deferred Revenue as a % of Revenue                          136.3%            290.1%          14917.2%            0.0%                     0.0%         124005.2%                62.0%             21.0%               7.3%                  0.0%
Other Current Liabilites as a % of Opex                                  7.0%              7.7%             10.5%           12.1%                     5.6%              8.1%                 7.3%              8.3%               8.7%                  9.3%
Deferred Rent as a % of Opex                                             5.3%              4.5%              2.8%            2.5%                     2.2%              0.0%                 0.0%              0.0%               0.0%                  0.0%
Other Non-current liabilities as a % of Opex                             5.9%             11.0%             21.9%            5.4%                     2.2%             27.5%                18.3%             16.0%              13.1%                 10.0%

Notes:
[1] Historical balances are per Adjusted Income Statement. Refer to Exhibit B.5. Operating Expenses exclude Depreciation & Amortization.
[2] Estimated operating cash levels equal to 6 months of operating expenses
                              Case 5:18-cr-00258-EJD            Document 1645              Filed 11/12/22       Page 98 of 156

US v. Elizabeth Holmes                                                                                                                            Exhibit I.3
Valuation of Theranos, Inc.                                                                                      Depreciation & Capital Expenditure Analysis
As of October 15, 2015                                                                                                                   (thousands of USD)


                                                                              For the Twelve Month Period Ending December 31,
Forecast Depreciation                                                      2015             2016            2017            2018

Total Revenue                                                         $      113,452   $      223,452   $      323,452    $      503,452

Beginning Balance - Total Fixed Assets                                        53,366           63,121          111,409           147,752
Capital Expenditures                                                          11,670           62,104           57,667            85,125
     Fixed Assets                                                             65,036          125,225          169,076           232,877
Capital Expenditures as a % of Revenue                                        10.29%           27.79%           17.83%            16.91%

Depreciation
    Assumptions as to Depreciable Lives:
    Beg. Dep. Existing Fixed Assets - avg life   6.3
    Capital Additions - avg life                 8.0

     Beginning Balance                                                $        1,763   $        8,460   $        8,460    $        8,460
     2015 Additions                                                              152            1,463            1,463             1,463
     2016 Additions                                                                             3,893            7,786             7,786
     2017 Additions                                                                                              3,615             7,229
     2018 Additions                                                                                                                5,336


Total Depreciation                                                    $        1,915   $       13,816   $       21,324    $       30,274
As a % of Revenue                                                               1.7%             6.2%             6.6%              6.0%

Net Fixed Assets                                                      $       63,121   $      111,409   $      147,752    $      202,603
As a % of Revenue                                                              55.6%            49.9%            45.7%             40.2%

Historical Capital Expenditure Analysis                                     FYE              FYE              FYE               FYE                FYE
                                                                          12-31-10         12-31-11         12-31-12          12-31-13           12-31-14

Net FA                                                                $        2,630   $        4,648   $       19,557    $       22,021    $        53,366
Chg from PY                                                                      N/A            2,018           14,909             2,463             31,345
Depreciation                                                                     771            1,025            2,654             5,573              7,247
(Gain)/Loss                                                                      -                -                  9               849                  1
Capital Expenditures                                                             N/A            3,043           17,572             8,885             38,594

                                                           Average
Fixed Assets                                           $     20,444   $        2,630   $        4,648   $       19,557    $       22,021     $       53,366
Fixed Assets as a % of Revenue                              5021.8%           187.7%           896.9%              N/A               N/A           46005.2%

Capital Expenditures                                         17,024              N/A            3,043           17,572             8,885             38,594
Capital Expenditures as a % of Revenue                      4181.6%              N/A           587.1%              N/A               N/A           33270.7%
      Case 5:18-cr-00258-EJD                                              Document 1645                                 Filed 11/12/22                                Page 99 of 156

US v. Elizabeth Holmes                                                                                                                                                                        Exhibit I.4
Valuation of Theranos, Inc.                                                                                                                               Discount Rate - Venture Capital Rates of Return
As of October 15, 2015




                                                                             Market          Interest Bearing    Trading Volume                                 1-Year Growth    Equity as a %
    Company Name                                     Ticker Symbol        Capitalization           Debt                [7]               LTM Revenue                Rate        of Total Capital
    OraSure Technologies, Inc.                            OSUR           $       267,159     $            -                  566     $          116,018                    8.9%          100.0%
    Trinity Biotech plc                                   TRIB                   271,362               99,069                121                101,392                   -1.5%           73.3%
    Enzo Biochem, Inc.                                     ENZ                   181,945                3,586                135                 97,599                    1.7%           98.1%
    QuidelOrtho Corporation                               QDEL                   620,241              146,697                240                205,670                   22.0%           80.9%
    Exact Sciences Corporation                            EXAS                   713,931                6,156              2,658                 26,521                 1894.1%           99.1%
    OPKO Health, Inc.                                NasdaqGS:OPK              5,015,072              145,354              5,704                241,080                  179.4%           97.2%
    PerkinElmer, Inc.                                      PKI                 5,470,749           1,028,376                 753              2,262,633                    1.9%           84.2%
    Quest Diagnostics Incorporated                        DGX                  9,197,441           3,731,000               1,043              7,527,000                    3.0%           71.1%
    Laboratory Corporation of America Holdings              LH               11,664,918            6,681,200               1,063              7,773,600                   31.0%           63.6%
    Myriad Genetics, Inc.                                MYGN                  2,711,591                  -                  817                737,800                   -0.9%          100.0%
    Illumina, Inc.                                        ILMN               21,971,248            1,110,101               1,950              2,140,593                   23.3%           95.2%
    Qiagen N.V.                                          QGEN                  5,912,561           1,058,906                 862              1,292,856                   -3.9%           84.8%
    Alere Inc.                                         IQT2622336              3,975,232           3,601,525                 602              2,483,662                   -4.0%           52.5%
    Luminex Corporation                                IQT2627430                789,484                  -                  258                235,365                    5.1%          100.0%
    Abaxis, Inc.                                       IQT2586525              1,017,036                  530                177                217,133                   29.6%           99.9%
    CombiMatrix Corporation                           IQT36309071                 13,695                  344                  2                  9,621                   27.0%           97.5%
    Affymetrix Inc.                                    IQT2587418                714,389              124,950                688                357,744                    2.8%           85.1%
    Genomic Health, Inc.                              IQT24111615                715,559                  -                  221                281,451                    2.2%          100.0%
    Cepheid                                            IQT2599314              2,388,029              285,406              1,075                523,099                   15.8%           89.3%
    Nanosphere, Inc.                                  IQT38720096                 16,632               15,474                245                 18,871                   44.5%           51.8%
    GenMark Diagnostics, Inc.                        IQT106626443                353,067                9,794                225                 36,051                   34.0%           97.3%
    Bio-Reference Laboratories, Inc.                   IQT2594421                     -                69,849                376                882,467                   16.1%            0.0%
    Average                                                                    3,362,788             823,560                  899              1,253,101                  106.0%                 82.8%
    Median                                                                       752,522              84,459                  584                261,266                   12.3%                 92.3%
    Selected                                                                                                                                                                                     97.0%

Industry Capital Structure
    Equity                                                     95.0%
    Interest Bearing Debt                                       5.0%
    Tax Rate                                                   40.0%

Cost of Equity
                                                                                                                                                                                          Ref.
Table 1: Venture Capital Average Actual Rates of Return for the Period ended September 30, 2008                                                                                            [1]
Stage of Development                                         5-year Return                      10-year Return                                       20-year Return
                                                       2002                2008             2002              2008                            2002                     2008
Seed/Early Stage                                      51.4%                3.0%            34.9%             25.5%                           20.4%                    22.1%
Balanced                                              20.9%                7.5%            20.9%             12.0%                           14.3%                    14.6%
Later Stage                                           10.6%                8.1%            21.6%              7.3%                           15.3%                    14.7%
All Ventures                                          28.3%                5.7%            26.3%             13.4%                           16.6%                    17.2%


Table 2: Target Rates of Return                                                                                                                                                           [2-5]
                                                                                                Sahlman,
                                                                          Scherlis and       Stevenson, and                              Everett Median
Stage of Development                                   Plummer              Sahlman               Bhide              Everett                Returns
Start-up                                               50% - 70%           50% - 70%           50% - 100%           30% - 40%                33.0%
First stage or “early development”                     40% - 60%           40% - 60%            40% - 60%           23% - 38%                30.0%
Second stage or “expansion”                            35% - 50%           30% - 50%            30% - 40%           19% - 32%                25.0%
Bridge/IPO                                             25% - 35%           20% - 35%            20% - 30%           18% - 38%                23.0%


Table 3: Target Rates of Return                                                                                                                                                            [6]
                                                                                                      Plummer / Qed
                                                        Ruhnka /                               Range of Discount Rates Used
Stage of Development                                     Young               Wetzel               High              Low
Seed                                                     73.0%               50.0%               75.4%             49.2%
Start-up                                                 54.8%               50.0%               59.6%             40.6%
3rd Stage                                                42.2%               37.5%               49.3%             34.7%
Fourth Stage                                             35.0%               30.0%               45.7%             31.2%
Exit Stage                                               35.0%               22.5%               40.8%             28.1%


Table 4: Theranos Investor Forecasts Implied Internal Rates of Return (Feb 2014 - Feb 2015)                                                                                                [6]


Investor Group                                             IRR
PFM Forecast                                              75.5%
PFM Model                                                 35.5%
Mosley and RDV Forecast                                   54.0%
Murdoch Forecast                                          82.0%


                                                    Selected Venture Capital Cost of Equity                                 45.0%                                                          [7]


Weighted Average Cost of Capital
    Equity as a % of total capital                                                                      95.0%
    Cost of Equity (above)                                                                              45.0%
    Weighted Cost of Equity                                                                                                 42.8%

    Debt as a % of total capital                                                                         5.0%
    Cost of Debt [4]                                                              25.00%
    After Tax Cost of Debt (tax rate above)                                                             15.0%
    Weighted After Tax Cost of Debt                                                                                          0.8%
                                                    Weighted Average Cost of Capital                                        43.5%

                                                    Weighted Average Cost of Capital (rounded)                              44.0%

Notes:
 [1] Source: Thomson Financial. The average annual return is based upon Thomson Financials’ Private Equity Performance Index (PEPI).
     The PEPI is based on the latest quarterly statistics from Thomson Financials' Private Equity Performance Database analyzing the cashflows and
     returns for over 1400 US venture capital and private equity partnerships.
 [2] Plummer, James L., QED Report on Venture Capital Financial Analysis.
 [3] Scherlis, Daniel R. and William A. Sahlman, “A Method for Valuing High-Risk, Long Term, Investments: The Venture Capital Method,”
     Harvard Business School Teaching Note 9-288-006, Boston: Harvard Business School Publishing, 1989.
 [4] William A. Sahlman, Howard H. Stevenson, Amar V. Bhide, et al., "Financing Entrepreneurial Ventures,"
     Business Fundamental Series (Boston: Harvard Business School Publishing, 1998).
    Craig R. Everett, “2021 Private Capital Markets Report” (Malibu: Pepperdine University Graziadio School of Business and Management, 2021), Table
[5] 1, p. 5. Note that this publication also includes rates of return for many other types of private capital investments, as well as summaries of other
    information captured in Pepperdine’s annual industry survey.
[6] Dorsey, Terry, “A Portfolio Model for Venture Capital Performance Measurement and Investment Selection,” Polaris Group, Inc. January 2000.
[7] Refer to the report for discussion of the selected Venture Capital Rate of Return.
                              Case 5:18-cr-00258-EJD   Document 1645       Filed 11/12/22       Page 100 of 156

US v. Elizabeth Holmes                                                                                                          Exhibit I.5
Valuation of Theranos, Inc.                                                                     Forecast Free Cash Flow to Invested Capital
As of October 15, 2015                                                                                                (thousands of USD)


                                                                   For the Twelve Month Period Ending December 31,
                                                                2015            2016             2017            2018

Total Revenue                                               $     113,452      $     223,452       $      323,452    $       503,452
Total Cost of Revenue                                              39,708             71,505              103,505            151,036
Gross Margin                                                       73,744            151,947              219,947            352,416
GM %                                                                65.0%              68.0%                68.0%              70.0%

Total Operating Expenses                                           96,881             99,764              108,780            124,204
Operating Expense %                                                 85.4%              44.6%                33.6%              24.7%
EBITDA                                                            (23,137)            52,183              111,167            228,212
EBITDA %                                                           -20.4%              23.4%                34.4%              45.3%
Less: Partial Period Adjustment                                    18,317                   -                  -                 -
Adjusted EBITDA                                                    (4,820)
Depreciation & Amortization                                         1,915             13,816               21,324             30,274
EBIT                                                               (6,735)            38,367               89,843            197,938
EBIT %                                                              -5.9%              17.2%                27.8%              39.3%
Interest Expense                                                       -                    -                  -                 -

Earnings Before Taxes                                              (6,735)            38,367               89,843            197,938
       Income Taxes                                                   -                  -                    -                  -

Forecast After-Tax Income                                   $      (6,735)     $      38,367       $       89,843    $       197,938
NPAT %                                                              -5.9%              17.2%                27.8%              39.3%

Cash Flow
Add: Depreciation & Amortization                                    1,915             13,816               21,324             30,274
      After-Tax Gross Cash Flow                                    (4,820)            52,183              111,167            228,212

      Decrease / (Increase) in Working Capital                    281,664             (9,883)             (36,631)           (27,694)
Less: Capital Expenditures                                        (11,670)           (62,104)             (57,667)           (85,125)

Free Cash Flow                                              $     265,174      $     (19,804)      $       16,869    $       115,393
                   Case 5:18-cr-00258-EJD        Document 1645     Filed 11/12/22       Page 101 of 156

US v. Elizabeth Holmes                                                                                        Exhibit I.6
Valuation of Theranos, Inc.                                                 Discounted Cash Flow Method Value Summary
As of October 15, 2015                                                                               (thousands of USD)


     Forecast                 Base                               Discount                                  Discounted
      Period                Cash Flow          Period              Rate             PV Factor [2]         Cash Flow [3]

       2015             $          265,174       0.11             44.0%                0.9623         $          255,175
       2016                        (19,804)      0.71             44.0%                0.7717                    (15,282)
       2017                         16,869       1.71             44.0%                0.5359                      9,040
       2018                        115,393       2.71             44.0%                0.3721                     42,943
 Terminal Value [1]              2,909,000       3.21             44.0%                0.3101                    902,132

Indicated Value                                                                                       $        1,194,008
Add: C-2 Financing Proceeds not on 12/31/14 Balance Sheet                                                        176,300
Operating Losses for 2015 prorated to 10/15/15                                                                  (145,314)
Deduct: Interest Bearing Debt                                                                                    (40,805)

Total Equity Value - Controlling, Marketable Basis                                                    $        1,184,189

Total Equity Value - Controlling, Marketable Basis (rounded)                                          $        1,184,000


Notes:
[1] Refer to Exhibit J.1
[2] 1 / (1 + Discount Rate) ^ Period.
[3] Base Cash Flow x PV Factor.
                                                                               Case 5:18-cr-00258-EJD                                               Document 1645                                        Filed 11/12/22                              Page 102 of 156

US v. Elizabeth Holmes                                                                                                                                                                                                                                                                                                                                          Exhibit J.1
Valuation of Theranos, Inc.                                                                                                                                                                                                                                                                                                                Guideline Public Company Method
As of October 15, 2015                                                                                                                                                                                                                                                                                                                                  (thousands of USD)


                                                                                            Debt,                                                                                                                                                                                                               Market Value of Invested Capital /
                                                                     Market               Pref Shr &                                                                                          Revenue                                         EBITDA                           EBIT                     Revenue                    EBITDA                      EBIT
  Name                                               Ticker           Cap                  Min Int.          Cash            MVIC [1]          Price [1]        3-year          5-year            LTM              2016E              LTM                2016E                 LTM                LTM          2016E          LTM          2016E               LTM

  OraSure Technologies, Inc.                         OSUR    $              267,159   $            -     $     108,189   $       158,970   $       158,970    $ 100,050     $  96,505     $         116,018    $      129,998     $       7,237     $        12,850        $       1,403             1.37x         1.22x          21.97x          12.37x         113.31x
  Trinity Biotech plc                                TRIB                   271,362             99,069         104,289           266,142           167,073        99,362       94,508               101,392           115,039            17,182              24,972               12,657             2.62x         2.31x          15.49x          10.66x          21.03x
  Enzo Biochem, Inc.                                  ENZ                   181,945              3,586          18,109           167,422           163,836        96,400       97,407                97,599               NA             (8,875)                NA               (12,664)            1.72x          NA              NA              NA              NA
  QuidelOrtho Corporation                            QDEL                   620,241            146,697         182,560           584,378           437,681       188,888      178,165               205,670           224,952            36,098              52,014               12,039             2.84x         2.60x          16.19x          11.24x          48.54x
  Exact Sciences Corporation                         EXAS                   713,931              6,156         343,509           376,578           370,422        14,395       10,877                26,521           117,061          (144,373)           (154,902)            (151,231)             NA           3.22x            NA              NA              NA
  OPKO Health, Inc.                               asdaqGS:O               5,015,072            143,954         212,144         4,946,882         4,802,928       164,731      128,548               241,080         1,239,782           (64,542)             78,008              (88,273)           20.52x         3.99x            NA            63.41x            NA
  PerkinElmer, Inc.                                   PKI                 5,470,749          1,028,376         195,066         6,304,059         5,275,683     2,227,989    2,174,950             2,262,633         2,374,847           355,149             485,963              241,489             2.79x         2.65x          17.75x          12.97x          26.10x
  Quest Diagnostics Incorporated                     DGX                  9,197,441          3,832,000         123,000        12,906,441         9,074,441     7,393,534    7,370,262             7,527,000         7,622,205         1,449,000           1,521,683            1,140,000             1.71x         1.69x           8.91x           8.48x          11.32x
  Laboratory Corporation of America Holdings           LH                11,664,918          6,696,700         713,000        17,648,618        10,951,918     6,828,200    6,445,160             7,773,600         9,131,565         1,578,200           1,878,324            1,213,700             2.27x         1.93x          11.18x           9.40x          14.54x
  Myriad Genetics, Inc.                              MYGN                 2,711,591                -           155,400         2,556,191         2,556,191       730,777      678,158               737,800           779,683           193,300             227,461              167,500             3.46x         3.28x          13.22x          11.24x          15.26x
  Illumina, Inc.                                     ILMN                21,971,248          1,142,229       1,439,406        21,674,071        20,531,842     1,872,918    1,661,529             2,140,593         2,576,267           766,572             913,442              642,962            10.13x         8.41x          28.27x          23.73x          33.71x
  Qiagen N.V.                                        QGEN                 5,912,561          1,061,204         429,529         6,544,236         5,483,032     1,309,484    1,287,628             1,292,856         1,402,013           364,361             471,991              179,796             5.06x         4.67x          17.96x          13.87x          36.40x
  Alere Inc.                                      IQT2622336              3,975,232          4,212,525         479,538         7,708,219         3,495,694           391          196             2,483,662         2,652,810           533,132             605,209              214,215             3.10x         2.91x          14.46x          12.74x          35.98x
  Luminex Corporation                             IQT2627430                789,484                -           131,559           657,925           657,925           -            -                 235,365           248,841            52,993              48,894               39,990             2.80x         2.64x          12.42x          13.46x          16.45x
  Abaxis, Inc.                                    IQT2586525              1,017,036                530         133,141           884,425           883,895           391          -                 217,133           243,580            46,272              53,433               39,654             4.07x         3.63x          19.11x          16.55x          22.30x
  CombiMatrix Corporation                         QT3630907                  13,695                344           5,549             8,490             8,146           -            -                   9,621            15,845            (5,995)                NA                (6,304)            0.88x         0.54x            NA              NA              NA
  Affymetrix Inc.                                 IQT2587418                714,389            124,950         137,593           701,746           576,796           -            -                 357,744           374,639            46,644              66,154               28,487             1.96x         1.87x          15.04x          10.61x          24.63x
  Genomic Health, Inc.                            QT2411161                 715,559                -            98,013           617,546           617,546           -            -                 281,451           335,207           (24,677)             10,950              (31,426)            2.19x         1.84x            NA            56.40x            NA
  Cepheid                                         IQT2599314              2,388,029            285,406         326,184         2,347,251         2,061,845          (514)      (2,645)              523,099           626,028             8,250              50,077              (24,425)            4.49x         3.75x            NA            46.87x            NA
  Nanosphere, Inc.                                QT3872009                  16,632             15,474          12,339            19,767             4,293        18,647       18,759                18,871            24,880           (29,703)                NA               (31,532)            1.05x         0.79x            NA              NA              NA
  GenMark Diagnostics, Inc.                       QT10662644                353,067              9,794          54,178           308,683           298,889        (9,936)     (10,408)               36,051            52,729           (38,446)            (44,875)             (41,732)            8.56x         5.85x            NA              NA              NA
  Bio-Reference Laboratories, Inc.                IQT2594421                    -               69,849          25,146            44,703           (25,146)       28,752       27,994               882,467               NA            115,980                 NA                89,519             0.05x          NA             0.39x            NA             0.50x

  Correlation to MVIC                                                                                                                                               0.71           0.69                 0.77               0.80             0.85                 0.87                 0.85
  Correlation to Price                                                                                                                                              0.58           0.55                 0.63               0.65             0.71                 0.73                 0.73


                                                                                                                                                                                                                                                   Upper Quartile                                    4.07x         3.66x          17.91x          18.35x          35.42x
                                                                                                                                                                                                                                                   Mean                                              3.98x         2.99x          15.17x          20.87x          30.01x
                                                                                                                                                                                                                                                   Median                                            2.79x         2.65x          15.27x          12.85x          23.47x
                                                                                                                                                                                                                                                   Lower Quartile                                    1.72x         1.87x          12.62x          11.09x          15.56x

                                                                                                                                                                                                                                                   Selected Multiple                                 4.00x                        13.90x                              -
                                                                                                                                                                                                                                                   Subject Company Base Value                $    503,452     $     -      $    228,212       $      -     $          -

                                                                                                                                                                                                                                                   Indicated Value                               2,013,808          -          3,172,147            -                 -
                                                                                                                                                                                                                                                   Interest Bearing Debt                               N/A          N/A              N/A            N/A               N/A

                                                                                                                                                                                                                                                   Indicated Equity Value                    $ 2,013,808      $     -      $ 3,172,147        $      -     $         -
                                                                                                                                                                                                                                                   Weighting                                       33.3%           0.0%          66.7%              0.0%            0.0%

                                                                                                                                                                                                                                                   Indicated Value                                                                                         $ 2,786,034
                                                                                                                                                                                                                                                        Add: Subject Company Cash                                                                              122,503

                                                                                                                                                                                                                                                   Total Invested Capital Value at 12/31/18 - Controlling, Marketable Basis                                $ 2,908,536

                                                                                                                                                                                                                                                   Total Invested Capital Value at 12/31/18 - Controlling, Marketable Basis (rounded)                      $ 2,909,000
Notes:
Source: S&P Capital IQ.
[1] MVIC = Market Value of Invested Capital. Presented as net of cash.
                                              Case 5:18-cr-00258-EJD                                        Document 1645                 Filed 11/12/22                Page 103 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                            Exhibit J.2
Valuation of Theranos, Inc.                                                                                                                                                                      Guideline Public Company Key Financial Ratios
As of October 15, 2015                                                                                                                                                                                                    (thousands of USD)


                                                                 Market         Trading           LTM       CAGR Revenue [2]        Forward Growth                     As a % of Revenue                     Current     Debt to     Debt to
Name                                         Ticker               Cap          Volume [1]       Revenue     1 Year    3 Year    2016E    2017E   2018E   GM       EBITDA      EBIT       Capex     WC [3]     Ratio      Equity       TNW

OraSure Technologies, Inc.                   OSUR           $     267,159           566     $    116,018       8.9%      9.1%    12.0%   10.8%      NA   65.8%       6.2%       1.2%      2.2% 1.89898           4.78        0.0%        0.0%

Trinity Biotech plc                           TRIB                271,362           121          101,392      -1.5%      7.5%    13.5%   16.1%      NA   47.5%      16.9%      12.5%      8.3% 1.46681           8.54       47.0%     181.2%

Enzo Biochem, Inc.                            ENZ                 181,945           135           97,599       1.7%     -1.8%      NA       NA      NA   43.9%      -9.1%      -13.0%     1.8% 0.23082           1.94        8.4%      12.4%

QuidelOrtho Corporation                       QDEL                620,241           240          205,670      22.0%     13.6%     9.4%    8.4%      NA   64.1%      17.6%       5.9%      7.1% 1.04416           6.91       66.9%     140.3%

Exact Sciences Corporation                    EXAS                713,931          2,658          26,521    1894.1%     85.6%      N/A   96.5%   71.7%   23.7%        N/A     -570.2%       N/A 12.6631         15.28        1.7%        1.7%

OPKO Health, Inc.                        NasdaqGS:OPK            5,015,072         5,704         241,080     179.4%     87.5%   414.3%   26.5%   30.0%   38.3%     -26.8%      -36.6%     2.2% 0.66296           1.45        7.4%      -54.9%

PerkinElmer, Inc.                              PKI               5,470,749          753         2,262,633      1.9%      2.8%     5.0%    4.5%    5.5%   45.5%      15.7%      10.7%      1.1% 0.22963           1.94       50.1%     -164.8%

Quest Diagnostics Incorporated                DGX                9,197,441         1,043        7,527,000      3.0%      0.7%     1.3%    2.3%    4.1%   38.2%      19.3%      15.1%      3.4% 0.06842           1.45       79.6%     -168.9%

Laboratory Corporation of America Hold         LH               11,664,918         1,063        7,773,600     31.0%     11.3%    17.5%    4.9%    3.2%   34.9%      20.3%      15.6%      2.8% 0.11098           1.47     135.5%      -142.1%

Myriad Genetics, Inc.                        MYGN                2,711,591          817          737,800      -0.9%     12.4%     5.7%    0.7%   22.1%   79.8%      26.2%      22.7%      1.8% 0.33654           5.21        0.0%        0.0%

Illumina, Inc.                                ILMN              21,971,248         1,950        2,140,593     23.3%     25.3%    20.4%   16.5%   14.9%   73.3%      35.8%      30.0%      6.6% 0.75987           3.79       56.4%     119.9%

Qiagen N.V.                                  QGEN                5,912,561          862         1,292,856     -3.9%      1.3%     8.4%    6.8%    6.5%   65.3%      28.2%      13.9%      7.3% 0.54094           3.52       42.0%    2753.9%

Alere Inc.                                IQT2622336             3,975,232          602         2,483,662     -4.0%     -2.9%     6.8%    3.7%    8.0%   47.1%      21.5%       8.6%      3.8% 0.30628           1.68     171.3%      -197.6%

Luminex Corporation                       IQT2627430              789,484           258          235,365       5.1%      6.5%     5.7%    8.2%   22.6%   71.5%      22.5%      17.0%      8.7% 0.74435           7.57        0.0%        0.0%

Abaxis, Inc.                              IQT2586525             1,017,036          177          217,133      29.6%      9.2%    12.2%      NA      NA   54.6%      21.3%      18.3%      2.2% 0.83656           7.33        0.2%        0.2%

CombiMatrix Corporation                   IQT36309071              13,695              2           9,621      27.0%     23.4%    64.7%   38.8%   34.5%   45.1%     -62.3%      -65.5%     1.3% 0.70835           4.77        4.7%        4.7%

Affymetrix Inc.                           IQT2587418              714,389           688          357,744       2.8%      9.0%     4.7%    3.5%    5.4%   63.3%      13.0%       8.0%      3.6%      0.5037       3.54       37.6%     177.0%

Genomic Health, Inc.                      IQT24111615             715,559           221          281,451       2.2%      7.3%    19.1%   11.8%   13.0%   78.2%      -8.8%      -11.2%     7.4% 0.34992           3.26        0.0%        0.0%

Cepheid                                   IQT2599314             2,388,029         1,075         523,099      15.8%     17.9%    19.7%   16.1%   17.2%   50.7%       1.6%       -4.7%     7.4% 0.79831           3.88       77.8%      95.0%

Nanosphere, Inc.                          IQT38720096              16,632           245           18,871      44.5%     63.3%    31.8%   64.8%      NA   -57.8%       N/A     -167.1%     8.2% 0.21424           1.18     107.2%      123.5%

GenMark Diagnostics, Inc.                IQT106626443             353,067           225           36,051      34.0%     40.3%    46.3%   57.9%   56.2%   59.9%    -106.6%     -115.8%    13.6% 1.40426           5.41       18.1%      18.9%

Bio-Reference Laboratories, Inc.          IQT2594421                   -            376          882,467      16.1%     14.4%      NA       NA      NA   47.4%      13.1%      10.1%      2.7% 0.24663           2.34       20.7%      24.3%



                        Upper Quartile                      $ 4,755,112             997     $ 1,190,259       28.9%     22.0%    20.0%   21.5%   26.3%   65.0%      21.3%      14.8%      7.4%      82.7%        5.36       64.2%     113.7%
                                 Mean                            3,362,788          899         1,253,101    106.0%     20.2%    37.8%   21.0%   21.0%   49.1%       3.3%      -36.1%     4.9%     118.8%        4.42       42.4%     132.9%
                               Median                             752,522           584          261,266      12.3%     10.3%    12.2%   10.8%   14.9%   49.1%      16.3%       8.3%      3.6%      60.2%        3.66       29.2%        3.2%
                        Lower Quartile                            291,789           229          105,049       2.0%      6.7%     6.3%    4.7%    6.0%   44.2%      -1.0%      -12.5%     2.2%      26.2%        1.94        2.5%        0.0%



          Theranos, Inc. (at 12/31/18)                                 NA            NA     $    503,452      55.6%     64.3%    28.0%      NA      NA    0.0%      45.3%      39.3%     16.9%      19.2%        2.39         N/A         N/A




Notes:
Source: S&P Capital IQ.
[1] Represents trailing 3-month average daily trading volume (in thousands).
[2] CAGR = Compound Annual Growth Rate
[3] Working capital excludes cash
                        Case 5:18-cr-00258-EJD                     Document 1645                           Filed 11/12/22                      Page 104 of 156

US v. Elizabeth Holmes                                                                                                                                                             Exhibit J.3
Valuation of Theranos, Inc.                                                                                                                              Guideline Public Company Descriptions
As of October 15, 2015


Name                                            Ticker      Description

                                                            OraSure Technologies, Inc., together with its subsidiaries, develops, manufactures, markets, and sells oral fluid diagnostic products
OraSure Technologies, Inc.                      OSUR
                                                            and specimen collection devices in the United States, Europe, and internationally.

                                                            Trinity Biotech plc acquires, develops, manufactures, and markets medical diagnostic products for the clinical laboratory and point-
Trinity Biotech plc                              TRIB
                                                            of-care (POC) segments of the diagnostic market in the Americas, Africa, Asia, and Europe.

                                                            Enzo Biochem, Inc., an integrated diagnostics, clinical lab, and life sciences company, researches, develops, manufactures, and
Enzo Biochem, Inc.                               ENZ
                                                            markets diagnostic and research products based on genetic engineering, biotechnology, and molecular biology.

                                                            QuidelOrtho Corporation focuses on the development and manufacture of diagnostic testing technologies across the continuum of
QuidelOrtho Corporation                          QDEL
                                                            healthcare testing needs.

Exact Sciences Corporation                       EXAS       Exact Sciences Corporation provides cancer screening and diagnostic test products in the United States and internationally.

                                                            OPKO Health, Inc., a healthcare company, engages in the diagnostics and pharmaceuticals businesses in the United States,
OPKO Health, Inc.                            NasdaqGS:OPK
                                                            Ireland, Chile, Spain, Israel, Mexico, and internationally.

                                                            PerkinElmer, Inc. provides products, services, and solutions to the diagnostics, life sciences, and applied services markets
PerkinElmer, Inc.                                 PKI
                                                            worldwide.

Quest Diagnostics Incorporated                   DGX        Quest Diagnostics Incorporated provides diagnostic testing, information, and services in the United States and internationally.

                                                            Laboratory Corporation of America Holdings operates as a global life sciences company that provides vital information to help
Laboratory Corporation of America Holdings        LH
                                                            doctors, hospitals, pharmaceutical companies, researchers, and patients make clear and confident decisions.

                                                            Myriad Genetics, Inc., a genetic testing and precision medicine company, develops and commercializes genetic tests in the United
Myriad Genetics, Inc.                           MYGN
                                                            States and internationally.

Illumina, Inc.                                   ILMN       Illumina, Inc. provides sequencing and array-based solutions for genetic and genomic analysis.


Qiagen N.V.                                     QGEN        QIAGEN N.V. offers sample to insight solutions that transform biological materials into molecular insights worldwide.

                                                            Alere Inc. provides diagnostic tests for infectious disease, cardiometabolic disease, and toxicology in the United States and
Alere Inc.                                    IQT2622336
                                                            internationally.

                                                            Luminex Corporation develops, manufactures, and sells proprietary biological testing technologies and products for the diagnostics,
Luminex Corporation                           IQT2627430
                                                            pharmaceutical, and research industries worldwide.

                                                            Abaxis, Inc. develops, manufactures, markets, and sells portable blood analysis systems for use in human or veterinary patient care
Abaxis, Inc.                                  IQT2586525
                                                            to provide rapid blood constituent measurements for clinicians worldwide.

CombiMatrix Corporation                       IQT36309071   CombiMatrix Corporation provides clinical molecular diagnostic laboratory services in the United States.

                                                            Affymetrix, Inc. provides life science products and molecular diagnostic products that enable parallel analysis of biological systems
Affymetrix Inc.                               IQT2587418
                                                            at the gene, protein, and cell level.

                                                            Genomic Health, Inc., a healthcare company, provides clinically actionable genomic information to personalize cancer treatment
Genomic Health, Inc.                          IQT24111615
                                                            decisions in the United States and internationally.

                                                            Cepheid, a molecular diagnostics company, develops, manufactures, and markets integrated systems for testing in the clinical and
Cepheid                                       IQT2599314
                                                            non-clinical markets.

                                                            Nanosphere, Inc. develops, manufactures, and markets molecular diagnostic tests for infectious diseases and associated drug
Nanosphere, Inc.                              IQT38720096
                                                            resistance markers for earlier disease detection, optimal patient treatment, and improved healthcare economics.
                                                            GenMark Diagnostics, Inc. designs and manufactures multiplex molecular diagnostic solutions to enhance patient care, improve
GenMark Diagnostics, Inc.                    IQT106626443   quality metrics, and reduce the total cost-of-care for laboratory professionals, healthcare providers, and customers in the United
                                                            States and internationally.
                                                            Bio-Reference Laboratories, Inc. provides clinical laboratory testing services for the detection, diagnosis, evaluation, monitoring,
Bio-Reference Laboratories, Inc.              IQT2594421
                                                            and treatment of diseases in the United States.


Notes:
Source: S&P Capital IQ.
     Case 5:18-cr-00258-EJD                                        Document 1645                                 Filed 11/12/22                        Page 105 of 156

US v. Elizabeth Holmes                                                                                                                                                          Exhibit J.4
Valuation of Theranos, Inc.                                                                                                                              Guideline Public Company Ranking
As of October 15, 2015                                                                                                                                                  (thousands of USD)


                             Size                                                       Liquidity                                                       Liquidity
                      (Revenue, millions)                               (Operating Net Working Capital-to-Revenue)                                   (Current Ratio)
Laboratory Corporation of America Holdin $       7,773,600   Quest Diagnostics Incorporated                           6.8%   Exact Sciences Corporation                             15.28
Quest Diagnostics Incorporated                   7,527,000   Laboratory Corporation of America Holdin                11.1%   Trinity Biotech plc                                     8.54
Alere Inc.                                       2,483,662   Theranos, Inc. (at 12/31/18)                            19.2%   Luminex Corporation                                     7.57
PerkinElmer, Inc.                                2,262,633   Nanosphere, Inc.                                        21.4%   Abaxis, Inc.                                            7.33
Illumina, Inc.                                   2,140,593   PerkinElmer, Inc.                                       23.0%   QuidelOrtho Corporation                                 6.91
Qiagen N.V.                                      1,292,856   Enzo Biochem, Inc.                                      23.1%   GenMark Diagnostics, Inc.                               5.41
Bio-Reference Laboratories, Inc.                   882,467   Bio-Reference Laboratories, Inc.                        24.7%   Myriad Genetics, Inc.                                   5.21
Myriad Genetics, Inc.                              737,800   Alere Inc.                                              30.6%   OraSure Technologies, Inc.                              4.78
Cepheid                                            523,099   Myriad Genetics, Inc.                                   33.7%   CombiMatrix Corporation                                 4.77
Theranos, Inc. (at 12/31/18)                       503,452   Genomic Health, Inc.                                    35.0%   Cepheid                                                 3.88
Affymetrix Inc.                                    357,744   Affymetrix Inc.                                         50.4%   Illumina, Inc.                                          3.79
Genomic Health, Inc.                               281,451   Qiagen N.V.                                             54.1%   Affymetrix Inc.                                         3.54
OPKO Health, Inc.                                  241,080   OPKO Health, Inc.                                       66.3%   Qiagen N.V.                                             3.52
Luminex Corporation                                235,365   CombiMatrix Corporation                                 70.8%   Genomic Health, Inc.                                    3.26
Abaxis, Inc.                                       217,133   Luminex Corporation                                     74.4%   Theranos, Inc. (at 12/31/18)                            2.39
QuidelOrtho Corporation                            205,670   Illumina, Inc.                                          76.0%   Bio-Reference Laboratories, Inc.                        2.34
OraSure Technologies, Inc.                         116,018   Cepheid                                                 79.8%   Enzo Biochem, Inc.                                      1.94
Trinity Biotech plc                                101,392   Abaxis, Inc.                                            83.7%   PerkinElmer, Inc.                                       1.94
Enzo Biochem, Inc.                                  97,599   QuidelOrtho Corporation                                104.4%   Alere Inc.                                              1.68
GenMark Diagnostics, Inc.                           36,051   GenMark Diagnostics, Inc.                              140.4%   Laboratory Corporation of America Holdin                1.47
Exact Sciences Corporation                          26,521   Trinity Biotech plc                                    146.7%   Quest Diagnostics Incorporated                          1.45
Nanosphere, Inc.                                    18,871   OraSure Technologies, Inc.                             189.9%   OPKO Health, Inc.                                       1.45
CombiMatrix Corporation                              9,621   Exact Sciences Corporation                            1266.3%   Nanosphere, Inc.                                        1.18

                    Operational Efficiency                                                 Growth                                                         Growth
                    (Capital Expenditures)                                    (Historical 1-year Growth Rate)                                    (Historical 3-year CAGR)
PerkinElmer, Inc.                                    1.1%    Exact Sciences Corporation                           1894.1%    OPKO Health, Inc.                                      87.5%
CombiMatrix Corporation                              1.3%    OPKO Health, Inc.                                     179.4%    Exact Sciences Corporation                             85.6%
Myriad Genetics, Inc.                                1.8%    Theranos, Inc. (at 12/31/18)                           55.6%    Theranos, Inc. (at 12/31/18)                           64.3%
Enzo Biochem, Inc.                                   1.8%    Nanosphere, Inc.                                       44.5%    Nanosphere, Inc.                                       63.3%
OPKO Health, Inc.                                    2.2%    GenMark Diagnostics, Inc.                              34.0%    GenMark Diagnostics, Inc.                              40.3%
OraSure Technologies, Inc.                           2.2%    Laboratory Corporation of America Holdin               31.0%    Illumina, Inc.                                         25.3%
Abaxis, Inc.                                         2.2%    Abaxis, Inc.                                           29.6%    CombiMatrix Corporation                                23.4%
Bio-Reference Laboratories, Inc.                     2.7%    CombiMatrix Corporation                                27.0%    Cepheid                                                17.9%
Laboratory Corporation of America Holdin             2.8%    Illumina, Inc.                                         23.3%    Bio-Reference Laboratories, Inc.                       14.4%
Quest Diagnostics Incorporated                       3.4%    QuidelOrtho Corporation                                22.0%    QuidelOrtho Corporation                                13.6%
Affymetrix Inc.                                      3.6%    Bio-Reference Laboratories, Inc.                       16.1%    Myriad Genetics, Inc.                                  12.4%
Alere Inc.                                           3.8%    Cepheid                                                15.8%    Laboratory Corporation of America Holdin               11.3%
Illumina, Inc.                                       6.6%    OraSure Technologies, Inc.                              8.9%    Abaxis, Inc.                                            9.2%
QuidelOrtho Corporation                              7.1%    Luminex Corporation                                     5.1%    OraSure Technologies, Inc.                              9.1%
Qiagen N.V.                                          7.3%    Quest Diagnostics Incorporated                          3.0%    Affymetrix Inc.                                         9.0%
Cepheid                                              7.4%    Affymetrix Inc.                                         2.8%    Trinity Biotech plc                                     7.5%
Genomic Health, Inc.                                 7.4%    Genomic Health, Inc.                                    2.2%    Genomic Health, Inc.                                    7.3%
Nanosphere, Inc.                                     8.2%    PerkinElmer, Inc.                                       1.9%    Luminex Corporation                                     6.5%
Trinity Biotech plc                                  8.3%    Enzo Biochem, Inc.                                      1.7%    PerkinElmer, Inc.                                       2.8%
Luminex Corporation                                  8.7%    Myriad Genetics, Inc.                                  -0.9%    Qiagen N.V.                                             1.3%
GenMark Diagnostics, Inc.                           13.6%    Trinity Biotech plc                                    -1.5%    Quest Diagnostics Incorporated                          0.7%
Theranos, Inc. (at 12/31/18)                        16.9%    Qiagen N.V.                                            -3.9%    Enzo Biochem, Inc.                                     -1.8%
                                                             Alere Inc.                                             -4.0%    Alere Inc.                                             -2.9%

                            Growth                                                       Profitability                                           Operational Efficiency
                  (Forward 1-year Growth Rate)                               (Historical EBITDA Margin 1-year)                                     (Return on Equity)
OPKO Health, Inc.                                  414.3%    Theranos, Inc. (at 12/31/18)                           45.3%    Myriad Genetics, Inc.                                   15.0%
CombiMatrix Corporation                             64.7%    Illumina, Inc.                                         35.8%    Bio-Reference Laboratories, Inc.                        14.8%
GenMark Diagnostics, Inc.                           46.3%    Qiagen N.V.                                            28.2%    Illumina, Inc.                                          14.3%
Nanosphere, Inc.                                    31.8%    Myriad Genetics, Inc.                                  26.2%    Abaxis, Inc.                                            11.4%
Theranos, Inc. (at 12/31/18)                        28.0%    Luminex Corporation                                    22.5%    Laboratory Corporation of America Holdin                 8.7%
Illumina, Inc.                                      20.4%    Alere Inc.                                             21.5%    Quest Diagnostics Incorporated                           8.6%
Cepheid                                             19.7%    Abaxis, Inc.                                           21.3%    Luminex Corporation                                      7.8%
Genomic Health, Inc.                                19.1%    Laboratory Corporation of America Holdin               20.3%    PerkinElmer, Inc.                                        5.0%
Laboratory Corporation of America Holdin            17.5%    Quest Diagnostics Incorporated                         19.3%    Affymetrix Inc.                                          4.2%
Trinity Biotech plc                                 13.5%    QuidelOrtho Corporation                                17.6%    Trinity Biotech plc                                      3.1%
Abaxis, Inc.                                        12.2%    Trinity Biotech plc                                    16.9%    Qiagen N.V.                                              3.0%
OraSure Technologies, Inc.                          12.0%    PerkinElmer, Inc.                                      15.7%    QuidelOrtho Corporation                                  2.6%
QuidelOrtho Corporation                              9.4%    Bio-Reference Laboratories, Inc.                       13.1%    Alere Inc.                                               2.4%
Qiagen N.V.                                          8.4%    Affymetrix Inc.                                        13.0%    OraSure Technologies, Inc.                               0.5%
Alere Inc.                                           6.8%    OraSure Technologies, Inc.                              6.2%    Theranos, Inc. (at 12/31/18)                             0.0%
Luminex Corporation                                  5.7%    Cepheid                                                 1.6%    Cepheid                                                 -2.4%
Myriad Genetics, Inc.                                5.7%    Genomic Health, Inc.                                   -8.8%    OPKO Health, Inc.                                       -3.5%
PerkinElmer, Inc.                                    5.0%    Enzo Biochem, Inc.                                     -9.1%    Genomic Health, Inc.                                   -14.2%
Affymetrix Inc.                                      4.7%    OPKO Health, Inc.                                     -26.8%    Enzo Biochem, Inc.                                     -18.2%
Quest Diagnostics Incorporated                       1.3%    CombiMatrix Corporation                               -62.3%    Exact Sciences Corporation                             -32.4%
                                                             GenMark Diagnostics, Inc.                            -106.6%    GenMark Diagnostics, Inc.                              -35.1%
                                                                                                                             CombiMatrix Corporation                                -47.1%
                                                                                                                             Nanosphere, Inc.                                       -68.6%
             Case 5:18-cr-00258-EJD                 Document 1645                 Filed 11/12/22            Page 106 of 156

US v. Elizabeth Holmes                                                                                                      Exhibit K.1
Valuation of Theranos, Inc.                                                                                    Adjusted Net Asset Value
As of October 15, 2015                                                                                              (thousands of USD)

                                                              12/31/2014
                                                              Unadjusted                 Adjustments                   Adjusted
Assets:
  Current Assets
      Current Operating Assets
         Cash & Equivalents                        [1]   $             465,933      $                30,986     $              496,919
         Accounts Receivable                                               -                                                       -
         Inventory                                                       2,383                          -                        2,383
         Other Current Assets                                           12,788                          -                       12,788
      Total Current Operating Assets                                   481,104                       30,986                    512,090
      Total Current Non-Operating Assets                                   -                            -                          -
  Total Current Assets                                                 481,104                       30,986                    512,090

   Total Fixed Assets - Net                                              53,366                         -                        53,366

   Other Assets
      Intangible Assets
          Goodwill                                                          -                          -                           -
          Other Intangible Assets                  [2]                      -                      703,330                     703,330
      Total Intangible Assets - Net                                         -                      703,330                     703,330
      Total Long Term Receivables                                        27,045                        -                        27,045
      Total Other Non-Current Assets                                        -                          -                           -
   Total Non Current Assets                                              27,045                    703,330                     730,375

Total Assets                                             $             561,515      $              734,316      $             1,295,831

Liabilities and Equity:

Liabilities
   Current Liabilities
         Current Operating Liabilities
            Accounts Payable                             $              16,633       $                    -     $                16,633
            Deferred Revenue                                               -                            -                           -
            Other Current Liabilities              [3]                 400,359                     (390,375)                      9,984
         Total Current Operating Liabilities                           416,992                     (390,375)                     26,617
         Total Current Debt Obligations                                    -                            -                           -
   Total Current Liabilities                                           416,992                     (390,375)                     26,617

   Non Current Liabilities
      Total Long Term Debt                                               40,805                         -                        40,805
      Other Non Current Liabilities
          Deferred Rent                                                    -                            -                          -
          Deferred Revenue, LT                                             -                            -                          -
          Customer Deposits                                            143,846                          -                      143,846
          Other Non-current liabilities                                 33,750                          -                       33,750
      Total Other Non Current Liabilities                              177,596                          -                      177,596
   Total Non Current Liabilities                                       218,401                          -                      218,401

Total Liabilities                                        $             635,393       $             (390,375)    $              245,018


Total Equity Value - Controlling, Marketable Basis                                                              $             1,050,813

Total Equity Value - Controlling, Marketable Basis (rounded)                                                    $             1,051,000

Notes:
[1] Add proceeds from 2015 capital raises of C-2 Preferred not on 12/31/14 balance sheet, minus pro-rated operating loss through
    10/15/15.
[2] Add value of technology and branding assets under cost to recreate method (Exhibit K.2).
[3] Adjust out "miscellaneous receipts" liability that represents proceeds received from 2014 capital raises, for which stock had not
    been issued yet.
                          Case 5:18-cr-00258-EJD                                                                        Document 1645                                                   Filed 11/12/22                                             Page 107 of 156

US v. Elizabeth Holmes                                                                                                                                                                                                                                                                                   Exhibit K.2
Valuation of Theranos, Inc.                                                                                                                                                                                                                                 Cost to Recreate Method - Technology and Branding Assets
As of October 15, 2015                                                                                                                                                                                                                                                                                        (USD)



                                                                                  Calendar Year 2009                                            Calendar Year 2010                                            Calendar Year 2011
                                                                                     Allocation to                                                 Allocation to                                                 Allocation to
                                                                                   Technology and                                                Technology and                                                Technology and
                                                               Total Cost [1]          Brand [2]       Allocated Cost       Total Cost [1]          Brand [2]        Allocated Cost         Total Cost [1]        Brand [2]        Allocated Cost
                    Functional Category
                   Salaries, Wages & SBC                   $        6,717,962           100%           $    6,717,962   $        7,485,029            100%           $    7,485,029      $      10,069,033          100%           $    10,069,033
                 Payroll Taxes & Processing                           483,606           100%                  483,606              568,593            100%                  568,593                784,642          100%                  784,642
                       Health Insurance                               417,083           100%                  417,083              493,526            100%                  493,526                767,508          100%                  767,508
                        Other benefits                                114,239           100%                  114,239              180,253            100%                  180,253                773,318          100%                  773,318
                     Sales Commissions                                    5,000           0%                      -                    -               0%                        -                     -             0%                        -
                                  Subtotal Employees       $        7,737,890                          $    7,732,890   $        8,727,402                           $    8,727,402      $      12,394,501                         $    12,394,501

                     Contractor Services                              488,192           100%                  488,192              518,786            100%                  518,786              1,637,549          100%                 1,637,549


                       Subtotal for All Labor Costs $               8,226,082                          $    8,221,082   $        9,246,188                           $    9,246,188     $       14,032,050                         $    14,032,050

                                          Facility Costs   $        2,145,779           99.9%          $    2,144,392   $        2,064,230           100.0%          $    2,064,230      $       2,724,300         100.0%          $     2,724,300
        R&D Materials, Parts, Biological Compounds                    935,138           100%                  935,138            3,786,184            100%                3,786,184              5,955,745          100%                 5,955,745
   Conf., Website, Market Studies, Trademark Costs                     58,925           100%                   58,925               75,422            100%                   75,422                 13,452          100%                   13,452
           Legal, Tax, Accounting Services - General                  120,697            50%                   60,349              284,605             50%                  142,303                339,165           50%                  169,583
                 Legal Regulatory and Patents Costs                   313,058           100%                  313,058              492,136            100%                  492,136              1,307,265          100%                 1,307,265
                              Legal Costs for Litigation                    -             0%                      -                    -               0%                        -                 665,695           0%                        -
        Expensed Equip., Software, and Maintenance                    148,010           100%                  148,010              226,101            100%                  226,101                620,302          100%                  620,302
         Dues, Subscriptions, Licenses and Supplies                    85,853           100%                   85,853              233,858            100%                  233,858                447,386          100%                  447,386
                                       Recruiting Costs               192,343           99.9%                 192,219              212,706           100.0%                 212,706                300,466         100.0%                 300,466
                                       Travel Expenses                226,711            50%                  113,355              154,949             50%                   77,474                396,822           50%                  198,411
         Interest (Income), Expense & Bank Charges                    109,143             0%                      -                 70,077             0%                        -                (132,632)          0%                        -
                          Supporting G&A Expenses                     274,158           99.9%                 273,981              361,955           100.0%                 361,955                455,201         100.0%                 455,201
                                  Relocation Expenses                  27,220             0%                      -                  6,272             0%                        -                  66,194           0%                        -
             Supplies for Manufacturing / Operations                  754,146           100%                  754,146              432,293            100%                  432,293                 77,829          100%                   77,829
                                               Inventory                    -           100%                                       (13,583)           100%                                          (5,337)         100%                    (5,337)
                                  Capital Expenditures                180,627           100%                  180,627            1,635,110            100%                1,635,110              3,042,848          100%                 3,042,848
                                            Other Costs                17,441             0%                      -                 17,845             0%                        -                  15,927           0%                        -
                         Subtotal for Indirect Costs $              5,589,248                          $    5,260,052   $       10,040,161                           $    9,739,772     $       16,290,629                         $    15,307,450


                                                                                         Yrs                                                           Yrs                                                           Yrs
             Inflation Adjusted Total Expenses [4]                 2.3%                  6.30          $   15,573,573           2.3%                   5.30          $   21,435,892             2.3%                 4.30          $    32,374,935



                                                                                  Calendar Year 2012                                            Calendar Year 2013                                            Calendar Year 2014                                          Calendar Year 2015
                                                                                     Allocation to                                                 Allocation to                                                 Allocation to                                             Allocation to
                                                                                   Technology and                                                Technology and                                                Technology and                                              Technology
                                                               Total Cost [1]          Brand [2]       Allocated Cost       Total Cost [1]          Brand [2]        Allocated Cost         Total Cost [1]        Brand [2]        Allocated Cost      Total Cost [1]     and Brand [2]            Allocated Cost
                    Functional Category
                   Salaries, Wages & SBC                   $       20,238,277           100%           $   20,238,277   $       29,829,686            100%           $   29,829,686      $      46,369,000          100%           $    46,369,000    $     64,272,000          88%                $    56,238,000
                 Payroll Taxes & Processing                         1,561,634           100%                1,561,634            2,246,298            100%                2,246,298              3,450,000          100%                 3,450,000           4,573,000          88%                      4,001,375
                       Health Insurance                             1,429,986           100%                1,429,986            2,161,519            100%                2,161,519                  3,325          100%                     3,325               4,800          88%                          4,200
                        Other benefits                              2,374,572           100%                2,374,572            3,255,991            100%                3,255,991              8,112,675          100%                 8,112,675          11,562,200          88%                     10,116,925
                     Sales Commissions                                      -             0%                      -                        78          0%                        -                 312,000           0%                        -               453,000          0%                             -
                                  Subtotal Employees       $       25,604,469                          $   25,604,469   $       37,493,572                           $   37,493,494      $      58,247,000                         $    57,935,000    $     80,865,000                             $    70,360,500

                     Contractor Services                            3,073,543           100%                3,073,543            5,372,096            100%                5,372,096              7,885,000          100%                 7,885,000           9,673,000          88%                      8,463,875


                       Subtotal for All Labor Costs $              28,678,011                          $   28,678,011   $       42,865,668                           $   42,865,590     $       66,132,000                         $    65,820,000    $     90,538,000                             $    78,824,375

                                          Facility Costs   $        7,375,665           100.0%         $    7,375,665   $        7,140,632           100.0%          $    7,140,617      $      16,776,000          99.5%          $    16,686,139    $     16,980,000         87.0%               $    14,774,269
        R&D Materials, Parts, Biological Compounds                 11,136,524           100%               11,136,524           10,069,736            100%               10,069,736             10,638,000          100%                10,638,000          13,621,000          88%                     11,918,375
   Conf., Website, Market Studies, Trademark Costs                  1,274,910           100%                1,274,910            7,684,778            100%                7,684,778              3,087,000          100%                 3,087,000           7,974,000          88%                      6,977,250
           Legal, Tax, Accounting Services - General                1,400,908            50%                  700,454              709,756             50%                  354,878              1,051,000           50%                  525,500           15,181,000          44%                      6,641,688
                 Legal Regulatory and Patents Costs                 1,750,963           100%                1,750,963            1,913,373            100%                1,913,373              2,199,000          100%                 2,199,000           5,612,000          88%                      4,910,500
                              Legal Costs for Litigation            1,829,174             0%                      -              6,197,019             0%                        -               3,899,000           0%                        -             4,872,000          0%                             -
        Expensed Equip., Software, and Maintenance                  1,084,748           100%                1,084,748            1,657,745            100%                1,657,745              1,792,000          100%                 1,792,000           2,691,000          88%                      2,354,625
         Dues, Subscriptions, Licenses and Supplies                 1,211,873           100%                1,211,873            1,522,924            100%                1,522,924              3,583,000          100%                 3,583,000           4,508,000          88%                      3,944,500
                                       Recruiting Costs               796,875           100.0%                796,875              552,947           100.0%                 552,946              1,147,000          99.5%                1,140,856           1,337,000         87.0%                     1,163,321
                                       Travel Expenses                267,524            50%                  133,762              787,042             50%                  393,521              1,170,000           50%                  585,000            3,004,000          44%                      1,314,250
         Interest (Income), Expense & Bank Charges                    143,830             0%                      -                382,053             0%                        -                 (27,000)          0%                        -            (1,336,000)         0%                             -
                          Supporting G&A Expenses                     934,674           100.0%                934,674            1,185,138           100.0%               1,185,135              2,335,000          99.5%                2,322,493           3,041,000         87.0%                     2,645,969
                                  Relocation Expenses                  65,756             0%                      -                 24,763             0%                        -                  43,000           0%                        -               162,000          0%                             -
             Supplies for Manufacturing / Operations                  855,721           100%                  855,721            1,574,094            100%                1,574,094              1,952,000          100%                 1,952,000           2,286,000          88%                      2,000,250
                                               Inventory            6,865,924           100%                6,865,924            1,742,894            100%                1,742,894              1,145,000          100%                 1,145,000           1,959,000          88%                      1,714,125
                                  Capital Expenditures             17,572,491           100%               17,572,491            8,884,769            100%                8,884,769             38,594,066          100%                38,594,066          21,598,615          88%                     18,898,788
                                            Other Costs                90,432             0%                      -                (44,941)            0%                        -                  30,000           0%                        -               294,000          0%                             -
                         Subtotal for Indirect Costs $             54,657,993                          $   51,694,585   $       51,984,722                           $   44,677,410     $       89,414,066                         $    84,250,054    $ 103,784,615                                $    79,257,911


                                                                                         Yrs                                                           Yrs                                                           Yrs                                                        Yrs
             Inflation Adjusted Total Expenses [3]                 2.3%                  3.29          $   86,673,058           2.3%                   2.29          $   92,266,644             2.3%                 1.29          $   154,583,995           2.3%               0.39               $ 159,518,037


                                                                                                                                                                                                                                               2004-2006 Expenses, Inflation Adjusted [4]          $    24,677,830
                                                                                                                                                                                                                                                    2007 Expenses, Inflation Adjusted [5]               21,044,667
                                                                                                                                                                                                                                                    2008 Expenses, Inflation Adjusted [5]               15,785,077
                                                                                                                                                                                                                                                 2009-2015 Expenses, Inflation Adjusted                562,426,134

                                                                                                                                                                                                                                           Total Direct and Indirect Development Costs             $ 623,933,708

                                                                                                                                                                                                                                                             Obsolescence Adjustment [6]     2%        (12,338,915)

                                                                                                                                                                                                                                                                           Subtotal Cost           $ 611,594,793

                                                                                                                                                                                                                                                           Add Developer Profit Margin [7]   15%        91,739,219


                                                                                                                                                                                                                                                          Total Pretax Development Cost            $ 703,334,012

                                                                                                                                                                                                                                             Total Pretax Development Cost (Rounded)               $ 703,330,000


Notes
 [1]    Per company prepared trial balances
 [2]    Allocations based on relevance of costs to developing Theranos technology and branding assets. 2015 adjusted for partial year.
 [3]    Adjust allocated expenses for average annual inflation of 2.3% over historical period
 [4]    2004 - 2006 expenses based on retained earnings deficit at 12/31/07 less operating loss reported for calendar year 2007. Expenses are adjusted for inflation of 2.3% from midpoint of period to valuation date.
 [5]    2007 - 2008 expenses based on audited financial statements. Excludes financing costs and interest income. Expenses are adjusted for inflation of 2.3% from midpoint of each period to valuation date.
 [6]    Adjusted for estimated 50% of historical development efforts between 2004-2006 that represent obsolete technology on valuation date.
 [7]    Developer margin based on median EBIT margin of peer group of firms in Exhibit J.2.
                                              Case 5:18-cr-00258-EJD                              Document 1645                         Filed 11/12/22                    Page 108 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                     Exhibit L.1
Valuation of Theranos, Inc.                                                                                                                                                                                       NAV Equity Allocation 2/7/14 - Step 1
As of February 7, 2014                                                                                                                                                                                                                           (USD)

Break Point Calculation                                                                          $0.015                $0.030                   $0.066              $0.072                 $0.094                 $0.170                 $0.206

                                                                                                                                                               $0.072 Warrants /
                                  Number of      Series C, C-1, C-2   Series A, B Liq.       $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
        Share Class                Shares         Liq. Preference       Preference              Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Preferred Share Classes
   Series A @ $0.150                46,320,045   $            -       $     6,948,007    $         7,642,807    $        9,032,409      $        12,089,532    $     15,424,575    $        19,778,659    $        27,653,067    $        37,194,996
   Series B @ $0.1846               54,162,965                -            10,000,000             10,812,444            12,437,333               16,012,089          19,911,822             25,003,141             34,210,845             45,368,416
   Series C @ $0.564                58,896,105         33,217,403          33,217,403             34,100,845            35,867,728               39,754,871          43,995,390             49,531,624             59,543,962             71,676,560
   Series C-1 @ $3.00               25,175,001         75,525,003          75,525,003             75,902,628            76,657,878               78,319,428          80,132,028             82,498,478             86,778,228             91,964,279
   Series C-1 @ $15.00               7,500,032        112,500,480         112,500,480            112,612,980           112,837,981              113,332,984         113,872,986            114,577,989            115,852,994            117,398,001
   Series C-2 @ $17.00               9,669,998        164,389,966         164,389,966            164,535,016           164,825,116              165,463,336         166,159,576            167,068,555            168,712,455            170,704,475

Warrants on Common
  Exercise Price @ $0.072             741,665                  -                   -                      -                       -                      -                   -                  16,317                 72,683                 99,383

Common                             302,640,465                 -                   -               4,539,607             9,079,214               19,974,271          21,790,113             28,448,204             51,448,879             62,343,936
Options on Common
  Exercise Price @ $0.015              350,000                 -                   -                      -                     5,250                17,850              19,950                 27,650                 54,250                 66,850
  Exercise Price @ $0.030            1,227,125                 -                   -                      -                       -                  44,177              51,539                 78,536                171,798                215,974
  Exercise Price @ $0.066              552,500                 -                   -                      -                       -                     -                 3,315                 15,470                 57,460                 77,350
  Exercise Price @ $0.072            3,092,715                 -                   -                      -                       -                     -                   -                   68,040                303,086                414,424
  Exercise Price @ $0.094              312,500                 -                   -                      -                       -                     -                   -                      -                   23,750                 35,000
  Exercise Price @ $0.170            3,990,167                 -                   -                      -                       -                     -                   -                      -                      -                  143,646
  Exercise Price @ $0.206              703,195                 -                   -                      -                       -                     -                   -                      -                      -                      -
                                   515,334,478         385,632,852         402,580,859           410,146,328           420,742,909              445,008,536         461,361,295            487,112,663            544,883,458            597,703,289

                                                                                                                                                               $0.072 Warrants /
                                                 Series C, C-1, C-2   Series A, B Liq.       $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
                                                  Liq. Preference       Preference              Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Inputs
   Stock Price Now            $   378,000,000    $    378,000,000     $   378,000,000    $       378,000,000    $      378,000,000      $       378,000,000    $    378,000,000    $       378,000,000    $       378,000,000    $       378,000,000
   Volatility                           55.0%               55.0%               55.0%                  55.0%                 55.0%                    55.0%               55.0%                  55.0%                  55.0%                  55.0%
   Riskfree Rate - Annual               1.07%               1.07%               1.07%                  1.07%                 1.07%                    1.07%               1.07%                  1.07%                  1.07%                  1.07%
   Exercise Price             $          0.00    $    385,632,852     $   402,580,859    $       410,146,328    $      420,742,909      $       445,008,536    $    461,361,295    $       487,112,663    $       544,883,458    $       597,703,289
   Time To Maturity - Years              4.00                4.00                4.00                   4.00                  4.00                     4.00                4.00                   4.00                   4.00                   4.00

Outputs
  d1                                    37.38                0.57                0.53                   0.51                  0.49                     0.44                0.41                   0.36                   0.26                   0.17
  d2                                    36.28               (0.53)              (0.57)                 (0.59)                (0.61)                   (0.66)              (0.69)                 (0.74)                 (0.84)                 (0.93)
  N(d1)                                  1.000               0.716               0.702                  0.697                 0.688                    0.670               0.658                  0.640                  0.601                  0.568
  N(d2)                                  1.000               0.298               0.285                  0.279                 0.271                    0.255               0.244                  0.229                  0.199                  0.177
  Call Price (Vc)             $   378,000,000    $    160,373,387     $   155,639,607    $       153,595,412    $      150,800,657      $       144,686,429    $    140,776,792    $       134,938,116    $       123,102,911    $       113,598,649

   -d1                                 -37.383              -0.571              -0.531                 -0.515                -0.491                   -0.440              -0.408                 -0.358                 -0.256                 -0.172
   -d2                                 -36.283               0.529               0.569                  0.585                 0.609                    0.660               0.692                  0.742                  0.844                  0.928
   N(-d1)                                0.000               0.284               0.298                  0.303                 0.312                    0.330               0.342                  0.360                  0.399                  0.432
   N(-d2)                                0.000               0.702               0.715                  0.721                 0.729                    0.745               0.756                  0.771                  0.801                  0.823
   Put Price (Pp)             $             0    $    151,923,279     $   163,430,682    $       168,636,436    $      175,996,328      $       193,135,721    $    204,896,844    $       223,735,566    $       267,261,803    $       308,374,502

Fair Market Value             $   378,000,000    $    160,373,387     $   155,639,607    $       153,595,412    $      150,800,657      $       144,686,429    $    140,776,792    $       134,938,116    $       123,102,911    $       113,598,649
                          Case 5:18-cr-00258-EJD                                         Document 1645                                Filed 11/12/22                         Page 109 of 156
US v. Elizabeth Holmes                                                                                                                                                                                                   Exhibit L.2
Valuation of Theranos, Inc.                                                                                                                                                                     NAV Equity Allocation 2/7/14 - Step 2
As of February 7, 2014                                                                                                                                                                                                         (USD)

                                                                                                                                  $0.072 Warrants /
                              Series C, C-1, C-2    Series A, B Liq.    $0.015 Options       $0.03 Options      $0.066 Options       Options on        $0.094 Options     $0.170 Options     $0.206 Options        All Classes
                               Liq. Preference        Preference           Exercise            Exercise            Exercise         Common Ex.            Exercise           Exercise           Exercise           Participate
High call option              $     378,000,000    $    160,373,387    $    155,639,607    $     153,595,412   $    150,800,657   $    144,686,429    $    140,776,792   $    134,938,116   $    123,102,911     $   113,598,649
Less low call option                160,373,387         155,639,607         153,595,412          150,800,657        144,686,429        140,776,792         134,938,116        123,102,911        113,598,649                  -
Total Value to Allocate       $     217,626,613    $       4,733,780   $      2,044,195    $       2,794,755   $      6,114,228   $      3,909,638    $      5,838,675   $     11,835,205   $      9,504,262     $   113,598,649

Preferred Share Classes
    Series A @ $0.150                      -               6,948,007          46,320,045         46,320,045          46,320,045         46,320,045          46,320,045         46,320,045         46,320,045            46,320,045
    Series B @ $0.1846                     -              10,000,000          54,162,965         54,162,965          54,162,965         54,162,965          54,162,965         54,162,965         54,162,965            54,162,965
    Series C @ $0.564               33,217,403                   -            58,896,105         58,896,105          58,896,105         58,896,105          58,896,105         58,896,105         58,896,105            58,896,105
    Series C-1 @ $3.00              75,525,003                   -            25,175,001         25,175,001          25,175,001         25,175,001          25,175,001         25,175,001         25,175,001            25,175,001
    Series C-1 @ $15.00            112,500,480                   -             7,500,032          7,500,032           7,500,032          7,500,032           7,500,032          7,500,032          7,500,032             7,500,032
    Series C-2 @ $17.00            164,389,966                   -             9,669,998          9,669,998           9,669,998          9,669,998           9,669,998          9,669,998          9,669,998             9,669,998
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -              741,665            741,665             741,665               741,665

Common                                      -                    -           302,640,465        302,640,465        302,640,465         302,640,465        302,640,465        302,640,465         302,640,465           302,640,465
Options on Common
    Exercise Price @ $0.015                -                     -                   -              350,000            350,000             350,000            350,000            350,000             350,000              350,000
    Exercise Price @ $0.030                -                     -                   -                  -            1,227,125           1,227,125          1,227,125          1,227,125           1,227,125            1,227,125
    Exercise Price @ $0.066                -                     -                   -                  -                  -               552,500            552,500            552,500             552,500              552,500
    Exercise Price @ $0.072                -                     -                   -                  -                  -                   -            3,092,715          3,092,715           3,092,715            3,092,715
    Exercise Price @ $0.094                -                     -                   -                  -                  -                   -                  -              312,500             312,500              312,500
    Exercise Price @ $0.170                -                     -                   -                  -                  -                   -                  -                  -             3,990,167            3,990,167
    Exercise Price @ $0.206                -                     -                   -                  -                  -                   -                  -                  -                   -                703,195
                                   385,632,852            16,948,007         504,364,611        504,714,611        505,941,736         506,494,236        510,328,616        510,641,116         514,631,283          515,334,478
Distribution Percentage
Preferred Share Classes
    Series A @ $0.150                      0.0%                41.0%                9.2%               9.2%                9.2%               9.1%                9.1%               9.1%                9.0%                 9.0%
    Series B @ $0.1846                     0.0%                59.0%               10.7%              10.7%               10.7%              10.7%               10.6%              10.6%               10.5%                10.5%
    Series C @ $0.564                      8.6%                 0.0%               11.7%              11.7%               11.6%              11.6%               11.5%              11.5%               11.4%                11.4%
    Series C-1 @ $3.00                    19.6%                 0.0%                5.0%               5.0%                5.0%               5.0%                4.9%               4.9%                4.9%                 4.9%
    Series C-1 @ $15.00                   29.2%                 0.0%                1.5%               1.5%                1.5%               1.5%                1.5%               1.5%                1.5%                 1.5%
    Series C-2 @ $17.00                   42.6%                 0.0%                1.9%               1.9%                1.9%               1.9%                1.9%               1.9%                1.9%                 1.9%
Warrants on Common
   Exercise Price @ $0.072                 0.0%                 0.0%                0.0%               0.0%                0.0%               0.0%                0.1%               0.1%                0.1%                  0.1%
Common                                     0.0%                 0.0%               60.0%              60.0%               59.8%              59.8%               59.3%              59.3%               58.8%                58.7%
Options on Common
    Exercise Price @ $0.015                0.0%                 0.0%               0.0%                0.1%               0.1%                0.1%               0.1%               0.1%                 0.1%                 0.1%
    Exercise Price @ $0.030                0.0%                 0.0%               0.0%                0.0%               0.2%                0.2%               0.2%               0.2%                 0.2%                 0.2%
    Exercise Price @ $0.066                0.0%                 0.0%               0.0%                0.0%               0.0%                0.1%               0.1%               0.1%                 0.1%                 0.1%
    Exercise Price @ $0.072                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.6%               0.6%                 0.6%                 0.6%
    Exercise Price @ $0.094                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.1%                 0.1%                 0.1%
    Exercise Price @ $0.170                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%                 0.8%                 0.8%
    Exercise Price @ $0.206                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%                 0.0%                 0.1%
                                         100.0%               100.0%             100.0%              100.0%             100.0%              100.0%             100.0%             100.0%               100.0%               100.0%
Allocation of Value
Preferred Share Classes
    Series A @ $0.150         $            -       $       1,940,661   $        187,736    $        256,488    $       559,771    $        357,545    $       529,948    $      1,073,567   $        855,443     $      10,210,639
    Series B @ $0.1846                     -               2,793,119            219,523             299,916            654,551             418,085            619,679           1,255,343          1,000,287            11,939,507
    Series C @ $0.564               18,745,786                   -              238,706             326,125            711,750             454,620            673,831           1,365,044          1,087,699            12,982,865
    Series C-1 @ $3.00              42,621,500                   -              102,035             139,401            304,236             194,326            288,027             583,485            464,934             5,549,495
    Series C-1 @ $15.00             63,488,104                   -               30,398              41,530             90,637              57,893             85,808             173,829            138,511             1,653,283
    Series C-2 @ $17.00             92,771,224                   -               39,193              53,546            116,860              74,643            110,635             224,123            178,586             2,131,623
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -                 8,485            17,190               13,697              163,490
Common                                      -                    -             1,226,605          1,675,810           3,657,363          2,336,087           3,462,513          7,014,343          5,589,195            66,713,075
Options on Common
    Exercise Price @ $0.015                -                     -                   -                1,938               4,230              2,702               4,004              8,112              6,464               77,153
    Exercise Price @ $0.030                -                     -                   -                  -                14,830              9,472              14,040             28,441             22,663              270,503
    Exercise Price @ $0.066                -                     -                   -                  -                   -                4,265               6,321             12,805             10,204              121,791
    Exercise Price @ $0.072                -                     -                   -                  -                   -                  -                35,384             71,680             57,117              681,748
    Exercise Price @ $0.094                -                     -                   -                  -                   -                  -                   -                7,243              5,771               68,886
    Exercise Price @ $0.170                -                     -                   -                  -                   -                  -                   -                  -               73,691              879,579
    Exercise Price @ $0.206                -                     -                   -                  -                   -                  -                   -                  -                  -                155,010
                              $    217,626,613     $       4,733,780   $       2,044,195   $      2,794,755    $      6,114,228   $      3,909,638    $      5,838,675   $     11,835,205   $      9,504,262     $    113,598,649

                                                                            Per Share
          Share Class         Number of Shares         Total Value         Marketable
Preferred Share Classes
   Series A @ $0.150                46,320,045     $      15,971,798   $            0.34
   Series B @ $0.1846               54,162,965            19,200,011                0.35
   Series C @ $0.564                58,896,105            36,586,427                0.62
   Series C-1 @ $3.00               25,175,001            50,247,440                2.00
   Series C-1 @ $15.00               7,500,032            65,759,992                8.77
   Series C-2 @ $17.00               9,669,998     $      95,700,432   $            9.90
Warrants on Common
   Exercise Price @ $0.072             741,665               202,862                0.27
                                              Case 5:18-cr-00258-EJD                              Document 1645                         Filed 11/12/22                    Page 110 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                     Exhibit M.1
Valuation of Theranos, Inc.                                                                                                                                                                                       DCF Equity Allocation 2/7/14 - Step 1
As of February 7, 2014                                                                                                                                                                                                                           (USD)

Break Point Calculation                                                                          $0.015                $0.030                   $0.066              $0.072                 $0.094                 $0.170                 $0.206

                                                                                                                                                               $0.072 Warrants /
                                  Number of      Series C, C-1, C-2   Series A, B Liq.       $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
        Share Class                Shares         Liq. Preference       Preference              Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Preferred Share Classes
   Series A @ $0.150                46,320,045   $            -       $     6,948,007    $         7,642,807    $        9,032,409      $        12,089,532    $     15,424,575    $        19,778,659    $        27,653,067    $        37,194,996
   Series B @ $0.1846               54,162,965                -            10,000,000             10,812,444            12,437,333               16,012,089          19,911,822             25,003,141             34,210,845             45,368,416
   Series C @ $0.564                58,896,105         33,217,403          33,217,403             34,100,845            35,867,728               39,754,871          43,995,390             49,531,624             59,543,962             71,676,560
   Series C-1 @ $3.00               25,175,001         75,525,003          75,525,003             75,902,628            76,657,878               78,319,428          80,132,028             82,498,478             86,778,228             91,964,279
   Series C-1 @ $15.00               7,500,032        112,500,480         112,500,480            112,612,980           112,837,981              113,332,984         113,872,986            114,577,989            115,852,994            117,398,001
   Series C-2 @ $17.00               9,669,998        164,389,966         164,389,966            164,535,016           164,825,116              165,463,336         166,159,576            167,068,555            168,712,455            170,704,475

Warrants on Common
  Exercise Price @ $0.072             741,665                  -                   -                      -                       -                      -                   -                  16,317                 72,683                 99,383

Common                             302,640,465                 -                   -               4,539,607             9,079,214               19,974,271          21,790,113             28,448,204             51,448,879             62,343,936
Options on Common
  Exercise Price @ $0.015              350,000                 -                   -                      -                     5,250                17,850              19,950                 27,650                 54,250                 66,850
  Exercise Price @ $0.030            1,227,125                 -                   -                      -                       -                  44,177              51,539                 78,536                171,798                215,974
  Exercise Price @ $0.066              552,500                 -                   -                      -                       -                     -                 3,315                 15,470                 57,460                 77,350
  Exercise Price @ $0.072            3,092,715                 -                   -                      -                       -                     -                   -                   68,040                303,086                414,424
  Exercise Price @ $0.094              312,500                 -                   -                      -                       -                     -                   -                      -                   23,750                 35,000
  Exercise Price @ $0.170            3,990,167                 -                   -                      -                       -                     -                   -                      -                      -                  143,646
  Exercise Price @ $0.206              703,195                 -                   -                      -                       -                     -                   -                      -                      -                      -
                                   515,334,478         385,632,852         402,580,859           410,146,328           420,742,909              445,008,536         461,361,295            487,112,663            544,883,458            597,703,289

                                                                                                                                                               $0.072 Warrants /
                                                 Series C, C-1, C-2   Series A, B Liq.       $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
                                                  Liq. Preference       Preference              Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Inputs
   Stock Price Now            $   431,000,000    $    431,000,000     $   431,000,000    $       431,000,000    $      431,000,000      $       431,000,000    $    431,000,000    $       431,000,000    $       431,000,000    $       431,000,000
   Volatility                           55.0%               55.0%               55.0%                  55.0%                 55.0%                    55.0%               55.0%                  55.0%                  55.0%                  55.0%
   Riskfree Rate - Annual               1.07%               1.07%               1.07%                  1.07%                 1.07%                    1.07%               1.07%                  1.07%                  1.07%                  1.07%
   Exercise Price             $          0.00    $    385,632,852     $   402,580,859    $       410,146,328    $      420,742,909      $       445,008,536    $    461,361,295    $       487,112,663    $       544,883,458    $       597,703,289
   Time To Maturity - Years              4.00                4.00                4.00                   4.00                  4.00                     4.00                4.00                   4.00                   4.00                   4.00

Outputs
  d1                                    37.50                0.69                0.65                   0.63                  0.61                     0.56                0.53                   0.48                   0.38                   0.29
  d2                                    36.40               (0.41)              (0.45)                 (0.47)                (0.49)                   (0.54)              (0.57)                 (0.62)                 (0.72)                 (0.81)
  N(d1)                                  1.000               0.755               0.742                  0.737                 0.729                    0.712               0.701                  0.683                  0.646                  0.615
  N(d2)                                  1.000               0.341               0.327                  0.321                 0.312                    0.294               0.283                  0.267                  0.234                  0.209
  Call Price (Vc)             $   431,000,000    $    199,382,497     $   193,963,436    $       191,617,587    $      188,404,768      $       181,352,863    $    176,826,793    $       170,042,554    $       156,196,002    $       144,980,775

   -d1                                 -37.502              -0.690              -0.651                 -0.634                -0.611                   -0.560              -0.527                 -0.477                 -0.376                 -0.291
   -d2                                 -36.402               0.410               0.449                  0.466                 0.489                    0.540               0.573                  0.623                  0.724                  0.809
   N(-d1)                                0.000               0.245               0.258                  0.263                 0.271                    0.288               0.299                  0.317                  0.354                  0.385
   N(-d2)                                0.000               0.659               0.673                  0.679                 0.688                    0.706               0.717                  0.733                  0.766                  0.791
   Put Price (Pp)             $             0    $    137,932,389     $   148,754,512    $       153,658,611    $      160,600,439      $       176,802,154    $    187,946,845    $       205,840,004    $       247,354,895    $       286,756,628

Fair Market Value             $   431,000,000    $    199,382,497     $   193,963,436    $       191,617,587    $      188,404,768      $       181,352,863    $    176,826,793    $       170,042,554    $       156,196,002    $       144,980,775
                          Case 5:18-cr-00258-EJD                                         Document 1645                                Filed 11/12/22                         Page 111 of 156
US v. Elizabeth Holmes                                                                                                                                                                                                   Exhibit M.2
Valuation of Theranos, Inc.                                                                                                                                                                     DCF Equity Allocation 2/7/14 - Step 2
As of February 7, 2014                                                                                                                                                                                                         (USD)

                                                                                                                                  $0.072 Warrants /
                              Series C, C-1, C-2    Series A, B Liq.    $0.015 Options       $0.03 Options      $0.066 Options       Options on        $0.094 Options     $0.170 Options     $0.206 Options        All Classes
                               Liq. Preference        Preference           Exercise            Exercise            Exercise         Common Ex.            Exercise           Exercise           Exercise           Participate
High call option              $     431,000,000    $    199,382,497    $    193,963,436    $     191,617,587   $    188,404,768   $    181,352,863    $    176,826,793   $    170,042,554   $    156,196,002     $   144,980,775
Less low call option                199,382,497         193,963,436         191,617,587          188,404,768        181,352,863        176,826,793         170,042,554        156,196,002        144,980,775                  -
Total Value to Allocate       $     231,617,503    $       5,419,061   $      2,345,849    $       3,212,819   $      7,051,905   $      4,526,070    $      6,784,239   $     13,846,551   $     11,215,227     $   144,980,775

Preferred Share Classes
    Series A @ $0.150                      -               6,948,007          46,320,045         46,320,045          46,320,045         46,320,045          46,320,045         46,320,045         46,320,045            46,320,045
    Series B @ $0.1846                     -              10,000,000          54,162,965         54,162,965          54,162,965         54,162,965          54,162,965         54,162,965         54,162,965            54,162,965
    Series C @ $0.564               33,217,403                   -            58,896,105         58,896,105          58,896,105         58,896,105          58,896,105         58,896,105         58,896,105            58,896,105
    Series C-1 @ $3.00              75,525,003                   -            25,175,001         25,175,001          25,175,001         25,175,001          25,175,001         25,175,001         25,175,001            25,175,001
    Series C-1 @ $15.00            112,500,480                   -             7,500,032          7,500,032           7,500,032          7,500,032           7,500,032          7,500,032          7,500,032             7,500,032
    Series C-2 @ $17.00            164,389,966                   -             9,669,998          9,669,998           9,669,998          9,669,998           9,669,998          9,669,998          9,669,998             9,669,998
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -              741,665            741,665             741,665               741,665

Common                                      -                    -           302,640,465        302,640,465        302,640,465         302,640,465        302,640,465        302,640,465         302,640,465           302,640,465
Options on Common
    Exercise Price @ $0.015                -                     -                   -              350,000            350,000             350,000            350,000            350,000             350,000              350,000
    Exercise Price @ $0.030                -                     -                   -                  -            1,227,125           1,227,125          1,227,125          1,227,125           1,227,125            1,227,125
    Exercise Price @ $0.066                -                     -                   -                  -                  -               552,500            552,500            552,500             552,500              552,500
    Exercise Price @ $0.072                -                     -                   -                  -                  -                   -            3,092,715          3,092,715           3,092,715            3,092,715
    Exercise Price @ $0.094                -                     -                   -                  -                  -                   -                  -              312,500             312,500              312,500
    Exercise Price @ $0.170                -                     -                   -                  -                  -                   -                  -                  -             3,990,167            3,990,167
    Exercise Price @ $0.206                -                     -                   -                  -                  -                   -                  -                  -                   -                703,195
                                   385,632,852            16,948,007         504,364,611        504,714,611        505,941,736         506,494,236        510,328,616        510,641,116         514,631,283          515,334,478
Distribution Percentage
Preferred Share Classes
    Series A @ $0.150                      0.0%                41.0%                9.2%               9.2%                9.2%               9.1%                9.1%               9.1%                9.0%                 9.0%
    Series B @ $0.1846                     0.0%                59.0%               10.7%              10.7%               10.7%              10.7%               10.6%              10.6%               10.5%                10.5%
    Series C @ $0.564                      8.6%                 0.0%               11.7%              11.7%               11.6%              11.6%               11.5%              11.5%               11.4%                11.4%
    Series C-1 @ $3.00                    19.6%                 0.0%                5.0%               5.0%                5.0%               5.0%                4.9%               4.9%                4.9%                 4.9%
    Series C-1 @ $15.00                   29.2%                 0.0%                1.5%               1.5%                1.5%               1.5%                1.5%               1.5%                1.5%                 1.5%
    Series C-2 @ $17.00                   42.6%                 0.0%                1.9%               1.9%                1.9%               1.9%                1.9%               1.9%                1.9%                 1.9%
Warrants on Common
   Exercise Price @ $0.072                 0.0%                 0.0%                0.0%               0.0%                0.0%               0.0%                0.1%               0.1%                0.1%                  0.1%
Common                                     0.0%                 0.0%               60.0%              60.0%               59.8%              59.8%               59.3%              59.3%               58.8%                58.7%
Options on Common
    Exercise Price @ $0.015                0.0%                 0.0%               0.0%                0.1%               0.1%                0.1%               0.1%               0.1%                 0.1%                 0.1%
    Exercise Price @ $0.030                0.0%                 0.0%               0.0%                0.0%               0.2%                0.2%               0.2%               0.2%                 0.2%                 0.2%
    Exercise Price @ $0.066                0.0%                 0.0%               0.0%                0.0%               0.0%                0.1%               0.1%               0.1%                 0.1%                 0.1%
    Exercise Price @ $0.072                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.6%               0.6%                 0.6%                 0.6%
    Exercise Price @ $0.094                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.1%                 0.1%                 0.1%
    Exercise Price @ $0.170                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%                 0.8%                 0.8%
    Exercise Price @ $0.206                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%                 0.0%                 0.1%
                                         100.0%               100.0%             100.0%              100.0%             100.0%              100.0%             100.0%             100.0%               100.0%               100.0%
Allocation of Value
Preferred Share Classes
    Series A @ $0.150         $            -       $       2,221,599   $        215,439    $        294,856    $       645,617    $        413,919    $       615,772    $      1,256,015   $      1,009,441     $      13,031,373
    Series B @ $0.1846                     -               3,197,462            251,917             344,781            754,933             484,004            720,035           1,468,684          1,180,360            15,237,848
    Series C @ $0.564               19,950,925                   -              273,932             374,910            820,904             526,300            782,957           1,597,028          1,283,508            16,569,439
    Series C-1 @ $3.00              45,361,572                   -              117,091             160,254            350,894             224,966            334,673             682,646            548,632             7,082,567
    Series C-1 @ $15.00             67,569,659                   -               34,883              47,742            104,537              67,021             99,704             203,371            163,446             2,110,009
    Series C-2 @ $17.00             98,735,347                   -               44,976              61,555            134,782              86,412            128,552             262,212            210,736             2,720,493
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -                 9,860            20,111               16,163              208,655
Common                                      -                    -             1,407,611          1,926,493           4,218,256          2,704,418           4,023,261          8,206,403          6,595,366            85,142,856
Options on Common
    Exercise Price @ $0.015                -                     -                   -                2,228               4,878              3,128               4,653              9,491              7,627               98,467
    Exercise Price @ $0.030                -                     -                   -                  -                17,104             10,966              16,313             33,275             26,742              345,231
    Exercise Price @ $0.066                -                     -                   -                  -                   -                4,937               7,345             14,982             12,040              155,437
    Exercise Price @ $0.072                -                     -                   -                  -                   -                  -                41,114             83,862             67,399              870,084
    Exercise Price @ $0.094                -                     -                   -                  -                   -                  -                   -                8,474              6,810               87,917
    Exercise Price @ $0.170                -                     -                   -                  -                   -                  -                   -                  -               86,957            1,122,567
    Exercise Price @ $0.206                -                     -                   -                  -                   -                  -                   -                  -                  -                197,832
                              $    231,617,503     $       5,419,061   $       2,345,849   $      3,212,819    $      7,051,905   $      4,526,070    $      6,784,239   $     13,846,551   $     11,215,227     $    144,980,775

                                                                            Per Share
          Share Class         Number of Shares         Total Value         Marketable
Preferred Share Classes
   Series A @ $0.150                46,320,045     $      19,704,031   $            0.43
   Series B @ $0.1846               54,162,965            23,640,024                0.44
   Series C @ $0.564                58,896,105            42,179,901                0.72
   Series C-1 @ $3.00               25,175,001            54,863,296                2.18
   Series C-1 @ $15.00               7,500,032            70,400,373                9.39
   Series C-2 @ $17.00               9,669,998     $     102,385,064   $           10.59
Warrants on Common
   Exercise Price @ $0.072             741,665               254,789                0.34
                                              Case 5:18-cr-00258-EJD                              Document 1645                         Filed 11/12/22                    Page 112 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                     Exhibit N.1
Valuation of Theranos, Inc.                                                                                                                                                                                     NAV Equity Allocation 12/31/14 - Step 1
As of December 31, 2014                                                                                                                                                                                                                          (USD)

Break Point Calculation                                                                          $0.015                $0.030                   $0.066              $0.072                 $0.094                 $0.170                 $0.206

                                                                                                                                                               $0.072 Warrants /
                                  Number of      Series C, C-1, C-2   Series A, B Liq.       $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
        Share Class                Shares         Liq. Preference       Preference              Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Preferred Share Classes
   Series A @ $0.150                46,320,045   $            -       $     6,948,007    $         7,642,807    $        9,032,409      $        12,089,532    $     15,424,575    $        19,778,659    $        27,653,067    $        37,194,996
   Series B @ $0.1846               54,134,965                -             9,994,830             10,806,855            12,430,904               16,003,811          19,901,529             24,990,216             34,193,160             45,344,962
   Series C @ $0.564                58,896,105         33,217,403          33,217,403             34,100,845            35,867,728               39,754,871          43,995,390             49,531,624             59,543,962             71,676,560
   Series C-1 @ $3.00               25,175,001         75,525,003          75,525,003             75,902,628            76,657,878               78,319,428          80,132,028             82,498,478             86,778,228             91,964,279
   Series C-1 @ $15.00               7,500,032        112,500,480         112,500,480            112,612,980           112,837,981              113,332,984         113,872,986            114,577,989            115,852,994            117,398,001
   Series C-2 @ $17.00              32,808,227        557,739,859         557,739,859            558,231,982           559,216,229              561,381,572         563,743,765            566,827,738            572,405,136            579,163,631

Warrants on Common
  Exercise Price @ $0.072             741,665                  -                   -                      -                       -                      -                   -                  16,317                 72,683                 99,383

Common                             302,965,725                 -                   -               4,544,486             9,088,972               19,995,738          21,813,532             28,478,778             51,504,173             62,410,939
Options on Common
  Exercise Price @ $0.015              350,000                 -                   -                      -                     5,250                17,850              19,950                 27,650                 54,250                 66,850
  Exercise Price @ $0.030            1,170,875                 -                   -                      -                       -                  42,152              49,177                 74,936                163,923                206,074
  Exercise Price @ $0.066              547,500                 -                   -                      -                       -                     -                 3,285                 15,330                 56,940                 76,650
  Exercise Price @ $0.072            2,579,175                 -                   -                      -                       -                     -                   -                   56,742                252,759                345,609
  Exercise Price @ $0.094              312,500                 -                   -                      -                       -                     -                   -                      -                   23,750                 35,000
  Exercise Price @ $0.170            3,972,457                 -                   -                      -                       -                     -                   -                      -                      -                  143,008
  Exercise Price @ $0.206              606,365                 -                   -                      -                       -                     -                   -                      -                      -                      -
                                   538,080,637         778,982,745         795,925,582           803,842,584           815,137,351              840,937,937         858,956,217            886,874,457            948,555,026          1,006,125,944

                                                                                                                                                               $0.072 Warrants /
                                                 Series C, C-1, C-2   Series A, B Liq.       $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
                                                  Liq. Preference       Preference              Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Inputs
   Stock Price Now            $   827,000,000    $    827,000,000     $   827,000,000    $       827,000,000    $      827,000,000      $       827,000,000    $    827,000,000    $       827,000,000    $       827,000,000    $       827,000,000
   Volatility                           53.0%               53.0%               53.0%                  53.0%                 53.0%                    53.0%               53.0%                  53.0%                  53.0%                  53.0%
   Riskfree Rate - Annual               1.38%               1.38%               1.38%                  1.38%                 1.38%                    1.38%               1.38%                  1.38%                  1.38%                  1.38%
   Exercise Price             $          0.00    $    778,982,745     $   795,925,582    $       803,842,584    $      815,137,351      $       840,937,937    $    858,956,217    $       886,874,457    $       948,555,026    $     1,006,125,944
   Time To Maturity - Years              4.00                4.00                4.00                   4.00                  4.00                     4.00                4.00                   4.00                   4.00                   4.00

Outputs
  d1                                    39.50                0.64                0.62                   0.61                  0.60                     0.57                0.55                   0.52                   0.45                   0.40
  d2                                    38.44               (0.42)              (0.44)                 (0.45)                (0.46)                   (0.49)              (0.51)                 (0.54)                 (0.61)                 (0.66)
  N(d1)                                  1.000               0.738               0.732                  0.729                 0.724                    0.714               0.708                  0.697                  0.675                  0.654
  N(d2)                                  1.000               0.337               0.329                  0.326                 0.321                    0.311               0.304                  0.293                  0.272                  0.254
  Call Price (Vc)             $   827,000,000    $    362,434,456     $   357,095,687    $       354,641,163    $      351,182,763      $       343,468,924    $    338,230,551    $       330,345,757    $       313,865,295    $       299,558,358

   -d1                                 -39.503              -0.638              -0.618                 -0.609                -0.596                   -0.566              -0.546                 -0.516                 -0.453                 -0.397
   -d2                                 -38.443               0.422               0.442                  0.451                 0.464                    0.494               0.514                  0.544                  0.607                  0.663
   N(-d1)                                0.000               0.262               0.268                  0.271                 0.276                    0.286               0.292                  0.303                  0.325                  0.346
   N(-d2)                                0.000               0.663               0.671                  0.674                 0.679                    0.689               0.696                  0.707                  0.728                  0.746
   Put Price (Pp)             $            -     $    272,730,055     $   283,427,430    $       288,466,230    $      295,698,159      $       312,404,192    $    324,219,853    $       342,759,259    $       384,658,539    $       424,841,621

Fair Market Value             $   827,000,000    $    362,434,456     $   357,095,687    $       354,641,163    $      351,182,763      $       343,468,924    $    338,230,551    $       330,345,757    $       313,865,295    $       299,558,358
                          Case 5:18-cr-00258-EJD                                         Document 1645                                Filed 11/12/22                         Page 113 of 156
US v. Elizabeth Holmes                                                                                                                                                                                                     Exhibit N.2
Valuation of Theranos, Inc.                                                                                                                                                                     NAV Equity Allocation 12/31/14 - Step 2
As of December 31, 2014                                                                                                                                                                                                          (USD)

                                                                                                                                  $0.072 Warrants /
                              Series C, C-1, C-2    Series A, B Liq.    $0.015 Options       $0.03 Options      $0.066 Options       Options on        $0.094 Options     $0.170 Options     $0.206 Options          All Classes
                               Liq. Preference        Preference           Exercise            Exercise            Exercise         Common Ex.            Exercise           Exercise           Exercise             Participate
High call option              $     827,000,000    $    362,434,456    $    357,095,687    $     354,641,163   $    351,182,763   $    343,468,924    $    338,230,551   $    330,345,757   $    313,865,295       $   299,558,358
Less low call option                362,434,456         357,095,687         354,641,163          351,182,763        343,468,924        338,230,551         330,345,757        313,865,295        299,558,358                    -
Total Value to Allocate       $     464,565,544    $       5,338,769   $      2,454,524    $       3,458,400   $      7,713,839   $      5,238,373    $      7,884,794   $     16,480,462   $     14,306,937       $   299,558,358

Preferred Share Classes
    Series A @ $0.150                      -               6,948,007          46,320,045         46,320,045          46,320,045         46,320,045          46,320,045         46,320,045            46,320,045           46,320,045
    Series B @ $0.1846                     -               9,994,830          54,134,965         54,134,965          54,134,965         54,134,965          54,134,965         54,134,965            54,134,965           54,134,965
    Series C @ $0.564               33,217,403                   -            58,896,105         58,896,105          58,896,105         58,896,105          58,896,105         58,896,105            58,896,105           58,896,105
    Series C-1 @ $3.00              75,525,003                   -            25,175,001         25,175,001          25,175,001         25,175,001          25,175,001         25,175,001            25,175,001           25,175,001
    Series C-1 @ $15.00            112,500,480                   -             7,500,032          7,500,032           7,500,032          7,500,032           7,500,032          7,500,032             7,500,032            7,500,032
    Series C-2 @ $17.00            557,739,859                   -            32,808,227         32,808,227          32,808,227         32,808,227          32,808,227         32,808,227            32,808,227           32,808,227
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -              741,665            741,665                741,665              741,665

Common                                      -                    -           302,965,725        302,965,725        302,965,725         302,965,725        302,965,725        302,965,725           302,965,725           302,965,725
Options on Common
    Exercise Price @ $0.015                -                     -                   -              350,000            350,000             350,000            350,000            350,000               350,000               350,000
    Exercise Price @ $0.030                -                     -                   -                  -            1,170,875           1,170,875          1,170,875          1,170,875             1,170,875             1,170,875
    Exercise Price @ $0.066                -                     -                   -                  -                  -               547,500            547,500            547,500               547,500               547,500
    Exercise Price @ $0.072                -                     -                   -                  -                  -                   -            2,579,175          2,579,175             2,579,175             2,579,175
    Exercise Price @ $0.094                -                     -                   -                  -                  -                   -                  -              312,500               312,500               312,500
    Exercise Price @ $0.170                -                     -                   -                  -                  -                   -                  -                  -               3,972,457             3,972,457
    Exercise Price @ $0.206                -                     -                   -                  -                  -                   -                  -                  -                     -                 606,365
                                   778,982,745            16,942,837         527,800,100        528,150,100        529,320,975         529,868,475        533,189,315        533,501,815           537,474,272           538,080,637
Distribution Percentage
Preferred Share Classes
    Series A @ $0.150                      0.0%                41.0%                8.8%               8.8%                8.8%               8.7%                8.7%               8.7%                  8.6%                 8.6%
    Series B @ $0.1846                     0.0%                59.0%               10.3%              10.2%               10.2%              10.2%               10.2%              10.1%                 10.1%                10.1%
    Series C @ $0.564                      4.3%                 0.0%               11.2%              11.2%               11.1%              11.1%               11.0%              11.0%                 11.0%                10.9%
    Series C-1 @ $3.00                     9.7%                 0.0%                4.8%               4.8%                4.8%               4.8%                4.7%               4.7%                  4.7%                 4.7%
    Series C-1 @ $15.00                   14.4%                 0.0%                1.4%               1.4%                1.4%               1.4%                1.4%               1.4%                  1.4%                 1.4%
    Series C-2 @ $17.00                   71.6%                 0.0%                6.2%               6.2%                6.2%               6.2%                6.2%               6.1%                  6.1%                 6.1%
Warrants on Common
   Exercise Price @ $0.072                 0.0%                 0.0%                0.0%               0.0%                0.0%               0.0%                0.1%               0.1%                  0.1%                  0.1%
Common                                     0.0%                 0.0%               57.4%              57.4%               57.2%              57.2%               56.8%              56.8%                 56.4%                56.3%
Options on Common
    Exercise Price @ $0.015                0.0%                 0.0%               0.0%                0.1%               0.1%                0.1%               0.1%               0.1%                   0.1%                 0.1%
    Exercise Price @ $0.030                0.0%                 0.0%               0.0%                0.0%               0.2%                0.2%               0.2%               0.2%                   0.2%                 0.2%
    Exercise Price @ $0.066                0.0%                 0.0%               0.0%                0.0%               0.0%                0.1%               0.1%               0.1%                   0.1%                 0.1%
    Exercise Price @ $0.072                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.5%               0.5%                   0.5%                 0.5%
    Exercise Price @ $0.094                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.1%                   0.1%                 0.1%
    Exercise Price @ $0.170                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%                   0.7%                 0.7%
    Exercise Price @ $0.206                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%                   0.0%                 0.1%
                                         100.0%               100.0%             100.0%              100.0%             100.0%              100.0%             100.0%             100.0%                 100.0%               100.0%
Allocation of Value
Preferred Share Classes
    Series A @ $0.150         $            -       $       2,189,350   $        215,410    $        303,310    $       675,026    $        457,928    $       684,980    $      1,430,877   $         1,232,985    $      25,787,132
    Series B @ $0.1846                     -               3,149,419            251,754             354,483            788,913             535,188            800,547           1,672,289             1,441,010           30,137,827
    Series C @ $0.564               19,810,016                   -              273,895             385,660            858,298             582,257            870,955           1,819,366             1,567,745           32,788,432
    Series C-1 @ $3.00              45,041,195                   -              117,076             164,849            366,877             248,884            372,287             777,684               670,129           14,015,338
    Series C-1 @ $15.00             67,092,432                   -               34,879              49,111            109,299              74,147            110,910             231,684               199,642            4,175,391
    Series C-2 @ $17.00            332,621,900                   -              152,574             214,833            478,117             324,348            485,167           1,013,482               873,317           18,264,881
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -               10,968             22,911                 19,742              412,897
Common                                      -                    -             1,408,936          1,983,862           4,415,145          2,995,172           4,480,252          9,358,947             8,064,594          168,666,012
Options on Common
    Exercise Price @ $0.015                -                     -                   -                2,292               5,101              3,460               5,176             10,812                 9,317              194,851
    Exercise Price @ $0.030                -                     -                   -                  -                17,063             11,575              17,315             36,170                31,167              651,845
    Exercise Price @ $0.066                -                     -                   -                  -                   -                5,413               8,096             16,913                14,574              304,802
    Exercise Price @ $0.072                -                     -                   -                  -                   -                  -                38,141             79,674                68,655            1,435,869
    Exercise Price @ $0.094                -                     -                   -                  -                   -                  -                   -                9,653                 8,318              173,974
    Exercise Price @ $0.170                -                     -                   -                  -                   -                  -                   -                  -                 105,742            2,211,532
    Exercise Price @ $0.206                -                     -                   -                  -                   -                  -                   -                  -                     -                337,573
                              $    464,565,544     $       5,338,769   $       2,454,524   $      3,458,400    $      7,713,839   $      5,238,373    $      7,884,794   $     16,480,462   $        14,306,937    $     299,558,358

                                                                            Per Share
          Share Class         Number of Shares         Total Value         Marketable
Preferred Share Classes
   Series A @ $0.150                46,320,045     $      32,977,000   $            0.71
   Series B @ $0.1846               54,134,965            39,131,429                0.72
   Series C @ $0.564                58,896,105            58,956,625                1.00
   Series C-1 @ $3.00               25,175,001            61,774,321                2.45
   Series C-1 @ $15.00               7,500,032            72,077,495                9.61
   Series C-2 @ $17.00              32,808,227           354,428,619               10.80
Warrants on Common
   Exercise Price @ $0.072             741,665               466,518                0.63
                                              Case 5:18-cr-00258-EJD                              Document 1645                         Filed 11/12/22                    Page 114 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                     Exhibit O.1
Valuation of Theranos, Inc.                                                                                                                                                                                       DCF Equity Allocation 2/7/14 - Step 1
As of December 31, 2014                                                                                                                                                                                                                          (USD)

Break Point Calculation                                                                          $0.015                $0.030                   $0.066              $0.072                 $0.094                 $0.170                 $0.206

                                                                                                                                                               $0.072 Warrants /
                                  Number of      Series C, C-1, C-2   Series A, B Liq.       $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
        Share Class                Shares         Liq. Preference       Preference              Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Preferred Share Classes
   Series A @ $0.150                46,320,045   $            -       $     6,948,007    $         7,642,807    $        9,032,409      $        12,089,532    $     15,424,575    $        19,778,659    $        27,653,067    $        37,194,996
   Series B @ $0.1846               54,134,965                -             9,994,830             10,806,855            12,430,904               16,003,811          19,901,529             24,990,216             34,193,160             45,344,962
   Series C @ $0.564                58,896,105         33,217,403          33,217,403             34,100,845            35,867,728               39,754,871          43,995,390             49,531,624             59,543,962             71,676,560
   Series C-1 @ $3.00               25,175,001         75,525,003          75,525,003             75,902,628            76,657,878               78,319,428          80,132,028             82,498,478             86,778,228             91,964,279
   Series C-1 @ $15.00               7,500,032        112,500,480         112,500,480            112,612,980           112,837,981              113,332,984         113,872,986            114,577,989            115,852,994            117,398,001
   Series C-2 @ $17.00              32,808,227        557,739,859         557,739,859            558,231,982           559,216,229              561,381,572         563,743,765            566,827,738            572,405,136            579,163,631

Warrants on Common
  Exercise Price @ $0.072             741,665                  -                   -                      -                       -                      -                   -                  16,317                 72,683                 99,383

Common                             302,965,725                 -                   -               4,544,486             9,088,972               19,995,738          21,813,532             28,478,778             51,504,173             62,410,939
Options on Common
  Exercise Price @ $0.015              350,000                 -                   -                      -                     5,250                17,850              19,950                 27,650                 54,250                 66,850
  Exercise Price @ $0.030            1,170,875                 -                   -                      -                       -                  42,152              49,177                 74,936                163,923                206,074
  Exercise Price @ $0.066              547,500                 -                   -                      -                       -                     -                 3,285                 15,330                 56,940                 76,650
  Exercise Price @ $0.072            2,579,175                 -                   -                      -                       -                     -                   -                   56,742                252,759                345,609
  Exercise Price @ $0.094              312,500                 -                   -                      -                       -                     -                   -                      -                   23,750                 35,000
  Exercise Price @ $0.170            3,972,457                 -                   -                      -                       -                     -                   -                      -                      -                  143,008
  Exercise Price @ $0.206              606,365                 -                   -                      -                       -                     -                   -                      -                      -                      -
                                   538,080,637         778,982,745         795,925,582           803,842,584           815,137,351              840,937,937         858,956,217            886,874,457            948,555,026          1,006,125,944

                                                                                                                                                               $0.072 Warrants /
                                                 Series C, C-1, C-2   Series A, B Liq.       $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
                                                  Liq. Preference       Preference              Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Inputs
   Stock Price Now            $   951,000,000    $    951,000,000 $       951,000,000    $       951,000,000    $      951,000,000      $       951,000,000    $    951,000,000    $       951,000,000    $       951,000,000    $       951,000,000
   Volatility                           53.0%               53.0% E             53.0%                  53.0%                 53.0%                    53.0%               53.0%                  53.0%                  53.0%                  53.0%
   Riskfree Rate - Annual               1.38%               1.38%               1.38%                  1.38%                 1.38%                    1.38%               1.38%                  1.38%                  1.38%                  1.38%
   Exercise Price             $          0.00    $    778,982,745 $       795,925,582    $       803,842,584    $      815,137,351      $       840,937,937    $    858,956,217    $       886,874,457    $       948,555,026    $     1,006,125,944
   Time To Maturity - Years              4.00                4.00                4.00                   4.00                  4.00                     4.00                4.00                   4.00                   4.00                   4.00

Outputs
  d1                                    39.63                0.77                0.75                   0.74                  0.73                     0.70                0.68                   0.65                   0.58                   0.53
  d2                                    38.57               (0.29)              (0.31)                 (0.32)                (0.33)                   (0.36)              (0.38)                 (0.41)                 (0.48)                 (0.53)
  N(d1)                                  1.000               0.779               0.773                  0.770                 0.766                    0.757               0.751                  0.741                  0.720                  0.702
  N(d2)                                  1.000               0.386               0.378                  0.375                 0.370                    0.359               0.351                  0.340                  0.317                  0.298
  Call Price (Vc)             $   951,000,000    $    456,633,546     $   450,506,701    $       447,685,948    $      443,707,334      $       434,815,355    $    428,762,774    $       419,630,618    $       400,456,912    $       383,715,353

   -d1                                 -39.635              -0.770              -0.750                 -0.740                -0.727                   -0.698              -0.678                 -0.648                 -0.584                 -0.529
   -d2                                 -38.575               0.290               0.310                  0.320                 0.333                    0.362               0.382                  0.412                  0.476                  0.531
   N(-d1)                                0.000               0.221               0.227                  0.230                 0.234                    0.243               0.249                  0.259                  0.280                  0.298
   N(-d2)                                0.000               0.614               0.622                  0.625                 0.630                    0.641               0.649                  0.660                  0.683                  0.702
   Put Price (Pp)             $            -     $    242,929,144     $   252,838,444    $       257,511,015    $      264,222,730      $       279,750,623    $    290,752,076    $       308,044,119    $       347,250,156    $       384,998,615

Fair Market Value             $   951,000,000    $    456,633,546     $   450,506,701    $       447,685,948    $      443,707,334      $       434,815,355    $    428,762,774    $       419,630,618    $       400,456,912    $       383,715,353
                          Case 5:18-cr-00258-EJD                                         Document 1645                                Filed 11/12/22                         Page 115 of 156
US v. Elizabeth Holmes                                                                                                                                                                                                   Exhibit O.2
Valuation of Theranos, Inc.                                                                                                                                                                     DCF Equity Allocation 2/7/14 - Step 2
As of December 31, 2014                                                                                                                                                                                                        (USD)

                                                                                                                                  $0.072 Warrants /
                              Series C, C-1, C-2    Series A, B Liq.    $0.015 Options       $0.03 Options      $0.066 Options       Options on        $0.094 Options     $0.170 Options     $0.206 Options        All Classes
                               Liq. Preference        Preference           Exercise            Exercise            Exercise         Common Ex.            Exercise           Exercise           Exercise           Participate
High call option              $     951,000,000    $    456,633,546    $    450,506,701    $     447,685,948   $    443,707,334   $    434,815,355    $    428,762,774   $    419,630,618   $    400,456,912     $   383,715,353
Less low call option                456,633,546         450,506,701         447,685,948          443,707,334        434,815,355        428,762,774         419,630,618        400,456,912        383,715,353                  -
Total Value to Allocate       $     494,366,454    $       6,126,844   $      2,820,753    $       3,978,614   $      8,891,979   $      6,052,581    $      9,132,156   $     19,173,706   $     16,741,559     $   383,715,353

Preferred Share Classes
    Series A @ $0.150                      -               6,948,007          46,320,045         46,320,045          46,320,045         46,320,045          46,320,045         46,320,045         46,320,045            46,320,045
    Series B @ $0.1846                     -               9,994,830          54,134,965         54,134,965          54,134,965         54,134,965          54,134,965         54,134,965         54,134,965            54,134,965
    Series C @ $0.564               33,217,403                   -            58,896,105         58,896,105          58,896,105         58,896,105          58,896,105         58,896,105         58,896,105            58,896,105
    Series C-1 @ $3.00              75,525,003                   -            25,175,001         25,175,001          25,175,001         25,175,001          25,175,001         25,175,001         25,175,001            25,175,001
    Series C-1 @ $15.00            112,500,480                   -             7,500,032          7,500,032           7,500,032          7,500,032           7,500,032          7,500,032          7,500,032             7,500,032
    Series C-2 @ $17.00            557,739,859                   -            32,808,227         32,808,227          32,808,227         32,808,227          32,808,227         32,808,227         32,808,227            32,808,227
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -              741,665            741,665             741,665               741,665

Common                                      -                    -           302,965,725        302,965,725        302,965,725         302,965,725        302,965,725        302,965,725         302,965,725           302,965,725
Options on Common
    Exercise Price @ $0.015                -                     -                   -              350,000            350,000             350,000            350,000            350,000             350,000              350,000
    Exercise Price @ $0.030                -                     -                   -                  -            1,170,875           1,170,875          1,170,875          1,170,875           1,170,875            1,170,875
    Exercise Price @ $0.066                -                     -                   -                  -                  -               547,500            547,500            547,500             547,500              547,500
    Exercise Price @ $0.072                -                     -                   -                  -                  -                   -            2,579,175          2,579,175           2,579,175            2,579,175
    Exercise Price @ $0.094                -                     -                   -                  -                  -                   -                  -              312,500             312,500              312,500
    Exercise Price @ $0.170                -                     -                   -                  -                  -                   -                  -                  -             3,972,457            3,972,457
    Exercise Price @ $0.206                -                     -                   -                  -                  -                   -                  -                  -                   -                606,365
                                   778,982,745            16,942,837         527,800,100        528,150,100        529,320,975         529,868,475        533,189,315        533,501,815         537,474,272          538,080,637
Distribution Percentage
Preferred Share Classes
    Series A @ $0.150                      0.0%                41.0%                8.8%               8.8%                8.8%               8.7%                8.7%               8.7%                8.6%                 8.6%
    Series B @ $0.1846                     0.0%                59.0%               10.3%              10.2%               10.2%              10.2%               10.2%              10.1%               10.1%                10.1%
    Series C @ $0.564                      4.3%                 0.0%               11.2%              11.2%               11.1%              11.1%               11.0%              11.0%               11.0%                10.9%
    Series C-1 @ $3.00                     9.7%                 0.0%                4.8%               4.8%                4.8%               4.8%                4.7%               4.7%                4.7%                 4.7%
    Series C-1 @ $15.00                   14.4%                 0.0%                1.4%               1.4%                1.4%               1.4%                1.4%               1.4%                1.4%                 1.4%
    Series C-2 @ $17.00                   71.6%                 0.0%                6.2%               6.2%                6.2%               6.2%                6.2%               6.1%                6.1%                 6.1%
Warrants on Common
   Exercise Price @ $0.072                 0.0%                 0.0%                0.0%               0.0%                0.0%               0.0%                0.1%               0.1%                0.1%                  0.1%
Common                                     0.0%                 0.0%               57.4%              57.4%               57.2%              57.2%               56.8%              56.8%               56.4%                56.3%
Options on Common
    Exercise Price @ $0.015                0.0%                 0.0%               0.0%                0.1%               0.1%                0.1%               0.1%               0.1%                 0.1%                 0.1%
    Exercise Price @ $0.030                0.0%                 0.0%               0.0%                0.0%               0.2%                0.2%               0.2%               0.2%                 0.2%                 0.2%
    Exercise Price @ $0.066                0.0%                 0.0%               0.0%                0.0%               0.0%                0.1%               0.1%               0.1%                 0.1%                 0.1%
    Exercise Price @ $0.072                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.5%               0.5%                 0.5%                 0.5%
    Exercise Price @ $0.094                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.1%                 0.1%                 0.1%
    Exercise Price @ $0.170                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%                 0.7%                 0.7%
    Exercise Price @ $0.206                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%                 0.0%                 0.1%
                                         100.0%               100.0%             100.0%              100.0%             100.0%              100.0%             100.0%             100.0%               100.0%               100.0%
Allocation of Value
Preferred Share Classes
    Series A @ $0.150         $            -       $       2,512,528   $        247,551    $        348,934    $       778,123    $        529,105    $        793,343   $      1,664,712   $      1,442,804     $      33,031,689
    Series B @ $0.1846                     -               3,614,316            289,317             407,805            909,405             618,373             927,192          1,945,575          1,686,227            38,604,655
    Series C @ $0.564               21,080,788                   -              314,762             443,671            989,386             672,758           1,008,738          2,116,687          1,834,530            41,999,913
    Series C-1 @ $3.00              47,930,494                   -              134,544             189,646            422,911             287,569             431,183            904,773            784,165            17,952,763
    Series C-1 @ $15.00             71,396,271                   -               40,083              56,499            125,992              85,671             128,456            269,546            233,615             5,348,413
    Series C-2 @ $17.00            353,958,901                   -              175,339             247,148            551,140             374,762             561,920          1,179,106          1,021,930            23,396,159
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -               12,703             26,655               23,102              528,895
Common                                      -                    -             1,619,157          2,282,275           5,089,473          3,460,717           5,189,020         10,888,390          9,436,952           216,050,517
Options on Common
    Exercise Price @ $0.015                -                     -                   -                2,637               5,880              3,998               5,995             12,579             10,902              249,592
    Exercise Price @ $0.030                -                     -                   -                  -                19,669             13,375              20,054             42,080             36,471              834,973
    Exercise Price @ $0.066                -                     -                   -                  -                   -                6,254               9,377             19,677             17,054              390,432
    Exercise Price @ $0.072                -                     -                   -                  -                   -                  -                44,175             92,694             80,338            1,839,258
    Exercise Price @ $0.094                -                     -                   -                  -                   -                  -                   -               11,231              9,734              222,850
    Exercise Price @ $0.170                -                     -                   -                  -                   -                  -                   -                  -              123,736            2,832,833
    Exercise Price @ $0.206                -                     -                   -                  -                   -                  -                   -                  -                  -                432,410
                              $    494,366,454     $       6,126,844   $       2,820,753   $      3,978,614    $      8,891,979   $      6,052,581    $      9,132,156   $     19,173,706   $     16,741,559     $    383,715,353

                                                                            Per Share
          Share Class         Number of Shares         Total Value         Marketable
Preferred Share Classes
   Series A @ $0.150                46,320,045     $      41,348,789   $            0.89
   Series B @ $0.1846               54,134,965            49,002,864                0.91
   Series C @ $0.564                58,896,105            70,461,233                1.20
   Series C-1 @ $3.00               25,175,001            69,038,049                2.74
   Series C-1 @ $15.00               7,500,032            77,684,547               10.36
   Series C-2 @ $17.00              32,808,227           381,466,406               11.63
Warrants on Common
   Exercise Price @ $0.072             741,665               591,355                0.80
                                              Case 5:18-cr-00258-EJD                               Document 1645                         Filed 11/12/22                    Page 116 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                      Exhibit P.1
Valuation of Theranos, Inc.                                                                                                                                                                                      NAV Equity Allocation 10/15/15 - Step 1
As of October 15, 2015                                                                                                                                                                                                                            (USD)

Break Point Calculation                                                                           $0.015                $0.030                   $0.066              $0.072                 $0.094                 $0.170                 $0.206
                                                                                                                                                                $0.072 Warrants /
                                  Number of      Series C, C-1, C-2   Series A, B Liq.        $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
        Share Class                Shares         Liq. Preference       Preference               Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Preferred Share Classes
   Series A @ $0.150                46,320,045   $            -       $      6,948,007    $         7,642,807    $        9,032,409      $        12,089,532    $     15,424,575    $        19,778,659    $        27,653,067    $        37,194,996
   Series B @ $0.1846               54,162,965                -             10,000,000             10,812,444            12,437,333               16,012,089          19,911,822             25,003,141             34,210,845             45,368,416
   Series C @ $0.564                58,896,105         33,217,403           33,217,403             34,100,845            35,867,728               39,754,871          43,995,390             49,531,624             59,543,962             71,676,560
   Series C-1 @ $3.00               21,947,001         65,841,003           65,841,003             66,170,208            66,828,618               68,277,120          69,857,304             71,920,322             75,651,312             80,172,395
   Series C-1 @ $15.00               6,563,232         98,448,480           98,448,480             98,546,928            98,743,825               99,176,999          99,649,551            100,266,495            101,382,245            102,734,270
   Series C-2 @ $17.00              42,947,639        730,109,863          730,109,863            730,754,078           732,042,507              734,877,051         737,969,281            742,006,359            749,307,458            758,154,671

Warrants on Common
  Exercise Price @ $0.072             741,665                  -                   -                       -                       -                      -                   -                  16,317                 72,683                 99,383

Common                             302,965,725                 -                   -                4,544,486             9,088,972               19,995,738          21,813,532             28,478,778             51,504,173             62,410,939

Options on Common
  Exercise Price @ $0.015              350,000                 -                   -                       -                     5,250                17,850              19,950                 27,650                 54,250                 66,850
  Exercise Price @ $0.030            1,170,875                 -                   -                       -                       -                  42,152              49,177                 74,936                163,923                206,074
  Exercise Price @ $0.066              547,500                 -                   -                       -                       -                     -                 3,285                 15,330                 56,940                 76,650
  Exercise Price @ $0.072            2,579,175                 -                   -                       -                       -                     -                   -                   56,742                252,759                345,609
  Exercise Price @ $0.094              312,500                 -                   -                       -                       -                     -                   -                      -                   23,750                 35,000
  Exercise Price @ $0.170            3,972,457                 -                   -                       -                       -                     -                   -                      -                      -                  143,008
  Exercise Price @ $0.206              606,365                 -                   -                       -                       -                     -                   -                      -                      -                      -

                                   544,083,249         927,616,749         944,564,756            952,571,797           964,046,642              990,243,401        1,008,693,868         1,037,176,354          1,099,877,367          1,158,684,823

                                                                                                                                                                $0.072 Warrants /
                                                 Series C, C-1, C-2   Series A, B Liq.        $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
                                                  Liq. Preference       Preference               Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Inputs
   Stock Price Now            $ 1,051,000,000    $   1,051,000,000    $   1,051,000,000   $     1,051,000,000    $     1,051,000,000     $     1,051,000,000    $   1,051,000,000   $     1,051,000,000    $     1,051,000,000    $     1,051,000,000
   Volatility                           53.0%                53.0%                53.0%                 53.0%                  53.0%                   53.0%                53.0%                 53.0%                  53.0%                  53.0%
   Riskfree Rate - Annual               1.12%                1.12%                1.12%                 1.12%                  1.12%                   1.12%                1.12%                 1.12%                  1.12%                  1.12%
   Exercise Price             $          0.00    $     927,616,749    $     944,564,756   $       952,571,797    $       964,046,642     $       990,243,401    $   1,008,693,868   $     1,037,176,354    $     1,099,877,367    $     1,158,684,823
   Time To Maturity - Years              4.00                 4.00                 4.00                  4.00                   4.00                    4.00                 4.00                  4.00                   4.00                   4.00

Outputs
  d1                                    39.72                0.69                 0.67                   0.67                  0.65                     0.63                0.61                   0.58                   0.53                   0.48
  d2                                    38.66               (0.37)               (0.39)                 (0.39)                (0.41)                   (0.43)              (0.45)                 (0.48)                 (0.53)                 (0.58)
  N(d1)                                  1.000               0.755                0.750                  0.747                 0.743                    0.735               0.729                  0.721                  0.702                  0.684
  N(d2)                                  1.000               0.356                0.349                  0.346                 0.342                    0.333               0.327                  0.317                  0.298                  0.281
  Call Price (Vc)             $ 1,051,000,000    $    477,913,125     $    472,200,133    $       469,536,516    $      465,758,297      $       457,301,157    $    451,481,656    $       442,712,541    $       424,280,684    $       408,011,420

   -d1                                 -39.720              -0.690               -0.673                 -0.665                -0.654                   -0.628              -0.611                 -0.585                 -0.529                 -0.480
   -d2                                 -38.660               0.370                0.387                  0.395                 0.406                    0.432               0.449                  0.475                  0.531                  0.580
   N(-d1)                                0.000               0.245                0.250                  0.253                 0.257                    0.265               0.271                  0.279                  0.298                  0.316
   N(-d2)                                0.000               0.644                0.651                  0.654                 0.658                    0.667               0.673                  0.683                  0.702                  0.719
   Put Price (Pp)             $            -     $    313,889,779     $    324,382,279    $       329,374,905    $      336,568,803      $       353,160,708    $    364,983,335    $       383,448,851    $       424,970,994    $       464,932,755

Fair Market Value             $ 1,051,000,000    $    477,913,125     $    472,200,133    $       469,536,516    $      465,758,297      $       457,301,157    $    451,481,656    $       442,712,541    $       424,280,684    $       408,011,420
                              Case 5:18-cr-00258-EJD                                       Document 1645                          Filed 11/12/22                         Page 117 of 156
US v. Elizabeth Holmes                                                                                                                                                                                                     Exhibit P.2
Valuation of Theranos, Inc.                                                                                                                                                                     NAV Equity Allocation 10/15/15 - Step 2
As of October 15, 2015                                                                                                                                                                                                           (USD)

                                                                                                                                  $0.072 Warrants /
                               Series C, C-1, C-2    Series A, B Liq.    $0.015 Options      $0.03 Options      $0.066 Options       Options on        $0.094 Options     $0.170 Options     $0.206 Options          All Classes
                                Liq. Preference        Preference           Exercise           Exercise            Exercise         Common Ex.            Exercise           Exercise           Exercise             Participate
High call option               $ 1,051,000,000      $    477,913,125    $    472,200,133   $     469,536,516   $    465,758,297   $    457,301,157    $    451,481,656   $    442,712,541   $    424,280,684       $    408,011,420
Less low call option                 477,913,125         472,200,133         469,536,516         465,758,297        457,301,157        451,481,656         442,712,541        424,280,684        408,011,420                     -
Total Value to Allocate        $     573,086,875    $       5,712,992   $      2,663,616   $       3,778,219   $      8,457,140   $      5,819,502    $      8,769,115   $     18,431,857   $     16,269,264       $    408,011,420
Preferred Share Classes
   Series A @ $0.150                        -              6,948,007          46,320,045         46,320,045          46,320,045         46,320,045          46,320,045         46,320,045           46,320,045            46,320,045
   Series B @ $0.1846                       -             10,000,000          54,162,965         54,162,965          54,162,965         54,162,965          54,162,965         54,162,965           54,162,965            54,162,965
   Series C @ $0.564                 33,217,403                  -            58,896,105         58,896,105          58,896,105         58,896,105          58,896,105         58,896,105           58,896,105            58,896,105
   Series C-1 @ $3.00                65,841,003                  -            21,947,001         21,947,001          21,947,001         21,947,001          21,947,001         21,947,001           21,947,001            21,947,001
   Series C-1 @ $15.00               98,448,480                  -             6,563,232          6,563,232           6,563,232          6,563,232           6,563,232          6,563,232            6,563,232             6,563,232
   Series C-2 @ $17.00              730,109,863                  -            42,947,639         42,947,639          42,947,639         42,947,639          42,947,639         42,947,639           42,947,639            42,947,639

Warrants on Common
  Exercise Price @ $0.072                    -                   -                   -                  -                   -                  -              741,665            741,665               741,665               741,665

Common                                       -                   -           302,965,725        302,965,725         302,965,725        302,965,725         302,965,725        302,965,725          302,965,725           302,965,725

Options on Common
   Exercise Price @ $0.015                  -                    -                   -              350,000             350,000            350,000             350,000            350,000              350,000               350,000
   Exercise Price @ $0.030                  -                    -                   -                  -             1,170,875          1,170,875           1,170,875          1,170,875            1,170,875             1,170,875
   Exercise Price @ $0.066                  -                    -                   -                  -                   -              547,500             547,500            547,500              547,500               547,500
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -             2,579,175          2,579,175            2,579,175             2,579,175
   Exercise Price @ $0.094                  -                    -                   -                  -                   -                  -                   -              312,500              312,500               312,500
   Exercise Price @ $0.170                  -                    -                   -                  -                   -                  -                   -                  -              3,972,457             3,972,457
   Exercise Price @ $0.206                  -                    -                   -                  -                   -                  -                   -                  -                    -                 606,365
                                    927,616,749           16,948,007         533,802,712        534,152,712         535,323,587        535,871,087         539,191,927        539,504,427          543,476,884           544,083,249
Distribution Percentage
Preferred Share Classes
   Series A @ $0.150                        0.0%               41.0%                8.7%               8.7%                8.7%               8.6%                8.6%               8.6%                  8.5%                 8.5%
   Series B @ $0.1846                       0.0%               59.0%               10.1%              10.1%               10.1%              10.1%               10.0%              10.0%                 10.0%                10.0%
   Series C @ $0.564                        3.6%                0.0%               11.0%              11.0%               11.0%              11.0%               10.9%              10.9%                 10.8%                10.8%
   Series C-1 @ $3.00                       7.1%                0.0%                4.1%               4.1%                4.1%               4.1%                4.1%               4.1%                  4.0%                 4.0%
   Series C-1 @ $15.00                     10.6%                0.0%                1.2%               1.2%                1.2%               1.2%                1.2%               1.2%                  1.2%                 1.2%
   Series C-2 @ $17.00                     78.7%                0.0%                8.0%               8.0%                8.0%               8.0%                8.0%               8.0%                  7.9%                 7.9%

Warrants on Common
  Exercise Price @ $0.072                   0.0%                0.0%                0.0%               0.0%                0.0%               0.0%                0.1%               0.1%                  0.1%                  0.1%

Common                                      0.0%                0.0%               56.8%              56.7%               56.6%              56.5%               56.2%              56.2%                 55.7%                55.7%

Options on Common
   Exercise Price @ $0.015                  0.0%                0.0%                0.0%               0.1%                0.1%               0.1%                0.1%               0.1%                  0.1%                 0.1%
   Exercise Price @ $0.030                  0.0%                0.0%                0.0%               0.0%                0.2%               0.2%                0.2%               0.2%                  0.2%                 0.2%
   Exercise Price @ $0.066                  0.0%                0.0%                0.0%               0.0%                0.0%               0.1%                0.1%               0.1%                  0.1%                 0.1%
   Exercise Price @ $0.072                  0.0%                0.0%                0.0%               0.0%                0.0%               0.0%                0.5%               0.5%                  0.5%                 0.5%
   Exercise Price @ $0.094                  0.0%                0.0%                0.0%               0.0%                0.0%               0.0%                0.0%               0.1%                  0.1%                 0.1%
   Exercise Price @ $0.170                  0.0%                0.0%                0.0%               0.0%                0.0%               0.0%                0.0%               0.0%                  0.7%                 0.7%
   Exercise Price @ $0.206                  0.0%                0.0%                0.0%               0.0%                0.0%               0.0%                0.0%               0.0%                  0.0%                 0.1%
                                          100.0%              100.0%              100.0%             100.0%              100.0%             100.0%              100.0%             100.0%                100.0%               100.0%
Allocation of Value
Preferred Share Classes
    Series A @ $0.150          $            -       $      2,342,099    $       231,132    $        327,635    $       731,773    $        503,031    $       753,323    $      1,582,498   $        1,386,615     $      34,735,690
    Series B @ $0.1846                      -              3,370,893            270,267             383,111            855,676             588,204            880,876           1,850,446            1,621,397            40,617,145
    Series C @ $0.564                20,521,900                  -              293,885             416,589            930,451             639,605            957,853           2,012,151            1,763,086            44,166,556
    Series C-1 @ $3.00               40,676,944                  -              109,513             155,238            346,723             238,342            356,934             749,807              656,995            16,458,193
    Series C-1 @ $15.00              60,822,028                  -               32,750              46,424            103,687              71,276            106,741             224,229              196,474             4,921,809
    Series C-2 @ $17.00             451,066,003                  -              214,304             303,781            678,495             466,407            698,476           1,467,281            1,285,660            32,206,702

Warrants on Common
  Exercise Price @ $0.072                    -                   -                   -                  -                   -                  -               12,062             25,339                22,202               556,179

Common                                       -                   -             1,511,765          2,142,965           4,786,308          3,290,175           4,927,264         10,350,649            9,069,437           227,195,886

Options on Common
   Exercise Price @ $0.015                  -                    -                   -                2,476               5,529              3,801               5,692             11,958               10,477               262,467
   Exercise Price @ $0.030                  -                    -                   -                  -                18,498             12,716              19,042             40,002               35,051               878,046
   Exercise Price @ $0.066                  -                    -                   -                  -                   -                5,946               8,904             18,705               16,390               410,574
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -                41,946             88,116               77,209             1,934,139
   Exercise Price @ $0.094                  -                    -                   -                  -                   -                  -                   -               10,676                9,355               234,346
   Exercise Price @ $0.170                  -                    -                   -                  -                   -                  -                   -                  -                118,918             2,978,970
   Exercise Price @ $0.206                  -                    -                   -                  -                   -                  -                   -                  -                    -                 454,717
                               $    573,086,875     $      5,712,992    $      2,663,616   $      3,778,219    $      8,457,140   $      5,819,502    $      8,769,115   $     18,431,857   $       16,269,264     $     408,011,420
                                              Case 5:18-cr-00258-EJD                               Document 1645                         Filed 11/12/22                    Page 118 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                      Exhibit Q.1
Valuation of Theranos, Inc.                                                                                                                                                                                      DCF Equity Allocation 10/15/15 - Step 1
As of October 15, 2015                                                                                                                                                                                                                            (USD)

Break Point Calculation                                                                           $0.015                $0.030                   $0.066              $0.072                 $0.094                 $0.170                 $0.206
                                                                                                                                                                $0.072 Warrants /
                                  Number of      Series C, C-1, C-2   Series A, B Liq.        $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
        Share Class                Shares         Liq. Preference       Preference               Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Preferred Share Classes
   Series A @ $0.150                46,320,045   $            -       $      6,948,007    $         7,642,807    $        9,032,409      $        12,089,532    $     15,424,575    $        19,778,659    $        27,653,067    $        37,194,996
   Series B @ $0.1846               54,162,965                -             10,000,000             10,812,444            12,437,333               16,012,089          19,911,822             25,003,141             34,210,845             45,368,416
   Series C @ $0.564                58,896,105         33,217,403           33,217,403             34,100,845            35,867,728               39,754,871          43,995,390             49,531,624             59,543,962             71,676,560
   Series C-1 @ $3.00               21,947,001         65,841,003           65,841,003             66,170,208            66,828,618               68,277,120          69,857,304             71,920,322             75,651,312             80,172,395
   Series C-1 @ $15.00               6,563,232         98,448,480           98,448,480             98,546,928            98,743,825               99,176,999          99,649,551            100,266,495            101,382,245            102,734,270
   Series C-2 @ $17.00              42,947,639        730,109,863          730,109,863            730,754,078           732,042,507              734,877,051         737,969,281            742,006,359            749,307,458            758,154,671

Warrants on Common
  Exercise Price @ $0.072             741,665                  -                   -                       -                       -                      -                   -                  16,317                 72,683                 99,383

Common                             302,965,725                 -                   -                4,544,486             9,088,972               19,995,738          21,813,532             28,478,778             51,504,173             62,410,939

Options on Common
  Exercise Price @ $0.015              350,000                 -                   -                       -                     5,250                17,850              19,950                 27,650                 54,250                 66,850
  Exercise Price @ $0.030            1,170,875                 -                   -                       -                       -                  42,152              49,177                 74,936                163,923                206,074
  Exercise Price @ $0.066              547,500                 -                   -                       -                       -                     -                 3,285                 15,330                 56,940                 76,650
  Exercise Price @ $0.072            2,579,175                 -                   -                       -                       -                     -                   -                   56,742                252,759                345,609
  Exercise Price @ $0.094              312,500                 -                   -                       -                       -                     -                   -                      -                   23,750                 35,000
  Exercise Price @ $0.170            3,972,457                 -                   -                       -                       -                     -                   -                      -                      -                  143,008
  Exercise Price @ $0.206              606,365                 -                   -                       -                       -                     -                   -                      -                      -                      -

                                   544,083,249         927,616,749         944,564,756            952,571,797           964,046,642              990,243,401        1,008,693,868         1,037,176,354          1,099,877,367          1,158,684,823

                                                                                                                                                                $0.072 Warrants /
                                                 Series C, C-1, C-2   Series A, B Liq.        $0.015 Options         $0.03 Options           $0.066 Options        Options on           $0.094 Options         $0.170 Options         $0.206 Options
                                                  Liq. Preference       Preference               Exercise              Exercise                 Exercise          Common Ex.               Exercise               Exercise               Exercise
Inputs
   Stock Price Now            $ 1,184,000,000    $   1,184,000,000    $   1,184,000,000   $     1,184,000,000    $     1,184,000,000     $     1,184,000,000    $   1,184,000,000   $     1,184,000,000    $     1,184,000,000    $     1,184,000,000
   Volatility                           53.0%                53.0%                53.0%                 53.0%                  53.0%                   53.0%                53.0%                 53.0%                  53.0%                  53.0%
   Riskfree Rate - Annual               1.12%                1.12%                1.12%                 1.12%                  1.12%                   1.12%                1.12%                 1.12%                  1.12%                  1.12%
   Exercise Price             $          0.00    $     927,616,749    $     944,564,756   $       952,571,797    $       964,046,642     $       990,243,401    $   1,008,693,868   $     1,037,176,354    $     1,099,877,367    $     1,158,684,823
   Time To Maturity - Years              4.00                 4.00                 4.00                  4.00                   4.00                    4.00                 4.00                  4.00                   4.00                   4.00

Outputs
  d1                                    39.83                0.80                 0.79                   0.78                  0.77                     0.74                0.72                   0.70                   0.64                   0.59
  d2                                    38.77               (0.26)               (0.27)                 (0.28)                (0.29)                   (0.32)              (0.34)                 (0.36)                 (0.42)                 (0.47)
  N(d1)                                  1.000               0.789                0.784                  0.782                 0.778                    0.771               0.765                  0.757                  0.739                  0.723
  N(d2)                                  1.000               0.398                0.392                  0.389                 0.384                    0.375               0.368                  0.358                  0.338                  0.320
  Call Price (Vc)             $ 1,184,000,000    $    580,651,525     $    574,248,897    $       571,260,795    $      567,019,077      $       557,510,633    $    550,956,552    $       541,063,210    $       520,199,568    $       501,705,043

   -d1                                 -39.832              -0.802               -0.785                 -0.777                -0.766                   -0.741              -0.723                 -0.697                 -0.642                 -0.593
   -d2                                 -38.772               0.258                0.275                  0.283                 0.294                    0.319               0.337                  0.363                  0.418                  0.467
   N(-d1)                                0.000               0.211                0.216                  0.218                 0.222                    0.229               0.235                  0.243                  0.261                  0.277
   N(-d2)                                0.000               0.602                0.608                  0.611                 0.616                    0.625               0.632                  0.642                  0.662                  0.680
   Put Price (Pp)             $            -     $    283,628,179     $    293,431,043    $       298,099,184    $      304,829,583      $       320,370,184    $    331,458,231    $       348,799,520    $       387,889,878    $       425,626,378

Fair Market Value             $ 1,184,000,000    $    580,651,525     $    574,248,897    $       571,260,795    $      567,019,077      $       557,510,633    $    550,956,552    $       541,063,210    $       520,199,568    $       501,705,043
                              Case 5:18-cr-00258-EJD                                       Document 1645                          Filed 11/12/22                         Page 119 of 156
US v. Elizabeth Holmes                                                                                                                                                                                                     Exhibit Q.2
Valuation of Theranos, Inc.                                                                                                                                                                     DCF Equity Allocation 10/15/15 - Step 2
As of October 15, 2015                                                                                                                                                                                                           (USD)

                                                                                                                                  $0.072 Warrants /
                               Series C, C-1, C-2    Series A, B Liq.    $0.015 Options      $0.03 Options      $0.066 Options       Options on        $0.094 Options     $0.170 Options     $0.206 Options          All Classes
                                Liq. Preference        Preference           Exercise           Exercise            Exercise         Common Ex.            Exercise           Exercise           Exercise             Participate
High call option               $ 1,184,000,000      $    580,651,525    $    574,248,897   $     571,260,795   $    567,019,077   $    557,510,633    $    550,956,552   $    541,063,210   $    520,199,568       $    501,705,043
Less low call option                 580,651,525         574,248,897         571,260,795         567,019,077        557,510,633        550,956,552         541,063,210        520,199,568        501,705,043                     -
Total Value to Allocate        $     603,348,475    $       6,402,628   $      2,988,102   $       4,241,718   $      9,508,444   $      6,554,081    $      9,893,342   $     20,863,642   $     18,494,525       $    501,705,043
Preferred Share Classes
   Series A @ $0.150                        -              6,948,007          46,320,045         46,320,045          46,320,045         46,320,045          46,320,045         46,320,045           46,320,045            46,320,045
   Series B @ $0.1846                       -             10,000,000          54,162,965         54,162,965          54,162,965         54,162,965          54,162,965         54,162,965           54,162,965            54,162,965
   Series C @ $0.564                 33,217,403                  -            58,896,105         58,896,105          58,896,105         58,896,105          58,896,105         58,896,105           58,896,105            58,896,105
   Series C-1 @ $3.00                65,841,003                  -            21,947,001         21,947,001          21,947,001         21,947,001          21,947,001         21,947,001           21,947,001            21,947,001
   Series C-1 @ $15.00               98,448,480                  -             6,563,232          6,563,232           6,563,232          6,563,232           6,563,232          6,563,232            6,563,232             6,563,232
   Series C-2 @ $17.00              730,109,863                  -            42,947,639         42,947,639          42,947,639         42,947,639          42,947,639         42,947,639           42,947,639            42,947,639

Warrants on Common
  Exercise Price @ $0.072                    -                   -                   -                  -                   -                  -              741,665            741,665               741,665               741,665

Common                                       -                   -           302,965,725        302,965,725         302,965,725        302,965,725         302,965,725        302,965,725          302,965,725           302,965,725

Options on Common
   Exercise Price @ $0.015                  -                    -                   -              350,000             350,000            350,000             350,000            350,000              350,000               350,000
   Exercise Price @ $0.030                  -                    -                   -                  -             1,170,875          1,170,875           1,170,875          1,170,875            1,170,875             1,170,875
   Exercise Price @ $0.066                  -                    -                   -                  -                   -              547,500             547,500            547,500              547,500               547,500
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -             2,579,175          2,579,175            2,579,175             2,579,175
   Exercise Price @ $0.094                  -                    -                   -                  -                   -                  -                   -              312,500              312,500               312,500
   Exercise Price @ $0.170                  -                    -                   -                  -                   -                  -                   -                  -              3,972,457             3,972,457
   Exercise Price @ $0.206                  -                    -                   -                  -                   -                  -                   -                  -                    -                 606,365
                                    927,616,749           16,948,007         533,802,712        534,152,712         535,323,587        535,871,087         539,191,927        539,504,427          543,476,884           544,083,249
Distribution Percentage
Preferred Share Classes
   Series A @ $0.150                        0.0%               41.0%                8.7%               8.7%                8.7%               8.6%                8.6%               8.6%                  8.5%                 8.5%
   Series B @ $0.1846                       0.0%               59.0%               10.1%              10.1%               10.1%              10.1%               10.0%              10.0%                 10.0%                10.0%
   Series C @ $0.564                        3.6%                0.0%               11.0%              11.0%               11.0%              11.0%               10.9%              10.9%                 10.8%                10.8%
   Series C-1 @ $3.00                       7.1%                0.0%                4.1%               4.1%                4.1%               4.1%                4.1%               4.1%                  4.0%                 4.0%
   Series C-1 @ $15.00                     10.6%                0.0%                1.2%               1.2%                1.2%               1.2%                1.2%               1.2%                  1.2%                 1.2%
   Series C-2 @ $17.00                     78.7%                0.0%                8.0%               8.0%                8.0%               8.0%                8.0%               8.0%                  7.9%                 7.9%

Warrants on Common
  Exercise Price @ $0.072                   0.0%                0.0%                0.0%               0.0%                0.0%               0.0%                0.1%               0.1%                  0.1%                  0.1%

Common                                      0.0%                0.0%               56.8%              56.7%               56.6%              56.5%               56.2%              56.2%                 55.7%                55.7%

Options on Common
   Exercise Price @ $0.015                  0.0%                0.0%                0.0%               0.1%                0.1%               0.1%                0.1%               0.1%                  0.1%                 0.1%
   Exercise Price @ $0.030                  0.0%                0.0%                0.0%               0.0%                0.2%               0.2%                0.2%               0.2%                  0.2%                 0.2%
   Exercise Price @ $0.066                  0.0%                0.0%                0.0%               0.0%                0.0%               0.1%                0.1%               0.1%                  0.1%                 0.1%
   Exercise Price @ $0.072                  0.0%                0.0%                0.0%               0.0%                0.0%               0.0%                0.5%               0.5%                  0.5%                 0.5%
   Exercise Price @ $0.094                  0.0%                0.0%                0.0%               0.0%                0.0%               0.0%                0.0%               0.1%                  0.1%                 0.1%
   Exercise Price @ $0.170                  0.0%                0.0%                0.0%               0.0%                0.0%               0.0%                0.0%               0.0%                  0.7%                 0.7%
   Exercise Price @ $0.206                  0.0%                0.0%                0.0%               0.0%                0.0%               0.0%                0.0%               0.0%                  0.0%                 0.1%
                                          100.0%              100.0%              100.0%             100.0%              100.0%             100.0%              100.0%             100.0%                100.0%               100.0%
Allocation of Value
Preferred Share Classes
    Series A @ $0.150          $            -       $      2,624,822    $       259,289    $        367,828    $        822,739   $        566,527    $        849,902   $      1,791,282   $        1,576,272     $      42,712,214
    Series B @ $0.1846                      -              3,777,806            303,191             430,109             962,045            662,451             993,807          2,094,583            1,843,166            49,944,255
    Series C @ $0.564                21,605,549                  -              329,686             467,695           1,046,116            720,341           1,080,653          2,277,622            2,004,235            54,308,735
    Series C-1 @ $3.00               42,824,872                  -              122,854             174,282             389,824            268,427             402,694            848,731              746,857            20,237,567
    Series C-1 @ $15.00              64,033,708                  -               36,739              52,119             116,576             80,273             120,425            253,812              223,347             6,052,027
    Series C-2 @ $17.00             474,884,345                  -              240,411             341,048             762,838            525,280             788,023          1,660,865            1,461,509            39,602,482

Warrants on Common
  Exercise Price @ $0.072                    -                   -                   -                  -                   -                  -               13,608             28,682                 25,239              683,897

Common                                       -                   -             1,695,931          2,405,857           5,381,292          3,705,484           5,558,955         11,716,249           10,309,927           279,367,969

Options on Common
   Exercise Price @ $0.015                  -                    -                   -                2,779               6,217              4,281               6,422             13,535               11,911               322,739
   Exercise Price @ $0.030                  -                    -                   -                  -                20,797             14,321              21,484             45,280               39,845             1,079,676
   Exercise Price @ $0.066                  -                    -                   -                  -                   -                6,696              10,046             21,173               18,631               504,856
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -                47,324             99,742               87,769             2,378,285
   Exercise Price @ $0.094                  -                    -                   -                  -                   -                  -                   -               12,085               10,634               288,160
   Exercise Price @ $0.170                  -                    -                   -                  -                   -                  -                   -                  -                135,183             3,663,046
   Exercise Price @ $0.206                  -                    -                   -                  -                   -                  -                   -                  -                    -                 559,136
                               $    603,348,475     $      6,402,628    $      2,988,102   $      4,241,718    $      9,508,444   $      6,554,081    $      9,893,342   $     20,863,642   $       18,494,525     $     501,705,043
                                       Case 5:18-cr-00258-EJD                         Document 1645                  Filed 11/12/22             Page 120 of 156
US v. Elizabeth Holmes                                                                                                                                                                                 Exhibit R.1
Business Valuation                                                                                                                                                                       Volatility Analysis 2/7/14
As of February 7, 2014                                                                                                                                                                       (thousands of USD)



                                                                            LTM              Market            Revenue Growth              Enterprise                            Equity              Asset
Guideline Companies                                   Ticker              Rev. Size       Capitalization      1 Year     3 Year              Value             Debt            Volatility [1]       Volatility
  Quest Diagnostics Incorporated                       DGX            $     7,146,000    $     7,315,200         -3.2%         -0.5%   $    10,681,200    $ 3,366,000                   21.1%               15.0%
  Enzo Biochem, Inc.                                   ENZ                     92,929            138,102         -7.3%         -1.8%           142,094              3,992               52.1%               50.7%
  Exact Sciences Corporation                           EXAS                     4,144            865,903          0.0%         -8.1%           867,614              1,711               46.9%               46.8%
  Illumina, Inc.                                       ILMN                 1,421,178         19,831,532         23.7%        16.3%         20,700,125         868,593                  43.6%               41.9%
  Standard BioTools Inc.                               LAB                     71,183          1,104,200         36.0%        28.5%          1,104,200                -                 38.7%               38.7%
  Laboratory Corporation of America Holdings            LH                  5,808,300          7,791,710          2.4%         5.1%         10,792,110        3,000,400                 18.2%               13.3%
  Myriad Genetics, Inc.                               MYGN                    737,115          2,351,966         35.2%        25.0%          2,351,966                -                 40.0%               40.0%
  OraSure Technologies, Inc.                          OSUR                     98,940            337,504         12.7%         9.7%            337,504                -                 50.0%               50.0%
  PerkinElmer, Inc.                                     PKI                 2,157,586          4,920,548          2.5%         8.2%          5,855,276         934,728                  27.0%               22.9%
  QuidelOrtho Corporation                             QDEL                    177,325            964,525         13.9%        16.1%            970,092              5,567               31.5%               31.3%
  Qiagen N.V.                                         QGEN                  1,301,984          5,280,047          3.8%         6.2%          6,130,249         850,202                  25.0%               21.6%
  Trinity Biotech plc                                  TRIB                    91,216            545,805         10.6%         0.6%            545,805                -                 27.8%               27.8%
  Alere Inc.                                       IQT2622336               2,608,636          2,819,163          8.9%         6.6%          6,660,267        3,841,104                 37.0%               21.5%
  Luminex Corporation                              IQT2627430                 213,423            734,789          5.4%        14.7%            736,446              1,657               34.5%               34.4%
  Abaxis, Inc.                                     IQT2586525                 179,781            824,250          0.6%         8.7%            824,956                706               35.6%               35.6%
  CombiMatrix Corporation                          IQT36309071                  6,367             25,342         19.0%        21.5%             25,575                233             101.9%              101.1%
  Affymetrix Inc.                                  IQT2587418                 330,399            518,522         11.8%         2.1%            662,983         144,461                  56.4%               46.8%
  Genomic Health, Inc.                             IQT24111615                261,595            815,172         11.2%        13.7%            815,172                -                 39.3%               39.3%
  Cepheid                                          IQT2599314                 401,292          3,328,663         21.2%        23.6%          3,328,663                -                 42.2%               42.2%
  Nanosphere, Inc.                                 IQT38720096                 10,002            169,146         97.0%        70.3%            180,961          11,815                  73.8%               69.8%
  GenMark Diagnostics, Inc.                       IQT106626443                 27,404            513,559         33.9%       120.3%            513,596                    37            49.7%               49.7%
  Bio-Reference Laboratories, Inc.                 IQT2594421                 735,368            723,947         15.5%        15.2%            776,577          52,630                  40.1%               37.5%



                                                                                                                                       Upper Quartile                                                       46.8%
                                                                                                                                       Lower Quartile                                                       28.7%
                                                                                                                                       Average                                                              39.9%
                                                                                                                                       Median                                                               39.0%

                                                                                                                                       Selected Asset Volatility                                            50.0%
Relevered for Subject Company Capital Structure

Theranos, Inc.                                                        $           -      $       404,500        NA           NA        $       446,886    $     42,386                  55.0%               50.2%

                                                                                                                                       Selected Equity Volatility                       55.0%

Notes:
[1] Source: Capital IQ.
[2] Note: Ticker symbols beginning with IQT represent companies that have been acquired since the valuation date and necessary to access the historical data using CapitalIQ.
                                       Case 5:18-cr-00258-EJD                         Document 1645                  Filed 11/12/22             Page 121 of 156
US v. Elizabeth Holmes                                                                                                                                                                              Exhibit R.2
Business Valuation                                                                                                                                                                 Volatility Analysis 12/31/14
As of December 31, 2014                                                                                                                                                                    (thousands of USD)



                                                                            LTM              Market            Revenue Growth              Enterprise                         Equity              Asset
Guideline Companies                                   Ticker              Rev. Size       Capitalization      1 Year     3 Year              Value             Debt         Volatility [1]       Volatility
  Quest Diagnostics Incorporated                       DGX            $     7,435,000    $     9,692,466          4.0%         0.2%    $    13,462,466    $ 3,770,000                20.8%              15.6%
  Enzo Biochem, Inc.                                   ENZ                     96,637            218,928          4.8%        -1.8%            222,966             4,038             52.1%              51.3%
  Exact Sciences Corporation                           EXAS                     1,798          2,430,718        -56.6%       -24.4%          2,434,478             3,760             45.0%              44.9%
  Illumina, Inc.                                       ILMN                 1,861,358         26,210,360         31.0%        20.8%         27,501,396        1,291,036              44.1%              42.1%
  Standard BioTools Inc.                               LAB                    116,456            953,006         63.6%        39.5%          1,148,461         195,455               43.8%              37.1%
  Laboratory Corporation of America Holdings            LH                  6,011,600          9,117,550          3.5%         2.7%         12,147,350        3,029,800              18.7%              14.3%
  Myriad Genetics, Inc.                               MYGN                    724,873          2,485,880         -1.7%        17.8%          2,485,880                -              40.5%              40.5%
  OraSure Technologies, Inc.                          OSUR                    106,464            568,416          7.6%         9.1%            568,416                -              50.3%              50.3%
  PerkinElmer, Inc.                                     PKI                 2,069,880          4,939,852         -4.1%         2.6%          5,986,320        1,046,468              25.1%              21.0%
  QuidelOrtho Corporation                             QDEL                    184,158            995,160          3.9%         5.1%          1,138,244         143,084               31.9%              28.1%
  Qiagen N.V.                                         QGEN                  1,344,777          5,425,828          3.3%         4.8%          6,599,032        1,173,204              23.8%              19.8%
  Trinity Biotech plc                                  TRIB                   104,872            392,493         15.0%        10.4%            392,493                -              25.5%              25.5%
  Alere Inc.                                       IQT2622336               2,577,001          3,175,128         -1.2%         2.6%          6,901,222        3,726,094              35.8%              21.3%
  Luminex Corporation                              IQT2627430                 226,983            803,551          6.4%         7.2%            803,551                -              35.2%              35.2%
  Abaxis, Inc.                                     IQT2586525                 182,777          1,280,721          1.7%         6.5%          1,281,326                605            34.5%              34.6%
  CombiMatrix Corporation                          IQT36309071                  8,042             14,271         26.3%        20.0%             14,676                405          100.5%               98.5%
  Affymetrix Inc.                                  IQT2587418                 349,019            726,274          5.6%         9.3%            854,224         127,950               50.6%              43.9%
  Genomic Health, Inc.                             IQT24111615                275,706          1,014,152          5.4%        10.2%          1,014,152                -              36.7%              36.7%
  Cepheid                                          IQT2599314                 470,141          3,815,841         17.2%        19.2%          4,094,054         278,213               39.2%              36.6%
  Nanosphere, Inc.                                 IQT38720096                 14,290             45,675         42.9%        78.0%             55,391             9,716             82.1%              73.6%
  GenMark Diagnostics, Inc.                       IQT106626443                 30,594            568,004         11.6%        82.8%            568,004                -              46.7%              46.7%
  Bio-Reference Laboratories, Inc.                 IQT2594421                 832,282            890,901         16.3%        16.8%            946,330          55,429               39.7%              37.5%



                                                                                                                                      Upper Quartile                                                    44.7%
                                                                                                                                      Lower Quartile                                                    26.2%
                                                                                                                                      Average                                                           38.9%
                                                                                                                                      Median                                                            36.9%

                                                                                                                                      Selected Asset Volatility                                         50.0%
Relevered for Subject Company Capital Structure

US v. Elizabeth Holmes                                                $           -      $       889,000        NA           NA        $       929,805    $     40,805               52.6%              50.4%

                                                                                                                                      Selected Equity Volatility                     53.0%

Notes:
[1] Source: Capital IQ.
[2] Note: Ticker symbols beginning with IQT represent companies that have been acquired since the valuation date and necessary to access the historical data using CapitalIQ.
                                       Case 5:18-cr-00258-EJD                         Document 1645                  Filed 11/12/22             Page 122 of 156
US v. Elizabeth Holmes                                                                                                                                                                              Exhibit R.3
Business Valuation                                                                                                                                                                 Volatility Analysis 10/15/15
As of October 15, 2015                                                                                                                                                                     (thousands of USD)



                                                                            LTM              Market            Revenue Growth              Enterprise                         Equity              Asset
Guideline Companies                                   Ticker              Rev. Size       Capitalization      1 Year     3 Year              Value             Debt         Volatility [1]       Volatility
  Quest Diagnostics Incorporated                       DGX            $     7,527,000    $     9,197,441          3.0%         0.7%    $    12,928,441    $ 3,731,000                20.7%              15.3%
  Enzo Biochem, Inc.                                   ENZ                     97,599            181,945          1.7%         -1.8%           185,531             3,586             51.2%              50.2%
  Exact Sciences Corporation                           EXAS                    26,521            713,931      1894.1%         85.6%            720,087             6,156             57.5%              57.0%
  Illumina, Inc.                                       ILMN                 2,140,593         21,971,248         23.3%        25.3%         23,081,349        1,110,101              37.8%              36.0%
  Standard BioTools Inc.                               LAB                    117,480            266,171         13.1%        33.2%            461,797         195,626               53.0%              38.3%
  Laboratory Corporation of America Holdings            LH                  7,773,600         11,664,918         31.0%        11.3%         18,346,118        6,681,200              18.3%              12.0%
  Myriad Genetics, Inc.                               MYGN                    737,800          2,711,591         -0.9%        12.4%          2,711,591                -              40.2%              40.2%
  OraSure Technologies, Inc.                          OSUR                    116,018            267,159          8.9%         9.1%            267,159                -              46.9%              46.9%
  PerkinElmer, Inc.                                     PKI                 2,262,633          5,470,749          1.9%         2.8%          6,499,125        1,028,376              22.9%              19.5%
  QuidelOrtho Corporation                             QDEL                    205,670            620,241         22.0%        13.6%            766,938         146,697               32.3%              26.4%
  Qiagen N.V.                                         QGEN                  1,292,856          5,912,561         -3.9%         1.3%          6,971,467        1,058,906              22.3%              19.0%
  Trinity Biotech plc                                  TRIB                   101,392            271,362         -1.5%         7.5%            370,431          99,069               27.3%              20.4%
  Alere Inc.                                       IQT2622336               2,483,662          3,975,232         -4.0%         -2.9%         7,576,757        3,601,525              32.8%              19.9%
  Luminex Corporation                              IQT2627430                 235,365            789,484          5.1%         6.5%            789,484                -              33.0%              33.0%
  Abaxis, Inc.                                     IQT2586525                 217,133          1,017,036         29.6%         9.2%          1,017,566                530            31.8%              31.9%
  CombiMatrix Corporation                          IQT36309071                  9,621             13,695         27.0%        23.4%             14,039                344          100.5%               98.6%
  Affymetrix Inc.                                  IQT2587418                 357,744            714,389          2.8%         9.0%            839,339         124,950               45.1%              38.9%
  Genomic Health, Inc.                             IQT24111615                281,451            715,559          2.2%         7.3%            715,559                -              35.8%              35.8%
  Cepheid                                          IQT2599314                 523,099          2,388,029         15.8%        17.9%          2,673,435         285,406               36.7%              32.9%
  Nanosphere, Inc.                                 IQT38720096                 18,871             16,632         44.5%        63.3%             32,106          15,474               81.6%              66.3%
  GenMark Diagnostics, Inc.                       IQT106626443                 36,051            353,067         34.0%        40.3%            362,861              9,794            46.6%              45.4%
  Bio-Reference Laboratories, Inc.                 IQT2594421                 882,467                 -          16.1%        14.4%             69,849          69,849               41.4%              20.5%



                                                                                                                                       Upper Quartile                                                   44.1%
                                                                                                                                       Lower Quartile                                                   20.4%
                                                                                                                                       Average                                                          36.6%
                                                                                                                                       Median                                                           34.4%

                                                                                                                                       Selected Asset Volatility                                        50.0%
Relevered for Subject Company Capital Structure

US v. Elizabeth Holmes                                                $           -      $     1,117,500        NA           NA        $     1,158,305    $     40,805               52.3%              50.5%

                                                                                                                                       Selected Equity Volatility                    53.0%

Notes:
[1] Source: Capital IQ.
[2] Note: Ticker symbols beginning with IQT represent companies that have been acquired since the valuation date and necessary to access the historical data using CapitalIQ.
                                       Case 5:18-cr-00258-EJD          Document 1645     Filed 11/12/22      Page 123 of 156

US v. Elizabeth Holmes                                                                                                                  Appendix Exhibit A
Valuation of Theranos, Inc.                                                                                                        Summary of Investor Values
Feb 2014 - Feb 2015                                                                                                                     (thousands of USD)


                                                                                                                          Implied Annual     Implied MVIC /
                                                                                                                          Internal Rate of    EBITDA Exit
Method                                                                               Reference              Value              Return           Multiple

  Investor Financing - Backsolve Method as of 2/7/14                             Appendix Exhibit C.2   $     1,510,000        N/A
  PFM Forecast - Income Approach with Market Exit as of 2/7/14                   Appendix Exhibit E.3         1,490,000        76%                    11.60x
  PFM Model - Income Approach as of 2/7/14                                       Appendix Exhibit E.5         1,500,000        36%

  Investor Financing - Backsolve Method as of 12/31/14                           Appendix Exhibit D.2   $     2,250,000        N/A
  Mosley and RDV Forecast - Income Approach with Market Exit as of 12/31/14      Appendix Exhibit F.3         2,250,000        54%                    13.90x

  Investor Financing - Backsolve Method as of 2/13/15                                   [1]             $     2,375,000        N/A
  Murdoch Forecast - Income Approach with Market Exit as of 2/13/15             Appendix Exhibit G.3          2,370,000        82%                    12.10x




Notes:
[1] 12/31/14 Backsolve Value + $125 million additional C-2 proceeds.
                              Case 5:18-cr-00258-EJD                 Document 1645             Filed 11/12/22               Page 124 of 156

US v. Elizabeth Holmes                                                                                                                                Appendix Exhibit B.1
Valuation of Theranos, Inc.                                                                                                                    Summary of Revenue Forecasts
Feb 2014 - Feb 2015                                                                                                                                      (thousands of USD)


                                                                    11 Mo. Ended                        For the Twelve Month Period Ending December 31,
                                                                     12/31/2014         2015               2016               2017             2018             2019
Management Forecasts Provided to PFM - Feb 2014 Investment
       Lab Services from US Retail Pharmacies                   $         109,000   $     750,000
       Lab Services Revenue from Physicians Offices (courier)              72,000         342,000
       Lab Services Revenue from Hospitals (courier)                       50,000         225,000
       OnSite Services Revenue from Hospitals                                 -           240,000
       Pharmaceuticals Services                                            30,000         120,000
Total Revenue                                                   $         261,000   $   1,677,000                N/A               N/A               N/A               N/A

PFM Financial Model (Base Case) - Feb 2014 Investment
       Retail Revenue                                           $         198,986   $   1,063,582   $       2,172,705   $     2,871,036   $     2,914,101   $    2,960,241
       Physicians Office Revenue                                           32,571         222,965             346,500           388,080           429,660          469,455
       Hospital (Courrier) Revenue                                         43,313         134,009             167,511           192,638           215,754          238,408
       Hospital (OnSite) Revenue                                              -           122,400             360,000           432,000           504,000          576,520
       Pharmaceutical Services Revenue                                     30,000         120,000             170,000           220,000           270,000          323,386
Total Revenue                                                   $         304,869   $   1,662,956   $       3,216,716   $     4,103,754   $     4,333,516   $    4,568,011

Management Forecasts Provided to Daniel Mosley - Oct 2014
       Lab Services from US Retail Pharmacies                   $          42,000   $     470,000
       Lab Services Revenue from Physicians Offices                        11,000         161,000
       Lab Services Revenue from Hospitals                                 47,000         290,000
       OnSite Services Revenue from Hospitals                                 -            11,000
       Pharmaceuticals Services                                            40,000          62,000
Total Revenue                                                   $         140,000   $     994,000                N/A               N/A               N/A               N/A

Management Forecasts Provided to RDV Corporation - Oct 2014
       Lab Services from US Retail Pharmacies                   $          42,000   $     470,000
       Lab Services Revenue from Physicians Offices                        11,000         160,000
       Lab Services Revenue from Hospitals                                 47,000         290,000
       OnSite Services Revenue from Hospitals                                 -            10,000
       Pharmaceuticals Services                                            40,000          60,000
Total Revenue                                                   $         140,000   $     990,000                N/A               N/A               N/A               N/A

Management Forecasts Provided to Rupert Murdoch - Feb 2015
       Lab Services from US Retail Pharmacies                                       $     425,376   $         993,720
       Lab Services Revenue from Physicians Offices                                       193,920             380,160
       Lab Services Revenue from Hospitals                                                301,500             489,600
       OnSite Services Revenue from Hospitals                                              15,000              20,160
       Pharmaceuticals Services                                                            58,500              93,600
Total Revenue                                                                N/A    $     994,296   $       1,977,240              N/A               N/A               N/A



Management Forecasts Provided to Aranca - 9/30/13 Valuation
Total Revenue                                                   $          89,702   $     112,202   $        131,702    $      143,402               N/A               N/A


Management Forecasts Provided to Aranca - 12/15/14 Valuation
Total Revenue                                                   $            150    $     113,452   $        223,452    $      323,452    $      503,452               N/A


Management Forecasts Provided to Aranca - 3/25/15 Valuation
Total Revenue                                                                N/A    $     113,452   $        223,452    $      323,452    $      503,452               N/A
                          Case 5:18-cr-00258-EJD                    Document 1645               Filed 11/12/22                 Page 125 of 156

US v. Elizabeth Holmes                                                                                                                                   Appendix Exhibit B.2
Valuation of Theranos, Inc.                                                                                                                   Summary of Gross Profit Forecasts
Feb 2014 - Feb 2015                                                                                                                                        (thousands of USD)


                                                                    11 Mo. Ended                        For the Twelve Month Period Ending December 31,
                                                                     12/31/2014         2015                2016              2017             2018                 2019
Management Forecasts Provided to PFM - Feb 2014 Investment
       Lab Services from US Retail Pharmacies                   $          55,000   $     412,000
       Lab Services Revenue from Physicians Offices (courier)              50,000         239,000
       Lab Services Revenue from Hospitals (courier)                       35,000         157,000
       OnSite Services Revenue from Hospitals                                 -           168,000
       Pharmaceuticals Services                                            25,000         102,000
Total Gross Profit                                              $         165,000   $   1,078,000                N/A               N/A                 N/A                 N/A
       Margin %                                                              63%             64%

PFM Financial Model (Base Case) - Feb 2014 Investment
       Retail Revenue                                           $         100,406   $     584,261   $       1,215,266   $     1,634,576   $      1,688,236    $     1,744,569
       Physicians Office Revenue                                           22,619         155,815             242,145           271,202            300,259            328,069
       Hospital (Courrier) Revenue                                         30,319          93,508             116,886           134,418            150,549            166,356
       Hospital (OnSite) Revenue                                              -            85,680             252,000           302,400            352,800            403,564
       Pharmaceutical Services Revenue                                     25,000         102,000             144,500           187,000            229,500            274,878
Total Gross Profit                                              $         178,343   $   1,021,264   $       1,970,797   $     2,529,597   $      2,721,344    $     2,917,437
       Margin %                                                              58%             61%                 61%               62%                63%                64%

Management Forecasts Provided to Daniel Mosley - Oct 2014
       Lab Services from US Retail Pharmacies                   $          26,000   $     282,000
       Lab Services Revenue from Physicians Offices                         7,000          97,000
       Lab Services Revenue from Hospitals                                 33,000         203,000
       OnSite Services Revenue from Hospitals                                 -             8,000
       Pharmaceuticals Services                                            35,000          50,000
Total Gross Profit                                              $         101,000   $     640,000                N/A               N/A                 N/A                 N/A
       Margin %                                                              72%             64%

Management Forecasts Provided to RDV Corporation - Oct 2014
       Lab Services from US Retail Pharmacies                   $          26,000   $     282,000
       Lab Services Revenue from Physicians Offices                         7,000          96,000
       Lab Services Revenue from Hospitals                                 33,000         203,000
       OnSite Services Revenue from Hospitals                                 -             7,000
       Pharmaceuticals Services                                            35,000          48,000
Total Gross Profit                                              $         101,000   $     636,000                N/A               N/A                 N/A                 N/A
       Margin %                                                              72%             64%

Management Forecasts Provided to Rupert Murdoch - Feb 2015
       Lab Services from US Retail Pharmacies                                       $     255,226   $         645,918
       Lab Services Revenue from Physicians Offices                                       135,744             285,120
       Lab Services Revenue from Hospitals                                                211,050             342,720
       OnSite Services Revenue from Hospitals                                              10,500              14,112
       Pharmaceuticals Services                                                            46,800              74,880
Total Gross Profit                                                           N/A    $     659,320   $       1,362,750              N/A                 N/A                 N/A
       Margin %                                                                              66%                 69%


Management Forecasts Provided to Aranca - 9/30/13 Valuation
Total Gross Profit                                              $          77,478   $      95,978   $        108,151    $      118,159                 N/A                 N/A
       Margin %                                                              86%             86%                82%               82%

Management Forecasts Provided to Aranca - 12/15/14 Valuation
Total Gross Profit                                              $             97    $      73,744   $        151,947    $      219,947    $        352,416                 N/A
       Margin %                                                              65%             65%                68%               68%                 70%

Management Forecasts Provided to Aranca - 3/25/15 Valuation
Total Gross Profit                                                           N/A    $      73,744   $        151,947    $      219,947    $        352,416                 N/A
       Margin %                                                                              65%                68%               68%                 70%
                                   Case 5:18-cr-00258-EJD          Document 1645              Filed 11/12/22          Page 126 of 156

US v. Elizabeth Holmes                                                                                                                             Appendix Exhibit B.3
Valuation of Theranos, Inc.                                                                                                                  Summary of EBITDA Forecasts
Feb 2014 - Feb 2015                                                                                                                                   (thousands of USD)


                                                                                             For the Twelve Month Period Ending December 31,
                                                                   2014               2015                2016              2017             2018             2019
Management Forecasts Provided to PFM - Feb 2014 Investment
Total EBITDA                                                   $     (36,000)     $     408,000                N/A               N/A                N/A              N/A
       Margin %                                                         -14%               24%

PFM Financial Model (Base Case) - Feb 2014 Investment
Total EBITDA                                                   $     (22,657)     $     351,264     $     1,146,797   $    1,623,197   $     1,758,932    $   1,895,357
       Margin %                                                          -7%               21%                 36%              40%               41%              41%

Management Forecasts Provided to Daniel Mosley - Oct 2014
Total EBITDA                                                   $      (1,000)     $     241,000                N/A               N/A                N/A              N/A
       Margin %                                                          -1%               24%

Management Forecasts Provided to RDV Corporation - Oct 2014
Total EBITDA                                                   $      (1,000)     $     237,000                N/A               N/A                N/A              N/A
       Margin %                                                          -1%               24%

Management Forecasts Provided to Rupert Murdoch - Feb 2015
Total EBITDA                                                               N/A    $     338,411     $      861,192               N/A                N/A              N/A
       Margin %                                                                            34%                44%



Management Forecasts Provided to Aranca - 9/30/13 Valuation
Total EBITDA                                                   $          8,827   $      22,566     $       31,850    $       38,793                N/A              N/A
       Margin %                                                            10%             20%                24%               27%

Management Forecasts Provided to Aranca - 12/15/14 Valuation
Total EBITDA                                                   $     (99,934)     $     (23,281)    $       51,986    $      110,970   $       228,015               N/A
       Margin %                                                     -66623%                -21%               23%               34%               45%

Management Forecasts Provided to Aranca - 3/25/15 Valuation
Total Gross Profit                                                         N/A    $     (23,137)    $       52,183    $      111,167   $       228,212               N/A
       Margin %                                                                            -20%               23%               34%               45%
                         Case 5:18-cr-00258-EJD             Document 1645      Filed 11/12/22        Page 127 of 156


US v. Elizabeth Holmes                                                                                                   Appendix Exhibit C.1
Valuation of Theranos, Inc.                                                                             Backsolve Method Value Summary 2/7/14
As of February 7, 2014                                                                              (thousands of USD, except Per Share Value)


                                                                                                                             Fair Market
                                                                                                         Ref.                   Value
     Indicated Value – 100% Controlling, Marketable Interest Basis                              Appendix Exhibit C.3    $        1,510,461

     Indicated Value – 100% Controlling, Marketable Interest Basis (rounded)                                            $        1,510,000




     Per Share Value
                                                                                                                            Present Value
                                                                                  Shares            Present Value             Per Share
                                    Share Classes                               Outstanding          Marketable              Marketable

       Preferred Shares
         Series A @ $0.150                                                         46,320,045   $       109,791,828     $             2.37
         Series B @ $0.1846                                                        54,162,965           129,749,930                   2.40
         Series C @ $0.564                                                         58,896,105           161,956,174                   2.75
         Series C-1 @ $3.00                                                        25,175,001           122,398,158                   4.86
         Series C-1 @ $15.00                                                        7,500,032           114,495,374                  15.27
         Series C-2 @ $17.00                                                        9,669,998           164,389,966                  17.00
       Total Preferred Shares                                                     201,724,146           802,781,429
       Warrants on Common
        Exercise Price @ $0.072                                                      741,665               1,616,109                  2.18
       Common - Outstanding                                                       302,640,465           684,230,716                   2.26
       Options on Common
         Exercise Price @ $0.015                                                      350,000                787,519                  2.25
         Exercise Price @ $0.030                                                    1,227,125              2,742,677                  2.24
         Exercise Price @ $0.066                                                      552,500              1,216,223                  2.20
         Exercise Price @ $0.072                                                    3,092,715              6,739,113                  2.18
         Exercise Price @ $0.094                                                      312,500                670,277                  2.14
         Exercise Price @ $0.170                                                    3,990,167              8,264,639                  2.07
         Exercise Price @ $0.206                                                      703,195              1,411,858                  2.01
       Total Options Outstanding                                                   10,228,202             21,832,305
     Total Outstanding                                                            515,334,478   $      1,510,460,559
                                              Case 5:18-cr-00258-EJD                                Document 1645                         Filed 11/12/22                    Page 128 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                            Appendix Exhibit C.2
Valuation of Theranos, Inc.                                                                                                                                                                                             Backsolve Method 2/7/14 - Step 1
As of February 7, 2014                                                                                                                                                                                                                            (USD)

Break Point Calculation                                                                            $0.015                $0.030                   $0.066              $0.072                  $0.094                 $0.170                 $0.206

                                                                                                                                                                 $0.072 Warrants /
                                  Number of      Series C, C-1, C-2   Series A, B Liq.         $0.015 Options         $0.03 Options           $0.066 Options        Options on            $0.094 Options         $0.170 Options         $0.206 Options
        Share Class                Shares         Liq. Preference       Preference                Exercise              Exercise                 Exercise          Common Ex.                Exercise               Exercise               Exercise
Preferred Share Classes
   Series A @ $0.150                46,320,045   $            -       $      6,948,007     $         7,642,807    $        9,032,409      $        12,089,532    $     15,424,575     $        19,778,659    $        27,653,067    $        37,194,996
   Series B @ $0.1846               54,162,965                -             10,000,000              10,812,444            12,437,333               16,012,089          19,911,822              25,003,141             34,210,845             45,368,416
   Series C @ $0.564                58,896,105         33,217,403           33,217,403              34,100,845            35,867,728               39,754,871          43,995,390              49,531,624             59,543,962             71,676,560
   Series C-1 @ $3.00               25,175,001         75,525,003           75,525,003              75,902,628            76,657,878               78,319,428          80,132,028              82,498,478             86,778,228             91,964,279
   Series C-1 @ $15.00               7,500,032        112,500,480          112,500,480             112,612,980           112,837,981              113,332,984         113,872,986             114,577,989            115,852,994            117,398,001
   Series C-2 @ $17.00               9,669,998        164,389,966          164,389,966             164,535,016           164,825,116              165,463,336         166,159,576             167,068,555            168,712,455            170,704,475

Warrants on Common
  Exercise Price @ $0.072             741,665                  -                    -                       -                       -                      -                   -                   16,317                 72,683                 99,383

Common                             302,640,465                 -                    -                4,539,607              9,079,214              19,974,271          21,790,113              28,448,204             51,448,879             62,343,936
Options on Common
  Exercise Price @ $0.015              350,000                 -                    -                       -                     5,250                17,850              19,950                  27,650                 54,250                 66,850
  Exercise Price @ $0.030            1,227,125                 -                    -                       -                       -                  44,177              51,539                  78,536                171,798                215,974
  Exercise Price @ $0.066              552,500                 -                    -                       -                       -                     -                 3,315                  15,470                 57,460                 77,350
  Exercise Price @ $0.072            3,092,715                 -                    -                       -                       -                     -                   -                    68,040                303,086                414,424
  Exercise Price @ $0.094              312,500                 -                    -                       -                       -                     -                   -                       -                   23,750                 35,000
  Exercise Price @ $0.170            3,990,167                 -                    -                       -                       -                     -                   -                       -                      -                  143,646
  Exercise Price @ $0.206              703,195                 -                    -                       -                       -                     -                   -                       -                      -                      -
                                   515,334,478         385,632,852         402,580,859             410,146,328           420,742,909              445,008,536         461,361,295             487,112,663            544,883,458            597,703,289

                                                                                                                                                                 $0.072 Warrants /
                                                 Series C, C-1, C-2   Series A, B Liq.         $0.015 Options         $0.03 Options           $0.066 Options        Options on            $0.094 Options         $0.170 Options         $0.206 Options
                                                  Liq. Preference       Preference                Exercise              Exercise                 Exercise          Common Ex.                Exercise               Exercise               Exercise
Inputs
   Stock Price Now            $ 1,510,460,559    $   1,510,460,559    $   1,510,460,559    $     1,510,460,559    $     1,510,460,559     $     1,510,460,559    $   1,510,460,559    $     1,510,460,559    $     1,510,460,559    $     1,510,460,559
   Volatility                           55.0%                55.0%                55.0%                  55.0%                  55.0%                   55.0%                55.0%                  55.0%                  55.0%                  55.0%
   Riskfree Rate - Annual               1.07%                1.07%                1.07%                  1.07%                  1.07%                   1.07%                1.07%                  1.07%                  1.07%                  1.07%
   Exercise Price             $          0.00    $     385,632,852    $     402,580,859    $       410,146,328    $       420,742,909     $       445,008,536    $     461,361,295    $       487,112,663    $       544,883,458    $       597,703,289
   Time To Maturity - Years              4.00                 4.00                 4.00                   4.00                   4.00                    4.00                 4.00                   4.00                   4.00                   4.00

Outputs
  d1                                    38.64                 1.83                 1.79                   1.77                   1.75                    1.70                 1.67                   1.62                   1.52                   1.43
  d2                                    37.54                 0.73                 0.69                   0.67                   0.65                    0.60                 0.57                   0.52                   0.42                   0.33
  N(d1)                                  1.000                0.966                0.963                  0.962                  0.960                   0.955                0.952                  0.947                  0.935                  0.924
  N(d2)                                  1.000                0.767                0.755                  0.750                  0.742                   0.726                0.715                  0.698                  0.661                  0.630
  Call Price (Vc)             $ 1,510,460,559    $   1,176,113,924    $   1,163,751,179    $     1,158,295,777    $     1,150,719,580     $     1,133,651,949    $   1,122,367,229    $     1,104,943,326    $     1,067,342,573    $     1,034,676,463

   -d1                                 -38.642               -1.830              -1.791                  -1.774                -1.751                   -1.700              -1.667                  -1.618                 -1.516                 -1.432
   -d2                                 -37.542               -0.730              -0.691                  -0.674                -0.651                   -0.600              -0.567                  -0.518                 -0.416                 -0.332
   N(-d1)                                0.000                0.034               0.037                   0.038                 0.040                    0.045               0.048                   0.053                  0.065                  0.076
   N(-d2)                                0.000                0.233               0.245                   0.250                 0.258                    0.274               0.285                   0.302                  0.339                  0.370
   Put Price (Pp)             $            -     $      35,203,257    $     39,081,695     $        40,876,242    $       43,454,692      $        49,640,681    $     54,026,722     $        61,280,217    $        79,040,906    $        96,991,757

Fair Market Value             $ 1,510,460,559    $   1,176,113,924    $   1,163,751,179    $     1,158,295,777    $     1,150,719,580     $     1,133,651,949    $   1,122,367,229    $     1,104,943,326    $     1,067,342,573    $     1,034,676,463
                          Case 5:18-cr-00258-EJD                                         Document 1645                                Filed 11/12/22                         Page 129 of 156
US v. Elizabeth Holmes                                                                                                                                                                                      Appendix Exhibit C.3
Valuation of Theranos, Inc.                                                                                                                                                                       Backsolve Method 2/7/14 - Step 2
As of February 7, 2014                                                                                                                                                                                                      (USD)

                                                                                                                                  $0.072 Warrants /
                              Series C, C-1, C-2    Series A, B Liq.    $0.015 Options       $0.03 Options      $0.066 Options       Options on        $0.094 Options     $0.170 Options     $0.206 Options      All Classes
                               Liq. Preference        Preference           Exercise             Exercise           Exercise         Common Ex.            Exercise           Exercise           Exercise         Participate
High call option              $ 1,510,460,559      $ 1,176,113,924     $ 1,163,751,179     $ 1,158,295,777     $ 1,150,719,580    $ 1,133,651,949     $  1,122,367,229   $  1,104,943,326   $  1,067,342,573   $ 1,034,676,463
Less low call option              1,176,113,924       1,163,751,179       1,158,295,777        1,150,719,580      1,133,651,949       1,122,367,229      1,104,943,326      1,067,342,573      1,034,676,463                -
Total Value to Allocate       $     334,346,635    $     12,362,745    $      5,455,402    $       7,576,197   $     17,067,632   $      11,284,720   $     17,423,903   $     37,600,753   $     32,666,109   $ 1,034,676,463

Preferred Share Classes
    Series A @ $0.150                      -               6,948,007          46,320,045         46,320,045          46,320,045         46,320,045          46,320,045         46,320,045         46,320,045         46,320,045
    Series B @ $0.1846                     -              10,000,000          54,162,965         54,162,965          54,162,965         54,162,965          54,162,965         54,162,965         54,162,965         54,162,965
    Series C @ $0.564               33,217,403                   -            58,896,105         58,896,105          58,896,105         58,896,105          58,896,105         58,896,105         58,896,105         58,896,105
    Series C-1 @ $3.00              75,525,003                   -            25,175,001         25,175,001          25,175,001         25,175,001          25,175,001         25,175,001         25,175,001         25,175,001
    Series C-1 @ $15.00            112,500,480                   -             7,500,032          7,500,032           7,500,032          7,500,032           7,500,032          7,500,032          7,500,032          7,500,032
    Series C-2 @ $17.00            164,389,966                   -             9,669,998          9,669,998           9,669,998          9,669,998           9,669,998          9,669,998          9,669,998          9,669,998
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -              741,665            741,665            741,665             741,665

Common                                      -                    -           302,640,465        302,640,465        302,640,465         302,640,465        302,640,465        302,640,465        302,640,465         302,640,465
Options on Common
    Exercise Price @ $0.015                -                     -                   -              350,000            350,000             350,000            350,000            350,000            350,000             350,000
    Exercise Price @ $0.030                -                     -                   -                  -            1,227,125           1,227,125          1,227,125          1,227,125          1,227,125           1,227,125
    Exercise Price @ $0.066                -                     -                   -                  -                  -               552,500            552,500            552,500            552,500             552,500
    Exercise Price @ $0.072                -                     -                   -                  -                  -                   -            3,092,715          3,092,715          3,092,715           3,092,715
    Exercise Price @ $0.094                -                     -                   -                  -                  -                   -                  -              312,500            312,500             312,500
    Exercise Price @ $0.170                -                     -                   -                  -                  -                   -                  -                  -            3,990,167           3,990,167
    Exercise Price @ $0.206                -                     -                   -                  -                  -                   -                  -                  -                  -               703,195
                                   385,632,852            16,948,007         504,364,611        504,714,611        505,941,736         506,494,236        510,328,616        510,641,116        514,631,283         515,334,478
Distribution Percentage
Preferred Share Classes
    Series A @ $0.150                      0.0%                41.0%                9.2%               9.2%                9.2%               9.1%                9.1%               9.1%               9.0%                9.0%
    Series B @ $0.1846                     0.0%                59.0%               10.7%              10.7%               10.7%              10.7%               10.6%              10.6%              10.5%               10.5%
    Series C @ $0.564                      8.6%                 0.0%               11.7%              11.7%               11.6%              11.6%               11.5%              11.5%              11.4%               11.4%
    Series C-1 @ $3.00                    19.6%                 0.0%                5.0%               5.0%                5.0%               5.0%                4.9%               4.9%               4.9%                4.9%
    Series C-1 @ $15.00                   29.2%                 0.0%                1.5%               1.5%                1.5%               1.5%                1.5%               1.5%               1.5%                1.5%
    Series C-2 @ $17.00                   42.6%                 0.0%                1.9%               1.9%                1.9%               1.9%                1.9%               1.9%               1.9%                1.9%
Warrants on Common
   Exercise Price @ $0.072                 0.0%                 0.0%                0.0%               0.0%                0.0%               0.0%                0.1%               0.1%               0.1%                0.1%
Common                                     0.0%                 0.0%               60.0%              60.0%               59.8%              59.8%               59.3%              59.3%              58.8%               58.7%
Options on Common
    Exercise Price @ $0.015                0.0%                 0.0%               0.0%                0.1%               0.1%                0.1%               0.1%               0.1%               0.1%                0.1%
    Exercise Price @ $0.030                0.0%                 0.0%               0.0%                0.0%               0.2%                0.2%               0.2%               0.2%               0.2%                0.2%
    Exercise Price @ $0.066                0.0%                 0.0%               0.0%                0.0%               0.0%                0.1%               0.1%               0.1%               0.1%                0.1%
    Exercise Price @ $0.072                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.6%               0.6%               0.6%                0.6%
    Exercise Price @ $0.094                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.1%               0.1%                0.1%
    Exercise Price @ $0.170                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%               0.8%                0.8%
    Exercise Price @ $0.206                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%               0.0%                0.1%
                                         100.0%               100.0%             100.0%              100.0%             100.0%              100.0%             100.0%             100.0%             100.0%              100.0%
Allocation of Value
Preferred Share Classes
    Series A @ $0.150         $            -       $       5,068,232   $        501,015    $        695,303    $      1,562,578   $      1,032,013    $      1,581,483   $      3,410,749   $      2,940,155   $     93,000,299
    Series B @ $0.1846                     -               7,294,513            585,847             813,032           1,827,154          1,206,754           1,849,260          3,988,258          3,437,982        108,747,129
    Series C @ $0.564               28,799,743                   -              637,043             884,081           1,986,824          1,312,208           2,010,861          4,336,779          3,738,418        118,250,217
    Series C-1 @ $3.00              65,480,756                   -              272,302             377,898             849,263            560,900             859,538          1,853,746          1,597,978         50,545,776
    Series C-1 @ $15.00             97,538,777                   -               81,123             112,582             253,009            167,101             256,070            552,260            476,063         15,058,388
    Series C-2 @ $17.00            142,527,359                   -              104,594             145,155             326,211            215,448             330,158            712,045            613,801         19,415,195
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -               25,322             54,612             47,077           1,489,098
Common                                      -                    -             3,273,476          4,542,892          10,209,389          6,742,846          10,332,907         22,284,750         19,210,038        607,634,419
Options on Common
    Exercise Price @ $0.015                -                     -                   -                5,254              11,807              7,798              11,950             25,772             22,216             702,722
    Exercise Price @ $0.030                -                     -                   -                  -                41,396             27,340              41,897             90,359             77,891           2,463,793
    Exercise Price @ $0.066                -                     -                   -                  -                   -               12,310              18,864             40,683             35,070           1,109,297
    Exercise Price @ $0.072                -                     -                   -                  -                   -                  -               105,593            227,730            196,309           6,209,481
    Exercise Price @ $0.094                -                     -                   -                  -                   -                  -                   -               23,011             19,836             627,430
    Exercise Price @ $0.170                -                     -                   -                  -                   -                  -                   -                  -              253,275           8,011,364
    Exercise Price @ $0.206                -                     -                   -                  -                   -                  -                   -                  -                  -             1,411,858
                              $    334,346,635     $      12,362,745   $       5,455,402   $      7,576,197    $     17,067,632   $     11,284,720    $     17,423,903   $     37,600,753   $     32,666,109   $   1,034,676,463

                                                                            Per Share
          Share Class         Number of Shares         Total Value         Marketable
Preferred Share Classes
   Series A @ $0.150                46,320,045     $     109,791,828   $            2.37
   Series B @ $0.1846               54,162,965           129,749,930                2.40
   Series C @ $0.564                58,896,105           161,956,174                2.75
   Series C-1 @ $3.00               25,175,001           122,398,158                4.86
   Series C-1 @ $15.00               7,500,032           114,495,374               15.27
   Series C-2 @ $17.00               9,669,998     $     164,389,966   $           17.00
Warrants on Common
   Exercise Price @ $0.072             741,665             1,616,109                2.18
                         Case 5:18-cr-00258-EJD             Document 1645      Filed 11/12/22        Page 130 of 156


US v. Elizabeth Holmes                                                                                                   Appendix Exhibit D.1
Valuation of Theranos, Inc.                                                                          Backsolve Method Value Summary 12/31/14
As of December 31, 2014                                                                             (thousands of USD, except Per Share Value)


                                                                                                                             Fair Market
                                                                                                         Ref.                   Value
     Indicated Value – 100% Controlling, Marketable Interest Basis                              Appendix Exhibit D.3    $        2,247,529

     Indicated Value – 100% Controlling, Marketable Interest Basis (rounded)                                            $        2,250,000




     Per Share Value
                                                                                                                            Present Value
                                                                                  Shares            Present Value             Per Share
                                    Share Classes                               Outstanding          Marketable              Marketable

       Preferred Shares
         Series A @ $0.150                                                         46,320,045   $        141,823,753    $             3.06
         Series B @ $0.1846                                                        54,134,965            166,985,536                  3.08
         Series C @ $0.564                                                         58,896,105            201,942,073                  3.43
         Series C-1 @ $3.00                                                        25,175,001            136,956,824                  5.44
         Series C-1 @ $15.00                                                        7,500,032            115,114,977                 15.35
         Series C-2 @ $17.00                                                       32,808,227            557,739,835                 17.00
       Total Preferred Shares                                                     224,834,375          1,320,562,999
       Warrants on Common
        Exercise Price @ $0.072                                                      741,665               2,140,841                  2.89
       Common - Outstanding                                                       302,965,725           897,714,632                   2.96
       Options on Common
         Exercise Price @ $0.015                                                      350,000              1,033,652                  2.95
         Exercise Price @ $0.030                                                    1,170,875              3,441,670                  2.94
         Exercise Price @ $0.066                                                      547,500              1,592,180                  2.91
         Exercise Price @ $0.072                                                    2,579,175              7,444,876                  2.89
         Exercise Price @ $0.094                                                      312,500                891,811                  2.85
         Exercise Price @ $0.170                                                    3,972,457             11,056,985                  2.78
         Exercise Price @ $0.206                                                      606,365              1,649,600                  2.72
       Total Options Outstanding                                                    9,538,872             27,110,774
     Total Outstanding                                                            538,080,637   $      2,247,529,245
                                              Case 5:18-cr-00258-EJD                                Document 1645                         Filed 11/12/22                    Page 131 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                            Appendix Exhibit D.2
Valuation of Theranos, Inc.                                                                                                                                                                                           Backsolve Method 12/31/14 - Step 1
As of December 31, 2014                                                                                                                                                                                                                           (USD)

Break Point Calculation                                                                            $0.015                $0.030                   $0.066              $0.072                  $0.094                 $0.170                 $0.206

                                                                                                                                                                 $0.072 Warrants /
                                  Number of      Series C, C-1, C-2   Series A, B Liq.         $0.015 Options         $0.03 Options           $0.066 Options        Options on            $0.094 Options         $0.170 Options         $0.206 Options
        Share Class                Shares         Liq. Preference       Preference                Exercise              Exercise                 Exercise          Common Ex.                Exercise               Exercise               Exercise
Preferred Share Classes
   Series A @ $0.150                46,320,045   $            -       $      6,948,007     $         7,642,807    $        9,032,409      $        12,089,532    $     15,424,575     $        19,778,659    $        27,653,067    $        37,194,996
   Series B @ $0.1846               54,134,965                -              9,994,830              10,806,855            12,430,904               16,003,811          19,901,529              24,990,216             34,193,160             45,344,962
   Series C @ $0.564                58,896,105         33,217,403           33,217,403              34,100,845            35,867,728               39,754,871          43,995,390              49,531,624             59,543,962             71,676,560
   Series C-1 @ $3.00               25,175,001         75,525,003           75,525,003              75,902,628            76,657,878               78,319,428          80,132,028              82,498,478             86,778,228             91,964,279
   Series C-1 @ $15.00               7,500,032        112,500,480          112,500,480             112,612,980           112,837,981              113,332,984         113,872,986             114,577,989            115,852,994            117,398,001
   Series C-2 @ $17.00              32,808,227        557,739,859          557,739,859             558,231,982           559,216,229              561,381,572         563,743,765             566,827,738            572,405,136            579,163,631

Warrants on Common
  Exercise Price @ $0.072             741,665                  -                    -                       -                       -                      -                   -                   16,317                 72,683                 99,383

Common                             302,965,725                 -                    -                4,544,486              9,088,972              19,995,738          21,813,532              28,478,778             51,504,173             62,410,939
Options on Common
  Exercise Price @ $0.015              350,000                 -                    -                       -                     5,250                17,850              19,950                  27,650                 54,250                 66,850
  Exercise Price @ $0.030            1,170,875                 -                    -                       -                       -                  42,152              49,177                  74,936                163,923                206,074
  Exercise Price @ $0.066              547,500                 -                    -                       -                       -                     -                 3,285                  15,330                 56,940                 76,650
  Exercise Price @ $0.072            2,579,175                 -                    -                       -                       -                     -                   -                    56,742                252,759                345,609
  Exercise Price @ $0.094              312,500                 -                    -                       -                       -                     -                   -                       -                   23,750                 35,000
  Exercise Price @ $0.170            3,972,457                 -                    -                       -                       -                     -                   -                       -                      -                  143,008
  Exercise Price @ $0.206              606,365                 -                    -                       -                       -                     -                   -                       -                      -                      -
                                   538,080,637         778,982,745         795,925,582             803,842,584           815,137,351              840,937,937         858,956,217             886,874,457            948,555,026          1,006,125,944

                                                                                                                                                                 $0.072 Warrants /
                                                 Series C, C-1, C-2   Series A, B Liq.         $0.015 Options         $0.03 Options           $0.066 Options        Options on            $0.094 Options         $0.170 Options         $0.206 Options
                                                  Liq. Preference       Preference                Exercise              Exercise                 Exercise          Common Ex.                Exercise               Exercise               Exercise
Inputs
   Stock Price Now            $ 2,247,529,245    $   2,247,529,245    $   2,247,529,245    $     2,247,529,245    $     2,247,529,245     $     2,247,529,245    $   2,247,529,245    $     2,247,529,245    $     2,247,529,245    $     2,247,529,245
   Volatility                           53.0%                53.0%                53.0%                  53.0%                  53.0%                   53.0%                53.0%                  53.0%                  53.0%                  53.0%
   Riskfree Rate - Annual               1.38%                1.38%                1.38%                  1.38%                  1.38%                   1.38%                1.38%                  1.38%                  1.38%                  1.38%
   Exercise Price             $          0.00    $     778,982,745    $     795,925,582    $       803,842,584    $       815,137,351     $       840,937,937    $     858,956,217    $       886,874,457    $       948,555,026    $     1,006,125,944
   Time To Maturity - Years              4.00                 4.00                 4.00                   4.00                   4.00                    4.00                 4.00                   4.00                   4.00                   4.00

Outputs
  d1                                    40.45                 1.58                 1.56                   1.55                   1.54                    1.51                 1.49                   1.46                   1.40                   1.34
  d2                                    39.39                 0.52                 0.50                   0.49                   0.48                    0.45                 0.43                   0.40                   0.34                   0.28
  N(d1)                                  1.000                0.943                0.941                  0.940                  0.938                   0.934                0.932                  0.928                  0.919                  0.910
  N(d2)                                  1.000                0.699                0.692                  0.689                  0.684                   0.673                0.666                  0.655                  0.631                  0.610
  Call Price (Vc)             $ 2,247,529,245    $   1,604,322,756    $   1,593,170,677    $     1,587,998,486    $     1,580,662,164     $     1,564,089,715    $   1,552,667,500    $     1,535,211,428    $     1,497,662,066    $     1,463,834,334

   -d1                                 -40.446               -1.582              -1.561                  -1.552                -1.539                   -1.509              -1.489                  -1.459                 -1.396                 -1.340
   -d2                                 -39.386               -0.522              -0.501                  -0.492                -0.479                   -0.449              -0.429                  -0.399                 -0.336                 -0.280
   N(-d1)                                0.000                0.057               0.059                   0.060                 0.062                    0.066               0.068                   0.072                  0.081                  0.090
   N(-d2)                                0.000                0.301               0.308                   0.311                 0.316                    0.327               0.334                   0.345                  0.369                  0.390
   Put Price (Pp)             $            -     $      94,089,110    $     98,973,174     $       101,294,307    $      104,648,315      $       112,495,738    $    118,127,557     $       127,095,684    $       147,926,065    $       168,588,351

Fair Market Value             $ 2,247,529,245    $   1,604,322,756    $   1,593,170,677    $     1,587,998,486    $     1,580,662,164     $     1,564,089,715    $   1,552,667,500    $     1,535,211,428    $     1,497,662,066    $     1,463,834,334
                          Case 5:18-cr-00258-EJD                                         Document 1645                                Filed 11/12/22                         Page 132 of 156
US v. Elizabeth Holmes                                                                                                                                                                                      Appendix Exhibit D.3
Valuation of Theranos, Inc.                                                                                                                                                                     Backsolve Method 12/31/14 - Step 2
As of December 31, 2014                                                                                                                                                                                                     (USD)

                                                                                                                                  $0.072 Warrants /
                              Series C, C-1, C-2    Series A, B Liq.    $0.015 Options       $0.03 Options      $0.066 Options       Options on        $0.094 Options     $0.170 Options     $0.206 Options      All Classes
                               Liq. Preference        Preference           Exercise             Exercise           Exercise         Common Ex.            Exercise           Exercise           Exercise         Participate
High call option              $ 2,247,529,245      $ 1,604,322,756     $ 1,593,170,677     $ 1,587,998,486     $ 1,580,662,164    $ 1,564,089,715     $  1,552,667,500   $  1,535,211,428   $  1,497,662,066   $ 1,463,834,334
Less low call option              1,604,322,756       1,593,170,677       1,587,998,486        1,580,662,164      1,564,089,715       1,552,667,500      1,535,211,428      1,497,662,066      1,463,834,334                -
Total Value to Allocate       $     643,206,489    $     11,152,079    $      5,172,191    $       7,336,322   $     16,572,449   $      11,422,215   $     17,456,072   $     37,549,362   $     33,827,732   $ 1,463,834,334

Preferred Share Classes
    Series A @ $0.150                      -               6,948,007          46,320,045         46,320,045          46,320,045         46,320,045          46,320,045         46,320,045         46,320,045         46,320,045
    Series B @ $0.1846                     -               9,994,830          54,134,965         54,134,965          54,134,965         54,134,965          54,134,965         54,134,965         54,134,965         54,134,965
    Series C @ $0.564               33,217,403                   -            58,896,105         58,896,105          58,896,105         58,896,105          58,896,105         58,896,105         58,896,105         58,896,105
    Series C-1 @ $3.00              75,525,003                   -            25,175,001         25,175,001          25,175,001         25,175,001          25,175,001         25,175,001         25,175,001         25,175,001
    Series C-1 @ $15.00            112,500,480                   -             7,500,032          7,500,032           7,500,032          7,500,032           7,500,032          7,500,032          7,500,032          7,500,032
    Series C-2 @ $17.00            557,739,859                   -            32,808,227         32,808,227          32,808,227         32,808,227          32,808,227         32,808,227         32,808,227         32,808,227
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -              741,665            741,665            741,665             741,665

Common                                      -                    -           302,965,725        302,965,725        302,965,725         302,965,725        302,965,725        302,965,725        302,965,725         302,965,725
Options on Common
    Exercise Price @ $0.015                -                     -                   -              350,000            350,000             350,000            350,000            350,000            350,000             350,000
    Exercise Price @ $0.030                -                     -                   -                  -            1,170,875           1,170,875          1,170,875          1,170,875          1,170,875           1,170,875
    Exercise Price @ $0.066                -                     -                   -                  -                  -               547,500            547,500            547,500            547,500             547,500
    Exercise Price @ $0.072                -                     -                   -                  -                  -                   -            2,579,175          2,579,175          2,579,175           2,579,175
    Exercise Price @ $0.094                -                     -                   -                  -                  -                   -                  -              312,500            312,500             312,500
    Exercise Price @ $0.170                -                     -                   -                  -                  -                   -                  -                  -            3,972,457           3,972,457
    Exercise Price @ $0.206                -                     -                   -                  -                  -                   -                  -                  -                  -               606,365
                                   778,982,745            16,942,837         527,800,100        528,150,100        529,320,975         529,868,475        533,189,315        533,501,815        537,474,272         538,080,637
Distribution Percentage
Preferred Share Classes
    Series A @ $0.150                      0.0%                41.0%                8.8%               8.8%                8.8%               8.7%                8.7%               8.7%               8.6%                8.6%
    Series B @ $0.1846                     0.0%                59.0%               10.3%              10.2%               10.2%              10.2%               10.2%              10.1%              10.1%               10.1%
    Series C @ $0.564                      4.3%                 0.0%               11.2%              11.2%               11.1%              11.1%               11.0%              11.0%              11.0%               10.9%
    Series C-1 @ $3.00                     9.7%                 0.0%                4.8%               4.8%                4.8%               4.8%                4.7%               4.7%               4.7%                4.7%
    Series C-1 @ $15.00                   14.4%                 0.0%                1.4%               1.4%                1.4%               1.4%                1.4%               1.4%               1.4%                1.4%
    Series C-2 @ $17.00                   71.6%                 0.0%                6.2%               6.2%                6.2%               6.2%                6.2%               6.1%               6.1%                6.1%
Warrants on Common
   Exercise Price @ $0.072                 0.0%                 0.0%                0.0%               0.0%                0.0%               0.0%                0.1%               0.1%               0.1%                0.1%
Common                                     0.0%                 0.0%               57.4%              57.4%               57.2%              57.2%               56.8%              56.8%              56.4%               56.3%
Options on Common
    Exercise Price @ $0.015                0.0%                 0.0%               0.0%                0.1%               0.1%                0.1%               0.1%               0.1%               0.1%                0.1%
    Exercise Price @ $0.030                0.0%                 0.0%               0.0%                0.0%               0.2%                0.2%               0.2%               0.2%               0.2%                0.2%
    Exercise Price @ $0.066                0.0%                 0.0%               0.0%                0.0%               0.0%                0.1%               0.1%               0.1%               0.1%                0.1%
    Exercise Price @ $0.072                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.5%               0.5%               0.5%                0.5%
    Exercise Price @ $0.094                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.1%               0.1%                0.1%
    Exercise Price @ $0.170                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%               0.7%                0.7%
    Exercise Price @ $0.206                0.0%                 0.0%               0.0%                0.0%               0.0%                0.0%               0.0%               0.0%               0.0%                0.1%
                                         100.0%               100.0%             100.0%              100.0%             100.0%              100.0%             100.0%             100.0%             100.0%              100.0%
Allocation of Value
Preferred Share Classes
    Series A @ $0.150         $            -       $       4,573,303   $        453,915    $        643,413    $      1,450,229   $        998,507    $      1,516,471   $      3,260,135   $      2,915,306   $    126,012,474
    Series B @ $0.1846                     -               6,578,777            530,497             751,967           1,694,905          1,166,971           1,772,323          3,810,171          3,407,164        147,272,760
    Series C @ $0.564               27,427,628                   -              577,154             818,102           1,843,971          1,269,606           1,928,198          4,145,274          3,706,822        160,225,317
    Series C-1 @ $3.00              62,361,037                   -              246,703             349,696             788,201            542,690             824,204          1,771,888          1,584,472         68,487,933
    Series C-1 @ $15.00             92,891,709                   -               73,497             104,180             234,818            161,676             245,543            527,873            472,039         20,403,641
    Series C-2 @ $17.00            460,526,114                   -              321,505             455,726           1,027,189            707,237           1,074,108          2,309,136          2,064,895         89,253,926
Warrants on Common
   Exercise Price @ $0.072                  -                    -                   -                  -                   -                  -               24,281             52,200             46,679            2,017,680
Common                                      -                    -             2,968,921          4,208,376           9,485,519          6,530,941           9,918,787         21,323,582         19,068,156        824,210,350
Options on Common
    Exercise Price @ $0.015                -                     -                   -                4,862              10,958              7,545              11,459             24,634             22,028             952,166
    Exercise Price @ $0.030                -                     -                   -                  -                36,659             25,240              38,333             82,409             73,693           3,185,335
    Exercise Price @ $0.066                -                     -                   -                  -                   -               11,802              17,925             38,535             34,459           1,489,459
    Exercise Price @ $0.072                -                     -                   -                  -                   -                  -                84,440            181,530            162,329           7,016,578
    Exercise Price @ $0.094                -                     -                   -                  -                   -                  -                   -               21,995             19,668             850,148
    Exercise Price @ $0.170                -                     -                   -                  -                   -                  -                   -                  -              250,020          10,806,966
    Exercise Price @ $0.206                -                     -                   -                  -                   -                  -                   -                  -                  -             1,649,600
                              $    643,206,489     $      11,152,079   $       5,172,191   $      7,336,322    $     16,572,449   $     11,422,215    $     17,456,072   $     37,549,362   $     33,827,732   $   1,463,834,334

                                                                            Per Share
          Share Class         Number of Shares         Total Value         Marketable
Preferred Share Classes
   Series A @ $0.150                46,320,045     $     141,823,753   $            3.06
   Series B @ $0.1846               54,134,965           166,985,536                3.08
   Series C @ $0.564                58,896,105           201,942,073                3.43
   Series C-1 @ $3.00               25,175,001           136,956,824                5.44
   Series C-1 @ $15.00               7,500,032           115,114,977               15.35
   Series C-2 @ $17.00              32,808,227     $     557,739,835   $           17.00
Warrants on Common
   Exercise Price @ $0.072             741,665             2,140,841                2.89
                                     Case 5:18-cr-00258-EJD           Document 1645         Filed 11/12/22       Page 133 of 156

US v. Elizabeth Holmes                                                                                                                               Appendix Exhibit E.1
Valuation of Theranos, Inc.                                                                             PFM (Base) Forecasts - Depreciation & Capital Expenditure Analysis
As of February 7, 2014                                                                                                                                 (thousands of USD)


                                                     11 Mo. Ended                            For the Twelve Month Period Ending December 31,
Forecast Depreciation                                 12/31/2014           2015                2016                2017              2018                    2019

Total Revenue                                    $          239,250    $    1,677,000   $               -   $                -   $                 -   $                -

Beginning Balance - Total Fixed Assets                      22,021            62,901              240,017             202,545              165,074               127,603
Capital Expenditures                                        47,850           201,240                   -                   -                    -                     -
     Fixed Assets                                           69,871           264,141              240,017             202,545              165,074               127,603
Capital Expenditures as a % of Revenue                      20.00%            12.00%                0.00%               0.00%                0.00%                 0.00%
                   Case 5:18-cr-00258-EJD        Document 1645     Filed 11/12/22      Page 134 of 156

US v. Elizabeth Holmes                                                                             Appendix Exhibit E.2
Valuation of Theranos, Inc.                                        PFM (Base) Forecast Free Cash Flow to Invested Capital
As of February 7, 2014                                                                              (thousands of USD)

                                                                                              For the Twelve Month
                                                                                                  Period Ending
                                                                        11 Mo. Ended              December 31,
                                                                         12/31/2014                    2015

Total Revenue                                                       $             261,000     $          1,677,000
Total Cost of Revenue                                                              96,000                  599,000
Gross Margin                                                                      165,000                1,078,000
GM %                                                                                63.2%                    64.3%

Total Operating Expenses                                                          201,000                  670,000
Operating Expense %                                                                 77.0%                    40.0%
EBITDA                                                                             (36,000)                408,000
EBITDA %                                                                            -13.8%                   24.3%
       Partial period Adjustment                                                     3,000                      -
Adjusted EBITDA                                                                    (33,000)

Depreciation & Amortization                                                          3,667                  21,000
EBIT                                                                               (36,667)                387,000
EBIT %                                                                              -14.0%                   23.1%
Interest Expense                                                                       -                        -

Earnings Before Taxes                                                              (36,667)                387,000
      Income Taxes                                           40%                       -                   101,670

Forecast After-Tax Income                                           $              (36,667)   $            285,330
NPAT %                                                                              -14.0%                   17.0%

Cash Flow
Add: Depreciation & Amortization                                                     3,667                  21,000
      After-Tax Gross Cash Flow                                                    (33,000)                306,330

      Decrease / (Increase) in Working Capital                                    (111,885)               (263,760)
Less: Capital Expenditures                                                         (47,850)               (201,240)

Free Cash Flow                                                      $             (192,735)   $           (158,670)
                                             Case 5:18-cr-00258-EJD                       Document 1645                   Filed 11/12/22            Page 135 of 156

US v. Elizabeth Holmes                                                                                                                                                                 Appendix Exhibit E.3
Valuation of Theranos, Inc.                                                                                                                               PFM (Base) Forecast - Discounted Cash Flow Method
As of February 7, 2014                                                                                                                                                                   (thousands of USD)


          Forecast                        Base                                       Discount                                     Discounted
           Period                       Cash Flow              Period                  Rate               PV Factor [1]          Cash Flow [2]

      2014 - Mar to Dec           $         (192,735)           0.45                  75.5%                 0.7773           $         (149,809)
            2015                            (158,670)           1.40                  75.5%                 0.4561                      (72,362)
       Terminal Value                      4,732,800            1.90                  75.5%                 0.3443                    1,629,279

Indicated Value                                                                                                              $        1,407,108
Add: Series C-2 proceeds not on balance sheet                                                                                           114,390
Add: Series C-1 proceeds not on balance sheet                                                                                             6,556
Deduct: Note Payable, Long Term                                                                                                         (40,489)
Deduct: Capital Lease, LT Portion                                                                                                        (1,897)
Total Equity Value - Non-Controlling, Marketable Basis                                                                       $        1,485,668

Total Equity Value - Non-Controlling, Marketable Basis (rounded)                                                             $        1,490,000


                                          LTM            1YR Growth              1YR Forward                EBITDA                   D&A               EBIT              Capex          Working Capital
                                        Revenue           Revenue               Revenue Growth              Margin                  Margin            Margin           % Revenue         % Revenue

               Upper Quartile              1,160,767                   21.2%                  12.7%                  20.7%                   2.3%           14.2%               6.5%             140.0%
                      Mean                 1,086,705                   20.2%                  11.9%                   0.1%                   1.4%          -73.3%               5.6%             232.8%
                     Median                  237,509                   11.8%                   6.5%                  15.6%                   0.0%            4.2%               4.1%              48.7%
               Lower Quartile                 93,829                    3.8%                   4.8%                  -4.6%                   0.0%          -19.7%               3.1%              30.1%

Theranos, Inc. (at 12/31/15)      $        1,677,000                   542.5%                   N/A                  24.3%                   1.3%          23.1%               12.0%              18.6%


                                                                                    MVIC / LTM            MVIC / LTM
                                                                                     Revenue               EBITDA
                                        Upper Quartile                                       5.74x                25.83x
                                               Mean                                          6.12x                19.05x
                                              Median                                         2.71x                14.57x
                                        Lower Quartile                                       1.83x                 8.65x

                                 Selected Multiple                                           4.40x                 11.60x
                                 Subject Company Base Value                     $       1,677,000     $          408,000

                                 Indicated Value at 12/31/15                            7,378,800              4,732,800


Notes:
[1] 1 / (1 + Discount Rate) ^ Period.
[2] Base Cash Flow x PV Factor.
                                           Case 5:18-cr-00258-EJD                  Document 1645                 Filed 11/12/22           Page 136 of 156

US v. Elizabeth Holmes                                                                                                                                                        Appendix Exhibit E.4
Valuation of Theranos, Inc.                                                                                                                   PFM (Model) Forecast Free Cash Flow to Invested Capital
As of February 7, 2014                                                                                                                                                          (thousands of USD)


                                                                          11 Mo. Ended                                For the Twelve Month Period Ending December 31,
                                                                           12/31/2014            2015                  2016                 2017               2018                     2019

Revenue
       Lab Services from US Retail Pharmacies                         $          198,986     $     1,063,582      $     2,172,705     $       2,871,036    $        2,914,101    $        2,960,241
       Lab Services Revenue from Physicians Offices (courier)                     32,571             222,965              346,500               388,080               429,660               469,455
       Lab Services Revenue from Hospitals (courier)                              43,313             134,009              167,511               192,638               215,754               238,408
       OnSite Services Revenue from Hospitals                                        -               122,400              360,000               432,000               504,000               576,520
       Pharmaceuticals Services                                                   30,000             120,000              170,000               220,000               270,000               323,386
Total Revenue                                                         $          304,869     $     1,662,956      $     3,216,716     $       4,103,754    $        4,333,516    $        4,568,011
Total Cost of Revenue                                                            126,526             641,692            1,245,920             1,574,157             1,612,172             1,650,574
Gross Margin                                                                     178,343           1,021,264            1,970,797             2,529,597             2,721,344             2,917,437
GM %                                                                               58.5%               61.4%                61.3%                 61.6%                 62.8%                 63.9%

Total Operating Expenses                                                         201,000            670,000               824,000              906,400               962,412              1,022,080
Operating Expense %                                                                65.9%              40.3%                 25.6%                22.1%                 22.2%                  22.4%
EBITDA                                                                            (22,657)          351,264              1,146,797            1,623,197             1,758,932             1,895,357
EBITDA %                                                                            -7.4%             21.1%                  35.7%                39.6%                 40.6%                 41.5%

       Partial period Adjustment                                                   1,888
Adjusted EBITDA                                                                   (20,769)

Depreciation & Amortization                                                        3,667                21,000             96,501              205,188                216,676               228,401
EBIT                                                                              (24,435)          330,264              1,050,295            1,418,009             1,542,256             1,666,956
EBIT %                                                                              -8.0%             19.9%                  32.7%                34.6%                 35.6%                 36.5%
Interest Expense                                                                      -                    -                   -                    -                     -                      -

Earnings Before Taxes                                                             (24,435)          330,264              1,050,295            1,418,009             1,542,256             1,666,956
       Income Taxes                                             40%                   -              83,868                420,118              567,204               616,903               666,782

Forecast After-Tax Income                                             $           (24,435)   $      246,396       $       630,177     $        850,805     $          925,354    $        1,000,174
NPAT %                                                                              -8.0%             14.8%                 19.6%                20.7%                  21.4%                 21.9%

Cash Flow
Add: Depreciation & Amortization                                                    3,667            21,000                96,501               205,188               216,676               228,401
      After-Tax Gross Cash Flow                                                   (20,769)          267,396               726,679             1,055,993             1,142,030             1,228,574

      Decrease / (Increase) in Working Capital                                     (9,146)           (49,889)              (96,501)            (123,113)             (130,005)             (137,040)
Less: Capital Expenditures                                                        (30,800)          (134,750)             (160,836)            (205,188)             (216,676)             (228,401)

Free Cash Flow                                                        $           (60,715)   $          82,757    $       469,341     $        727,693     $          795,348    $          863,133
                   Case 5:18-cr-00258-EJD        Document 1645       Filed 11/12/22     Page 137 of 156

US v. Elizabeth Holmes                                                                              Appendix Exhibit E.5
Valuation of Theranos, Inc.                                           PFM (Model) Forecast - Discounted Cash Flow Method
As of February 7, 2014                                                                                (thousands of USD)


     Forecast                 Base                                 Discount                                Discounted
      Period                Cash Flow           Period               Rate           PV Factor [1]         Cash Flow [2]

 2014 - Mar to Dec      $          (60,715)      0.45               35.5%              0.8728         $          (52,990)
       2015                         82,757       1.40               35.5%              0.6544                     54,154
       2016                        469,341       2.40               35.5%              0.4829                    226,661
       2017                        727,693       3.40               35.5%              0.3564                    259,356
       2018                        795,348       4.40               35.5%              0.2630                    209,202
       2019                        863,133       5.40               35.5%              0.1941                    167,551
  Terminal Value                 2,849,710       5.40               35.5%              0.1941                    553,185

Indicated Value                                                                                       $        1,417,121
Add: Series C-2 proceeds not on balance sheet                                                                    114,390
Add: Series C-1 proceeds not on balance sheet                                                                      6,556
Deduct: Note Payable, Long Term                                                                                  (40,489)
Deduct: Capital Lease, LT Portion                                                                                 (1,897)

Total Equity Value - Non-Controlling, Marketable Basis                                                $        1,495,680

Total Equity Value - Non-Controlling, Marketable Basis (rounded)                                      $        1,500,000


Notes:
[1] 1 / (1 + Discount Rate) ^ Period.
[2] Base Cash Flow x PV Factor.
                                     Case 5:18-cr-00258-EJD   Document 1645        Filed 11/12/22       Page 138 of 156

US v. Elizabeth Holmes                                                                                                                     Appendix Exhibit F.1
Valuation of Theranos, Inc.                                                                    Mosley-RDV Forecast - Depreciation & Capital Expenditure Analysis
As of December 31, 2014                                                                                                                      (thousands of USD)


                                                                                    For the Twelve Month Period Ending December 31,
Forecast Depreciation                                              2015               2016                2017              2018                    2019

Total Revenue                                                  $     990,000   $               -   $               -   $                 -   $                -

Beginning Balance - Total Fixed Assets                                53,366             164,287            148,528               132,769              117,010
Capital Expenditures                                                 118,800                  -                  -                     -                    -
     Fixed Assets                                                    172,166             164,287            148,528               132,769              117,010
Capital Expenditures as a % of Revenue                                12.00%               0.00%              0.00%                 0.00%                0.00%
 Case 5:18-cr-00258-EJD                          Document 1645                  Filed 11/12/22             Page 139 of 156

US v. Elizabeth Holmes                                                                                     Appendix Exhibit F.2
Valuation of Theranos, Inc.                                                Mosley-RDV Forecast Free Cash Flow to Invested Capital
As of December 31, 2014                                                                                     (thousands of USD)

                                                                                                     For the Twelve
                                                                                                      Month Period
                                                                                                    Ending December
                                                                                                          2015

Revenue
       Lab Services from US Retail Pharmacies                                                      $           470,000
       Lab Services Revenue from Physicians Offices (courier)                                                  160,000
       Lab Services Revenue from Hospitals (courier)                                                           290,000
       OnSite Services Revenue from Hospitals                                                                   10,000
       Pharmaceuticals Services                                                                                 60,000
Total Revenue                                                                                      $           990,000

Cost of Revenue
       Lab Services from US Retail Pharmacies                                                                  188,000
       Lab Services Revenue from Physicians Offices (courier)                                                   64,000
       Lab Services Revenue from Hospitals (courier)                                                            87,000
       OnSite Services Revenue from Hospitals                                                                    3,000
       Pharmaceuticals Services                                                                                 12,000
Total Cost of Revenue                                                                                          354,000
Gross Margin                                                                                                   636,000
GM %                                                                                                             64.2%

Operating Expenses
       Research & Development (including Killer software apps & support)                                       127,000
       CLIA Lab Operations                                                                                      76,000
       Data Center                                                                                              25,000
       Sales, Marketing & Branding                                                                              76,000
       G&A                                                                                                      95,000
Total Operating Expenses                                                                                       399,000
Operating Expense %                                                                                              40.3%
EBITDA                                                                                                         237,000
EBITDA %                                                                                                         23.9%
Depreciation & Amortization                                                                                     21,000
EBIT                                                                                                           216,000
EBIT %                                                                                                           21.8%
Interest Expense                                                                                                   -

Earnings Before Taxes                                                                                          216,000
       Income Taxes                                                 40%                                         47,937

Forecast After-Tax Income                                                                          $           168,063
NPAT %                                                                                                           17.0%

Cash Flow
Add: Depreciation & Amortization                                                                                21,000
      After-Tax Gross Cash Flow                                                                                189,063

      Decrease / (Increase) in Working Capital                                                                 119,528
Less: Capital Expenditures                                                                                    (118,800)

Free Cash Flow                                                                                     $           189,791
                                            Case 5:18-cr-00258-EJD                         Document 1645                    Filed 11/12/22           Page 140 of 156

US v. Elizabeth Holmes                                                                                                                                                                  Appendix Exhibit F.3
Valuation of Theranos, Inc.                                                                                                                                Mosley-RDV Forecast - Discounted Cash Flow Method
As of December 31, 2014                                                                                                                                                                   (thousands of USD)


           Forecast                       Base                                        Discount                                     Discounted
            Period                      Cash Flow                Period                 Rate               PV Factor [1]          Cash Flow [2]

            2015                             189,791              0.50                 54.0%                 0.8058                      152,938
        Terminal Value                     3,294,300              1.00                 54.0%                 0.6494                    2,139,156

Indicated Value                                                                                                               $        2,292,094
Add: Series C-2 proceeds                                                                                                                     -
Deduct: Note Payable, Long Term                                                                                                          (40,805)
Deduct: Capital Lease, LT Portion                                                                                                            -

Total Equity Value - Non-Controlling, Marketable Basis                                                                        $        2,251,289

Total Equity Value - Non-Controlling, Marketable Basis (rounded)                                                              $        2,250,000


                                          LTM              1YR Growth             1YR Forward                EBITDA                   D&A              EBIT              Capex           Working Capital
                                        Revenue             Revenue              Revenue Growth              Margin                  Margin           Margin           % Revenue          % Revenue

                 Upper Quartile            1,216,653                     14.1%                 21.4%                  19.7%                   1.6%          14.9%               6.4%                84.8%
                        Mean               1,136,335                      6.2%                 18.0%                  -2.8%                   1.3%        -274.9%               5.7%               758.4%
                       Median                251,345                      5.1%                 13.0%                  13.6%                   0.0%           5.0%               3.9%                58.0%
                 Lower Quartile               98,696                      2.1%                  8.4%                  -4.3%                   0.0%         -12.2%               2.8%                35.7%

Theranos, Inc. (at 12/31/15)        $        990,000                 607.1%                      N/A                  23.9%                   2.1%         21.8%               12.0%                18.6%


                                                                                     MVIC / LTM            MVIC / LTM
                                                                                      Revenue               EBITDA
                                        Upper Quartile                                        5.09x                19.93x
                                               Mean                                           6.60x                19.85x
                                              Median                                          3.20x                15.67x
                                        Lower Quartile                                        2.22x                12.10x

                                   Selected Multiple                                          4.90x                 13.90x
                                   Subject Company Base Value                    $         990,000     $          237,000

                                   Indicated Value at 12/31/15                           4,851,000              3,294,300




Notes:
[1] 1 / (1 + Discount Rate) ^ Period.
[2] Base Cash Flow x PV Factor.
                                     Case 5:18-cr-00258-EJD           Document 1645         Filed 11/12/22       Page 141 of 156

US v. Elizabeth Holmes                                                                                                                              Appendix Exhibit G.1
Valuation of Theranos, Inc.                                                                                 Murdoch Forecast - Depreciation & Capital Expenditure Analysis
As of February 13, 2015                                                                                                                                (thousands of USD)


                                                     11 Mo. Ended                            For the Twelve Month Period Ending December 31,
Forecast Depreciation                                   12/31/15           2016                2017                2018              2019                    2020

Total Revenue                                    $          911,438    $    1,977,240   $               -   $                -   $                -    $                -

Beginning Balance - Total Fixed Assets                       22,021          120,683              323,277             272,866              222,454               172,043
Capital Expenditures                                        109,373          237,269                   -                   -                    -                     -
     Fixed Assets                                           131,393          357,952              323,277             272,866              222,454               172,043
Capital Expenditures as a % of Revenue                       12.00%           12.00%                0.00%               0.00%                0.00%                 0.00%
                   Case 5:18-cr-00258-EJD        Document 1645     Filed 11/12/22       Page 142 of 156

US v. Elizabeth Holmes                                                                         Appendix Exhibit G.2
Valuation of Theranos, Inc.                                        Murdoch Forecast Free Cash Flow to Invested Capital
As of February 13, 2015                                                                          (thousands of USD)

                                                                                            For the Twelve
                                                                                             Month Period
                                                                        11 Mo. Ended       Ending December
                                                                           12/31/15              2016

Total Revenue                                                       $          994,296     $       1,977,240
Total Cost of Revenue                                                          334,976               614,490
Gross Margin                                                                   659,320             1,362,750
GM %                                                                             66.3%                 68.9%

Total Operating Expenses                                                       320,909               501,558
Operating Expense %                                                              32.3%                 25.4%
EBITDA                                                                         338,411               861,192
EBITDA %                                                                         34.0%                 43.6%
       Partial period Adjustment                                               (28,201)                   -
Adjusted EBITDA                                                                310,210

Depreciation & Amortization                                                      8,000                19,772
EBIT                                                                           302,210               841,420
EBIT %                                                                           30.4%                 42.6%
Interest Expense                                                                    -                     -

Earnings Before Taxes                                                          302,210               841,420
      Income Taxes                                           40%                82,421               336,568

Forecast After-Tax Income                                           $          219,789     $         504,852
NPAT %                                                                           22.1%                 25.5%

Cash Flow
Add: Depreciation & Amortization                                                 8,000                19,772
      After-Tax Gross Cash Flow                                                227,789               524,624

      Decrease / (Increase) in Working Capital                                 118,728              (183,094)
Less: Capital Expenditures                                                    (109,373)             (237,269)

Free Cash Flow                                                      $          237,144     $         104,262
                                              Case 5:18-cr-00258-EJD                         Document 1645                     Filed 11/12/22            Page 143 of 156

US v. Elizabeth Holmes                                                                                                                                                                        Appendix Exhibit G.3
Valuation of Theranos, Inc.                                                                                                                                         Murdoch Forecast - Discounted Cash Flow Method
As of February 13, 2015                                                                                                                                                                         (thousands of USD)


            Forecast                          Base                                        Discount                                     Discounted
             Period                         Cash Flow             Period                    Rate               PV Factor [1]          Cash Flow [2]

        2015 - Mar to Dec               $         237,144             0.44                 82.0%                 0.7685           $          182,244
              2016                                104,262             1.38                 82.0%                 0.4378                       45,642
         Terminal Value                         6,327,168             1.88                 82.0%                 0.3245                    2,053,136

Indicated Value                                                                                                                   $        2,281,022
Add: Series C-2 proceeds                                                                                                                     125,000
Deduct: Note Payable, Long Term                                                                                                              (40,805)
Deduct: Capital Lease, LT Portion                                                                                                                -

Total Equity Value - Non-Controlling, Marketable Basis                                                                            $        2,365,217

Total Equity Value - Non-Controlling, Marketable Basis (rounded)                                                                  $        2,370,000


                                               LTM              1YR Growth            1YR Forward                EBITDA                   D&A               EBIT               Capex           Working Capital
                                             Revenue             Revenue             Revenue Growth              Margin                  Margin            Margin            % Revenue          % Revenue

                   Upper Quartile               1,216,653                    14.1%                 21.4%                  19.7%                   1.6%           14.9%                 6.4%               84.8%
                          Mean                  1,136,335                     6.2%                 18.0%                  -2.8%                   1.3%         -274.9%                 5.7%              758.4%
                         Median                   251,345                     5.1%                 13.0%                  13.6%                   0.0%            5.0%                 3.9%               58.0%
                   Lower Quartile                  98,696                     2.1%                  8.4%                  -4.3%                   0.0%          -12.2%                 2.8%               35.7%

Theranos, Inc. (at 12/31/16)            $       1,977,240                    98.9%                   N/A                  43.6%                   1.0%          42.6%                 12.0%               18.6%


                                                                                         MVIC / LTM            MVIC / LTM
                                                                                          Revenue               EBITDA
                                            Upper Quartile                                        5.09x                19.93x
                                                   Mean                                           6.60x                19.85x
                                                  Median                                          3.20x                15.67x
                                            Lower Quartile                                        2.22x                12.10x

                                        Selected Multiple                                         3.20x                 12.10x
                                        Subject Company Base Value                   $       1,977,240     $          861,192

                                        Indicated Value at 12/31/15                          6,327,168             10,420,429



Notes:
[1] 1 / (1 + Discount Rate) ^ Period.
[2] Base Cash Flow x PV Factor.
            Case 5:18-cr-00258-EJD            Document 1645          Filed 11/12/22 CURRICULUM
                                                                                     Page 144 of 156 VITAE

                                                                                         SAN MATEO OFFICE
                                                                                         177 Bovet Road, Suite 525
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                                             Appendix Exhibit H                          T: 415.836.4000
                                                                                         F: 415.777.2062




CARL S. SABA, MBA, CVA, ASA, ABV                                                                        HEMMING.COM



Executive Summary

Carl Saba is a Partner in the Forensic and Financial Consulting Service Group at Hemming Morse, LLP.
He is a recognized leader within the business valuation community, with over twenty three years of experience
advising companies on complex financial analysis and valuation issues for litigation, mergers and acquisitions, tax,
and financial reporting matters. His valuation expertise spans business valuation, valuation of intellectual property
and other intangible assets, and valuation of options and other derivatives.


Carl has led in excess of 800 valuation engagements over the last fifteen years across a broad range of industries
with niche expertise in the areas of Technology, Life Sciences, and Medical Device. He has assisted clients
as a valuation expert in initial public offerings, acquisitions, corporate restructure transactions, and bankruptcy
reorganizations with transaction values exceeding $1 billion. He has also assisted clients with resolving valuation
disputes with the Internal Revenue Service (IRS), and addressing valuation inquiries and reviews by the Public
Companies Oversight Board (PCAOB), and Securities and Exchange Commission (SEC).


On litigation matters, Carl has served as an expert and testified on a wide range of complex business disputes
involving economic damages. These have included shareholder dissolution actions, business interruption,
unfair competition, patent infringement, alter ego, lost wages, and fraud claims. In most cases, he has been
successful in contributing to a favorable award for clients and out of court settlement of the dispute.


Carl also has significant financial advisory experience in mergers and acquisitions due diligence and turnaround
management. He has lead due diligence efforts that have assisted his clients in negotiating key deal terms,
negotiated with creditors to recapitalize companies, and helped management teams define strategic direction.


Contributing to thought leadership within the valuation community is something Carl is passionate about. He
co-founded and currently Chairs the Executive Committee of the Fair Value Forum, a business valuation expert
group dedicated to defining best practices within the profession. He also served a term as President of the
Valuation Roundtable of San Francisco and was a board member for several years. Carl has authored
several articles on cutting edge valuation topics, and teaches and lectures on the topic frequently.


Carl has an MBA from the Marshall School of Business at the University of Southern California where he graduated
with Honors. He earned his Bachelor’s degree at U.C. Berkeley’s Haas School of Business. He is a Certiﬁed Valuation
Analyst with the National Association of Certiﬁed Valuators and Analysts. He is also an Accredited Senior Appraiser
with the American Society of Appraisers, and Accredited in Business Valuation with the American Institute of Certified
Public Accountants.



                                                                                                             PAGE 1 OF 9
              Case 5:18-cr-00258-EJD        Document 1645            Filed 11/12/22 CURRICULUM
                                                                                     Page 145 of 156 VITAE

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Employment & Education

2013 – Present        Hemming Morse, LLP
                      Certified Public Accountants, Forensic and Financial Consultants
                      Partner


2004 – 2013           Burr Pilger Mayer, Inc.
                      Certified Public Accountants and Consultants
                      Shareholder, Consulting Practice Group Leader


2003 – 2004           Comerica Bank, Palo Alto
                      Vice President / Team Leader


2003                  University of Southern California
                      MBA, Finance Emphasis
                      – Graduated in top tier of class with honors
                      – Extensive graduate level coursework in finance theory, valuation, options and
                        decision analysis, statistics, and business strategy


2002                  Decision Education Foundation, Menlo Park
                      Strategy Consultant, Strategic Decisions Group (Summer Internship)


1999 – 2001           Comerica Bank, Palo Alto
                      Vice President / Corporate Banking Officer


1996 – 1999           Manufacturers Bank, San Jose
                      Assistant Vice President / Corporate Banking Officer


1995                  University of California, Berkeley
                      Bachelors degree in Business Administration and Finance




                                                                                                        PAGE 2 OF 9
            Case 5:18-cr-00258-EJD           Document 1645      Filed 11/12/22 CURRICULUM
                                                                                Page 146 of 156 VITAE

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Professional Credentials

■ Accredited in Business Valuation (ABV)                     ■ Certified Valuation Analyst (CVA)
 American Institute of Certified Public Accountants           National Association of Certified Valuators and
                                                              Analysts
■ Accredited Senior Appraiser (ASA)
 American Society of Appraisers                              ■ Graduate of Leadership San Francisco
                                                              Class of 2008

Professional Affilliations

■ Fair Value Forum                                           ■ American Society of Appraisers
 – Co-Founder
 – Chair, Executive Committee, 2012-Present                  ■ American Institute of Certified Public Accountants
 – Executive Committee, 2006-Present
                                                             ■ Community Legal Services, East Palo Alto
■ Valuation Roundtable of San Francisco                        – Executive Committee Board Member
 – President, 2011-2012                                        – Treasurer
 – Board Member, 2009-2014
                                                             ■ Beta Gamma Sigma – National Business Honor
■ National Association of Certified Valuation Analysts         Society



Publications

■ “Quantifying Personal Goodwill by Analyzing Customer       ■ “Purchase Price Allocations Under ASC 805”, A Guide 		
 Retention”, BVR Business Valuation Update Vol. 23 No.         to Allocating Purchase Price for Business
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                                                                                                         PAGE 3 OF 9
             Case 5:18-cr-00258-EJD          Document 1645       Filed 11/12/22 CURRICULUM
                                                                                 Page 147 of 156 VITAE

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Publications continued

■ “Valuation Challenges for Early Stage Companies”,           ■ “Finding Value in Valuations” – The Importance of
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■ “Experts In Uncharted Waters”, Association of Business
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■ “Auditing IRC 409A and ASC 805 Valuations”, OUM & CO,        ProVisors Lawyers and Legal Professionals Affi nity
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■ “Case Studies in 409A Valuations”, American Society of      ■ “Developments in the Valuation of Early Stage
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                                                                                                        PAGE 4 OF 9
            Case 5:18-cr-00258-EJD             Document 1645      Filed 11/12/22 CURRICULUM
                                                                                  Page 148 of 156 VITAE

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Instructions and Seminars continued

■ “What CPAs Should Know About Business Valuation 		           ■ “Mergers & Acquisitions: Better Decision Making
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■ “409A Valuation Issues Update”, American Society of          ■ “Auditing Fair Value Measurements under IRC 409, 		
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                                                                                                         PAGE 5 OF 9
            Case 5:18-cr-00258-EJD            Document 1645        Filed 11/12/22 CURRICULUM
                                                                                   Page 149 of 156 VITAE

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Instructions and Seminars continued

■ “Analyzing Financial Statements, and Interpreting             ■ “Audits of Investments in Private Equity Securities, Are
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■ “Valuations of Early Stage Companies”, Frost, and             ■ “Valuation and Accounting under FAS 123R”, Cal 		
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■ “Complex Capital Structures – DCF with Future Capital         ■ “Panelist on Implementation and Valuation 			
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 2007


Testimony

Trial and Arbitration



■ Facebook, Inc. & Subsidiaries v. Commissioner of Internal     ■ Omega Electric Supply, LLC, et al. v. Estate of Todd
  Revenue (2022), United States Tax Court, San Francisco,         G. Lewis, et al. (2019) JAMS Arbitration, Case No.
  California, Docket No. 21959-16                                 1100091778


■ Dr. Albert Cha v. Vivo Capital, LLC and Vivo Ventures VII,    ■ David Senescu v. The Keating Group, Inc., et al. (2019),
  LLC (2022), JAMS Arbitration, San Francisco, California,        JAMS Arbitration, Case No. 1110022437
  Case No. 1100110703
                                                                ■ San Jose, California Unlimited Prepaid, Inc. v. Air
■ Jaspindar Sandhu v. Eximius Design, LLC, et. al. (2021)         Voice Wireless, LLC (2018), JAMS Arbitration, Case No.
  JAMS Arbitration, Case No. 1100104731                           1220055749


■ Shasikant Patel v. Nitin Desai, Town Green Enterprises,       ■ Robert Kindrachuk v. Norcal Urology Medical Group,
  LLC, Windsor Hospitality Group. LLC (2021) JAMS                Inc. (2018), ADR Services, Inc., Case No. 17-7127-HD
  Arbitration, San Francisco, California, Case No. 1100107540
                                                                ■ Domain Associates, L.L.C, et al. v. Nimesh S. Shah
■ Yuhui Chen v. Zining Wu, InnoGrit Corporation, Shanghai         (2018), Court of Chancery Delaware, Case No. 12921-VCL
  Yingren Chuang Information Technology Co., Ltd. (2020)
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                                                                                                          PAGE 6 OF 9
             Case 5:18-cr-00258-EJD            Document 1645      Filed 11/12/22 CURRICULUM
                                                                                  Page 150 of 156 VITAE

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Testimony continued

Trial and Arbitration continued

■ Michael DiSanto v. Bingham McCutchen LLP (2016),             ■ Lehman Brothers Holdings Inc., as Assignee of
 JAMS Arbitration, San Francisco County, California,            Lehman Brothers Inc. v. Christopher J. Clifford
 Case No. 1110017742                                            (2014), Financial Industry Regulatory Authority (FINRA),
                                                                 San Francisco County, California,
■ Gerald Laurence Trebesch v. Fall Line Capital LLC (2015),     Arbitration No. 10-04109
  American Arbitration Association (AAA), San Francisco
  County, California, Arbitration No. 01-14-001-0482           ■ Evan MacMillan v. Groupon, Inc. (2014, American
                                                                 Arbitration Association, San Francisco County,
■ Ellen Pao v. Kleiner Perkins Caufield & Byers (2015),          California, Case Number 74 460 00054 13
 Superior Court, San Francisco County, California,
 Case Number CGC-12-520719                                     ■ Scomas Restaurant, Inc. (2009)
                                                                San Francisco County, California
■ Roxanne E. Doherty v. Michael Doherty (2015),
 Superior Court, Calaveras County, California,
 Case Number 11CV37584

Deposition

■ Annette P. Cowan v. Allergy Asthma Clinic Burlingame,        ■ Anthony Scott Levandowski v. Uber Technologies,
  Inc. et al. (2021), Superior Court San Mateo County,           Inc. (2021), United States Bankruptcy Court, Northern
  California, Case No. 19-CIV-00235                              District of California, San Francisco Division, Case No.
                                                                 20-30242 (HLB)
■ Dr. Albert Cha v. Vivo Capital, LLC and Vivo Ventures VII,
  LLC (2021), JAMS Arbitration, San Francisco, California,     ■ Graystone Mortgage, LLC v. Network Funding, L.P.
  Case No. 1100110703                                            (2021), United States District Court, District of Utah
                                                                 Central Division, Case No. 2:19-cv-00383-JNP
■ Jaspindar Sandhu v. Eximius Design, LLC, et. al. (2021)
  JAMS Arbitration, Case No. 1100104731                        ■ John Nypl, et al. v. JP Morgan Chase & CO., et al. (2021),
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■ Kouji Yamada v. Lateef Management, LLC (2021), JAMS            York, Case No. 15 Civ. 9300 (LGS)
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                                                               ■ Yuhui Chen v. Zining Wu, InnoGrit Corporation,
■ Jaspindar Sandhu v. Eximius Design, LLC, et al. (2021),        Shanghai Yingren Chuang Information Technology
  JAMS Arbitration, Case No. 1100104731                          Co., Ltd. (2020) JAMS Arbitration, San Jose, California,
                                                                 Case No. 1110024169


                                                                                                          PAGE 7 OF 9
             Case 5:18-cr-00258-EJD               Document 1645       Filed 11/12/22 CURRICULUM
                                                                                      Page 151 of 156 VITAE

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Testimony continued

Deposition continued

■ Matthew Pliskin, Trustee of ICPW Nevada Trust v. BDO            ■ State of California, et al. v. BP America Production
  USA, LLP (2020), American Arbritration Association (AAA)          Company, et al. (2017), Superior Court, San Francisco
  Dallas, Texas, Case No. 01-19-0000-4459                           County, California, Case No CGC-12-522063


■ Zwick Partners, LP and Aparna Rao v. Quorum Health              ■ Tamara B. Pow v. Mark Figueiredo (2017), Superior
  Corporation, et al. (2019), United States District Court          Court, Santa Clara County, California, Case Number
  Middle District of Tennessee, Case No. 3:16-cv-02475              1-15-CV-282824


■ MD Anis Uzzaman and Fenox Venture Capital Inc. v.               ■ Glen Ocal v. Kenneth S. Thom, Pier 39 Maritime
  Brandon Hill (2019), Superior Court San Mateo County,             Business Facilities, LLC dba SOMAcentral (2017),
  California, Case No. 17-CIV-02443                                 Superior Court Santa Clara County, California,
                                                                   Case Number 114CV266597
■ Omega Electric Supply, LLC, et al. v. Estate of Todd G.
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                                                                    Palo Alto; Classic Residence Management Limited
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  Intersango LLC (2019), Superior Court San Francisco               Northern District of California San Jose Division,
  County, California, Case Number CGC-17-556483                    Case Number 16-CV-02680-LHK


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  1110022437                                                        cv- 02277-JJT


■ Unlimited Prepaid, Inc. v. Air Voice Wireless, LLC (2018),      ■ Joel Simkhai and Grindr Holdings Company v.
  JAMS Arbitration, Case No. 1220055749                             KL Grindr Holdings Inc., et al. (2017), American
                                                                    Arbitration Association, Los Angeles County,
■ Julia Bernstein, et al. v. Virgin America, Inc, et al.            California, Case Number 01-16-0003-7637
  (2018), United States District Court, Northern District of
  California, Case No. 15-cv-02277-JST                            ■ Clyde Berg v. Speech Morphing Systems (2016),
                                                                   Superior Court, San Francisco County, California,
■ Domain Associates, L.L.C, et al. v. Nimesh S. Shah (2017),       Case Number 2014-1-CV-264586
  Court of Chancery Delaware, Case No. 12921-VCL




                                                                                                               PAGE 8 OF 9
            Case 5:18-cr-00258-EJD             Document 1645         Filed 11/12/22 CURRICULUM
                                                                                     Page 152 of 156 VITAE

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Testimony continued

Deposition continued



■ California Crane School Incorporated v. National                 ■ John K. Palladino v. John Palladino Jr. (2014,
  Commission for the Certification of Crane Operators               Superior Court, San Mateo County, California,
  (2016), Superior Court, Tuolumne County, California,              Case Number CIV512247
 Case Number CV53859
                                                                   ■ Roxanne E. Doherty v. Michael Doherty (2014),
■ Dellon Chen v. Standard Fiber LLC (2015), Superior Court          Superior Court, Calaveras County, California,
  San Mateo County, California, Case Number CIV521306               Case Number 11CV37584


■ Lloyds TSB Bank, PLC v. Michael J. Kilroy (2015), Superior       ■ Evan MacMillan v. Groupon, Inc. (2013), American
  Court, Riverside County, California, Case Number INC               Arbitration Association, San Francisco County,
  1202040                                                            California, Case Number 74 460 00054 13


■ Ellen Pao v. Kleiner Perkins Caufield & Byers (2015),            ■ Margery Raffanti v. Estate of Robert Raffanti (2010),
  Superior Court, San Francisco County, California,                 Superior Court, Santa Clara County, California
 Case Number CGC-12-520719
                                                                   ■ Scomas Restaurant, Inc. (2009)
■ Biotechnology Value Fund, L.P. v. Celera Corporation,             San Francisco County, California
  Credit Suisse Securities LLC (2014), United States District
  Court, Northern District of California San Francisco Division,
  Case Number CV-13-3248-DMR


■ Saul R. Flores v. Group One Construction Inc (2014),
 Superior Court, Santa Clara County, California,
 Case Number 112CV215989




                                                                                                             PAGE 9 OF 9
            Case 5:18-cr-00258-EJD                   Document 1645            Filed 11/12/22             Page 153 of 156


US v. Elizabeth Holmes                                                                                                  Appendix Exhibit I
List of Documents Considered


                               File Name                                                             File name
                                 0578N                                                                FTR 2013
                                  0792                                                                FTR 2014
                                0792N-1                                                               FTR 2015
                                  1901                                                          Mosley Materials 2
                                 1901N                                                          Mosley Materials 3
                                  3233                                                          Mosley Materials 4
                                  3283                                                          Mosley Materials 5
                                 3283N                                                          Mosley Materials 6
                                  3527                                                          Mosley Materials 7
                                  3533                                                           Mosley Materials
                                  4859                                                 Confidential Disclosure Agreement
                                  5085                                                   Confidential Overview 2_KRM
                                  5141                                                   Confidential Overview 3_KRM
                                  5172                                                   Confidential Overview 4_KRM
                                  5190                                                   Confidential Overview 5_KRM
                           5206 Attachment                                               Confidential Overview 6_KRM
                                  5206                                                   Confidential Overview 7_KRM
                                  5209                                                   Confidential Overview 8_KRM
                                 5209n                                                   Confidential Overview 9_KRM
                                  5797                                                  Confidential Overview 10_KRM
                                  7753                                                  Confidential Overview 11_KRM
                                 7753N                                                    Confidential Overview _KRM
                                7753N2                                                       Murcoch Letter and Docs
                                 13711                                             Summary Cap and Projected Income-KRM
                            040522(Vol 13)                                                      Theranos Summary
                Trial Exh. 2623 Email from DY to EAH                                      Master Signature Page_PFM
                         Trial Exh. 5454 Email                                          Summary Cap Table_2014.02.03
                    2021.11.12 Expert Disclosures                                       Theranos Revenue Model_PFM
             2021.11.13 Supplemental Expert Disclosures                                        Trial Exh. 4077 Email
                                 27084                                              Series C-1 Transaction Documents_PVP
                                 27085                                                    Master Signature Page_RDV
                                 27086                                                      Theranos Slide Deck_RDV
                                 27087                                          Trial Exh. 4859 Projected Statement of Income
                                 27088                                       Amended and Restated Certificate of Inc_2010.06.30
                                 27089                                       Amended and Restated Certificate of Inc_2013.03.28
                                 27090                                Amended and Restated Investor Rights Agreement_2014.01.14
                                 27091                                Amended and Restated Investor Rights Agreement_2014.02.07
                                 27092                                  Amended and Restated Series C-1 Preferred Strock Purchase
                                                                                             Agreement_2010.07.01
                               27093                                               Amended and restated Voting Agreement
                               27094                                    Amendment No 2 to the Series C-2 Preferred Stock Purchase
                                                                                              Agreement_July 2014
                               27095                                    Amendment No 3 to the Series C-2 Preferred Stock Purchase
                                                                                              Agreement_July 2015
                               27096                                               C-2 Certificate of Designation_2014.02.07
                               27097                                         C-2 Preferred Stock Purchase Agreement_2017.02.03
                               27098                                         C-2 Preferred Stock Purchase Agreement_2017.02.07
                               27099                                 Certificate of Amendment of Amended and Restated Certificate of
                                                                                            Incorporation_2015.03.06
                               27100                                                  Certificate of Correction_2014.01.14
                               27101                                 Certificate of Designation of Series C-2 Preferred Stock_2014.02.07

                               27102                                  Certificate of Increase of Series C-2 Preferred Stock_2015.03.06
                               27103                                                       Investor Deck_DEC 2016
                               27104                                         Stockholder Confidentiality Agreement_2014.02.07
                               27105                                              Projected Statement on Income_Jan 2015
                               27106                                            Projected Statement on Income_Jan 2015-1


                                                            1 of 4
            Case 5:18-cr-00258-EJD           Document 1645          Filed 11/12/22             Page 154 of 156


US v. Elizabeth Holmes                                                                                        Appendix Exhibit I
List of Documents Considered


                             File Name                                                   File name
                                27107                                         SEC-USAO-EPROD-000808915
                                27108                                         SEC-USAO-EPROD-000809708
                                27109                                         SEC-USAO-EPROD-000875621
                                27110                                         SEC-USAO-EPROD-001247904
                                27111                                         SEC-USAO-EPROD-001519025
                                27112                                    2_SEC-USAO-EPROD-001215410_native
                                27113                                     Cleveland Clinic Financials_Mar 2015
                                27114                                         SEC-USAO-EPROD-001028741
                                27115                        01.14.13 - Board Meeting Docs including cap tables and articles
                                27116                                               10.08.13 board docs
                                27117                                       BOD Meeting Binder_2014.07.15
                                27118                                      BOD Meeting Minutes_2013.01.14
                                27119                                BOD Meeting Minutes_compiliation 2013-2014
                                27120                                    BOD Meeting Minutes_Jan and Apr 2015
                                27121                                         BOD Presentation_2014.07.15
                                27122                                          Financials for BOD_Jan 2015
                                27123                                      Amended and Restated…Jun 2010
                                27124                                     Amended and Restated…March 2013
                           Balwani-USAO                                              Articles_Jan 2014
                               FIG 703                                   Certificate of Amendment…March 2015
                               FIG 704                                             Certificate_Dec 2014
                               FIG 914                                             Certificate_Mar 2015
                               FIG 915                                            Cap Summary_Feb 2014
                               FIG 920                                       SEC2-USAO-EPROD-000509036
                               FIG 921                                       SEC2-USAO-EPROD-000550002
                              FIG 1137                                        SEC-USAO-EPROD-001038026
                              FIG 1139                                        SEC-USAO-EPROD-001064861
                              FIG 1140                                        SEC-USAO-EPROD-001240711
                              FIG 1141                                        SEC-USAO-EPROD-002733592
                              FIG 1143                                        SEC-USAO-EPROD-002788863
                          FIG 1143 (excel)                                    SEC-USAO-EPROD-002788979
                              FIG 1285                                        SEC-USAO-EPROD-003873663
                              FIG 1287                                        SEC-USAO-EPROD-005037217
                              FIG 1288                                        SEC-USAO-EPROD-005071687
                              FIG 1290                                                 THER-2393504
                              FIG 1291                                                  TS-0939601
                              FIG 1307                                                   6379-6382
                              FIG 1331                                                   6392-6393
                              FIG 1372                                                   6394-6395
                              FIG 1461                                                      6396
                              FIG 1463                                                      6401
                              FIG 1476                                                   6404-6406
                              FIG 1478                                                      6408
                              FIG 1479                                                   6413-6414
                              FIG 1484                                                   6416-6417
                              FIG 1488                                                   6418-6419
                              FIG 1720                                                   6420-6422
                              FIG 1722                                                   6425-6429
                              FIG 1723                                                      6435
                              FIG 1725                                            111621TT(vol 33)public
                              FIG 1731                                             Trial Exh. 0504 Email
                              FIG 1781                                             Trial Exh. 1633 email
                              FIG 1783                                             Trial Exh. 3231 email
                              FIG 1845                                                     page 17
                              FIG 1849                                                     page 19
                              FIG 1855                                                     page 21
                              FIG 1860                                                     page 64


                                                    2 of 4
            Case 5:18-cr-00258-EJD         Document 1645            Filed 11/12/22             Page 155 of 156


US v. Elizabeth Holmes                                                                                       Appendix Exhibit I
List of Documents Considered


                               File Name                                              File name
                                FIG 2070                                               page 66
                                FIG 2072                                               page 67
                                FIG 2083                                               page 69
                                FIG 2290                                               page 95
                                FIG 2292                                        Trial Exh. 4077 email
                                FIG 2298                                        Trial Exh. 4182 email
                                FIG 2301                                        Trial Exh. 4533 email
                                FIG 2309                                  Copy of Trial Exh. 5127 Native
                                FIG 2310                                        Trial Exh. 5127 email
                                FIG 2379                                        Trial Exh. 5421 email
                                FIG 2394                      2021.10.22 TT(Vol 23) - Shane Weber & Bryan Tolbert
                                FIG 2246                           2021.10.26 TT(Vol 24)PUBLIC - Lisa Peterson
                                FIG 2447              2021.11.02 TT(Vol 26) - Lisa Peterson & Dr. Connie Cullen & Dan Mosley

                               FIG 2448                               2021.11.03 TT(Vol 27) - Dan Mosley
                               FIG 2449                      2021.11.04 TT(Vol 28) - Chris Lucas & Dr. Lynette Sawyer
                               FIG 2450                     2021.11.10 TT(Vol 31) - Dr. Kingshuk Das & Alan Eisenman
                               FIG 2451                              2021.11.15 TT(Vol 32) - Alan Eisenman
                               FIG 2452                2021.11.16 TT(Vol 33)PUBLIC - Danise Yam (recall) & Brian Grossman

                               FIG 2453                        2021.11.17 TT(Vol 34) - Brian Grossman & Erin Tompkins
                               FIG 2468                       2022.04.26 (Vol 22) - Dr. Adam Rosendorff & Lisa Peterson
                               FIG 6419                          2022.04.27 (Vol 23) - Lisa Peterson & Dr. Sunil Dhawan
                               FIG 6420                        2022.04.29 (Vol 24) - Patrick Mendenhall & Bryan Tolbert
                               FIG 6538                           2022.05.10 (Vol 27) - Sarah Bennett & Daniel Mosley
                               FIG 6539                    2022.05.11 (Vol 28) - Daniel Mosley & Alan Eisenman & Dr. Lynette
                                                                                          Sawyer
                               FIG 6543                    2022.05.13 (Vol 29) - Dr. Lynette Sawyer & Chris Lucas & Dr. Audra
                                                                               Zachman & Brittany Gould
                               FIG 6544                    2022.05.20 (Vol 32) - Brian Grossman & Defense Witness Dr. Tracy
                                                                                          Wooten
                               FIG 6548                                         SEC-TX-000002116_image
                               FIG 6706                        2021.09.08 TT(Vol 4) - Opening Statements & Danise Yam
                               FIG 6707                            2021.09.14 TT(Vol 6) - Danise Yam & Erika Cheung
                               FIG 6735                                     2022.04.05 (Vol 13) - Danise Yam
                               FIG 6736                                           07753 Attachment 1
                               FIG 6801                                           07753 Attachment 2
                               FIG 7680                                      07753 D. Yam Email 11.03.2016
                               FIG 7685                                     Interview_of_CASS_GRANDONE
                               FIG 7690                                           Trial Exh. 7098 Email
                               FIG 7752                                  SEC3-USA-EPROD-000010390_image
                               FIG 7774                                  SEC3-USA-EPROD-000016979_image
                               FIG 8151                                          SEC-EMAIL-2441_image
                               FIG 8152                                      SEC2-USAO-EPROD-001071042
                               FIG 8168                                      SEC2-USAO-EPROD-001071047
                               FIG 8227                                      SEC2-USAO-EPROD-001071050
                               FIG 8384                                      SEC2-USAO-EPROD-001071051
                               FIG 8385                                      SEC2-USAO-EPROD-005034793
                               FIG 8394                                      SEC2-USAO-EPROD-005034794
                               FIG 8396                                      SEC2-USAO-EPROD-005034795
                               FIG 8409                                      SEC2-USAO-EPROD-005034796
                               FIG 8413                                      SEC2-USAO-EPROD-005034797
                               FIG 8426                                                 TS-0272877
                               FIG 8413                                             THPFM000306874
                               FIG 8426                                            THPGM0004648099
                               FIG 8431                                                 TS-0338670
                               FIG 8443                                                TS-00338703


                                                  3 of 4
             Case 5:18-cr-00258-EJD                       Document 1645                     Filed 11/12/22            Page 156 of 156


US v. Elizabeth Holmes                                                                                                               Appendix Exhibit I
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                                                                          4 of 4
